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                            EXHIBIT O
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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

  Civil Action No. 22-cv-2680-NYW-SKC


  ROCKY MOUNTAIN GUN OWNERS,
  NATIONAL ASSOCIATION FOR GUN RIGHTS,
  CHARLES BRADLEY WALKER,
  BRYAN LAFONTE,
  GORDON MADONNA,
  JAMES MICHAEL JONES, and
  MARTIN CARTER KEHOE,

         Plaintiffs,

  V.

  THE TOWN OF SUPERIOR,
  CITY OF LOUISVILLE, COLORADO,
  CITY OF BOULDER, COLORADO, and
  BOARD OF COUNTY COMMISSIONERS OF BOULDER COUNTY,


         Defendants.


                                  Declaration of James Yurgealitis


         I, James E. Yurgealitis, declare as follows:

         1.     I am over the age of 18 years of age and competent to testify to the matters stated
  below and do so based on my personal knowledge.

          2.    Attachment A is a true and accurate copy of my expert report in the above-
  captioned matter. It contains the opinions to which I would testify if called upon as a witness in
  the above-captioned matter, and I declare under penalty of perjury that it is true and correct to the
  best of my knowledge.

        I declare under penalty of perjury that the foregoing is true and correct to the best of my
  knowledge.

        Executed on this 17th day of October, 2023
        at Manchester, Maryland.

                                                                     s E. Yurgealiti
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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

      Civil Action No. 22-cv-2680


      ROCKY MOUNTAIN GUN OWNERS,
      NATIONAL ASSOCIATION FOR GUN
      RIGHTS, CHARLES BRADLEY WALKER,
      BRYAN LAFONTE,
      CRAIG WRIGHT,
      and GORDON
      MADONNA,
      JAMES MICHAEL JONES,
      and MARTIN CARTER
      KEHOE,

            Plaintiffs,

      v.

      THE TOWN OF SUPERIOR,
      CITY OF LOUISVILLE,
      COLORADO, CITY OF BOULDER,
      COLORADO, and
      BOARD OF COUNTY COMMISSIONERS OF BOULDER COUNTY,



            Defendants.



                              Expert Report of James Yurgealitis
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         I, James E. Yurgealitis, state as follows:

         1.      I have been retained by the Town of Superior, the City of Boulder, the City of

  Louisville, and the Board of County Commissioners of Boulder County to render expert opinions

  in this case and to prepare an expert report for disclosure under FRCP 26(a)(2)(B) addressing the

  types and operation of firearms, the evolution and operation and of assault weapons, the evolution

  and operation of large-capacity and lower-capacity magazines, and the use of firearms in self-

  defense. This report is based on my own personal knowledge and experience. I hold all opinions

  expressed herein to a reasonable degree of professional certainty.

         2.      I am currently self-employed as a Legal and Forensic Consultant providing firearms

  related technical and public policy consulting, forensic case reviews, and testing and training

  services to corporations, legal counsel, and the public sector. During my previous 26-year career

  as a Federal Law Enforcement Officer, I have been recognized, and testified as, an expert witness

  in numerous local, state, and federal courts. I have toured numerous firearms and ammunition

  manufacturers’ facilities both in the United States and overseas. I maintain a personal library of

  firearms- and ammunition-related books and periodicals and maintain contact with other

  recognized experts in the field. My final assignment in government service was as Senior Special

  Agent and Program Manager for Forensic Services for the Bureau of Alcohol, Tobacco, Firearms

  and Explosives (ATF), U.S. Department of Justice, a position I held for nine years. During that

  time, I was responsible for all Bureau firearms- and forensic-firearms-related training and research

  at the ATF National Laboratory Center in Ammendale, Maryland.

         3.      My credentials, training, background, and experience are stated in my curriculum

  vitae, a true and correct copy of which is attached as Exhibit A. My credentials, training,

  background, and experience as an expert witness, including all cases where I have testified at trial


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  or by deposition within the last four years, are detailed on my Statement of Qualifications, a true

  and correct copy of which is attached as Exhibit B.

         4.      I am being compensated at the rate of $400 per hour for my work and $1,600 per

  travel + work day.

         5.      My opinion or opinions as stated in this report are the result of my training,

  knowledge, and experience, technical, statistical, and historical research, review of the firearms

  ordinances challenged in this case (the “Ordinances”), as well as the Plaintiffs’ pleadings in this

  case as submitted.

         6.      During the course of my work in this case, as additional research, technical or

  statistical materials become available or relevant, they will be reviewed. As such, I reserve the

  right to amend my report, opinion, or testimony to include consideration of those materials should

  their relevance warrant.

                                     SUMMARY OF OPINIONS

         7.      As discussed in this report, many of the firearms covered by the Ordinances directly

  trace their origins to weapons developed for use in military combat. As such, these weapons were

  never initially intended for general distribution to the public or sale in the civilian market.

         8.      Similarly, detachable magazines were initially developed for, and can trace their

  heritage to, late 19th century advancements and developments in military small arms technology.

  As such, large-capacity magazines were neither initially designed, nor intended, for utilization by

  the civilian population/general public. They are an evolutionary development of military

  technology which has subsequently been adopted by manufacturers of civilian firearms.




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         9.      The prohibited features of the firearms covered by the Ordinances were designed

  to increase the effectiveness of the firearm in a military combat scenario. However, such features

  are not necessary or suitable for civilian self-defense.

         10.     Firearms without these prohibited features are lawful under the Ordinances and

  widely available to civilian customers and provide effective means for civilian self-defense.

         11.     Firearms traditionally considered “sporting” or “hunting” firearms traditionally

  have magazine capacities which are legal under the Ordinances (both rifles and shotguns).

         12.     The operation of any firearm which utilizes a large-capacity magazine is unaffected

  by a magazine with a capacity legal under the statute. As their function is unaffected by the number

  of rounds in the magazine, they will operate as designed regardless of the capacity of the magazine.

         13.     Detachable magazines compliant with the Ordinances are, and have been, widely

  available since the mid 1990s. There are numerous options available that are both effective for

  civilian self-defense and compliant with the Ordinances.

         14.     As tragically demonstrated by recent mass shootings in Colorado and elsewhere,

  assault weapons and large-capacity magazines, as defined under the Ordinances, are capable of

  inflicting significant carnage upon civilians in a short period of time.

         15.     Additionally, assault weapons and large-capacity magazines, as defined under the

  Ordinances, pose a significant risk to law enforcement officers and other first responders.

                                             DISCUSSION

        I.        Firearms Terminology, Types, and Operation

         16.     As the issues in this case center around firearms terminology and technology, it is

  important to discuss different types of modern firearms and how they function.




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                 A. Handguns and Long Guns

         17.     Modern firearms as currently manufactured for civilian ownership fall into two

  general types: handguns and long guns (or shoulder-fired weapons).

                      i. Handguns

         18.     Handguns. Handguns are generally defined as a firearm having a short stock (grip),

  and are designed to be held, and fired, with one hand. The term “handgun” defines two distinct

  types of modern firearms: the revolver and the semi-automatic pistol.

         19.     Revolver. A revolver is a handgun designed and manufactured with a revolving

  cylinder to contain, chamber, and feed multiple rounds of ammunition. In a modern double-action

  revolver, pulling the trigger rotates the cylinder, bringing an unfired ammunition cartridge in line

  with the barrel and firing pin. Pulling the trigger also cocks the hammer and then releases it either

  directly (or indirectly via a firing pin) to strike the primer of the cartridge, initiating the firing

  sequence. In this type of revolver, the trigger must again be pulled to rotate the cylinder in order

  to fire another cartridge. When all cartridges have been fired, the user must unlock the cylinder

  from the frame and swing it out to the side of the frame to facilitate removal of cartridge casings

  and insert unfired cartridges. The cylinder is then closed and relocked within the frame and the

  handgun is again ready to fire when the trigger is pulled.

         20.     Semi-automatic pistol. A semi-automatic pistol is a handgun designed and

  manufactured with the firing chamber as an integral part of the barrel and generally utilizes a

  detachable “box” magazine to contain and feed multiple rounds of ammunition. In this type of

  handgun, generally, the box magazine is inserted into the firearm and the slide or bolt is pulled

  back and released. It then springs forward and loads a cartridge into the chamber. When the trigger

  is pulled, the firing pin or striker is released and impacts the primer of the cartridge and initiates

  the firing sequence of the ammunition. In most pistols, a portion of the recoil or gas pressure
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  generated by firing the cartridge is utilized to move the slide or bolt rearward, extract and eject the

  expended cartridge case, and chamber another round from the magazine. This sequence can be

  repeated by pulling the trigger once for each shot. The pistol can then be reloaded by removing the

  empty magazine and inserting a loaded magazine.

                       ii. Long Guns

          21.       In terms of modern firearms manufacture, long guns are generally of two distinct

  types: rifles and shotguns.

          22.       Rifle. A rifle is a firearm which is designed and intended to be fired from the

  shoulder. It fires a single shot through a rifled bore for each pull of the trigger.

          23.       Shotgun. A shotgun is a firearm that is also designed and intended to be fired from

  the shoulder. It fires either a number of ball shot (commonly termed “buckshot” or “birdshot”) or

  a single projectile (commonly termed a “slug”) through a smooth (non-rifled) bore for each pull

  of the trigger.

          24.       In terms of rifle “types,” there are numerous variations. All of these variations,

  generally speaking, are defined and distinguished by the way they are loaded and reloaded.

          25.       Single-shot rifle. For example, single-shot rifles fire one shot for each pull of the

  trigger. They have no internal or external magazine capacity and must be reloaded with a new

  unfired cartridge by hand for each shot. Many of these have a hinged or “break open” receiver to

  facilitate loading and unloading.

          26.       Pump-action rifle. A pump-action rifle requires the operator to manually

  manipulate a forearm piece which is traditionally found underneath the barrel. After firing, the

  forearm is pulled rearward, which unlocks the bolt and extracts and ejects the fired cartridge case.

  Pushing the forearm forward feeds an unfired cartridge from the magazine, cocks the firearm


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  mechanism, and locks the bolt for a successive shot. Pump-action rifles have been manufactured

  with both tubular and detachable box magazines.

         27.     Bolt-action rifle. Bolt-action rifles require the operator to manually manipulate the

  bolt of the rifle. After firing, the bolt is first unlocked from the chamber and then moved rearward.

  This action also extracts and ejects the expended cartridge case. The bolt is then moved forward,

  which feeds an unfired cartridge from the magazine into the chamber. Once the bolt is then locked

  again by the operator, it is ready to fire. Bolt-action rifles usually have an internal fixed magazine

  or tubular magazine which will facilitate reloading via manipulation of the bolt until that capacity

  is exhausted, but models that use detachable magazines are also available. Bolt-action rifles are

  popular among hunters to this day and were generally the choice among military forces through the

  end of World War II.

         28.     Lever-action rifle. A lever-action rifle is similar to the bolt-action rifle in that the

  operator is required to manipulate the mechanism of the firearm. A lever at the bottom of the rifle’s

  receiver is manipulated in a up and down motion in order to unlock the bolt and move it rearward,

  extract and eject the expended cartridge case, feed an unfired cartridge into the chamber, and lock

  it. This action is required for each shot fired through the rifle. Generally speaking, lever-action

  rifles are usually manufactured with tubular magazines which will vary in capacity depending on

  the caliber of the firearm and length of the magazine tube.

         29.     Semi-automatic rifle. A semi-automatic rifle utilizes the energy generated by the

  firing of the cartridge to power the cycle of fire. This is accomplished by siphoning off a portion

  of the gases generated by firing to operate the mechanism, or by utilizing the recoil generated by

  firing, much like a semi-automatic pistol, as described previously. Once loaded, the operation of

  this cycle of fire is not dependent on the operator for any portion of the process other than to pull


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   the trigger. Semi-automatic rifles are, and have been previously, manufactured with both fixed

   internal magazines and a capacity to accept detachable external magazines. As such, this type of

   rifle is capable of firing with each pull of the trigger until the supply of ammunition is exhausted.

   As stated previously, the majority of military firearms through World War II were bolt action. The

   exception to this rule was the United States entering the war with the semi-automatic M1 Garand

   rifle in .30-06 caliber as standard issue. The Garand had a fixed internal magazine with an 8-round

   capacity. Some soldiers also carried the select-fire Browning Automatic Rifle (BAR), which used

   20-round detachable magazines, and the U.S. military also developed the semi-automatic M1 carbine

   that entered service in 1942 for paratroopers, tankers, and support troops with 15-round detachable

   magazines.

          30.     Modern shotguns, as stated previously in regard to rifles, are generally classified

   and characterized by their operating system (i.e., the manner in which they function, are loaded,

   and are reloaded). Additionally, in the case of shotguns with multiple barrels, they are defined by

   the placement or orientation of their barrels.

          31.     Single-shot shotguns. Single-shot shotguns function similarly to the single-shot

   rifle. They may have a hinged receiver which allows the operator to open the action to facilitate

   loading and unloading of the firearm. There are also single-shot models that are loaded and

   unloaded through a bolt-action mechanism and have no additional magazine capacity.

          32.     Bolt-action shotguns. Bolt-action shotguns are manufactured with internal, tubular,

   or detachable magazines to facilitate easier and faster reloading. They function in the same way as

   a bolt-action rifle and require manual manipulation of the bolt by the operator to unload and reload.

          33.     Lever-action shotguns. Lever-action shotguns again function in the same fashion

   as similarly designed rifles. Manual manipulation of the lever is required for successive shots.


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           34.      Pump-action shotguns. Pump-action shotguns have the same general operating

   system as similarly designed rifles. The forearm piece of the shotgun must be worked forward and

   back by the operator to unlock the bolt, extract and eject the expended shotgun shell, reload, and

   relock the bolt for firing.

           35.      Semi-automatic shotguns. Semi-automatic shotguns, as with their rifle-caliber

   counterparts, utilize energy (either recoil or gas pressure) generated by firing ammunition to

   “power” the operating system of the firearm. These are manufactured with a number of different

   magazines, both internal and fixed, as well as external and detachable. They are capable of firing

   a single shot with each pull of the trigger until the supply of ammunition in the magazine is

   exhausted.

           36.      Break-open, double-barreled, and “tip-up” shotguns. Break-open, double-

   barreled, and “tip up” shotguns have a hinged receiver which facilitates access to the rear of the

   chamber for unloading and reloading. They are manufactured in single-shot and double-barreled

   variations. Double-barreled variations are further delineated by the placement of their barrels.

   Side-by-side shotguns have two barrels positioned next to one another in a horizontal arrangement.

   Over-under shotguns have two barrels superimposed upon one another in a vertical plane. The

   mechanisms in each of these allow staggered firing of each of the two barrels with a separate pull

   of the trigger. When the hinged action is opened, the expended shotgun shell hulls can be manually

   extracted, although more complex designs with auto ejectors perform that function when “opened”

   without action by the operator.

                    B. General Firearms Definitions

           37.      In discussing modern firearms, it is important to understand how they are defined

   under statute, how they function, and the differences between types commonly found and available

   to the public.
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           38.    Additional terms often used when discussing modern firearms are semi-automatic,

   full-automatic, select-fire, rifling, caliber, gauge, and magazine. I define these terms as follows:

           39.    Semi-automatic. Semi-automatic fire refers to a repeating firearm that fires one

   shot for each pull of the trigger until the ammunition supply is exhausted. The energy of the fired

   cartridge is utilized to cycle the mechanism of the firearm to feed and chamber the next shot.

           40.    Full-automatic. Full-automatic refers to a firearm that will continuously fire

   successive shots when the trigger is pulled, and will only stop when the trigger is released or the

   supply of ammunition is exhausted. Fully automatic weapons are commonly known as machine

   guns.

           41.    Select-fire. A select-fire firearm is capable of switching between and functioning

   in either full- or semi-automatic firing mode.

           42.    Rifling. Rifling refers to a series of grooves cut or impressed inside the barrel in a

   spiral pattern. The “high” portions of these patterns are called “lands.” The “lower” portion of this

   pattern are called “grooves.” When a projectile (or bullet) is fired in a “rifled” firearm, it comes

   into contact with the lands as it leaves the chamber and begins to travel down the barrel. Because

   the lands are oriented in a spiral pattern, the rifling imparts spin on the projectile, which improves

   stability and accuracy.

           43.    Caliber. Caliber is a dimensional measurement of the inside (or bore) of a rifled

   barrel. In the United States, caliber is traditionally expressed in fractions of an inch. For example,

   a .22-caliber firearm is designed to chamber and fire a projectile which measures 0.22 inches (or

   slightly less than a quarter of an inch). A .50-caliber firearm chambers and fires a projectile which

   is approximately a half-inch in diameter.1


   1
    In Europe and most other countries that utilize the metric system, “caliber” has historically been
   expressed in millimeters (mm). Therefore, a 9mm firearm is designed to chamber and fire a
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          44.     It is important to note for the purposes of this report that the caliber designation of

   any given ammunition cartridge usually refers only to the diameter of the projectile (bullet) and

   not the relative “power” of the cartridge itself (in terms of muzzle energy, effective range, and

   muzzle velocity). For example, there is an important distinction between cartridges commonly

   referred to as .22 caliber and cartridges commonly referred to as .223 caliber.

          45.     .22-caliber ammunition is a popular and relatively low-power cartridge developed

   in the 1880s. It is also known as “.22 rimfire,” as the primer mixture in the cartridge is seated in

   the rim of the cartridge and not contained in a separate primer cup in the cartridge base. It is

   commonly used for target shooting as well as hunting small game and can be fired from both

   handguns and rifles chambered in that caliber. The bullets for .22-caliber cartridges typically weigh

   between 30 to 60 grains (0.08 to 0.13 ounces). Their muzzle velocities are usually in the 1,100 to

   1,300 feet per second (fps) range.

          46.     .223-caliber ammunition, by comparison, is a high-velocity cartridge developed in

   the 1950s in part for use in the original AR-15 and M-16 rifles. It is a “centerfire cartridge,”

   meaning the primer is contained in a separate cup in the center of the cartridge base. Although the

   diameter of the bullet is only slightly greater (approximately the width of a human hair) than the

   .22-caliber cartridge mentioned previously, it is a vastly more powerful cartridge in terms of

   muzzle velocity and range. This ammunition is also somewhat interchangeable with 5.56mm

   NATO ammunition. Here is a side-by-side comparison of a .223-caliber cartridge (left) and a .22-

   caliber cartridge (right) with a quarter for size reference:



   projectile with a diameter of 9mm. European caliber designations may also include the
   measurement of the length of the cartridge case (9x19mm, 7.62x39mm, etc.). A number of widely
   manufactured firearm calibers have two separate caliber designations, one in inch measurements
   and one in metric, which are equivalent and interchangeable. For example, .380 ACP caliber
   ammunition in the U.S. is referred to as 9x17mm caliber in Europe.
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          47.     The bullets used in .223/5.56mm ammunition are heavier than .22-caliber rimfire

   projectiles, typically weighing between 50 to 62 grains (0.11 to 0.14 ounces). Common muzzle

   velocities are approximately 3,200 to 3,500 fps—about three times as fast as .22 caliber projectiles.

   A heavier bullet and increased velocity equate to more of the cartridge’s energy being transferred

   to the target. A writer for American Rifleman, a National Rifle Association (NRA) magazine, tested

   the U.S. Army’s .223-caliber M885Al cartridges in 2014, and the results are published here:

   https://www.americanrifleman.org/content/testing-the-army-s-m855a1-standard-ball-cartridge/.

          48.     Gauge. Gauge is a dimensional measurement which is traditionally used to denote

   the bore of a non-rifled or “smoothbore” firearm (i.e., a shotgun). Shotguns were initially designed

   to fire a mass of round shot as opposed to one solid projectile, and therefore a caliber designation

   is not readily applicable. Gauge refers to the number of lead spheres that will fit inside the bore

   and equal one pound. For example, in a 12-gauge shotgun, you can fit 12 spheres of lead, which

   are approximately 18.52mm or 0.73 inches in diameter, the total weight of which will equal one

   pound. If the diameter of the spheres is increased, less of them are required to equal one pound.


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   Therefore, the smaller the “gauge,” the larger the bore diameter. The exception to this measurement

   system is      .410-gauge ammunition for shotguns and handguns, which is actually a caliber

   designation.

          49.       Magazine. A magazine holds the ammunition for a firearm before it is chambered

   and fired. The earliest magazines were “fixed,” or integral, to the firearm, such as the tubular

   magazines located underneath the barrels of lever-action rifles and, later, pump-action shotguns.

   Toward the very end of the 19th century, inventors developed firearms that utilized detachable

   magazines, which facilitate faster reloading.

                    C. General Firearms Operation

          50.       Modern firearms operate utilizing the expanding gases generated by the rapidly

   burning gunpowder contained in modem ammunition. Gunpowder (or smokeless powder) is the

   propellant contained within metallic cartridges or shotshells utilized by modern firearms. A single

   cartridge or shotshell is also referred to as a “round” of ammunition. Once a cartridge or shotshell

   is chambered or loaded in a modern firearm, and the trigger is pulled, the primer at the base of the

   cartridge or shotshell is struck by a firing mechanism. The primer contains a pressure-sensitive

   explosive compound which ignites when struck. The ignition of the primer, in turn, ignites the

   main powder charge contained in the case of the cartridge or shotshell. The main powder charge

   ignites and burns rapidly in what is essentially a contained explosion.

          51.       This contained explosion generates gases at enormous pressures. The generated

   gases push the projectile out of the mouth of the cartridge, down the barrel of the firearm, and out

   of the firearm through the muzzle.

          52.       More simply defined, a firearm is a weapon that utilizes the gas pressure generated

   by combusting gunpowder in a modern ammunition cartridge to propel a projectile through the

   barrel and out of the firearm through the muzzle.
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          53.      All modern breech-loading firearms,2 no matter the type, operate according to a

   nine-step process known as the “cycle of fire.”3 These steps are:

                1) Feeding: Feeding refers to the process for insertion of cartridges into the chamber;

                   the breech bolt pushes the cartridge into final position. Typically, the incoming round

                   slides across the bolt or breech face during this caroming action. The feeding function

                   can be manual or performed by various kinds of magazines and clips. For example,

                   machine guns use belts of cartridges.

                2) Chambering: Chambering is the insertion of the cartridge into the chamber. If a

                   cartridge of the incorrect length or diameter is used or if there is foreign matter in the

                   chamber, chambering may be obstructed, causing a malfunction. Excess oil or grease

                   in the chamber may cause overpressure, resulting in a ruptured cartridge case and

                   potentially serious accidents.

                3) Locking: The breech bolt mechanism locks the cartridge into position in the barrel

                   before firing. Most quality firearms are equipped with an interrupter mechanism

                   that disconnects the trigger from the firing pin, thus making it impossible to fire

                   until the mechanism is safely locked. This critical relationship is referred to as




   2
    A breech-loading firearm is one in which the cartridge is loaded and fired from the breech (rear)
   end of the barrel as opposed to a muzzle-loading firearm, wherein the propellant/powder and bullet
   are loaded from the muzzle (front) end.
   3
     This nine-step process is outlined in the training program for apprentice forensic firearm and
   toolmark examiners, a program developed by the Association of Firearm and Toolmark Examiners
   (AFTE) in conjunction with the U.S. Department of Justice (DOJ) and the National Institute of
   Justice      (NIJ).     Cycle-of-Fire   Steps,     Firearm    Examiner      Training      (2008),
   https://projects.nfstc.org/firearms/module08/fir_m08_t04.htm. An animated illustration of these
   steps     as    they     occur     in  the     AR-15     and    M-16     is    viewable     here:
   https://www.youtube.com/watch?v=omv85cLfmxU&t=261s.

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              timing. (Blowback mechanisms involve a spring-held bolt; the mechanism is not

              technically locked, but is held together by spring tension and bolt inertia.)

           4) Firing: When the breech is fully locked, a pull on the trigger mechanically translates

              to the firing pin release. In the cocked position, the firing pin has a hammer behind it

              with a spring forcing it towards the primer, restrained only by a sear that is engaged

              by the trigger. A pull on the trigger trips the sear from the engaging notch in the

              hammer. The hammer, actuated by a cocked spring, drives the firing pin sharply

              against the percussion sensitive primer, which fires the cartridge.

           5) Obturation: Obturation occurs when powder gases under high pressure (e.g., two

              and one-half tons per square inch in the .30-06 Springfield cartridge) are sealed to

              prevent them from jetting between primer cup and cartridge case, cartridge case and

              primer wall, and projectile and bore. Cartridge cases must be sufficiently flexible to

              expand against the chamber wall and transmit the instantaneous powder pressure to

              the barrel metal that surrounds the chamber. When the chamber pressure has returned

              to zero, the cartridge case must also be flexible enough to release itself from the

              chamber wall (even though it is now pressure form-fitted to the chamber). Likewise,

              the primer cup has been pressure-held against the side of the cartridge case and

              depends upon the face of the breechblock for locked support during the interval of

              high chamber pressure. Obturation also occurs with the projectile; bullets are made

              sufficiently larger than the bore diameter to extrude into the rifling grooves and seal

              the gases. The sharp hammer action of the instantaneous high pressure and

              temperature may upset the projectile base, which enhances sealing. Shotgun wads

              perform the sealing function in smoothbore weapons.


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                6) Unlocking: This is the reverse of the locking process and is frequently performed in

                   conjunction with extraction.

                7) Extraction: Although cartridge cases do not commonly exceed their elastic limit

                   during firing, they have a tendency to stick to the chamber after firing. After firing,

                   cartridge cases are larger in diameter than before firing. All cartridge cases are

                   designed with a rim or groove (cannelure) at the base so that an extractor claw can

                   grasp this edge in order to achieve extraction.

                8) Ejection: In the final stages of extraction, the cartridge case encounters a projection

                   that is usually at right angles to the exit portal of the breech. Rotating on the fulcrum

                   of the extractor, the case base is contacted on the opposite side by the ejector, which

                   flips the case out of the actuating mechanism.

                9) Cocking: The hammer spring is usually cocked when the bolt of a rifle, pistol, or

                   repeater shotgun is retracted. An exception to this is the M1917 Enfield rifle,

                   which cocks upon forward motion of the bolt. Exposed hammers may be cocked

                   by manual retraction, using the thumb. The Walther series of pistols provides for

                   manual cocking or trigger pull cocking (double action), as do most open hammer

                   revolvers.

         II.      Recent Development and Evolution of Firearms with Features
                  Designed for Military Purposes

          54.      In recent years, there has been an increase in the popularity and availability of semi-

   automatic rifles, pistols, and shotguns with features initially designed (or patterned after those

   designed) for a military purpose. It is important to discuss the history of the development and

   evolution of firearms with these features.




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                   A. Assault Rifle Development and Evolution

             55.   The first “assault rifle” or “assault weapon” was the German StG 44 (Sturmgewehr

   Model 1944), which appeared in production form late in World War II. Earlier pre-production

   variants included the MP 42 and MP 43 (Maschinenpistole 1942 and 1943 respectively). The

   Germans termed the rifle “Sturmgewehr” (literally “storm rifle”), and a number of the features

   included utilization of a portion of the gas generated by the burning cartridge propellant to operate

   the rifle, extensive use of steel stampings in its construction, a detachable magazine, a separate

   pistol-style grip (not integrated with the shoulder stock), a bayonet mounting lug, and a threaded

   barrel to facilitate the attachment of a grenade launcher. It fired a cartridge that was smaller

   dimensionally and less “powerful” (in terms of muzzle velocity and foot-pounds of energy) than

   the standard 8mm Mauser cartridge in use by the German Army in their issued bolt-action Mauser

   rifles.




                                                                                            [4]
              `




   4
    STG 44 Image source: Peter Suciu, “Sturmgewehr, the First Assault Rifle,” Recoil: The Ultimate
   Firearms Destination for the Gun Lifestyle, June 19, 2016, available at
   https://www.recoilweb.com/sturmgewehr-the-first-assault-rifle-100907.html.
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          56.     It is important to note that the features designed into the German StG 44 were

   intended to increase the effectiveness of the individual soldier in combat:

          57.     Gas-powered semi-automatic fire. Gas-powered semi-automatic fire enabled

   more rapid fire than was possible using standard-issue bolt-action rifles.

          58.     Steel stampings. Steel stampings made for a lighter weapon, increasing the amount

   of ammunition an individual combatant could carry and/or increasing mobility. Additionally, steel

   stampings were easier and less expensive to manufacture.

          59.     Detachable magazine. Detachable magazines allow more rapid reloading than

   previous standard-issue bolt-action firearms.

          60.     Separate pistol-style grip. A separate pistol-style grip enhanced the ability of

   combat soldiers to quickly maneuver their firearms into firing position and retain stability for more

   precise aim while firing rapidly.

          61.     Barrel shroud. A barrel shroud encircles and protects the barrel while providing

   an auxiliary grip surface for the soldier’s nondominant hand and preventing it from being burned.

          62.     Bayonet mounting lug. This feature allowed soldiers to mount bayonets on their

   rifles, providing them with an additional weapon for use in close combat.

          63.     Threaded barrel. A threaded barrel allowed for the attachment of grenade

   launcher (on this particular rifle), providing combat soldiers with an additional weapon, albeit for

   use at a greater distance.

          64.     It is widely accepted that in the design of military small arms, “form follows

   function,” and each of these innovations primarily served to increase the firepower and lethality

   of an individual combatant.




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           65.    Following the end of World War II, captured StG 44s were analyzed by the Allies,

   and although there was reluctance to move to a smaller-caliber cartridge, a number of the features

   of the StG 44 found favor in the design of successive European, American, and Eastern Bloc

   military rifles. Noted firearm expert and historian Jim Supica wrote in his foreword to the book

   Guns:

                  Most military establishments hesitated to “downsize” the range and
                  power of their primary rifles in the early Cold War years. The semi-
                  auto detachable magazine concept was an obvious success and there
                  was something to be said for full auto capability.[5]

   He further writes:

                  However the assault rifle concept wouldn’t go away. The Soviet
                  Union accepted the lower power round idea in its fixed magazine
                  semi-auto chambered for an intermediate power 7.62 x 39 mm round
                  in 1945, the SKS, which saw wide distribution and production in
                  Soviet client states.[6]

           66.    Two years later in 1947, the USSR followed the SKS with what Supica terms “the

   quintessential assault rifle—the Kalashnikov designed AK-47.”7

           67.    The design of the AK-47 carried forward a number of the features introduced on

   the German StG 44. These features include a gas-powered operating system, use of steel stampings

   in its construction, a separate pistol grip, separate shoulder stock, a detachable magazine, a bayonet

   lug, and provision for attachment of a grenade launcher. Due to the separate stock and pistol grip,

   the AK, much like the StG 44, also utilized a barrel shroud, or handguard, on the forward third of

   the rifle. Some variations of the early AK-47s (AKMs) also featured a “compensator” at the muzzle




   5
     Supica, Guns (TAJ Books 2006). PP. 26-28.
   6
     Id.
   7
     Id.
                                                    19
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   that deflected gas upward and to the right to compensate for the rifle’s tendency to kick up and to

   the right with every shot.

          68.     In the 1950s, many countries sought to replace World War I and World War II

   vintage bolt-action and semi-automatic rifles with these newer and more effective designs. With

   the birth of the North Atlantic Treaty Organization (NATO), however, utilization of Soviet Bloc

   AK or SKS assault rifles was not possible. Accordingly, a number of firearms manufacturers

   outside the Soviet sphere of influence developed military rifles that carried forward these same

   features to one extent or another. Fabrique Nationale (FN) of Herstal, Belgium, and Heckler &

   Koch (HK) of Oberndorf, Germany are two noteworthy examples.

          69.     FN developed the FAL (Fusil Automatique Leger) and HK the G3, which found a

   ready market among nations that did not favor the Soviet AK-type designs. Both incorporated

   features that, like the AK, were derived directly from the StG 44. Their designs featured some

   parts made from metal stampings as opposed to heavier and more expensive machined-steel pieces.

   Their separate pistol grips and shoulder stocks, detachable magazines, and barrel shrouds followed

   the basic design of the StG 44. Flash suppressors and muzzle brakes have appeared in production

   variations of both rifles. These rifles were destined from inception to become widely exported as

   the domestic market in both countries was relatively limited. The FAL and G3 have been in

   production since the 1950s, and both FN and HK have licensed production to numerous countries

   in South America, Africa, and the Middle East.

          70.     In the United States, progress in this arena moved at a significantly slower pace.

          71.     The prevailing wisdom in the United States was to stay away from lighter, smaller

   rifle calibers and cartridges, as the .30-06 cartridge used in the M1 Garand rifle during World War

   II had proven to be very effective. The U.S.’s initial answer to the burgeoning move towards


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   assault rifles was a variation of the basic M1 Garand operating system, the T44, or M-14.

   Outwardly, the M-14 retained a full-length wood stock similar to the Garand; however, the M-14

   featured a detachable magazine, select-fire (both semi-automatic and full-automatic) capability,

   and a flash suppressor. It competed directly against the FN FAL (designated the T88) in U.S. Army

   trials and was selected in 1957.

          72.     In the mid 1950s, Eugene Stoner, the chief engineer of the American company

   ArmaLite Corporation, developed a number of lightweight assault rifle designs which resulted in

   the AR-10 (or ArmaLite Rifle Model 10) in .308 caliber. Its design closely followed what was now

   becoming standard assault rifle design, i.e., light weight (forged aluminum receivers as opposed

   to machined steel), a separate pistol grip and shoulder stock, a barrel shroud/handguard, detachable

   magazines, and numerous flash suppressor/muzzle brake variations. ArmaLite continued to refine

   the basic design of the AR-10, which resulted in the AR-15. The AR-15 was designed to chamber

   and fire the 5.56x45mm NATO cartridge, which is mostly interchangeable with .223 Remington

   ammunition.

          73.     In 1961, the Department of Defense purchased a quantity of AR-15 rifles from Colt

   for evaluation. A number of these were subsequently shipped to U.S. Army advisors in Vietnam

   to test their suitability for issue to South Vietnamese Army forces. Following the field evaluation,

   the Department of Defense Advanced Research Projects Agency (DARPA) prepared a report (AD-

   343778, dated August 20, 1962) summarizing the results. Amongst the data compiled via surveys

   of the U.S. Army advisors are a number of comments regarding actual field use of the weapon and

   cartridge. These comments describe various catastrophic injuries to Viet Cong combatants who

   were shot by AR-15s, including severing of limbs and decapitation.8


   8
    Advanced Research Projects Agency, Office of the Secretary of Defense, Field Test Report, AR-
   15 Armalite Rifle, at 24 (July 31, 1962), available at https://apps.dtic.mil/sti/pdfs/AD0343778.pdf.
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            74.     This rifle was adopted as standard issue by the U.S. Army in the mid 1960s. The

   production of the rifle had been licensed to Colt, and initially the model designation was, as

   produced, AR-15.




                                                                                [9]



   Later, after a series of engineering changes, the standard U.S. military designation was changed to

   M-16. When first deployed as a standard-issue rifle for U.S. military forces, the AR-15/M-16

   platform was maligned as unreliable and prone to jamming. This was due, in part, to inadequate

   maintenance by the operators themselves. Once the problems were addressed and rectified, the

   rifle proved to be as reliable and accurate as the AK-type rifles deployed by the North Vietnamese

   and Viet Cong.

            75.     In the ensuing 50-plus years, both the military and civilian versions of the M-

   16/AR-15 platform have undergone numerous modifications both cosmetic and mechanical.

   However, the basic configuration, appearance, construction, and operation of the internal gas-

   operating system (as designed) has remained unchanged since its initial inception and acceptance



   9
       Colt AR-15 Image Source: Stevens, R. Blake & Ezell, Edward C., The Black Rifle, (Collector
       Grade Publications, 2004), P.95.
                                                   23
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   as a military weapon. However, Colt continued to promote the similarity between the M-16 rifle

   produced for the U.S. military and the civilian semi-automatic variant.

          76.     The expiration of Colt’s patents in the late 1970s naturally spawned competition in

   the marketplace. Throughout the design’s lifespan, many of the internal fire-control components

   have remained unchanged and their specifications standardized industry wide. There are multiple

   internal parts that are completely interchangeable between military M-16s manufactured in the

   1960s by Colt and an AR-15 type rifle produced today by any one of hundreds of U.S.

   manufacturers who produce either receivers or internal operating parts. For example, a bolt carrier

   manufactured in 1967 by Colt will fit, and function as designed, in an AR copy manufactured

   today. Additionally, the overall configuration of “copycat” AR rifles remains virtually identical to

   the original production design of the early 1960s. The overall design configuration (two-piece

   hinged receiver, shoulder stock in line with the chamber and barrel, placement of the magazine,

   external switches, and other features) are identical or nearly so.

          77.     As stated previously, due to their modular construction, AR-type rifles are easily

   customized to suit the owner’s personal preference. This also applies to pistols which are based on

   AR- and AK- type rifle receivers. The rifle receiver itself is a hinged two-piece unit and the “upper

   receiver” and “lower receiver” can be swapped out for other similar pieces with relative ease. The

   design also facilitates replacement of internal fire control components and assemblies. The

   following video illustrates this: https://www.youtube.com/watch?v=F00FEJZbrb0.

          78.     It is important to note the respective characteristics of the 5.56mm/.223 caliber

   cartridge that influenced the U.S. military’s decision to switch over from the 7.62 x 51mm/.308

   caliber round used in the preceding model M-14 rifles. Dimensionally, the 7.62 x 51mm cartridge




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   is 71mm (2.8 inches) long overall and weighs approximately 0.9 ounces. The 5.56mm cartridge is

   57mm (2.24 inches) long overall and weighs approximately 0.4 ounces.




                                                                  [10]


   Five pounds (80 oz.) of 7.62 ammunition would consist of 89 cartridges. Five pounds of 5.56

   would consist of 200 cartridges. The lighter weight and smaller dimensions of a 5.56/.223 caliber

   cartridge would allow more ammunition to be carried by an individual combatant for an equivalent

   weight. The shorter overall dimensions of the 5.56 also commensurately allowed for smaller

   detachable magazines and/or larger capacity magazines for the same size. A 30-round magazine

   for a 5.56mm AR-15 rifle is smaller than a 20-round magazine for a 7.62mm M-14 rifle.

             79.    Performance in terms of muzzle velocity was also a consideration. The 7.62x51mm

   (.308) cartridge has a muzzle velocity of approximately 3,200 fps. The 5.56mm cartridge has

   approximately the same velocity (for reference, a 9mm pistol cartridge has a muzzle velocity of

   approximately 1,100 fps). 5.56mm bullets, upon contacting tissue, will “yaw” (begin to rotate on

   its axis), which contributes to the creation of both temporary and permanent large wound cavities.


   10
        .223 and .308 caliber ammunition Image Source: https://www.intherabbithole.com/e176/


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   In contrast, because handgun-caliber bullets are heavier and travel at lower velocities, they do not

   typically yaw upon contact with tissue and do not create as large of a wound cavity nor

   commensurate destruction of tissue. The yaw movement of .223/5.56mm bullet can also cause it

   to fragment upon striking bone, which contributes to additional tissue damage not immediately

   adjacent to the cavity itself.

            80.    Noted wound ballistics expert Vincent DiMaio, in Gunshot Wounds, writes:

                   As the bullet enters, the body, there is “tail splash” or backward
                   hurling of injured tissue. This material may be ejected from the
                   entrance. The bullet passes through the target, creating a large
                   temporary cavity whose maximum diameter is up to 11-12.5 times
                   the diameter of the projectile. The maximum diameter of the cavity
                   occurs at the point at which the maximum rate of loss of kinetic
                   energy occurs. This occurs at the point where the bullet is at
                   maximum yaw, i.e., turned sideways (at a 90[-degree] angle to the
                   path) and/or when it fragments. If fragmentation does not occur and
                   the path is long enough, the yawing continues until the bullet rotates
                   180[ degrees] and ends up in a base-forward position. The bullet will
                   continue traveling base first with little or no yaw as this position puts
                   the center of mass forward.

                   The temporary cavity will undulate for 5-10 msec before coming to
                   rest as a permanent track. Positive and negative pressures alternate
                   in the wound track, with resultant sucking of foreign material and
                   bacteria into the track from both entrance and exit. In high-velocity
                   centerfire rifle wounds, the expanding walls of the temporary cavity
                   are capable of doing severe damage. There is compression,
                   stretching and shearing of the displaced tissue. Injuries to blood
                   vessels, nerves, or organs not struck by the bullet, and a distance
                   from the path, can occur as can fractures of bones, though, in the
                   case of fractures, this is relatively rare. In the author’s experience,
                   fractures usually occur when the bullet perforates an intercostal
                   space fracturing ribs above and below the bullet path.[11]

            81.    DiMaio further states:

                   Projectile fragmentation can amplify the effects of the temporary
                   cavity increasing the severity of a wound. This is the reason for the
                   effectiveness of the 5.56 x 45-mm cartridge and the M-16 rifle. For
                   the M-193 55-gr. bullet, on the average, the yaw becomes significant
   11
        DiMaio, Gunshot Wounds, 2d (CRC Press LLC, 1999). P. 54-55
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                        at 12 cm with marked issue disruption occurring most commonly at
                        15-25 cm due principally to bullet fragmentation.[12]

             82.        This video graphically illustrates the temporary wound cavity as described by

   DiMaio: https://www.youtube.com/watch?v=8HM96wpPVoQ.

             83.        Because of the propensity of the 5.56/.223 caliber round to create significant

   damage upon impacting living tissue, it is not generally considered to be nor favored as a hunting

   cartridge.

             84.        Colt sought to capitalize on the military acceptance of the AR-15/M-16 and shortly

   thereafter began to produce these rifles for sale on the civilian market. The only difference between

   the military and civilian versions was removal of select-fire (both semi-automatic and full-

   automatic) capability. The additional features on these rifles intended to enhance their capability

   as military firearms remained. As the AR-15/M-16 gained a reputation for reliability in military

   use, its popularity in terms of sales to the civilian market increased. Arguably, the AR-type rifle is

   in second place behind AK-type firearms in terms of production, sale, and use by military forces

   worldwide. This animation thoroughly details the key operational components of the M-16/AR-15

   in                full-automatic,         semi-automatic           and           burst         modes:

   https://www.youtube.com/watch?v=omv85cLfmxU

                        B. Evolution and Development of Pistol-Caliber Firearms

             85.        It is also important in terms of this particular case to address the evolution and

   development of firearms that chamber and fire pistol-caliber ammunition, including those firearms

   known as submachine guns. Submachine guns are defined as machine guns that fire “sub caliber”

   (i.e., pistol-caliber) ammunition. A number of the pistols that are prohibited under the Ordinances




   12
        Id., P. 56
                                                        27
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   are direct evolutionary descendants of submachine guns initially designed and produced for

   military use.

          86.      Many of the construction and design features attributed to assault weapons, and the

   StG 44, were first utilized in the design and manufacture of mid-20th-century submachine guns.

   Nazi Germany entered World War II with the innovative Maschinenpistole 38 (MP38). It was

   chambered in 9mm and later, after a number of engineering changes, re-designated as the MP40.

   It has design features commonly found in later assault weapons, including an adjustable stock, a

   separate pistol grip, a detachable magazine, and the use of steel stampings in its construction. The

   MP40 is pictured here:




                                                                                       [13]



          87.      While the United States initially entered World War II with a military variant of the

   Thompson .45-caliber submachine gun, it was heavy and expensive to manufacture because a

   number of the major components were machined from solid steel. Before the end of the war, the

   Thompson had been supplemented by the M3 “Grease Gun” initially produced by General Motors.

   The receiver was a stamped and welded sheet-metal assembly with an adjustable, sliding shoulder

   stock. Like the MP38 and MP40, it had a separate pistol grip, a sliding/adjustable shoulder stock,


   13
      MP40 Image Source: https://www.rockislandauction.com/detail/84/613/german-erma-mp40-
   submachine-gun

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   and a detachable box magazine with a 30-round capacity. In a utilitarian sense, it was as effective

   as the Thompson and, at approximately $20, it was less than half as expensive.

          88.     The United Kingdom produced over one million Sten submachine guns during

   World War II. A rugged and reliable firearm made largely from welded steel stampings, it is known

   for its utility, reliability, and ease of manufacture. Features shared with the American M3 and

   German MP38/MP40 include an adjustable shoulder stock, a detachable magazine, and, on some

   variations, a barrel shroud allowing the operator to utilize the area surrounding the barrel as an

   auxiliary grip without touching a heated barrel.

          89.     Prior to and during World War II, a number of other nations developed submachine

   guns which followed the same design and construction philosophy. Notable examples include the

   Soviet PPSh-41, the Italian Beretta Model 38/42, and the Swedish Carl Gustav Model 45.

          90.     Following World War II, most new submachine gun designs continued the design

   philosophy which combined utility, ease of manufacture, and the features of wartime firearms. In

   the early 1960s, HK introduced the MP5 which became an immensely popular choice for military

   and law enforcement agencies worldwide due to its inherent reliability and accuracy. The MP5

   was produced in multiple iterations to include a semi-automatic civilian version as well as a pistol

   variant without a provision for a shoulder stock (HK SP89). The SP89 is pictured here:




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                                                                                      [14]


          91.     Israeli Military Industries also successfully marketed their Uzi submachine gun for

   export in select-fire and civilian semi-automatic variants. The Uzi Pro” pistol is shown below:




                                                                               [15]




   14
       SP89 Image Source: https://www.gunsinternational.com/guns-for-saleonline/pistols/9mm-
   pistols/excellent-condition-factory-german-hk-sp89-9mm-pistol.cfm?gun_id=101037518.
   15
      Image Source: https://blog.cheaperthandirt.com/shot-2013-iwi-uzi-pro-pistol/



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          92.    Additionally, a number of submachine gun designs proved unsuccessful in terms of

   military and government sales but nonetheless found a ready market when re-engineered as semi-

   automatic pistols. Notable examples include the Military Armaments Corporation (MAC) MAC-

   10 (and successive variants) and the Intratec TEC-9, which was initially designed and produced in

   Sweden as the Interdynamic MP-9 submachine gun. A MAC-10 is pictured here:




                                                                     [16]



   A TEC-9 pistol is shown in the following picture:




   16
     Image Source: https://www.armslist.com/posts/11522946/st-louis-missouri-handguns-for-sale-
   -vulcan-mac-10


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                                                                             [17]




             III.   Features of Assault Weapons Under the Ordinances

              93.   Equipment designed, produced, and issued to modern military forces for utilization

   in the field emphasizes functionality. In terms of small arms designed and produced for military

   use, form follows function, and features are present to maximize effectiveness. Maximizing

   effectiveness in terms of military small arms includes the ability to deliver reliable lethality or the

   ability to incapacitate the chosen target and provide increased survivability for the operator in

   battle.

              94.   Numerous assault weapons available for purchase by the public are, save the lack

   of select-fire capability, identical copies of military firearms. As such, they retain a number of

   features originally designed to maximize their effectiveness in battle. Other firearms available to

   the public that were not initially intended for sale to government or military customers incorporate

   features mimicking those found on military firearms. There are countless accessories available to



   17
      Image Source:
   https://www.egunner.com/intratec-tec-dc99mmpara,name,11952922,auction_id,auction_details
                                                     32
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   add to firearms traditionally considered “sporting firearms” (i.e., those initially designed and

   manufactured for target shooting or hunting), which brings their functionality more towards the

   military side of the spectrum and away from the sporting side.

                   A. Prohibited Firearms and Features Under the Ordinances

                       i. Prohibited Firearms

          95.      The Ordinances do not ban all firearms, all semi-automatic firearms, or even all

   firearms chambered to fire .223/556mm (AR-platform) or 7.62x39mm (AK-platform) caliber

   ammunition.

          96.      Instead, the Ordinances prohibit a number of firearms and features with obvious

   military (i.e., non-sporting) heritage. The features delineated in the Ordinances are direct

   descendants from those on military firearms. These features are not necessary for civilian self-

   defense; firearms without these features are permitted under the Ordinances, and these lawful

   alternatives are widely available to civilian customers and provide effective means for civilian

   self-defense.

          97.      Each Ordinance also bans certain weapons based on magazine capacity. I discuss

   magazine capacity below.

                      ii. Prohibited Features

          98.      Included in the Ordinances’ definitions of “assault weapon” are a number of

   features that, when added to certain firearms, bring those firearms under the statutory definition of

   assault weapons. Specifically, a semi-automatic rifle or pistol that has the capacity to accept a

   detachable magazine (or can be readily modified to do so) or a semi-automatic shotgun is

   considered an assault weapon if the firearm includes one of the features delineated in the

   Ordinances.


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           99.     Each of the following features, whether incorporated into the firearm by the

   manufacturer as standard equipment or subsequently added by the owner as an accessory, can

   generally be considered capable of increasing the firearm’s effectiveness in a military combat

   scenario.

           100.    A pistol grip or thumbhole stock (for semi-automatic rifles and shotguns). A

   semi-automatic rifle or shotgun that includes a pistol grip (without a shoulder stock) increases the

   ability of the operator to conceal the rifle or shotgun and to maneuver the firearm in a confined

   space such as a vehicle. The pistol grip also facilitates easier firing from positions other than the

   shoulder (firing from the hip or a point position directly in front of the operator). Thumbhole stocks

   have historically been utilized on some firearms for sport and target shooting; however, during the

   time the Federal Assault Weapons Ban was in effect (1994 to 2004), a number of AK-style firearms

   (amongst others) were equipped with thumbhole stocks to circumvent the ban’s prohibition on

   pistol grips.

           101.    Folding or telescoping stock (for semi-automatic rifles and shotguns): Folding and

   telescoping stocks allow the operator to more easily conceal or maneuver the weapon in a confined

   space such as a vehicle. They also facilitate easier or more comfortable firing from positions other

   than the shoulder. However, a firearm does not need an adjustable stock to operate. Folding stocks

   were added to the M1 carbine in World War II for paratrooper use. More recent variants of the

   U.S. military’s M-16 (M-4 carbine) have incorporated telescoping stocks as a standard feature.

           102.    Flash suppressor (for semi-automatic rifles and pistols). A flash suppressor

   reduces the muzzle flash, allowing the operator to more easily maintain vision in low-light

   conditions and also helps to conceal the flash from view. This allows the operator to more easily




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   acquire additional targets in a shorter period of time without having to wait for their vision to adjust

   to a brighter muzzle flash as well as helps conceal the shooter’s position.

           103.    Shroud attached to the barrel, or that partially or completely encircles the

   barrel (for semi-automatic rifles and pistols). Historically, barrel shrouds were a feature of

   military rifles produced and adopted at the beginning of the 20th century. The bolt-action U.S.

   Model 1903 Springfield Rifle (standard issue for U.S. Forces in WWI) incorporated a wooden

   barrel shroud to protect the shooter’s nondominant hand. The M1 Garand rifle utilized by the U.S.

   military during WWII also incorporated a traditional wooden stock and a wooden handguard that

   covered two-thirds of the barrel. Barrel shrouds encircle and protect the barrel from damage and

   provide the operator with an auxiliary grip point without being burned. In a modern gas-operated

   semi-automatic military rifle, it also serves to protect the gas tube/piston mechanism from

   inadvertent damage and provides additional space for the operator to grip and control the rifle

   during rapid repeat firing without risking being burned by a hot barrel.

           104.    Threaded barrel (for semi-automatic pistols). A threaded barrel allows for

   attachment of a suppressor (commonly referred to as a silencer) which allows the operator to better

   conceal themselves from their target by reducing the report of their firearm. It also allows the

   attachment of some flash suppressors with the resultant effect mentioned previously.

           105.    A secondary protruding grip or other device to allow the firearm to be

   stabilized with the non-trigger hand (for semi-automatic pistols, rifles (Boulder County only),

   and shotguns (Boulder County only)). Protruding foregrips allow increased stability of the firearm

   by the operator. This allows the operator to better control recoil and muzzle climb, thus increasing

   their hit probability for successive shots. A protruding foregrip is not a feature found on traditional

   sporting firearms. It appeared on some versions of AK-based rifles; however, it was not until the


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   advent of the Rail Attachment Systems (RAS) and acceptance by the U.S. military that foregrips

   for semi-automatic rifles became more widespread. Adding a foregrip to a pistol also renders it

   “any other weapon” under the National Firearms Act and subjects it to more restrictive controls,

   including registration in a national database.

            106.    The capacity to accept a detachable ammunition feeding device at some

   location outside of the pistol grip (for semi-automatic pistols). The placement of a detachable

   ammunition feeding device or magazine outside of the pistol grip is a feature not common to

   sporting pistols and can trace its origin to military pistols. The Bergmann Military Model 1897 (or

   No. 5) featured a detachable magazine outside the pistol grip. Further evolution of this design can

   be found in the Mauser C96 or “Broomhandle” pistols, which were manufactured with fixed

   internal as well as detachable magazines forward of the pistol grip. Modern firearms recently or

   currently manufactured in this configuration are either semi-automatic pistol variants of

   submachine gun designs (HK SP89, Czech Scorpion, TEC-9, etc.) or pistols based upon AR and

   AK receivers. The forward magazine placement provides a second grip, which can increase

   stability and allow for more controlled rapid fire.

            107.    A manufactured weight of 50 ounces or more when unloaded (for semi-

   automatic pistols). Under federal law, a handgun, whether it be a pistol or revolver, is designed

   to be “held and fired with the use of a single hand.”18 Unloaded, an AR-platform pistol weighs

   between 5 and 6 pounds, effectively requiring two hands to hold and operate. By comparison, the

   Glock 17, a popular semi-automatic pistol, weighs 22 ounces unloaded and can be held and fired

   with one hand.




   18
        18 USC § 921(a)(30).


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           108.    Buffer tube, arm brace, or other part that protrudes horizontally under the

   pistol grip (for semi-automatic pistols). An arm brace converts a rifle-caliber pistol into a short-

   barreled rifle (a type of weapon restricted under the National Firearms Act), as it can allow the

   operator to fire it from the shoulder, increasing stability while maintaining concealability. Buffer

   tubes provide a mounting point for arm braces and/or shoulder stocks facilitating conversion of a

   pistol to a short-barreled rifle.

           109.    Fixed magazine that has the capacity to accept more than five rounds (for semi-

   automatic shotguns) or ten rounds (for semi-automatic pistols). This feature prohibits larger-

   capacity fixed magazines. A fixed magazine capable of holding more than 5 rounds of ammunition

   for a semi-automatic shotgun or 10 rounds for a semi-automatic pistol is not necessary for the

   firearm to operate as designed. All firearms are capable of functioning with compliant capacities.

   It is also worth noting that most modern semi-automatic shotguns that are designed, manufactured,

   and marketed as “hunting shotguns” have a fixed magazine capacity of less than 5 rounds,

   including, for example, the Remington Model 1100, which has a fixed magazine capacity of 4

   rounds. As for pistols, semi-automatic models that utilize fixed magazines, let alone fixed

   magazines that hold over 10 rounds of ammunition, are not common.

           110.    An ability to accept a detachable magazine (semi-automatic rifles and pistols;

   semi-automatic shotguns (Boulder County only). Detachable magazines allow shooters to replace

   an empty or depleted magazine with a fresh magazine to resume firing quickly.

           111.    For more than 30 years, these types of prohibited features—useful for offensive

   military applications in combat settings but not necessary or suited for civilian self-defense—have

   been the subject of study and regulation.




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           112.    For example, in 1989, an ATF working group formed under the President George

   H.W. Bush administration evaluated the importability of semi-automatic rifles and completed a

   report, which is attached as Exhibit C.19 That working group determined that certain civilian rifles

   were generally semi-automatic versions of select-fire military assault rifles.20 As the working

   group explained, select-fire military assault rifles can fire in fully automatic mode (AKA: a

   machine gun). By contrast, civilian semi-automatic assault weapons cannot fire in fully automatic

   mode, but they have the same “general characteristics which are common to the modern military

   assault rifle.”21

           113.    These characteristics are associated with features that are designed for offensive

   military applications. As the working group found, these characteristics and features carried over

   from the military assault rifle to the semi-automatic versions, and distinguished the semi-automatic

   assault weapons from traditional sporting rifles.22 The ability to accept a detachable magazine,

   folding and telescoping stocks, pistol grips, and other identified characteristics were “military

   configurations.”23 As a result, the ATF working group determined that semi-automatic assault

   weapons were not “generally recognized as particularly suitable for or readily adaptable to sporting

   purposes.”24

           114.    In 1994, Congress enacted the federal assault weapons ban, creating criminal

   penalties for the manufacture, transfer, or possession of assault weapons and large-capacity

   magazines. In enacting the federal ban, Congress recognized the tragic threat posed by gangs,



   19
      Report and Recommendation on the Importability of Certain Semiautomatic Rifles, Department
   of the Treasury Bureau of Alcohol, Tobacco and Firearms (July 6, 1989).
   20
      Id. at 5-6.
   21
      Id. at 6.
   22
      Id.
   23
      Id. at 6-7
   24
      Id. at 12.


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   drug-traffickers, mentally deranged persons, and others armed with assault weapons.25

   Specifically, Congress noted that assault weapons had become the weapon of choice for gangs,

   and law enforcement faced a “rising level of lethality … from assault weapons on the street.”26

          115.    Congress, when drafting the 1994 Federal Assault Weapons Ban, incorporated the

   technical work of the 1989 ATF working group.27 Congress recognized that “semiautomatic

   assault rifles … represent a distinctive type of rifle distinguished by certain general characteristics

   which are common to the modern military assault rifle.”28 Congress further recognized that these

   features serve “specific, combat-functional ends” that provide “a capability for lethality—more

   wounds, more serious, in more victims—far beyond that of other firearms in general, including

   other semiautomatic guns.”29

          116.    ATF organized two subsequent working groups in 1998 and 2011. The 1998

   working group concurred with the conclusions of the 1989 study and added a finding that “the

   ability to accept a detachable large capacity magazine originally designed and produced for a

   military assault weapon should be added to the list of disqualifying military configuration features

   identified in 1989.”30 The 2011 working group then considered the importability of certain

   shotguns, finding that features such as a folding, telescoping, or collapsible stock, magazines

   holding over 5 rounds, and forward pistol grips were most appropriate for military or law

   enforcement use and not sporting purposes.31


   25
      H.R. Rep. No. 103-489, Public Safety and Recreational Firearms Use Protection Act (May 2,
   1994) (attached as Exhibit D) at 12.
   26
      Id. at 13-14.
   27
      Id. at 17.
   28
      Id.
   29
      Id. at 18–20.
   30
      Department of the Treasury Study on the Sporting Suitability of Modified Semiautomatic
   Assault Rifles, Department of the Treasury Bureau of Alcohol, Tobacco and Firearms (April
   1998) (attached as Exhibit E) at 2.
   31
      ATF Study on the Importability of Certain Shotguns, U.S. Department of Justice Bureau of


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          117.    As described above, the prohibited features serve military-style offensive purposes

   as opposed to traditional sporting or self-defense uses. And the ATF’s concerns about the offensive

   nature of these firearms have certainly been borne out by their subsequent criminal use in mass

   shootings and assaults on law enforcement in the past decade.

                  B. Prohibited Large-Capacity Magazines

          118.    Magazine capacity plays a role in defining assault weapons under the Ordinances,

   and the Ordinances also separately restrict large-capacity magazines themselves, which are

   generally defined as magazines with the capacity to accept more than ten rounds of ammunition.

          119.    Modern semi-automatic rifles that are designed, manufactured, and marketed as

   “hunting rifles” traditionally have an internal magazine capacity of less than 10 rounds depending

   on caliber. For example, the Browning BAR in .30-06 caliber as currently manufactured has an

   internal magazine capacity of four (4) rounds.

          120.    The operation (or cycle of fire) of any firearm designed and manufactured to accept

   a detachable magazine will function regardless of the maximum capacity of the magazine itself.

   For example, firearms such as the Glock 17 semi-automatic pistol and AR-15 type semi-automatic

   rifle will function as designed whether the operator utilizes a magazine limited to 10 rounds or one

   of greater capacity. In fact, both of those examples will still fire a chambered round if there is no

   magazine inserted. Generally speaking, any firearm designed to accept a detachable magazine

   holding more than 10 rounds will also accept a magazine with a maximum capacity of 10 rounds

   or fewer. This includes the vast majority of handguns and shoulder-fired firearms designed and

   manufactured to utilize detachable magazines.




   Alcohol, Tobacco, Firearms and Explosives (January 2011) (attached as Exhibit F), at iv, 9-13.


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          121.    Large-capacity detachable magazines were not initially designed or intended for

   the civilian marketplace. The lineage and refinement of large-capacity detachable magazines and

   belt-feeding mechanisms can be traced directly to a military heritage. WWI introduced numerous

   magazine-fed light machine guns to combat, and the trend continued through WWII. As far as the

   individual infantryman’s rifle was concerned in WWII, the standard-issue semi-automatic rifle for

   the U.S. Army as well as the U.S. Marine Corps was the M1 Garand chambered in .30-06. The M1

   has an internal fixed magazine with a capacity of 8 rounds. The magazine was loaded via an 8

   round “en bloc” which was ejected from the magazine after those 8 rounds were expended. It was

   not until the mid-1950s, with the adoption of the M-14, that a rifle with a detachable magazine

   was approved as standard issue to front line members of the U.S. military. The M-14 was issued

   with a 20-round magazine.32

          122.    Although technological advances in military firearms accelerated at a rapid pace

   following WWII, large-capacity detachable magazines were not commonly marketed for the

   general public. For example, when the AR-15 (later designated M-16) was first purchased and

   issued to U.S. Forces in the early 1960s, it was intended to be utilized, and was issued, with 20-

   round detachable magazines.33 However, when the first semi first semi-automatic variants of the

   M-16, the Colt AR-15 SP1 Sporter, became available for sale to the public in 1964, it came

   supplied with two five-round magazines, not the military-issue 20-round magazines.




   32
      Hogg, Ian V. & Weeks, John S., Military Small Arms of the 20th Century, 7th Ed., (Krause
   Publications, 2000), P. 291
   33
      Stevens, R. Blake & Ezell, Edward C., The Black Rifle (Collector Grade Publications, 2004), P.
   108


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             123.   “Initially, Colt simply added a five round limitation spacer to the 20-round

   magazine which could be installed or removed at will by simply removing the floor plate of the

   magazine. This was primarily intended for hunters, in compliance with the laws in most states

   which limit magazines in the field to a five-round capacity for hunting. With the introduction of

   the Colt Sporter series, the configuration of this magazine was altered by the addition of a

   permanent rivet in the floorplate to prevent the removal of the spacer, thus making this a magazine

   of dedicated five-round capacity for hunting applications.”34




   34
        Bartocci, Christopher R., The Black Rifle II (Collector Grade Publications, 2004), P. 263


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   Colt continued to provide five round magazines with their AR-15 rifles as late as 1987.35

             124.   Post-war development of semi-automatic pistols continued after WWII; however,

   magazine capacities generally remained under 10 rounds. Notable examples include the Beretta

   Model 1951 (8 rounds), Sig Sauer P220 (1975, 7 to 10 rounds depending on caliber), Heckler &

   Koch P7 (1978, 8 rounds).

             125.   In 1994, Congress adopted the Violent Crime Control and Law Enforcement Act,

   (which included provisions also known as the Federal Assault Weapons Ban or “AWB”), which,

   like the Ordinances, limited the maximum capacity of a detachable magazine to ten rounds. As a

   result, numerous firearm manufacturers, as well as aftermarket magazine manufacturers, initiated

   production of what were colloquially termed “post-ban” magazines to conform to the new

   legislation. The post-ban magazines were modified, or retooled, versions of existing large-capacity

   magazines, in order to keep their dimensions identical and ensure that the 10-round magazines

   functioned identically to existing magazines of 11 rounds or more in their firearms. For example,

   pictured below is a “pre-ban” 13-round magazine for a Browning 9mm “Hi Power” semi-automatic

   pistol:




   35
        Colt Firearms 1987 Catalog, (Colt Industries Inc., 1986), P.16


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          126.   And shown below is a “post-ban” 10-round magazine for the same pistol. You will

   note the 10-round magazine differs as a portion of the metal magazine body is replaced with a

   molded polymer plug. This modification effectively limits the interior volume and capacity of the

   magazine to 10 rounds. Manufacturers have also utilized various other methods to restrict

   magazine capacity, including dimpling the lower quadrant of the magazine body inwards, placing

   rivets in the magazine body, or thickening the walls of polymer-bodied magazines to reduce

   capacity.




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          127.    Following the expiration of the Federal Assault Weapons Ban, numerous states and

   localities enacted their own legislation, which also contained magazine capacity limitations. As a

   result, many manufacturers of popular semi-automatic handguns and rifles during the Federal

   Assault Weapons Ban continued to offer “state compliant” versions to customers in states so

   affected. Manufacturers such as Glock, Sig Sauer, FN USA, Beretta, and Smith & Wesson, among

   numerous others, offer handguns and rifles compliant with individual state regulations. Most major

   firearm manufacturers offer models that come “standard” with 10-round magazines.

          128.    Shown here is a page from the current online catalog of FN USA (the U.S. based

   subsidiary of Belgian arms manufacturer Fabrique Nationale) showing the “California Compliant”

   version of their “Five-seveN” pistol.




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                                                                                      [36]



            129.    And a “California Compliant” Glock Model 19 9mm pistol available from

   Sportsman’s Warehouse:




   36
        Image Source: https://fnamerica.com/catalog-and-wallpapers/


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                                                                                     [37]




         130.   Additionally, there are numerous well-respected aftermarket manufacturers who

   offer 10-round magazines specifically for use in handguns that come with LCMs. Mec-Gar and

   ProMag are two of many:




   37
     Image Source: https://www.sportsmans.com/shooting-gear-gun-supplies/handguns/glock-19-
   9mm-luger-402in-black-nitrite-pistol-101-rounds-california-compliant/p/1155366



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                                                                                           [38]




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   38
        Image Source: https://mec-gar.com/shop/magazines/sig-sauer/sig-sauer-p229-1-9mm-10-
   round/
   39
      Image Source: https://promagindustries.com/fits-the-glock-model-17-19-26-9mm-10-rd-black-
   polymer/



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          131.       In regard to semi-automatic rifles compliant with the Ordinances, many

   manufacturers also offer magazines that have a 10-round maximum capacity. For example,

   magazines compliant with the Ordinances for the Ruger Mini-14 rifle (a weapon generally legal

   under the Ordinances) are available here:

   https://gunmagwarehouse.com/magfinder/ruger-mini-14

          132.    Without argument, the ability to fire an increased quantity of cartridges without

   reloading increases the lethality and effectiveness of small arms in combat, or the military would

   not have incorporated this feature. Less time required to reload can equate to more time spent

   acquiring targets and shooting. As stated previously, form follows function in regard to equipment

   designed and intended for military use.

          133.    To the best of my knowledge, any semi-automatic capable of accepting a large-

   capacity detachable magazine will accept a magazine with a capacity of ten rounds or less. I have

   fired a significant number of handguns and rifles with magazines of varying capacities. The

   capacity of the magazine did not affect the ability of those firearms to function as designed. In fact,

   based on my training, knowledge, and experience, I am not aware of a single firearm that

   specifically requires a large-capacity magazine, as defined in the Ordinances, to operate.

         IV.     Assault Weapons and Self-Defense

          134.    It is my opinion that assault weapons, as defined by the Ordinances, are a poor

   choice for civilian self-defense.

          135.    I have been asked on numerous occasions over the past 35 years what firearm I

   would recommend for personal or home defense. My recommendation is based upon my inquiry

   in return regarding the individual’s (and their family members’) personal experience and comfort

   level with firearms. In over 25 years, I have never recommended an AR, AK, or other similar rifle

   or assault pistol as a personal-defense or home-defense weapon.



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            136.    Home defense and/or self-defense (including street/commercial robbery) situations

   are rarely, if ever, lengthy shootouts at long ranges with extensive exchanges of gunfire. Assault

   weapons, as defined by the Ordinances, were designed to be effective at battlefield ranges of up to

   500 yards. The typical muzzle velocity of a .223-caliber bullet is 3,200 fps. Projectiles travelling

   at velocities found in these weapons pose a serious risk of overpenetration in most home

   construction materials, such as gypsum board/sheet rock and typical 2x4 lumber. When this

   cartridge was designed for the AR-15/M-16, it was intended to kill or incapacitate enemy

   combatants at distances of hundreds of yards, not dozens of feet.

            137.    In August 2014, the NRA’s American Rifleman published an article by Stanton

   Wormley titled “The AR-15 for Home Defense: Penetration Tests.”40 Wormley conducted

   penetration tests on nine different types of .223/5.56mm ammunition by firing them through

   simulated wall sections constructed of gypsum board/sheet rock and wooden 2x4 studs. When

   fired at a 90-degree angle to the walls, all nine types of ammunition (including “frangible” rounds

   designed to disintegrate when hitting a hard surface) easily penetrated the wall sections as well as

   the water jugs placed three feet behind them:

                    But just how much energy did the penetrating projectiles carry? All
                    the loads, including the Glaser, exploded one-gallon water jugs
                    placed 3 feet behind the wall sections.[41]

            138.    The tests conducted by Wormley also included firing longitudinally through the

   wall sections, resulting in the penetration of three successive 2-inch-thick 2x4 studs by a number

   of the projectiles. These tests vividly highlight the inherent dangers of utilizing assault weapons

   with high-velocity ammunition in a home-defense scenario.




   40
        https://www.americanrifleman.org/content/the-ar-15-for-home-defense-penetration-tests/
   41
        Id.


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          139.    In reference to the American Rifleman article mentioned previously, current U.S.

   Army-issue .223-caliber ammunition is capable of penetrating 3/8-inch hardened steel at 350

   yards. Potential overpenetration in a confined environment is problematic in terms of risks to

   bystanders or family members outside the target location. Most jacketed, commercially available

   .223/5.56mm ammunition has impressive penetration capabilities in this regard. Additionally, the

   (former) NATO-issue M855 SS109 5.56mm is readily available for purchase by civilians. This

   ammunition was designed to penetrate up to 3mm of “soft” (non-hardened) steel. This capability

   is certainly unnecessary for self-defense and poses substantial risks to individuals in adjoining

   rooms, neighboring apartments, or other attached dwellings.

          140.    During a stressful situation such as a home invasion or break-in, there may be

   multiple steps required by the operator to bring the weapon from a “safe” condition to a firing

   condition. Manipulation of a charging handle, safety switch, or inserting a magazine may be

   difficult to accomplish under stress, particularly if the operator has not adequately trained or

   practiced with their firearm. Other family members may not be familiar with bringing the weapon

   to a firing condition or fail to complete adequate steps to do so under duress. Unloaded, an AR-

   platform rifle weighs approximately 6.5 to 7 pounds. It also requires two hands to aim and fire. In

   a home-defense scenario, a homeowner would likely be attempting to call 911 while addressing

   the intruder, which is difficult if not impossible while wielding their AR-15 effectively and safely.

   Additionally, it would hamper, if not prevent, leading a vulnerable adult away from danger or

   guiding/carrying a small child. By comparison, common handgun weights are between 2 and 3

   pounds and require only one hand to operate.

          141.    While employed as a Special Agent with ATF, the agency transitioned to an AR-

   type rifle in the early 2000s. Each agent was required to attend, and successfully complete, a one-




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   week/40-hour transition training class in order to familiarize themselves, and qualify, with the

   firearm. The training included repetitive live-fire drills under stressful conditions. Additionally,

   we were required to requalify with these firearms quarterly and repeat the same drills as during the

   initial transition training. Nonetheless, I witnessed agents make errors that resulted in a failure of

   the weapon to fire during those drills, even though those agents had performed the drills repeatedly

   under stress. It is worth noting here that the M4 carbines issued to ATF Field Offices were select-

   fire rifles (i.e., machine guns capable of fully automatic fire) that were converted to semi-automatic

   fire only.

           142.     Assault pistols are also a poor choice for home defense or personal protection. Due

   to their weight and length, many assault pistols prohibited by the Ordinances require two hands to

   effectively aim and shoot. (Certainly, the same can be said for a rifle.) In a home-defense situation,

   an individual may be required to use one hand to call 911 while attempting to operate a two-handed

   firearm with just one hand. Such a situation would also preclude the homeowner from utilizing

   their non-gun hand to pick up or guide a small child, or an elderly or disabled individual, during

   such an event.

           143.     Additionally, I am not of the opinion that an abundance of ammunition is a

   substitute for weapons familiarization and shot placement. Repeated practice and shooting with

   your chosen firearm will make you a more effective deterrent than the capability to fire more

   rounds should deadly force be required.

           144.     If the individual had a preference for shoulder-fired weapons, I have recommended

   a pump-action 12- or 20-gauge shotgun (Remington 870, Mossberg 500, etc.) loaded with 00

   buckshot and stored with the “hammer dropped” on an empty chamber and the safety off. The only

   action required to bring the shotgun from a “safe” unloaded condition to a firing condition is to




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   work the pump action of the shotgun. The advantages of this type of firearm and storage condition

   are unmatched stopping power, low probability of overpenetration (as compared to high velocity,

   rifle-caliber projectiles), and zero manipulation of safety mechanisms required in high-stress

   situations. The loading/chambering process itself is an audible deterrent. Training and

   familiarization with this type of a firearm is simple and straightforward.

          145.    For a handgun, my first inclination is to recommend an eight-shot revolver in .38

   +P caliber/.357 Magnum (such as a Smith & Wesson Model 627, Taurus Model 608, etc.) loaded

   with hollow-point bullets. As with my rationale for recommending a pump-action shotgun, there

   are no complicated safety mechanisms to manipulate in a high-stress situation and the probability

   of overpenetration is low. In addition, it is easy to reload with a speed loader should more than

   eight shots be required. Revolvers are also easier and less complicated for other family members

   to learn to operate, especially if they have less familiarity with firearms.

          146.    In terms of a carry handgun, I value concealability over ammunition capacity. The

   advantage of concealed carry is protection without broadcasting the fact. In a street robbery

   scenario, I believe the best course of action is to quickly extricate yourself from the “kill zone”

   and not engage in a protracted gunfight. When I was employed as a Special Agent with ATF, our

   primary duty weapons were Sig Sauer P229 pistols in .40 S&W caliber. We were also given the

   choice of a Sig Sauer P239 in .40 S&W or a five-shot Smith and Wesson Model 640 in .357

   Magnum as a backup firearm. When off duty, I carried the S&W Model 640 and a speed loader

   extensively as opposed to the P229. I found it easy to conceal and am of the opinion that 10 rounds

   was an adequate amount of ammunition to enable me, or myself and my wife, or child, to extricate

   myself from a street or retail location robbery should I encounter one. Consequently, I have most

   often recommended either a lightweight small revolver (such as a S&W Bodyguard, Ruger LCR,




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   Smith and Wesson Model 36, 640 or variant) carried with a speed-loader or a small, low-profile,

   small semi-automatic pistol (Sig Sauer P239, Ruger LCP, Colt Mustang Pocketlite etc., which

   each generally hold 6 to 7 rounds of ammunition) with a spare magazine.

          147.    Essentially, the types of firearms classified as assault weapons under the

   Ordinances, specifically AR- and AK-type rifles and pistols, are direct developmental descendants

   of military weapons designed for use in combat. The “civilian” AR-15-type rifles in .223/5.56mm

   retain the same performance characteristics (in terms of muzzle velocity, range, etc.) as the military

   M-16 and its variants (M-16A2, M-4, etc.).

          148.     According to the U.S. Army Manual 3-22.9 “Rifle Marksmanship M-16A1, M-

   16A2/3, M-16A4, and M4 Carbine, April 2003,” the maximum range of these rifles is 2,650-3,000

   meters. They were not designed, nor are they suitable, for personal or home defense in short-range

   or close-quarter situations.




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         V.      Assault Weapons as a General Threat to Public Safety

          149.    As mentioned previously in this report, many of the firearms prohibited by the

   Ordinances directly trace their origins to those developed for use in combat. As such, these

   firearms were never initially intended for general distribution or sale to the public.

          150.    As tragically demonstrated by recent mass shootings in Colorado and elsewhere

   throughout the country—such as the 2021 shooting at the King Soopers supermarket in Boulder

   (10 fatalities); the 2022 Club Q nightclub shooting in Colorado Springs (5 fatalities, 17 wounded);

   the 2012 Aurora movie theater shooting (12 fatalities, 70 wounded); the Pulse Nightclub shooting

   in Orlando, Florida, in 2016 (49 fatalities, 50+ wounded); the 2017 Las Vegas shooting (60




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   fatalities, 400+ wounded); the 2022 Uvalde, Texas, school shooting (21 fatalities, 17 wounded);

   and the July 4, 2022, shooting in Highland Park (7 fatalities, 48 wounded)42—the assault weapons,

   in conjunction with large-capacity magazines, as defined under the Ordinances are capable of

   inflicting significant carnage upon civilians in a short period of time.

             151.   Rifle-caliber assault weapons as prohibited under the Ordinances pose a significant

   risk to law enforcement officers. It has been my experience that the soft body armor issued to most

   Uniformed Officers has a “Level II” or “Level IIIA” protection rating. These ratings are suitable

   for protection against most handgun bullets, as those projectiles range up to 1,200 fps in velocity.

   Rifle-caliber assault weapons, including AR- and AK-type rifles, can achieve muzzle velocities of

   between 2,700 to 3,200 fps and readily penetrate Level II and Level IIIA body armor (as well as

   some Level III hard body armor, which is not universally standard issue among law enforcement

   agencies nationwide). Not only do the firearms subject to the Ordinances pose a threat to overall

   public safety, but they increase the likelihood that first responders charged with stopping such a

   threat or attending to wounded citizens may be injured or killed in the performance of their duty.

             152.   This video illustrates the capability of commonly available .223/5.56mm caliber

   ammunition to penetrate Level III body armor. The narrator states that this test was performed at

   a distance of “about 7 yards.” https://www.youtube.com/watch?v=oMYkEMhPsO8

             153.   The argument that commercially available, AR-type firearms are somehow less

   dangerous or lethal simply because they fire only in semi-automatic mode is misleading. They

   retain the identical performance capabilities and characteristics (save full-automatic capability) as

   initially intended for use in combat. With even minimal training, an operator can fire 40 to 50 shots

   per minute in semi-automatic mode. According to the U.S. Army manual referenced in paragraph



   42
        https://everytownresearch.org/wp-content/uploads/sites/4/2023/03/data.csv


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  148, the most effective use of the M-16 at ranges beyond 25 yards is rapid semi-automatic fire­

  not full-automatic fire.


      7-8. RAPID SEMIAUTOMATIC FIRE
      The most importanl firing technique during modern, fast moving combat is rapid
      semiautomatic fire. Rapid-fire Lechniques are the key k> hitting the short exposure. multiple,
      or moving targeu descnoed previously. Ifproperly applied� rapid semiautomatic fire delivers
      a large volum� of eITective fire into a target area. The soldier intentionally fires a quick
      series ofshots imo the target area to assure a high probability ofa hit. (figur� 7-l O. page 7-8
      shows the current training program for rapid semiautomatic fire.)


                     Figure 7-10. Rapid semiautomatic fire training program.

           a. Effectiveness of Rapid Fire. When a soldier uses rapid semiautomatic fire properly,
       he sacrifices some accuracy to deliver a greater volume of effective fire to hit more targets. It
       is urprising how devastatingly accurate rapid fire can be. At rariges beyond 25 meters, rapid
       semiautomatic fire is superior to automatic fire in all measures (shot:, per target, trigger pulls
       per hil, and ev�n time to hit). The decrease in accuracy when tiring fast�r is reduced with
       proper training and repeated practice,

         154.     Such capability, combined with the performance characteristics of .223/5.56mm

  ammunition originally intended for combat, can, and has, resulted in catastrophic civilian mass­

  casualty events.


  Executed on ��-Jo.z,e,
                 I .,




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                    EXHIBIT A
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                                        James E. Yurgealitis
                               5004 Roller Rd., Manchester, Maryland 21102
                                     24 Hour Mobile: (443) 452-7248
                                      Email: jyurgealitis@gmail.com
   _____________________________________________________________________________________________

   SUMMARY:

   Self employed as a Legal and Public Policy Consultant providing Technical Firearms and Forensic
   Consulting, Testing and Policy Research / Training Services to Corporations, Legal Counsel and the
   Public Sector

   EDUCATION:

   B.A., Political Science and Psychology, St. John Fisher University, Rochester, New York May 1985

   PROFESSIONAL EXPERIENCE:

   December 2012 to Present: Independent Legal and Policy Consultant / Subject Matter Expert

   Currently provide independent consulting services to Corporations, Legal Counsel and Governmental
   entities in regard to Public Policy and Technical matters relating to Firearms, Firearms Policy, Forensics
   and Law Enforcement. Current and former clients include the Office of the District Attorney for Cook
   County Illinois, The City of Sunnyvale, California, The City of Highland Park, Illinois, The Office of the
   Attorney General for the Commonwealth of Massachusetts and the Center for American Progress,
   Washington D.C. I have provided sound policy and technical assistance for my clients to include expert
   testimony which successfully endured the opposition's legal appeals to the U.S. Circuit Court of Appeals
   and the U.S. Supreme Court.

   December 2003 to December 2012: Senior Special Agent / Program Manager for Forensic Services
   ATF National Laboratory Center (NLC), Beltsville, Maryland. U. S Department of Justice, Bureau of
   Alcohol, Tobacco, Firearms and Explosives (ATF)

   Directed the administration and management of ATF 's Forensic Training Programs to include the
   National Firearms Examiner Academy (NFEA) a 12-month training program for State and Local Forensic
   Firearm Examiner Trainees. Also managed two additional forensic training programs. Administered a
   $1M + budget in accordance with strict ATF and National Institute of Justice (NIJ) guidelines and
   reporting requirements. Responsible for oversight of all Forensic Firearms related research at the NLC.
   Supervised a full and part time cadre of fifty-two (52) instructors and administrative personnel.
   Maintained liaison with commercial firearms and ammunition manufacturers and subject matter experts
   and ensure that lesson plans and curriculum reflected the latest technical developments in firearms
   manufacture, forensics and their application to federal and state law. Applied for, received and managed
   in excess of $2M in external grants to facilitate uninterrupted delivery of training during internal budget
   shortfalls. Detailed to the Department of Homeland Security Command Center in 2005 with overall
   responsibility to coordinate and direct Federal, State and Local Law Enforcement assets during and
   following Hurricanes " Irene" and " Katrina" and again in 2010 for "Andrew" and "Danielle".

   June 1997 - December 2003: Special Agent / Violent Crime Coordinator, ATF Baltimore Field Division,
   Baltimore, Maryland
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   Responsible for management of ATF's "Project Disarm", a joint law enforcement initiative between ATF,
   The United States Attorney's office for the District of Maryland (USAO), the Baltimore City Police
   Department, the Baltimore City States Attorney's Office and the Maryland State Police. Duties included
   reviewing over 400 state and local firearms related arrests annually for subsequent referral to the USAO
   and Federal Prosecution. Managed a caseload of 75 100 criminal cases annually. Responsible for
   selection, referral, follow - up investigation and subsequent indictment and prosecution of armed career
   criminals. Testified in front of Federal Grand Juries in excess of 75 times annually. Was recognized, and
   testified, as an expert witness in the Identification, Operability and origin of Firearms and Ammunition in
   three Federal Judicial Districts. Toured over 25 firearms and ammunition manufacturing facilities in
   Europe and the United States. Temporarily assigned in 2001 for three months to the 9-11 Task Force
   investigation in conjunction with FBI Assets. Temporarily assigned to the D.C. Sniper Task Force
   Intelligence Group in 2002 for two months.

   June 1990 June 1997:
   Special Agent, ATF Baltimore Field Division, Baltimore, Maryland

   Served in various capacities as a street-level Special Agent. Acted as Group Supervisor and Assistant
   Special Agent in Charge on numerous occasions. Served on the Washington Baltimore High Intensity
   Drug Trafficking Area (HIDTA) task force from 1995 1999. Investigated armed narcotics trafficking
   organizations, seized assets, authored and executed Federal and state search and arrest warrants,
   conducted surveillance, interviews / interrogations, testified in Federal and state courts as a fact witness,
   purchased firearms, explosives and narcotics while in an undercover capacity, investigated fatal bombings
   and arsons, firearms trafficking, alcohol and tobacco trafficking, homicide, fraud and gun store burglaries.
   Also while detailed for 8 months as the Public Information Officer authored press releases, provided
   interviews to local and national print and television media outlets and made presentations to local and
   national public and special interest groups and associations.

   April 1989 June 1990 and July 1986 March 1987: Special Agent, United States Department of State,
   Diplomatic Security Service (DSS), Washington Field Office, Rossyln, VA

   Conducted investigations of violations of Federal Law under the department's purview to include
   Passport and Visa Fraud, Illegal trafficking of restricted firearms and war materials to prohibited
   countries, human trafficking, seized assets, authored and executed State, local and Federal Arrest and
   Search Warrants, testified in Federal Court as a fact witness, detailed on an as needed basis to the
   Dignitary Protection Division as Agent in Charge of multiple protective details for visiting and resident
   foreign dignitaries, temporarily assigned to support Physical and Personal Protective Security in various
   U.S. Embassies overseas on an as needed basis, detailed to the Secretary of State Protective Division on
   an as needed basis to supervise agents assigned to augment the permanent protective detail.

   March 1987-February 1989: Special Agent, DSS, Secretary of State Protective Division, Washington, DC

   Served in various capacities as Acting Agent in Charge, Acting Shift Leader, Lead Advance Agent and
   Shift Agent. Responsibilities included close personal protection of the Secretary of State both
   domestically and overseas, extensive foreign travel to facilitate and prepare security arrangements for
   overseas visits to include Presidential Summit meetings, liaison with foreign host government officials to
   plan and solicit assistance with security arrangements, supervision of agents temporarily assigned to
   augment the detail, liaison with U.S Government Intelligence Agencies and other Federal, State and Local
   Law Enforcement Agencies to identify and protect against potential threats to the Secretary of State.

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   CLEARANCES: Top Secret March 1986 valid through February 2015. Numerous prior SCI Clearances.

   TEACHING EXPERIENCE:

      -   Instructed at the Federal Law Enforcement Training Center (FLETC), for ATF and other Federal
          Law Enforcement Agencies
      -   Instructed at the International Law Enforcement Academy (ILEA) in Budapest, Hungary
      -   Instructed for numerous State, local and / or regional law enforcement agencies both in the United
          States, Canada and Central America

   LINKEDIN PROFILE AND ENDORSEMENTS:

   https://www.linkedin.com/in/james-jim-yurgealitis-68618464?trk=nav_responsive_tab_profile_pic

   REFERENCES:

   Available upon request




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                    EXHIBIT B
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                        Professional Qualifications of James E. Yurgealitis
                    Independent Legal, Public Policy and Forensic Consultant

   I, James E. Yurgealitis, being duly sworn, depose and state:

   1.) That I was previously employed as a Senior Special Agent / Program Manager with
       the Bureau of Alcohol, Tobacco Firearms & Explosives, (ATF) United States
       Department of Justice, and had been so employed since 1990. Prior to 1990 I was
       employed as a Special Agent with the Bureau of Diplomatic Security, (DSS) United
       States Department of State and had been so employed since 1986.

   2.) I have a Bachelor of Arts Degree in Political Science and Psychology from St. John
       Fisher College, Rochester, New York.

   3.) I am a graduate of the Federal Law Enforcement Training Center, Glynco, Georgia,
       the Criminal Investigator Training Program, Bureau of Diplomatic Security New
       Agent Training, and the Bureau of ATF New Agent Training Program.

   4.) I have completed the Firearms Interstate Nexus Training Program conducted by the
       Firearms Technology Branch, ATF Headquarters, Washington, D.C.

   5.) I have completed both Advanced Interstate and European Nexus Training conducted
       by ATF in conjunction with several domestic and European firearm manufacturers.

   6.) I have testified in excess of 200 times before Federal Grand Juries regarding the
       classification, operability, and commerce of firearms and / or ammunition.

   7.) I have previously qualified as an expert witness regarding the origin, operability /
       classification and interstate movement of firearms and ammunition in U.S. District
       Court for the District of Maryland, U.S. District Court for the District of Delaware
       and the Circuit Court For Baltimore City, Maryland.

   8.) I have conducted regular training for local, state and federal law enforcement
       agencies both domestically and overseas regarding firearms classification,
       operability and firearms statutes.

   9.) I maintain a personal library of books, printed material and documents that relate to
       the field of firearms, ammunition, and firearms classification, attend local and
       national trade shows and professional association meetings, and regularly review
       periodicals relating to firearms and ammunition.

   10.) I attend trade shows, maintain contact with, and regularly consult with other
        persons, to include published authors and recognized experts in the origin,
        identification and classification of firearms and ammunition.

   11.) I have, during my tenure with ATF, personally examined in excess of five thousand
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   Qualifications Of James E. Yurgealitis contd.

   firearms to determine their origin and classification and operability, and to facilitate
   the tracing of those firearms.

   I have toured production facilities for numerous firearms and ammunition manufacturers. The
   tours were conducted by corporate historians, corporate officers, or production engineering
   personnel.

   Domestic Firearm Manufacturers:
   Bushmaster Firearms, Ilion, NY, USA
   Colt, New Haven CT, USA (4x)
   H&R 1871 Inc., Chicopee, MA, USA (2x)
   Marlin, North Haven CT, USA (4x)
   O.F. Mossberg & Sons, North Haven, CT, USA (4x)
   Remington Firearms, Ilion, NY, USA
   Savage Arms Inc., Westfield, MA, USA (4x)
   Sig-Sauer / SIGARMS Inc., Exeter, NH, USA (3x)
   Smith and Wesson, Springfield, MA, USA (4x)
   Sturm Ruger, Newport, NH, USA (4x)
   Yankee Hill Machining, Florence, MA, USA

   Foreign Firearm Manufacturers:
   Carl Walther GmbH, Ulm, Germany
   Ceska Zbrojovka (CZ), Uhersky Brod, Czech Republic
   Fegarmy (FEG), Budapest, Hungary
   F.N Herstal S.A., Herstal, Belgium
   Glock GmbH, Deutsch-Wagram, Austria
   Heckler & Koch GmbH, Oberndorf au Neckar, Germany
   J.P. Sauer & Sohn GmbH, Eckernforde, Germany

   Domestic Ammunition Manufacturers:
   Fiocchi Ammunition, Ozark, MO, USA
   PMC, Boulder City, NV, USA
   Remington, Lonoke, AR, USA (4x)
   Sierra, Sedalia, MO, USA
   Starline Brass, Sedalia, MO, USA

   European Proof Houses
   Beschussamt Ulm, (Ulm Proofhouse) Ulm, Germany
   Beschusstelle Eckernforde, (Eckernforde Proofhouse) Eckernforde, Germany
   Czech Republic Proofhouse, Uhersky Brod, Czech Republic
   Liege Proofhouse, Liege, Belgium


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   Qualifications Of James E. Yurgealitis contd.

   I have been allowed regular access to the following reference collections:
   Bureau of Alcohol, Tobacco Firearms and Explosives Reference Collection, Martinsburg, West
   Virginia, USA consisting of 5,000+ firearms

   Liege Proofhouse, Liege, Belgium consisting of 1,000+ ammunition cartridges

   Springfield Armory National Historic Site Firearms Collection, Springfield, MA, USA
   consisting of 10,000+ Firearms

   Smithsonian Institution (Museum of American History) Firearms Reference Collection
   Washington, DC, USA, consisting of 4000+ firearms

   Wertechnische Studiensammlung des BWB, (Federal Defense Procurement Bureau Museum)
   Koblenz, Germany consisting of 10,000+ Firearms

   I have toured the following museums:
   Heeresgeschichtliches Museum, (Museum of Military History), Vienna, Austria
   Hungarian Military Museum, Budapest, Hungary
   Springfield Armory National Historic Site, Springfield, MA, USA
   United States Air Force Museum, Dayton, OH, USA
   United States Army Ordnance Museum, Aberdeen Proving Ground, Aberdeen, MD, USA
   United States Military Academy Museum, West Point, NY, USA
   United States Naval Academy Museum, Annapolis, MD, USA
   Wertechnische Studiensammlung des BWB, (Federal Defense Procurement Bureau Museum)
   Koblenz, Germany

   Membership in Professional Organizations:

   Member, International Ammunition Association (IAA)
   Technical Advisor (pending approval), Association of Firearm and Toolmark Examiners (AFTE)
   Member, Federal Law Enforcement Officers Association (FLEOA)




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                          James E. Yurgealitis: Consulting Engagements 2013 – 2023


     (D) – Engaged by Defendant’s Counsel
     (P) – Engaged by Plaintiff’s Counsel
     (O) – Engaged by other entity


     1. State of Maryland v. Smith, Linwood T, Circuit Court for Baltimore County, Maryland, Case No.
        03-K-12-004002 (D) – Defendant’s Private Counsel. Case review and consultation.

     2. Freidman v. City of Highland Park, Illinois, United States District Court for the District of
        Illinois, Case No. 1:13-cv-9073 (D) – Defendant’s Private Counsel acting as City Attorney.
        Report & Deposition.

     3. Wilson v. Cook County, Illinois, Illinois Supreme Court, Case No. 2012 IL 112026 (D) – Office
        of the State’s Attorney for Cook County, IL. Report & Deposition.

     4. Fyock v. The City of Sunnyvale, California, United States District Court for the Northern District
        of California, Case No. 13-cv-05807 RMW (D) – City Solicitor. Declaration.

     5. Wrenn v. District of Columbia, United States District Court for the District of Columbia, Civil
        Action Case No. 15-162 CKK (D) – U.S. Attorney’s Office for the District of Columbia. Report
        & Deposition.

     6. Mosaic Research Management, New York, New York, (O) – Private consulting firm.
        Confidential business assessment and projection.

     7. Worman v. Healey, United States District Court for the District of Massachusetts, Case No. 1:17-
        cv-10107 (D) – Office of the Attorney General for the Commonwealth of Massachusetts. Report
        & Deposition.

     8. Buckeye Firearms v. City of Cincinnati, Hamilton County, Ohio Court of Common Pleas, Case
        No. A1803098 (D) – Office of the City Attorney. Report & Deposition.

     9. Powell v. The State of Illinois, United States District Court for the Northern District of Illinois,
        Case No. 18-cv-6675 (D) – Plaintiff’s Private Counsel. Consultation.

     10. Fletcher v. Century Arms, Circuit Court of the 15th Judicial District, in and for Palm Beach
         County, Florida, Case No. 502018CA009715 (P) – Plaintiff’s Private Counsel. Case Review,
         Consultation & Deposition.

     11. Pullman Arms v. Healey, United States District Court for the District of Massachusetts, Case No.
         4:16-40136-TSH (D) - Office of the Attorney General for the Commonwealth of Massachusetts.
         Report.
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   Yurgealitis Consulting Engagements 2013 – 2023 contd.


      12. United States v. Richard Cooke, United States District Court for the Western District of New
          York, Case No. 17-CR-0038 (D) – Office of the Federal Public Defender for the Western District
          of New York. Case review & consultation.

      13. Long v. GAMO Outdoor U.S.A. Inc., District Court, Clark County Nevada, Case No. A-16-
          748401-C (P) – Plaintiff’s Private Counsel. Test firing & consultation.

      14. Viramontes v. Cook County, IL, United States District Court for the Northern District of Illinois,
          Case No. 1:21-CV-04595 (D) – Office of the State’s Attorney for Cook County, Illinois. Report
          & Deposition.

      15. Arnold, Joseph et al., v. Kate Brown et al - Harney County, OR Circuit Court, Case No.
          22CV41008 (D) – State of Oregon. Case review & Court Testimony.

      16. Oregon Firearms Federation et al., v. Kotek et al., United States Court for the District of Oregon,
          Pendleton Division, Case No. 2:22-cv-01815-IM (lead case), 3:22-cv-01859-IM (trailing case),
          3:22-cv-01862-IM (trailing case), 3:22-cv-01869-IM (trailing case) (D) – State of Oregon. Case
          review, declaration & deposition.

      17. National Assn. for Gun Rights & Capen v. Campbell, United States Court for the District of
          Massachusetts, Case No. 1:22-cv-11431-FDS (D) – Office of the Attorney General for the
          Commonwealth of Massachusetts. Declaration.

      18. Delaware State Sportman’s Assn. et. al. v. Delaware, United States District Court for the District
          of Delaware, Case No. No. 1:22-cv-00951-RGA (Consolidated), (D) – Office of the Attorney
          General for the State of Delaware. Declaration & consultation.

      19. National Assn. for Gun Rights v. Lopez, United States District Court for the District of Hawai’i,
          Case No. 1:22-cv-404-DKW-RT (D) – Office of the Attorney General for the State of Hawai’i.
          Declaration.

      20. Harrel et.al. v. Raoul, United States District Court for the Southern District of Illinois, Case No.
          23-141-SPM (D) – Office of the Attorney General for the State of Illinois. Declaration

      21. Herrera v. Raoul et.al., United States District Court for the Northern District of Illinois, Case No.
          1:23-cv-00532 (D) – Office of the District Attorney for Cook County, Illinois. Declaration

      22. Gates et.al. v. Polis, United States District Court for the District of Colorado, Case No. 1:22-cv-
          01866 (D) – Office of the Attorney General for the State of Colorado. Expert Report.




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   Yurgealitis Consulting Engagements 2013 – 2023 contd.


      23. Herrera v. Raoul et.al., United States District Court for the Northern District of Illinois, Case No.
          1:23-cv-00532 (D) – Department of Law, City of Chicago, IL. Declaration

      24. National Association for Gun Rights v. The City of Highland Park, Illinois, United States District
          Court for the Northern District of Illinois, Case No. 22-cv-4774 (D) – City of Highland Park, IL.
          Declaration.

      25. Rocky Mountain Gun Owners et.al. v. The Town of Superior, Colorado (additional defendants
          The City and County of Boulder & City of Louisville, CO). United States District Court for the
          District of Colorado, Case No. 22-cv-1685-RM-NRN (D) – Town of Superior, CO. In progress.




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                         EXHIBIT C
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                                       DEPARTMENT OF THE TREASURY
                                  BUREAU OF ALCOHOL, TOBACCO AND FIREARMS
                                            WASHINGTON, D.C. 20226


                                               JUL 06 1989




   MEMORANDUM TO:           Director

                  FROM:      Associate Director (Compliance Operations)

                SUBJECT:    Report and Recommendation on the
                            Importability of Certain Semiautomatic Rifles


   The working group has completed its evaluation of the semiautomatic rifles whose importation
   was suspended pending a determination as to whether these weapons are, as required by
   18 U.S.C. § 925(d)(3), of a type "generally recognized as particularly suitable for or readily
   adaptable to sporting purposes".

   Attached for your review and approval is the report and recommendation on the importability of
   these rifles.




                             J� #t
   Attachment
             �
   Appro<ed.   C,
   Disapprove:_____________
                          _ _ _
                              _




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         Report and Recommendation on the Importability of Certain Semiautomatic Rifles
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   C5EFMÿJC7E97ÿ5BEF8<ÿE9ÿFLIB7EEFB5ÿBJÿ?TUPENIÿGIB5H<ÿVQFÿ87RF5H<ÿAWXA?YPENIÿGIB5H<ÿ
   AWXAWZPENIÿGIB5Hÿ5DÿUEN7ÿ?CÿHLFCEBLEF8ÿGIB5HSÿ45ÿ?I7FMÿ[<ÿ:=>=<ÿE9ÿHCHI5HFB5ÿ
   GHÿ\I5DDÿEBÿF58MCDÿMMÿHFLFM7ÿHHCMEPENIÿ7FJMHSÿ
   ÿ
   AB7ÿIC7IBHHÿBJÿE9FHÿHCHI5HFB5<ÿHHCMEPENIÿ7FJMHÿG7ÿ7FJMHÿG9F89ÿ57MMNÿLEÿE9ÿJBMMBGF5ÿ
   87FE7F]ÿ
   ÿ
                   SÿLFMFE7NÿII758ÿ
                   ÿ
                   RSÿM7ÿLQF5ÿ8I8FENÿ
                   ÿ
                   8SÿHLFCEBLEF8ÿK7HFB5ÿBJÿÿL89F5C5ÿ
   ÿ
   ^HDÿB5ÿE9Hÿ87FE7F<ÿ?@AÿHCHI5DDÿ8EFB5ÿB5ÿI5DF5ÿIIMF8EFB5Hÿ5DÿHCHI5DDÿBCEHE5DF5ÿ
   I7LFEHÿ8BK7F5ÿ87EF5ÿJF77LHÿMFHEDÿF5ÿ?EE89L5Eÿ:Sÿ@9HÿF58MCDDÿRBE9ÿ85E7JF7ÿ5DÿSÿ
   7FLJF7ÿ8MFR7ÿJF77LHSÿ?EÿE9EÿEFL<ÿ?@AÿF5DF8EDÿE9EÿE9ÿ7\LF5EFB5ÿBJÿE9HÿGIB5Hÿ
   GBCMDÿEOÿII7B\FLEMNÿ=_ÿDNHSÿ
   ÿ
   @9FHÿ?@AÿGB7OF5ÿ7BCIÿGHÿHERMFH9DÿEBÿ8B5DC8EÿE9ÿ7KMCEFB5ÿBJÿE9ÿFLIB7ERFMFENÿBJÿE9Hÿ
   HLFCEBLEF8ÿ7FJMHSÿ@9FHÿ7IB7Eÿ7I7H5EHÿE9ÿJF5DF5Hÿ5Dÿ78BLL5DEFB5HÿBJÿE9ÿGB7OF5ÿ
   7BCISÿ
   ÿ
   ÿ
                                               /#&,- .$%ÿ
                                                        ÿ
   ÿ
   U8EFB5ÿ=[`Da`baÿBJÿ@FEMÿ:><ÿV5FEDÿUEEHÿZBD<ÿHÿL5DD<ÿI7BKFDHÿF5ÿI7EF55EÿI7EÿE9E]ÿ
   ÿ
                   @9ÿU87E7NÿH9MMÿCE9B7FQÿÿJF77LSÿSÿSEBÿRÿFLIB7EDÿB7ÿ
                   R7BC9EÿF5EBÿE9ÿV5FEDÿUEEHÿSÿSÿFJÿE9ÿJF77LÿSÿSÿ
   ÿ
                           `baÿFHÿBJÿÿENIÿE9EÿDBHÿ5BEÿJMMÿGFE9F5ÿE9ÿDJF5FEFB5ÿ
                           BJÿÿJF77LÿHÿDJF5DÿF5ÿH8EFB5ÿ[>;[`aÿBJÿE9ÿ
                           c5E75MÿdK5CÿZBDÿBJÿ:=[;ÿ5DÿFHÿ57MMNÿ
                           78B5FQDÿHÿI7EF8CM7MNÿHCFERMÿJB7ÿB7ÿ7DFMNÿ
   ÿ                                       ÿÿÿÿ
   ÿ
          123456ÿ89 ÿ12 4 29 8649ÿ49ÿ62ÿ 345686ÿ4ÿ25689ÿ2 864 86 ÿ12ÿ
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                            !ÿ"ÿ#"$%&ÿ'$"##(ÿ)*!'%&ÿ#'$!'#ÿ
                            +%!%$,ÿ-%$$+#.ÿ.ÿ.ÿ
   /0%#ÿ$"1%#%"&ÿ2#ÿ"$%%&!!,ÿ&*ÿ,ÿ/%!ÿ34ÿ"-ÿ0ÿ5+&%'#ÿ6$%+ÿ6"&$"!ÿ&ÿ7-ÿ7$#ÿ
   8*ÿ"-ÿ9:;<(ÿ&ÿ2#ÿ!#"ÿ*"&%&ÿ%&ÿ/%!ÿ3ÿ"-ÿ0ÿ='&ÿ6"&$"!ÿ8*ÿ"-ÿ9:;<(ÿ20%*0ÿ+&ÿ
   /%!ÿ34ÿ!$ÿ0ÿ,$.ÿ8**"$%&ÿ"ÿ0ÿ7&ÿ>"$ÿ"&ÿ/%!ÿ34(ÿ0%#ÿ$"1%#%"&ÿ2#ÿ%&&ÿ"ÿ
   ?*'$ÿ0ÿ-!"2ÿ"-ÿ#'$!'#ÿ+%!%$,ÿ2"&#ÿ&ÿ"0$ÿ-%$$+#ÿ%&ÿ$"'0ÿ%&"ÿ0ÿ@&%ÿ7#ÿ
   20%*0ÿ$ÿ&"ÿ$%*'!$!,ÿ#'%!ÿ-"$ÿ$ÿ#0""%&ÿ"$ÿ0'&%&.Aÿ7.ÿ>.ÿB".ÿ9C:D(ÿ:C0ÿ6"&.ÿEÿ
   7##.ÿ<C(ÿ9:;<ÿ@.7.ÿ6"ÿ6"&.ÿ&ÿ8+%&.ÿB2#ÿE99E(ÿE9;D.ÿ
   ÿ
   F"$"1$(ÿ0$ÿ%#ÿ!%#!%1ÿ0%#"$,ÿ20%*0ÿ%&%*#ÿ0ÿ6"&$##ÿ%&&ÿ0ÿ#&$ÿ"ÿ!!"2ÿ
   0ÿ%+"$%"&ÿ"-ÿ$%%"&!ÿ#"$%&ÿ$%-!#(ÿ20%!ÿ)*!'%&ÿ+%!%$,G,ÿ$%-!#.ÿ/0ÿ7&ÿ
   >"$ÿ"&ÿ0ÿ='&ÿ6"&$"!ÿ8*ÿ"#$1ÿ0ÿ0ÿ%+"$%"&ÿ#&$#ÿ?.ÿ.ÿ.ÿ$ÿ#%&ÿ&ÿ
   %&&ÿ"ÿ$"1%ÿ-"$ÿ0ÿ%+"$%"&ÿ"-ÿH'!%,ÿ+(ÿ#"$%&ÿ-%$$+#(ÿ%&*!'%&ÿ.ÿ.ÿ.ÿ$%-!#ÿ#'*0ÿ
   #ÿ0"#ÿ+&'-*'$ÿ&ÿ%+"$ÿ,ÿI$"2&%&ÿ&ÿ"0$ÿ#'*0ÿ+&'-*'$$#ÿ&ÿ%+"$$#ÿ"-ÿ
   -%$$+#.Aÿ7.ÿ>.ÿB".ÿ9JC9(ÿ:C0ÿ6"&.ÿEÿ7##.ÿ<ÿK9:;<L.ÿ7%&%-%*&!,(ÿ0ÿ$%-!#ÿ%&ÿ
   %+"$ÿ,ÿI$"2&%&!ÿÿ0ÿ%+ÿ2$ÿ#+%'"+%*ÿ&ÿ+&'!!,ÿ"$ÿ$%%"&!ÿ#"$%&ÿ
   $%-!#ÿ"-ÿ0%0ÿH'!%,.ÿ
   ÿ
   8&ÿ)!&%"&ÿ"-ÿ0ÿ--*ÿ"-ÿ0%#ÿ#*%"&ÿ,ÿ"&ÿ"-ÿ0ÿ#"&#"$#ÿ"-ÿ0ÿ%!!ÿ#*%-%*!!,ÿ#ÿ0ÿ
   +%!%$,ÿ-%$$+#ÿ2"'!ÿ&"ÿ+ÿ0ÿ?#"$%&ÿ'$"##Aÿ#ÿ-"$ÿ%+"$%"&.ÿ/0ÿ+$ÿ-*ÿ0ÿEÿ
   +%!%$,ÿ-%$$+ÿ+,ÿÿ'#ÿ%&ÿÿ#"$%&ÿ1&ÿ"#ÿ&"ÿ+Mÿ%ÿ%+"$!ÿ#ÿÿ#"$%&ÿ-%$$+ .ÿ
   ÿ
   /0$ÿ%#ÿÿ$-$&*ÿ%&ÿ0ÿ7&ÿ>"$ÿ"&ÿ/%!ÿ34ÿ20%*0ÿ&"#ÿ0ÿ0ÿ%+"$%"&ÿ$"0%%%"&ÿ
   ?.ÿ.ÿ.ÿ2"'!ÿ&"ÿ%&$-$ÿ2%0ÿ0ÿ$%&%&ÿ%&ÿ"-ÿ*'$$&!,ÿ$"'*ÿ-%$$+#(ÿ#'*0ÿ#ÿ$%-!#ÿ.ÿ.ÿ.ÿ"-ÿ
   $*"&%NÿH'!%,ÿ20%*0ÿ$ÿ'#ÿ-"$ÿ0'&%&ÿ&ÿ-"$ÿ$*$%"&!ÿ'$"##(ÿ"$ÿ-"$ÿ$#"&!ÿ
   $"*%"&.Aÿ7.ÿ>.ÿB".ÿ9C:D(ÿ:C0ÿ6"&.ÿEÿ7##.ÿ<C(ÿ9:;<ÿ@.7.ÿ6"ÿ6"&.ÿ&ÿ8+%&.ÿB2#ÿ
   E99E(ÿE9;D.ÿO"21$(ÿ0%#ÿ!&'ÿ%#ÿ&"ÿ%&*"&#%#&ÿ2%0ÿ0ÿ)$##ÿ'$"#ÿ"-ÿ$#$%*%&ÿ
   %+"$%"&ÿ"ÿ-%$$+#ÿ$%*'!$!,ÿ#'%!ÿ-"$ÿ$ÿ#0""%&ÿ"$ÿ0'&%&ÿ#%&*ÿ-%$$+#ÿ
   $%*'!$!,ÿ#'%!ÿ-"$ÿ0"#ÿ'$"##ÿ*&ÿ"1%"'#!,ÿÿ'#ÿ-"$ÿ"0$ÿ'$"##ÿ#'*0ÿ#ÿ
   $*$%"&!ÿ#0""%&ÿ&ÿ$#"&!ÿ$"*%"&.ÿ
   ÿ
   /0ÿ$+%&%"&ÿ"-ÿÿ2"&P#ÿ#'%%!%,ÿ-"$ÿ#"$%&ÿ'$"##ÿ?$#Q#Rÿ%$*!,ÿ2%0ÿ0ÿ
   7*$$,ÿ"-ÿ0ÿ/$#'$,.Aÿ99Sÿ6"&.ÿ>*.ÿEDS;JÿK9:;<LÿK7+&ÿ"-ÿ7&.ÿF'$0,L.ÿT0%!ÿ0ÿ
   !%#!%1ÿ0%#"$,ÿ#'##ÿ0ÿ0ÿ$+ÿ?#"$%&ÿ'$"##Aÿ$-$#ÿ"ÿ0ÿ$%%"&!ÿ#"$#ÿ"-ÿ
   $ÿ#0""%&(ÿ$ÿ&ÿ#Mÿ#0""%&(ÿ&ÿ0'&%&(ÿ0ÿ#'ÿ%#!-ÿ$"1%#ÿ&"ÿ*$%$%ÿ,"&ÿ
   0ÿ?&$!!,ÿ$*"&%NAÿ!&'ÿ"-ÿ#*%"&ÿ:EJKLKL.ÿ7.ÿ>.ÿB".ÿ9C:D(ÿ:C0ÿ6"&.ÿEÿ7##.ÿ
   <C(ÿ9:;<ÿ@.7.ÿ6"ÿ6"&.ÿ&ÿ8+%&.ÿB2#ÿE9;D.ÿ/0ÿ7&ÿ>"$ÿ"&ÿ0ÿ='&ÿ6"&$"!ÿ8*ÿ
   #Uÿ
   ÿ
            /0ÿ%--%*'!,ÿ"-ÿ-%&%&ÿ2"&#ÿ*0$*$%#%*#ÿ"ÿ+ÿ0%#ÿ$ÿQ"-ÿ!%+%&%&ÿ
            %+"$%"&ÿ"-ÿ2"&#ÿ'#ÿ%&ÿ*$%+Rÿ2%0"'ÿ%#*$%+%&%&ÿ%&#ÿ#"$%&ÿH'!%,ÿ
            -%$$+#(ÿ2#ÿÿ+V"$ÿ$#"&ÿ20,ÿ0ÿ7*$$,ÿ"-ÿ0ÿ/$#'$,ÿ0#ÿ&ÿ%1&ÿ-%$!,ÿ$"ÿ
            %#*$%"&ÿ%&ÿ-%&%&ÿ&ÿ+%&%#$%&ÿ0ÿ%+"$ÿ$"0%%%"&.ÿ
   ÿ
   7.ÿ>.ÿB".ÿ9JC9(ÿ:C0ÿ6"&.ÿEÿ7##.ÿ<ÿK9:;<L.ÿ
   ÿ
   ÿ                                       ÿÿÿÿ
   ÿ
          123456ÿ89 ÿ12 4 29 8649ÿ49ÿ62ÿ 345686ÿ4ÿ25689ÿ2 864 86 ÿ12ÿ
Case No. 1:22-cv-02680-NYW-SKC Document 78-16 filed 10/20/23 USDC Colorado pg 75
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    !"ÿ"#$%"$ÿ&ÿ$'ÿ()"ÿ*"$+ÿ,#$ÿ!"ÿ-./01ÿ$'ÿ2#+$+3ÿ4$5!4'6ÿÿ!++%4ÿ
   78)$!"ÿ"ÿ$ÿ9+8!6ÿ)!6!"4ÿ&+ÿ!%9%"$$!"ÿ&ÿ$'ÿ:49+$!"ÿ9)+944;ÿ$4$ÿ&ÿ
   4#$!"ÿ.<=>6?>@?AÿB'!4ÿ9"ÿ4ÿ#%946ÿ&ÿ+9+4"$$!84ÿ&+%ÿ$'ÿ%!!$+31ÿ ÿ"&+#%"$1ÿ
   "6ÿ$'ÿ&!++%4ÿ!"6)4$+3AÿB'ÿ9"ÿ&#)46ÿ!$4ÿ$$"$!"ÿ"ÿ'"6)"4ÿ"6ÿ+#%%"66ÿ$'ÿ
   69$!"ÿ&ÿ&#$+!"ÿ#+!$+!ÿ$ÿ8)$ÿ$'ÿ8+!)4ÿ$394ÿ&ÿ'"6)"4AÿB'4ÿ&#$+!"ÿ#+!$+!ÿ+ÿ
   546ÿ)9"ÿ4)#'ÿ#"4!6+$!"4ÿ4ÿ8+ÿ"$'ÿ&ÿ$'ÿ&!++%1ÿ#!5+1ÿ4&$3ÿ&$)+41ÿ"6ÿ&+%ÿ
   #"4$+)#$!"Aÿ,"ÿ8)$!"ÿ4'$ÿ>,Bÿ+%ÿ=.C?ÿ4ÿ6896ÿ$'+&$+ÿ53ÿ,Bÿ"6ÿ9)$ÿ!"$ÿ
   )4ÿ&+ÿ8)$!"ÿ'"6)"4ÿ9)+4)"$ÿ$ÿ4#$!"ÿ.<=>6?>@?Aÿ,$$#'%"$ÿ<Aÿ
   ÿ
   B'ÿ-./0ÿ!++%4ÿ78)$!"ÿ"ÿ6!6ÿ"$ÿ9+94ÿ#+!$+!ÿ&+ÿ8)$!"ÿ+!&4ÿ"6ÿ4'$)"4ÿ
   )"6+ÿ4#$!"ÿ.<=>6?>@?AÿD$'+ÿ$'"ÿ4)+9)4ÿ%!!$+3ÿ&!++%4ÿ'!#'ÿ*"+44ÿ66+446ÿ49+$31ÿ
   "ÿ)"4ÿ5!"ÿ!%9+$6ÿ9+!+ÿ$ÿ-./0ÿ+ÿ"+3ÿ#"8"$!"ÿ+!&4ÿ"6ÿ4'$)"4ÿ
   49#!&!#3ÿ!"$"66ÿ&+ÿ49+$!"ÿ9)+944AÿB')41ÿ!"ÿ-./01ÿ$'+ÿ4ÿ"ÿ#)4ÿ$ÿ689ÿ#+!$+!ÿ
   &+ÿ8)$!"ÿ$'ÿ49+$!"ÿ9)+944ÿ&ÿ+!&4ÿ"6ÿ4'$)"4AÿE"$!ÿ+#"$31ÿÿ+!&4ÿ"6ÿ4'$)"4ÿ
     +ÿ99+86ÿ&+ÿ!%9+$$!"ÿ4ÿ"ÿ4ÿ$'3ÿ+ÿ"$ÿ$'+!4ÿF#)66ÿ53ÿ4#$!"ÿ.<=>6?>@?Aÿ
   D"3ÿ+!&4ÿ"6ÿ4'$)"4ÿ#8+6ÿ53ÿ$'ÿG$!"ÿ!++%4ÿ,#$ÿ>G,?1ÿ</ÿEA2A*Aÿ2ÿ=0=>?ÿ>&+ÿ
   F%91ÿ%#'!")"4ÿ"6ÿ4'+$H5++6ÿ+!&4ÿ"6ÿ4'+$H5++6ÿ4'$)"4?1ÿ"6ÿ4)+9)4ÿ%!!$+3ÿ
   +!&4ÿ"6ÿ4'$)"4ÿ'6ÿ5"ÿ6"!6ÿ!%9+$$!"Aÿ
   ÿ
   B'ÿ!++%4ÿ78)$!"ÿ"ÿ6!6ÿ5+!&3ÿ#%%"$ÿ"ÿ'$'+ÿÿ%6ÿIJ=.ÿI+$$1ÿKA/<%%ÿ
   G,BDÿ*!5+ÿ29+$+ÿL+4!"ÿM!&ÿ4ÿ4)!$5ÿ&+ÿ49+$!"ÿ9)+944AÿJ!")$4ÿ&ÿ$'ÿ!++%4ÿ
   ,68!4+3ÿ"1ÿN#%5+ÿ-C1ÿ-./0Aÿ,$$#'%"$ÿ@AÿO$ÿ4ÿ$'ÿ#"4"4)4ÿ&ÿ$'ÿ"ÿ$'$ÿ$'!4ÿ+!&ÿ
   6!6ÿ'8ÿÿ9+$!#)+ÿ)4ÿ!"ÿ$+$ÿ4'$!"ÿ"6ÿ')"$!"Aÿ,##+6!"31ÿ!$ÿ4ÿ+#%%"66ÿ$'$ÿ
   !%9+$$!"ÿ&ÿ$'ÿI+$$ÿIJ=.1ÿ$$'+ÿ!$'ÿ$'ÿ2O(H,JBÿKA/<%%ÿG,BDÿ*!5+ÿ29+$!"ÿ
   M!&ÿ"6ÿ$'ÿ*$%ÿKA/<%%ÿG,BDÿ*!5+ÿ29+$!"ÿM!&1ÿ5ÿ)$'+!P6ÿ&+ÿ!%9+$$!"Aÿ>B'ÿ
   I+$$ÿIJ=.ÿ"6ÿ$'ÿ*$%1ÿ$'ÿ9+6#44+ÿ$ÿ$'ÿQR.-1ÿ+ÿ$ÿ&ÿ$'ÿ+!&4ÿ'4ÿ!%9+$$!"ÿ
   '4ÿ5"ÿ4)49"66AÿB'ÿ2O(H,JBÿ!4ÿ"ÿ"+ÿ5!"ÿ9+6)#6A?ÿQ 8+1ÿ$'ÿ"ÿ
   +#%%"66ÿ$'$ÿ!%9+$$!"ÿ&ÿ$'4ÿ9"4ÿ4')6ÿ!"#)6ÿ$'ÿ+4$+!#$!"ÿ$'$ÿ$'3ÿ"$ÿ
   94444ÿ#%5!"$!"ÿ&4'ÿ4)99+44+4S+"6ÿ)"#'+4Aÿ
   ÿ
   B'ÿ+T!"ÿ+)9ÿ&)"6ÿ$'ÿ"U4ÿ#"4!6+$!"ÿ&ÿ$'4ÿ+!&4ÿ$ÿ5ÿ4)9+&!#!ÿ"6ÿ
   )"9+4)4!8AÿB'ÿ84$ÿ%V+!$3ÿ&ÿ$'ÿ+Tÿ&ÿ$'ÿ-./0ÿ"ÿ4ÿ68$6ÿ$ÿ'"6)"4ÿ"6ÿ$'ÿ
   4$5!4'%"$ÿ&ÿ$'ÿ&#$+!"ÿ#+!$+!ÿ&+ÿ$'ÿ!%9+$$!"ÿ&ÿ'"6)"4AÿO"661ÿÿ&)"6ÿ
   #%9!"ÿ8!6"#ÿ$'$ÿ$'4ÿ+!&4ÿ+ÿ"$ÿ"+3ÿ+#"!P6ÿ4ÿ9+$!#)+3ÿ4)!$5ÿ&+ÿ
   49+$!"ÿ9)+944Aÿ
   ÿ
   B'ÿ&!+4$ÿ$!%ÿ$'$ÿ,BÿT6ÿ53"6ÿ$'ÿ+4$+!#$!"4ÿ"ÿG,ÿ"6ÿ4)+9)4ÿ%!!$+3ÿ+!&4ÿ"6ÿ
   4'$)"4ÿ"6ÿ)"6+$Tÿÿ%"!"&)ÿ"34!4ÿ)"6+ÿ$'ÿ:49+$!"ÿ9)+944;ÿ$4$ÿ4ÿ!"ÿ-.0Aÿ,$ÿ
   $'$ÿ$!%1ÿ,Bÿ4ÿ&#6ÿ!$'ÿÿ" ÿ5+6ÿ&ÿ!%9+$6ÿ4'$)"AÿO$ÿ4ÿ#+ÿ$'$ÿ$'ÿ'!4$+!#ÿ
   44)%9$!"ÿ$'$ÿÿ4'$)"4ÿ+ÿ49+$!"ÿ4ÿ"ÿ"+ÿ8!5Aÿ29#!&!#31ÿ,Bÿ4ÿ4T6ÿ$ÿ
   6$+%!"ÿ'$'+ÿ$'ÿ2$+!T+H-<ÿ4'$)"ÿ4ÿ4)!$5ÿ&+ÿ49+$!"ÿ9)+944AÿB'!4ÿ4'$)"ÿ!4ÿÿ
   %!!$+3S ÿ"&+#%"$ÿ9"ÿ!"!$!3ÿ64!"6ÿ"6ÿ%")&#$)+6ÿ!"ÿ2)$'ÿ,&+!#ÿ&+ÿ+!$ÿ
   #"$+AÿX'"ÿ$'ÿ!%9+$+ÿ4ÿ4T6ÿ$ÿ9+8!6ÿ8!6"#ÿ&ÿ49+$!"ÿ9)+944ÿ&+ÿ$'ÿ9"1ÿ
   ,Bÿ4ÿ9+8!66ÿ!"&+%$!"ÿ$'$ÿ$'ÿ9"ÿ4ÿ4)!$5ÿ&+ÿ9!#S#%5$ÿ4$3ÿ#%9$!$!"4Aÿ
   ,Bÿ6$+%!"6ÿ$'$ÿ$'!4ÿ$39ÿ&ÿ#%9$!$!"ÿ6!6ÿ"$ÿ#"4$!$)$ÿ:49+$!"ÿ9)+944;ÿ)"6+ÿ$'ÿ
   4$$)$1ÿ"6ÿ$'$ÿ$'!4ÿ4'$)"ÿ4ÿ"$ÿ4)!$5ÿ&+ÿ$+6!$!"ÿ49+$!"ÿ9)+9441ÿ4)#'ÿ4ÿ')"$!"1ÿ
   "6ÿ$+9ÿ"6ÿ4T$ÿ4'$!"Aÿ,##+6!"31ÿ!%9+$$!"ÿ4ÿ6"!6Aÿ,$$#'%"$ÿAÿ
   ÿ                                       ÿÿÿÿ
   ÿ
          123456ÿ89 ÿ12 4 29 8649ÿ49ÿ62ÿ 345686ÿ4ÿ25689ÿ2 864 86 ÿ12ÿ
Case No. 1:22-cv-02680-NYW-SKC Document 78-16 filed 10/20/23 USDC Colorado pg 76
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   ÿ
   !"ÿ#$ÿ%&'("ÿ!ÿ)#*+!ÿ,-.#/0$!ÿ120/$3ÿ-.4!5ÿ!!ÿ!ÿ67879%:ÿ42!.$ÿ+ÿ
   ;*44##5ÿ4ÿÿ4/2!#$ÿ#0ÿ.$5ÿ4;!#2$ÿ&:<5=<>=?ÿ8!ÿ@0#$!#2$ÿ$5ÿ!4!#$ÿ2ÿ!ÿ
   A/2$"ÿ8Bÿ2.$5ÿ!!ÿ#!ÿA4ÿÿ40#.!20!#;ÿC4#2$ÿ2ÿÿ4*;!#Cÿ#ÿ0#*#!39!3/ÿ44.*!ÿ
   42!.$?ÿD$ÿ!#4ÿ;4"ÿ8Bÿ5!0#$5ÿ!!"ÿ5.ÿ!2ÿ#!4ÿA#!"ÿ4#E"ÿ+.*F"ÿ54#$5ÿ0E#$ÿ
   ;/;#!3"ÿ;2$#.!#2$"ÿ$5ÿ2!ÿ;!24"ÿ!ÿ67879%:ÿA4ÿ$2!ÿ/!#;.**3ÿ4.#!+*ÿ2ÿ2ÿ5#*3ÿ
   5/!+*ÿ!2ÿ4/2!#$ÿ/./244?ÿ8#$"ÿ8Bÿ.45ÿ!2ÿ;2$#Eÿ/2*#;G;20+!ÿ;20/!#!#2$4ÿ4ÿÿ
   4/2!#$ÿ/./24ÿ.$5ÿ4;!#2$ÿ&:<5=<>=?ÿÿ42!.$ÿA4ÿC#A5ÿ2$ÿ!ÿ+4#4ÿ2ÿ#!4ÿ4.#!+#*#!3ÿ
    2ÿ!5#!#2$*ÿ42!.$ÿ4/2!4ÿ2ÿ.$!#$"ÿ$5ÿ!/ÿ$5ÿ4F!ÿ422!#$ÿ$5ÿ#!4ÿ#0/2!!#2$ÿA4ÿ
   5$#5?ÿ8!!;0$!ÿ?ÿ#4ÿ5;#4#2$ÿA4ÿ./*5ÿ+3ÿ!ÿ6$#!5ÿ7!!4ÿH#4!#;!ÿ12.!ÿ#$ÿ)#*+!ÿ
   ,-.#/0$!ÿ120/$3"ÿD$;?ÿC?ÿI##$4"ÿJK&ÿB?ÿ7.//?ÿ%KJ%ÿ<7?H?ÿ8*?ÿ%&'&=?ÿÿ;4ÿ#4ÿ;.$!*3ÿ
   2$ÿ//*ÿ!2ÿ!ÿ,*C$!ÿ1#;.#!?ÿ
   ÿ
   4ÿ!A2ÿ;44ÿ#$C2*C#$ÿ42!.$4ÿ/4$!ÿ8BL4ÿ#4!ÿ!22.ÿ@0#$!#2$ÿ2ÿ!ÿ4.#!+#*#!3ÿ
   2ÿ;!#$ÿ;20+!9!3/ÿA/2$4ÿ2ÿ4/2!#$ÿ/./244?ÿD$ÿ!4ÿ;44ÿ8Bÿ52/!5ÿ$ÿ
   #$!/!!#2$ÿ2ÿ4/2!#$ÿ4ÿ+#$ÿ*#0#!5ÿ!2ÿ;!#$ÿ!5#!#2$*ÿ4/2!4ÿ$5ÿ$2!ÿ4#0/*3ÿ$3ÿ*A.*ÿ
   ;!#C#!3ÿ#$ÿA#;ÿ!ÿA/2$4ÿ0#!ÿ+ÿ0/*235?ÿ
   ÿ
                                                MNMOPQRQÿ
   ÿ
   8?ÿH#$#$ÿ!ÿ!3/ÿ2ÿA/2$ÿ.$5ÿC#A?ÿ
   ÿ
   84ÿ$2!5ÿ+2C"ÿ4;!#2$ÿ&:<5=<>=ÿ@/44*3ÿ/2C#54ÿ!!ÿ!ÿ7;!3ÿ4**ÿ.!2#Eÿ!ÿ
   #0/2!!#2$ÿ2ÿÿ#0ÿ!!ÿ#4ÿ2ÿÿ!3/ÿ!!ÿ#4ÿ$**3ÿ;2$#E5ÿ4ÿ/!#;.**3ÿ4.#!+*ÿ2ÿ
   4/2!#$ÿ/./244?ÿÿ*#4*!#Cÿ#4!23ÿ*42ÿ0F4ÿ#!ÿ;*ÿ!!ÿ!ÿ7;!3ÿ4**ÿ4;.!#$#Eÿ
   !3/4ÿ2ÿ#04ÿ#$ÿ@;#4#$ÿ#4ÿ.!2#!3ÿ.$5ÿ4;!#2$ÿ&:<5=?ÿ7/;##;**3"ÿ#$ÿ#!4ÿ@/*$!#2$ÿ2ÿ
   4;!#2$ÿ&:<5=<>="ÿ!ÿ7$!ÿT/2!ÿ2$ÿ!ÿ).$ÿ12$!2*ÿ8;!ÿ4!!5Uÿ
   ÿ
           #4ÿ4.+4;!#2$ÿ#C4ÿ!ÿ7;!3ÿ.!2#!3ÿ!2ÿ/0#!ÿ!ÿ#0/2!!#2$ÿ2ÿ00.$#!#2$ÿ$5ÿ
           ;!#$ÿ!3/4ÿ2ÿ#0499<%=ÿ!24ÿ#0/2!5ÿ2ÿ4;#$!##;ÿ2ÿ4;ÿ/./244ÿ2ÿ2ÿ.4ÿ#$ÿ
           ;20/!#!#2$ÿ2ÿ!#$#$ÿ.$5ÿ;/!ÿVK%ÿ2ÿ!#!*ÿ%Kÿ2ÿ!ÿ6$#!5ÿ7!!4ÿ125Wÿ<:=ÿ$ÿ
           .$4C#;+*ÿ#0ÿ2!ÿ!$ÿÿ0;#$.$Wÿ<>=ÿ!24ÿ#04ÿ$2!ÿ;20#$ÿA#!#$ÿ!ÿ
           /.C#Aÿ2ÿ!ÿX!#2$*ÿB#04ÿ8;!ÿ<:(ÿ6?7?1?ÿ'K%"ÿ!ÿ4-?=ÿ$5ÿ4.#!+*ÿ2ÿ4/2!#$ÿ
           /./244ÿ<#$ÿ!ÿ;4ÿ2ÿ4./*.4ÿ0#*#!3ÿA/2$4ÿ!#4ÿ!3/ÿ#4ÿ*#0#!5ÿ!2ÿ42!.$4ÿ$5ÿ#*4=ÿ
           $5ÿ!24ÿ!F$ÿ2.!ÿ2ÿ!ÿ6$#!5ÿ7!!4?ÿ<,0/4#4ÿ555?=ÿ
   ÿ
   7?ÿT/?ÿX2?ÿ%K%"ÿ&K!ÿ12$?ÿ:5ÿ744?ÿ>'ÿ<%&('=?ÿ
   ÿ
   D$ÿ*#!ÿ2ÿ!ÿ4!!.!23ÿ0$5!ÿ!!ÿ!3/4ÿ2ÿ#04ÿ+ÿ4;.!#$#E5"ÿ!ÿA2F#$ÿ2./ÿ#4!ÿ
   !!0/!5ÿ!2ÿ5!0#$ÿA!ÿ!ÿ40#.!20!#;ÿ#*4ÿ4.4/$55ÿ20ÿ#0/2!!#2$ÿ**ÿA#!#$ÿÿ
   !3/ÿ2ÿ#0?ÿ
   ÿ
   ÿA2F#$ÿ2./ÿ5!0#$5ÿ!!ÿ!ÿ40#.!20!#;ÿ#*4ÿ#$ÿ-.>4!#2$ÿÿ$**3ÿ
   40#.!20!#;ÿC4#2$4ÿ2ÿ!.ÿ4*;!#Cÿ#ÿ0#*#!3ÿ44.*!ÿ#*4?ÿ84ÿÿ;*44ÿ2ÿ!3/ÿ2ÿ#0ÿ
   !3ÿÿ2!$ÿV5ÿ!2ÿ4ÿY44.*!ÿ#*4"ZÿY44.*!9!3/ÿ#*4"ZÿY0#*#!3ÿ4!3*ÿ#*4"Zÿ2ÿ
   Y/0#*#!3ÿ#*4?Zÿ7#$;ÿAÿÿ2$*3ÿ;2$;$5ÿA#!ÿ40#.!20!#;ÿ#*4"ÿ#!ÿ#4ÿ420A!ÿ2ÿÿ
   0#4$20ÿ!2ÿÿ!2ÿ!4ÿA/2$4ÿ4ÿY44.*!ÿ#*4?Zÿ.ÿ44.*!ÿ#*4ÿÿ4*;!#Cÿ#ÿ
   ÿ                                       ÿÿÿÿ
   ÿ
          123456ÿ89 ÿ12 4 29 8649ÿ49ÿ62ÿ 345686ÿ4ÿ25689ÿ2 864 86 ÿ12ÿ
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   !ÿ"#"ÿ$%%ÿ&$'ÿ$ÿÿ&(%%)ÿ("*"$+ÿ*,-.ÿ/'ÿ"#ÿ('!!ÿ&ÿ"#$!ÿ'0ÿ$"ÿ!ÿ+!!')ÿ
   "ÿ!""%ÿÿÿ"'*ÿ"#"ÿ1!"ÿ,!+'$1!ÿ"#ÿ!ÿ(,'ÿ+!$,'"$0ÿ,ÿÿ$%%ÿ'&'ÿ"ÿ
   "#!ÿ!ÿ!ÿ2!*$("*"$+ÿ!!(%"ÿ'$&%!-3ÿ4#)ÿ''!"ÿÿ,$!"$+"$5ÿ")ÿ&ÿ'$&%ÿ
   ,$!"$($!#,ÿ1)ÿ+'"$ÿ'%ÿ+#'+"'$!"$+!ÿ#$+#ÿ'ÿ+**ÿ"ÿ"#ÿ*,'ÿ*$%$"')ÿ!!(%"ÿ
   '$&%-ÿ4#ÿ*,'ÿ*$%$"')ÿ!!(%"ÿ'$&%0ÿ!(+#ÿ!ÿ"#ÿ6-7-ÿ890ÿ:'*ÿ:;0ÿ<%$ÿ/=>/?@0ÿ,ÿ
   75$"ÿ?ABC0ÿ$!ÿÿÿ,!$,ÿ&'ÿD$%%$ÿ'ÿ,$!1%$ÿ"#ÿ*)ÿ,0ÿ!ÿ,!+'$1,ÿ1%0ÿ#!ÿ
   +#'+"'$!"$+!ÿ,!$,ÿ"ÿ++*%$!#ÿ"#$!ÿ('!-ÿ
   ÿ
   Eÿ&(,ÿ"#"ÿ"#ÿ*,'ÿ*$%$"')ÿ!!(%"ÿ'$&%ÿ+"$!ÿÿ5'$")ÿ&ÿ#)!$+%ÿ&"('!ÿ,ÿ
   +#'+"'$!"$+!ÿ,!$,ÿ&'ÿ*$%$"')ÿ%$+"$!ÿ#$+#ÿ,$!"$($!#!ÿ$"ÿ&'*ÿ"',$"$%ÿ!'"$ÿ
   '$&%!-ÿ4#!ÿ*$%$"')ÿ&"('!ÿ,ÿ+#'+"'$!"$+!ÿF"#'ÿ"#ÿ!%+"$5ÿ&$'Gÿ'ÿ+''$,ÿ5'ÿ"ÿ"#ÿ
   !*$("*"$+ÿ5'!$!ÿ&ÿ"#ÿ'$$%ÿ*$%$"')ÿ'$&%-ÿ4#!ÿ&"('!ÿ,ÿ+#'+"'$!"$+!ÿ'ÿ!ÿ
   &%%!Hÿ
   ÿ
        9-ÿ8$%$"')ÿI&$('"$-ÿ
   ÿ
            -ÿ?1$%$")ÿ"ÿ++"ÿÿ,"+#1%ÿ*J$-ÿK$'"(%C%)ÿ%%*,'ÿ*$%$"')ÿ&$''*!ÿ'ÿ
                ,!$,ÿ"ÿ++"ÿ%'0ÿ,"+#1%ÿ*J$!-ÿ4#$!ÿ'5$,!ÿ"#ÿ!%,$'ÿ$"#ÿÿ&$'%)ÿ
                %'ÿ**($"$ÿ!(%)ÿ,ÿ"#ÿ1$%$")ÿ"ÿ'$,%)ÿ'%,-ÿ4#(!0ÿ%'ÿ++$")ÿ
                *J$!ÿ'ÿ$,$+"$5ÿ&ÿ*$%$"')ÿ&$''*!-ÿE#$%ÿ,"+#1%ÿ*J$!ÿ'ÿ"ÿ
                %$*$",ÿ"ÿ*$%$"')ÿ&$''*!0ÿ*!"ÿ"',$"$%ÿ!*$("*"$+ÿ!'"$ÿ&$''*!0ÿ,!$,ÿ
                "ÿ++**,"ÿÿ,"+#1%ÿ*J$0ÿ#5ÿÿ'%"$5%)ÿ!*%%ÿ*J$ÿ++$")-ÿLÿ
                ,,$"$0ÿ!*ÿ7""!ÿ#M5ÿÿ%$*$"ÿÿ"#ÿ*J$ÿ++$")ÿ%%,ÿ&'ÿ#("$0ÿ
                (!(%%)ÿMÿ'(,!ÿ'ÿ%!!-ÿ4#"ÿÿ&$''*ÿ$!ÿ,!$,ÿ,ÿ!%,ÿ$"#ÿÿ%'ÿ++$")ÿ
                *J$0ÿ---
                           --0ÿNOP;Oÿ'(,!0ÿ$!ÿÿ&+"'ÿ"ÿ1ÿ+!$,',ÿ$ÿ,"'*$$ÿ#"#'ÿÿ
                &$''*ÿ$!ÿÿ!*$("*"$+ÿ!!(%"ÿ'$&%-ÿ
            ÿ
            1-ÿ/%,$Q>"%!+$ÿ!"+D!-ÿ8)ÿ*$%$"')ÿ&$''*!ÿ$+''"ÿ&%,$ÿ'ÿ"%!+$ÿ
                !"+D!-ÿ4#ÿ*$ÿ,5"ÿ&ÿ"#$!ÿ$"*ÿ$!ÿ'"1$%$")0ÿ!+$%%)ÿ&'ÿ$'1'ÿ"'!-ÿ
                4#!ÿ!"+D!ÿ%%ÿ"#ÿ&$''*ÿ"ÿ1ÿ&$',ÿ&'*ÿ"#ÿ&%,,ÿ!$"$0ÿ)"ÿ$"ÿ+ "ÿ1ÿ
                &$',ÿ'%)ÿ!ÿ++('"%)ÿ!ÿ$"#ÿÿÿ!"+D-ÿE$"#ÿ'!+"ÿ"ÿ!!$1%ÿ!'"$ÿ(!!ÿ
                &ÿ"#$!ÿ&"('0ÿ"#ÿ&%,$ÿ!"+Dÿ*D!ÿ$"ÿ!$'ÿ"ÿ+'')ÿ"#ÿ&$''*ÿ#ÿ#$D$ÿ'ÿ
                1+D+D$-ÿR5'0ÿ$"!ÿ',*$"ÿ,5"ÿ$!ÿ&'ÿ*$%$"')ÿ('!!0ÿ,ÿ$"ÿ$!ÿ
                  '*%%)ÿ"ÿ&(,ÿÿ"#ÿ"',$"$%ÿ!'"$ÿ'$&%-ÿ
            ÿ
            +-ÿ$!"%ÿ'$!-ÿ4#ÿ5!"ÿ*S'$")ÿ&ÿ*$%$"')ÿ&$''*!ÿ*%)ÿÿ9%O%P,&$,ÿ$!"%ÿ'$ÿ
                "#"ÿ'"'(,!ÿ+!$+((!%)ÿ1"#ÿ"#ÿ+"$ÿ&ÿ"#ÿ-ÿLÿ*!"ÿ+!!0ÿ"#ÿ
                2!"'$#"ÿ%$ÿ,!$3ÿ&ÿ"#*$%$"')ÿÿ,$+""!ÿÿ'$ÿ&ÿ"#$!ÿ")ÿ!ÿ"#"ÿ"#ÿ
                !#"'ÿ+ÿ#%,ÿ,ÿ&$'ÿ"#ÿ-ÿ/('"#'0ÿÿ$!"%ÿ'$ÿ+ÿ1ÿÿ$,ÿ$ÿP#,,ÿ
                &$'$ÿ&ÿ"#ÿÿ$ÿÿ+*1"ÿ!$"("$-ÿ/('"#'0ÿ!(+#ÿ'$!ÿ'ÿ,!$,ÿ"ÿ!!$!"ÿ$ÿ
                +"'%%$ÿ*+#$(!ÿ,('$ÿ("*"$+ÿ&$'-ÿT ÿ"#ÿ"#'ÿ#,0ÿ"#ÿ5!"ÿ*S'$")ÿ&ÿ
                !'"$ÿ&$''*!ÿ*%)ÿÿ*'ÿ"',$"$%ÿ$!"%ÿ'$ÿ1($%"ÿ$"ÿ"#ÿ'$!"ÿ&ÿ"#ÿ!"+Dÿ
                &ÿ"#ÿ&$''*ÿ!$+ÿP#,,ÿ!#"$ÿ$!ÿ"ÿ(!(%%)ÿ*%),ÿ$ÿ#("$ÿ'ÿ
                +*"$"$5ÿ"'"ÿ+*"$"$!-ÿ
            ÿ
            ,-ÿ?1$%$")ÿ"ÿ++"ÿÿ1)"-ÿ?ÿ1)"ÿ#!ÿ,$!"$+"ÿ*$%$"')ÿ('!!-99ÿ/$'!"0ÿ$"ÿ#!ÿÿ
                !)+#%$+%ÿ&&+"ÿÿ"#ÿ*)-ÿ7+,0ÿ$"ÿ1%!ÿ!%,$'!ÿ"ÿ&$#"ÿ$ÿ+%!ÿU('"'!ÿ
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   ÿ
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Case No. 1:22-cv-02680-NYW-SKC Document 78-16 filed 10/20/23 USDC Colorado pg 78
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                ÿÿ!"#ÿ$%ÿ&ÿ'ÿ'#()*ÿ+ÿ!"&ÿ&#ÿ"&ÿ'%&"(ÿ),&'"ÿ,,($&"ÿ#&'ÿÿ
                 -.&"*ÿ
          ÿ
          *ÿ/()ÿ)0,,'))&'*ÿ1ÿ#()ÿ)0,,'))&'ÿ"'((.ÿ)'2)ÿ&"ÿ&'ÿ&ÿ#0"$&")*ÿ/')3ÿ"ÿ
                4('.ÿ#''4)ÿÿ%),'))ÿÿ4055(ÿ#()ÿ "ÿÿ#''4ÿ)ÿ#'%ÿ&ÿ(,ÿ$&"$(ÿ
                ÿ)&&'6)ÿ,&)&"3ÿ),$((.ÿÿ"*ÿ1ÿ)$&"%ÿ,0',&)ÿ&#ÿ)&4ÿ#()ÿ)0,,'))&')ÿ
                )ÿ&ÿ)))9ÿ:"ÿ$&"'&(("ÿÿ74055(ÿ$(4-8ÿ&#ÿÿ'#(3ÿ,'$0('(.ÿ "ÿ#'%ÿ#0((.ÿ
                0&4$*ÿ/'&4ÿÿ)"%,&"ÿ&#ÿÿ'%&"(ÿ),&'"ÿ#''43ÿ'ÿ)ÿ"&ÿ,'$0('ÿ
                -"#ÿ"ÿ)0,,'))"ÿ4055(ÿ#()*ÿ; &)ÿ#()ÿ)0,,'))&')ÿ $ÿ()&ÿ)'2ÿ&ÿ
                %4,"ÿ74055(ÿ$(4-8ÿ2ÿÿ(4%ÿ-"#ÿ"ÿ),&'"ÿ0))ÿ-.ÿ((&"ÿÿ)&&'ÿ
                &ÿ'$<0'ÿÿ'ÿ#&'ÿÿ)$&"%ÿ)&*ÿ=&2'3ÿÿ-''(ÿ&#ÿÿ),&'"ÿ'#(ÿ$"ÿ-ÿ
                4&%#%ÿ-.ÿ74">,&'"8ÿ&ÿ$2ÿÿ)4ÿ')0(*ÿ; 'ÿ'ÿ()&ÿ4055(ÿ
                $4")ÿ#&'ÿ),&'"ÿ#''4)ÿ&ÿ)))ÿ"ÿÿ'%0$&"ÿ&#ÿ4055(ÿ$(4-*ÿ?"ÿÿ$)ÿ
                &#ÿ4('.>).(ÿ,&")ÿÿ2ÿ#()ÿ)0,,'))&')ÿ"$&',&'%ÿ"ÿ'ÿ%)"3ÿÿ
                4'ÿ'4&2(ÿ&#ÿÿ#()ÿ)0,,'))&'ÿ4.ÿ2ÿ"ÿ%2')ÿ4,$ÿ&"ÿÿ$$0'$.ÿ&#ÿ
                ÿ#''4*ÿÿ
   ÿ
          #*ÿ@,&%)*ÿ; ÿ4A&'.ÿ&#ÿ4('.ÿ#''4)ÿ2ÿ-,&%)ÿ)ÿ"ÿ"'(ÿ,'9ÿB&#ÿÿ#''4ÿ
                &'ÿ$&""ÿ),$#$ÿ4&0""ÿ,&")ÿ&ÿ $ÿ-,&%)ÿ4.ÿ-ÿ$%*ÿ; ÿ4('.ÿ
                0(.ÿ&#ÿÿ-,&%ÿ)ÿ,'4'(.ÿ&ÿ,'&2%ÿ)-(.ÿ"%ÿ)0,,&'ÿ#&'ÿÿ,&"ÿ "ÿ
                #'%ÿ#'&4ÿÿ,'&"ÿ,&)&"3ÿ),$((.ÿ "ÿ#'%ÿ#0((.ÿ0&4$*ÿ@,&%)ÿ'ÿ
                2(-(ÿ$$))&'.ÿ4)ÿ#&'ÿ),&'"ÿ'#()ÿ"%ÿ'ÿ0)%ÿ,'4'(.ÿ"ÿ(&">'"ÿ
                )&&"ÿ&ÿ""$ÿ)-(.*ÿ=&2'3ÿ'%&"(ÿ),&'"ÿ'#()ÿ%&ÿ"&ÿ$&4ÿ<0,,%ÿ
                ÿ-,&%)3ÿ"&'ÿ'ÿ.ÿ),$#$((.ÿ%)"%ÿ&ÿ$$&44&%ÿ4*ÿ?")%3ÿ-,&%)ÿ
                #&'ÿ),&'"ÿ#''4)ÿ'ÿ"'((.ÿ%)"%ÿ&ÿ$ÿ&ÿÿ%$-(ÿ7)("ÿ)2(ÿ
                4&0"8ÿ&'ÿ)4,(.ÿ$(4,ÿ&"&ÿÿ#''4*ÿÿ
   ÿ
          *ÿC'"%ÿ(0"$'*ÿC'"%ÿ(0"$')ÿ'ÿ"$&',&'%ÿ"ÿÿ4A9&E'.ÿ&#ÿ4('.ÿ
                #''4)ÿ)ÿÿ%2$ÿ&ÿ#$(ÿÿ(0"$"ÿ&#ÿD,(&)2ÿ'"%)*ÿF0$ÿ(0"$')ÿ
                'ÿ"'((.ÿ&#ÿ&ÿ.,)*ÿ; ÿ#')ÿ.,ÿ)ÿÿ#()ÿ)0,,'))&'ÿ%)"%ÿ&ÿ#0"$&"ÿ)ÿÿ
                '"%ÿ(0"$'*ÿ; ÿ)$&"%ÿ.,ÿ$)ÿ&ÿÿ-''(ÿ&#ÿÿ'#(ÿ'ÿ-.ÿ)$')ÿ&'ÿ
                $(4,)*ÿ+ÿ'ÿ"&ÿ'ÿ&#ÿ".ÿ,'$0('ÿ),&'"ÿ0)ÿ#&'ÿ'"%ÿ(0"$')*ÿÿ
   ÿ
            *ÿGÿ))*ÿH".ÿ4('.ÿ#''4)ÿ'ÿ<0,,%ÿÿ(04"&0)ÿ)9I)ÿ&ÿ#$(ÿ
                )ÿ("4"ÿ"%ÿ'ÿ$<0)&"ÿ"ÿ,&&'ÿ(ÿ&'ÿ%'!"))*ÿ; 'ÿ0))ÿ'ÿ
                "'((.ÿ#&'ÿ4('.ÿ"%ÿ(ÿ"#&'$4"ÿ,0',&))ÿ"%ÿ'ÿ"&ÿ0)0((.ÿ#&0"%ÿ&"ÿ
                ),&'"ÿ#''4)ÿ)"$ÿÿ)ÿ"'((.ÿ(((ÿ&ÿ0"ÿÿ"*ÿÿÿ
   ÿ
   ÿ
     :*ÿ+ 'ÿÿ,&"ÿ)ÿÿ)40&4$ÿ2')&"ÿ&#ÿÿ4$"0"*ÿ
     ÿ
                ;ÿ2'ÿ#)0(ÿ(4  A0&'&4
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                                                                                                      'ÿ$)("$02")ÿ#ÿ''3ÿÿ,*'&*3ÿ-.ÿ%$ÿ#"'&ÿ)4ÿ
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                                  . ÿ                ÿ&'            0                         $                          --


              %ÿ4,
                  2&('&,%&ÿ")ÿJ4
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                                                               2'")#&&"'$)ÿ&4
                                                                                #ÿ"ÿ)0)ÿ#K'ÿ'4)
                                                                                                       ÿ4*9"L0ÿ#$0'')ÿ&#ÿ)0$ÿ,&")ÿ2ÿ
     B*ÿ+"$)ÿ&''ÿÿ()ÿ)'*ÿ#(ÿ)ÿ$4-'%ÿ&ÿ$$,ÿÿ$"'#'ÿ$''%ÿ$)ÿ2"ÿÿ("ÿ&#ÿ:*:Iÿ
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Case No. 1:22-cv-02680-NYW-SKC Document 78-16 filed 10/20/23 USDC Colorado pg 79
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                               +           )!#ÿ"#     $#%%#&ÿ'ÿ'+('$%ÿÿ#))ÿ$./'.ÿ0!ÿ#!ÿ+',(*'"        +ÿ$,#'!'/12(ÿ3!
                                                                                                                                           !'ÿÿ%,ÿÿ%!,ÿ,$$&!ÿ+,4ÿ5,        "*#$ÿ"     ÿ%!&ÿÿ++-%ÿÿ
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                                (%'(#%$#$&!ÿ$ÿÿ'!-%ÿ,%#!6ÿÿ%#,)$ÿ'ÿ%5#      ,$$ÿÿ"# )#$#ÿ%ÿ+&ÿ)%#%(ÿ'ÿ)ÿ(.%/$.#0!ÿ#!ÿ+#,!ÿ7'%ÿ"'        ÿ$ÿ1''48ÿ,'/(ÿ+,ÿ)#"'ÿ
                                ÿ
                                9,'ÿ)1%('ÿ!ÿ+,+%#'%#+'ÿÿ!%ÿ('($$&ÿ)(!ÿ!ÿ%#%#!$ÿ'-%#!ÿ
                                ))#%("'           /',ÿ9,     #'ÿÿ!#'ÿ+!'%'ÿ%#ÿ'$&ÿ&*ÿ%,ÿ+$%ÿ'ÿ'-#)#%#+ÿ('$ÿÿÿ'#)"# $ÿ,(%6#"  !ÿ%#+!ÿÿ''ÿ("          #)ÿ$)/ÿÿ%7,!ÿ$#'%4ÿ" ÿ!&ÿ
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                                 %%,ÿ+#%##%!#$ÿÿ'"(    -'%%#ÿ!*ÿÿ)6##5  "'        ÿ!ÿ%ÿ%/ÿ'$ÿ%"#  (%%"       %#+ÿÿ5,
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                                                                                             ÿ#                  ÿ          "#   !                                                 +    !                      !  ÿ
                                  -$+'ÿ%,ÿ#)$ÿ)#$&ÿ5#%,#!ÿ%,ÿ'"#(%"%#+ÿ''($%ÿ#)$ÿ+%&/ÿ
                                        ÿ
                                  '%;'     #-!!ÿ%',#'!ÿ$ÿ#+'%#ÿ%#ÿ-4ÿ5      ÿ$&%ÿ#!"#      !ÿ%ÿ,#!%ÿ4%ÿ,!ÿ'ÿ*"# $!(+%4ÿ" $$%ÿ#+)ÿÿ%,''ÿ)(#$%ÿ#)"'        ÿ!%ÿ%,ÿ&4ÿ#5#    #!%,ÿ$ÿ
                                         ( '                                      -               + $ (                                                                              $  ÿ+
                                        ,#")
                                          ÿ#<+ÿ+-%$##*!ÿÿ)#ÿ)%$,'ÿÿ/*..ÿ#ÿ")        ##@ÿ+#!$#ÿ*'ÿ"*   #)$$'ÿ!+!ÿÿ%%,ÿ%,ÿ=       $"      %ÿ'>(   !$%%ÿ/#ÿ)?,       #,$ÿ'%,ÿÿ#/).$.'ÿÿ
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                                      "-$&64ÿ*4&ÿ%ÿ,!&ÿÿ$ÿ!4ÿ%+ÿ'!"#     6!(%#%!"    $ÿ%/#.+.ÿ6ÿ#")     #    ÿ+  $# *      ÿ '  "#       (%  "    % # + ÿ "     +  ,  !    #' "'    /
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                                    )ÿ!%,ÿ$4%ÿ,/..ÿÿ+$$#6*!ÿ%ÿ#+),$'ÿ+%ÿ#'!%#+'/ÿ$B$&(ÿ%,+'#4ÿ!!%,#':ÿÿ5   )ÿÿ"         +,ÿ#!((-!ÿÿ!%ÿ"#    +!!%#!ÿ%ÿ,!%$4ÿ&#ÿ!ÿÿ)5ÿ
                                                                                                                                                    @  #!
                                                                                                                                           ÿ"
                                                                                                                                             ÿ'ÿ+',(#%!#*'$"ÿ      ÿ))ÿÿ%',"      $$ÿ2"         ÿ',((!$%%#ÿ!#)$/ÿ4ÿ
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                                                                                                                 % ,   ÿ  -     % # !                                          ÿCDE            ÿ '
                                     ,'ÿ'*ÿ!!%ÿÿ-'(*-'%$!&%ÿ#)$$$&$ÿÿ5# +,%,!#!ÿ%,ÿ'ÿ'ÿ%"#   ,%ÿ(#%%ÿ#'"
                                                                                                                              ÿ!%#5ÿ     '@'#!(ÿ%$%ÿÿ#ÿ)%$ÿ+#%%#!$ÿ&'/-ÿ   %#!ÿÿ#)$ÿ!ÿ
                                                                                                                                      + ÿ 
                                      ''(--+-#)#'+'$$&ÿ,4ÿ#%6'ÿÿ*+#!6ÿÿ"   ,'6ÿ*/ÿ!9,    ÿ"     ##)#ÿÿ" !+ÿ#,%'ÿ!-##''"ÿ %$,ÿ'#ÿ-*'4ÿ*!ÿ"   &!6%4ÿÿ%!ÿ%,ÿ)$ÿ',ÿÿ)ÿ
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                                       %"#
                                        ,$ÿ#"    8#')#%&$ÿÿ'#+,#6%'ÿ,ÿ%6ÿ)ÿ*+#$#!%ÿ%-ÿ#$%'+ÿ('ÿÿ5#  5#%%,,ÿÿ%ÿ%#%##%!#!$ÿ'$-ÿ'-%#!%#!8'%ÿ&'$%ÿ+'@#/ÿ,C$           '/ÿG4ÿ#%'ÿÿ
                                              %  &                                                                                                                                                  % '
                                        C%%+,"!%ÿH/ÿ
    ÿI/ÿG+-ÿ)ÿJG-%#!ÿ(-''K/ÿ
     ÿ
   '9,     %(ÿ'%/+ÿ9, !#'ÿ'ÿ#%'ÿ-ÿÿ+)#ÿ%#(+ÿ$-ÿ'-++''%ÿÿ5            ',ÿ%ÿ-ÿ%+'"#       !9,
                                                                                                                 ÿ%,ÿ*ÿ'+-'ÿ%ÿ#)!ÿJ%'--%%#!%#ÿ-!(ÿ+-('$ÿ'%Kÿ@'ÿÿ#(!'ÿ6#ÿ#%!(ÿ%$,$&ÿÿ
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   !'#(%$ÿ'+('#!!ÿ&#+1*ÿ4ÿÿ5"%#(ÿ%#ÿ4ÿ"#$!*(*ÿ$ÿ*%(2$$ÿ&%(ÿ%!ÿ%3'ÿ#5ÿ(51ÿ
   2%!ÿ%ÿ!'#(%$ÿ'+('#!!ÿ%!%/ÿ
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         123456ÿ89 ÿ12 4 29 8649ÿ49ÿ62ÿ 345686ÿ4ÿ25689ÿ2 864 86 ÿ12ÿ
Case No. 1:22-cv-02680-NYW-SKC Document 78-16 filed 10/20/23 USDC Colorado pg 82
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   ÿ!"ÿ#$ÿ%&!'!(ÿ(%ÿ)*&!(ÿ+!&&,ÿ!(%!-&'ÿ&&ÿ&'ÿ!$+'ÿÿ(#&ÿ(++.ÿ
   )*&%ÿ$#ÿ,(&!(ÿ#ÿ-#)/&!&!ÿ'##&!(0ÿÿ!"ÿ#$ÿ&ÿ&-(!-+ÿ+,&!#('ÿ+%ÿ
   &&ÿ&'ÿ!$+'ÿÿ(#&ÿ%%ÿ'ÿ',!&1+ÿ$#ÿ&'ÿ'/#&!(ÿ-&!!&!'022ÿ
   ÿ
   #ÿ&ÿ3&(&ÿ&&ÿ&ÿ&-(!-+ÿ+,&!#('ÿ)%ÿ-#))(%&!#('ÿ"!&ÿ'/-&ÿ&#ÿ&ÿ,'ÿ#$ÿ&ÿ
   !$+'ÿ','/(%%ÿ$#)ÿ!)/#&&!#(4ÿ&ÿ)5#!&.ÿ-#))(%%ÿ&)ÿ$#ÿ+"ÿ($#-)(&ÿ#ÿ
   )!+!&.ÿ,'ÿ#ÿ$#ÿ-&!!&!'ÿ',-ÿ'ÿ-#++-&!(4ÿ/+!(*!(4ÿ#)ÿ(%ÿ'+$6%$('4ÿ(%ÿ-#)1&ÿ&&ÿ
   '##&!(0ÿ7(+.ÿ8ÿ#$ÿ#ÿ89ÿ+,&!#('ÿ!"%ÿ-#(&!(%ÿ-#))(%&!#('ÿ$#ÿ&ÿ,'ÿ#$ÿ&'ÿ
   $!)'ÿ$#ÿ,(&!(ÿ/,/#''0ÿ
   ÿ
   ÿ!)/#&'ÿ"ÿ'*%ÿ&#ÿ',1)!&ÿ!($#)&!#(ÿ-#(-(!(ÿ&ÿ'/#&!(ÿ,''ÿ#$ÿ&ÿ')!,&#)&!-ÿ
   !$+'ÿ&.ÿ!)/#&0ÿ!&.6(!(ÿ!)/#&'ÿ"ÿ'*%ÿ&#ÿ',1)!&ÿ&!'ÿ!($#)&!#(ÿ(%ÿ:ÿ'/#(%%0ÿ
   ;(ÿ(+4ÿ&!ÿ-#))(&'ÿ"ÿ-#(-+,'#.ÿ(%ÿ'&&%ÿ&&ÿ&!ÿ"/#('ÿ-#,+%ÿ1ÿ,'%ÿ$#ÿ
   '/#&!(ÿ/,/#''0ÿ<ÿ')++ÿ(,)1ÿ#$ÿ!)/#&'4ÿ004ÿ=,(ÿ>#,&4ÿ;(-04ÿ(%ÿ?-*+ÿ@ÿA#-4ÿ;(-04ÿ
   /#!%%ÿ)#ÿ'/-!$!-ÿ%&ÿ'#"!(ÿ&ÿ'/#&!(ÿ,''ÿ)%ÿ#$ÿ&!ÿ$!)'ÿ1.ÿ&!ÿ-,'&#)'0ÿ
                                                   ---

   ÿ
   7$ÿBÿ,(&!(ÿ''#-!&!#('ÿ&#ÿ"#)ÿC,'&!#((!'ÿ"ÿ'(&4ÿ2ÿ'/#(%%0ÿ.ÿ'&&%ÿ&&ÿ&.ÿ
   /+-ÿ(#ÿ'&!-&!#('ÿ#(ÿ&ÿ,'ÿ#$ÿ')!,&#)&!-ÿ!$+'ÿ1.ÿ&!ÿ))1'4ÿ#(ÿ&ÿ)!(!),)ÿ-+!1ÿ
   #$ÿ)),(!&!#(ÿ,'%ÿ&#ÿ,(&ÿ+ÿ)4ÿ#ÿ#(ÿ&ÿ(,)1ÿ#$ÿ#,(%'ÿ++#"%ÿ!(ÿ')!,&#)&!-ÿ!$+ÿ
   )D!('0ÿ?#"4ÿ#ÿ4E99ÿ,(&!(ÿ,!%'ÿ"ÿ'(&ÿC,'&!#((!'ÿ(%4ÿ#$ÿ&'4ÿF9Gÿ
   '/#(%%0ÿ7 ÿFBÿ/-(&ÿ#$ÿ&#'ÿ'/#(%!(ÿ!(%!-&%ÿ&&ÿ&!ÿ/&#('ÿ,'%ÿ!&ÿ1#+&ÿ#ÿ
   +ÿ-&!#(ÿ!$+'ÿ$#ÿ,(&!(0ÿ7(+.ÿ9ÿ#$ÿ&ÿF9Gÿ,!%'ÿ!(%!-&%ÿ&&ÿ&!ÿ/&#('ÿ%ÿ,'%ÿ(.ÿ
   #$ÿ&ÿ!$+'ÿ"#'ÿ!)/#&&!#(ÿ%ÿ1(ÿ&)/#!+.ÿ','/(%%0ÿ
   ÿ
   7$ÿ&ÿ29ÿ,(&!(H'##&!(ÿ%!&#'ÿ&#ÿ"#)ÿC,'&!#((!'ÿ"ÿ'(&4ÿIÿ'/#(%%0ÿJ!(ÿ#$ÿ&ÿ
   $#,&(ÿ%!&#'ÿ-#))(%%ÿ')!,&#)&!-ÿ!$+'ÿ$#ÿ,'ÿ!(ÿ,(&!(ÿ+ÿ)4ÿ!(-+,%!(ÿ8ÿ"#ÿ
   -#))(%%ÿ,'ÿ#$ÿ(.ÿ#$ÿ&ÿ!$+'ÿ',15-&ÿ&#ÿ&ÿ&)/#.ÿ','/('!#(0ÿK+(ÿ#$ÿ&ÿ$#,&(ÿ
   %!&#'ÿ-#))(%%ÿ')!,&#)&!-ÿ!$+'ÿ$#ÿ&&ÿ-#)/&!&!#('4ÿ!(-+,%!(ÿFÿ"#ÿ-#))(%%ÿ
   ')!,&#)&!-ÿ'',+&ÿ!$+'ÿ$#ÿ',-ÿ,'0ÿ
   ÿ
   ÿ-#))(%&!#('ÿ#$ÿ%!&#'ÿ"ÿ-#(&%!-&#.0ÿ7(ÿ%!&#ÿ/#!(&%ÿ#,&ÿ&&ÿ"&ÿ)%ÿ&ÿ
   '',+&ÿ!$+ÿ',--''$,+ÿ'ÿÿ)!+!&.ÿ"/#(ÿ)%ÿ&ÿ')!,&#)&!-ÿ'!#(ÿ&#&++.ÿ,($!&ÿ$#ÿ(.ÿ
   #&ÿ,'0ÿ7(ÿ&ÿ#&ÿ(%4ÿ(#&ÿ%!&#ÿ'&&%ÿ&&ÿ')!,&#)&!-ÿ!$+'ÿ%ÿ-&!(ÿ%(&'ÿ
   #ÿ-#((&!#(+ÿ'/#&!(ÿ!$+'ÿ'/-!++.ÿ$#ÿ&ÿ/.'!-++.ÿ%!'1+%ÿ(%ÿ+$&6(%%ÿ'##&'0ÿ
   L!+ÿ&!'ÿ).ÿ1ÿ&,4ÿ&ÿ//'ÿ&#ÿ1ÿ(#ÿ%(&ÿ&#ÿ,'!(ÿÿ')!,&#)&!-ÿ'',+&ÿ!$+ÿ'ÿ
   #//#'%ÿ&#ÿÿ')!,&#)&!-ÿ'/#&!(ÿ!$+0ÿ
   ÿ
   <ÿ&#&+ÿ#$ÿ8Iÿ-#)/&!&!ÿ'##&!(ÿ#,/'ÿ"ÿ'(&ÿÿC,'&!#((!ÿ(%ÿ8Bÿ#,/'ÿ'/#(%%ÿ
   M'#)ÿ#$ÿ&ÿ'/#(''ÿ"ÿ$#)ÿ,('#+!-!&%ÿ#,/'N0ÿO!$&.ÿ#$ÿ&'ÿ#,/'ÿ!(%!-&%ÿ&&ÿ&.ÿ
   '/#('#ÿ!ÿ/#"ÿ!$+ÿ-#)/&!&!#(ÿ(&'0ÿL!+ÿ(#(ÿ#$ÿ&ÿ#,/'ÿ/#!1!&%ÿ&ÿ,'ÿ#$ÿ&ÿ
   ')!,&#)&!-ÿ'',+&ÿ!$+'ÿ!(ÿ&!ÿ-#)/&!&!#('4ÿ(#(ÿ'&&%ÿ&&ÿ(.ÿ#$ÿ&ÿ!$+'ÿ-#%ÿ1.ÿ&ÿ
   &)/#.ÿ','/('!#(ÿ"ÿ,'%ÿ!(ÿÿ'/-!$!-ÿ(&0ÿ
   ÿ
   O!(++.4ÿ&ÿ!($#)&!#(ÿ&%ÿ,(%ÿ;&)ÿFÿ+'ÿ&&ÿ)#'&ÿ#$ÿ&'ÿ"/#('ÿ-#,+%ÿ+++.ÿ1ÿ
   ,'%ÿ!(ÿ)#'&ÿ>&&'ÿ$#ÿ)#'&ÿ,(&!(ÿ/,/#''0ÿ
   ÿ
   ÿ                                      ÿÿÿÿ
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          123456ÿ89 ÿ12 4 29 8649ÿ49ÿ62ÿ 345686ÿ4ÿ25689ÿ2 864 86 ÿ12ÿ
Case No. 1:22-cv-02680-NYW-SKC Document 78-16 filed 10/20/23 USDC Colorado pg 83
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   ÿ!"#$%ÿ"!&'ÿ"($ )ÿ**ÿ!+ÿ,ÿ$%+!"-,$!%ÿ,")ÿ&%)"ÿ.,-/ÿ01ÿ%)ÿ),"-$%)ÿ,,ÿ
      $*ÿ,/ÿ'!%/ÿ-2ÿ***2ÿ3ÿ&/)ÿ+!"ÿ/'!",$%ÿ'&"'!//ÿ$%ÿ-!/,ÿ4,,/5ÿ,ÿ($)%6ÿ/ÿ
   6!-'**$%ÿ,,5ÿ/ÿÿ,2'ÿ!+ÿ+$""-5ÿ,ÿ/-$&,!-,$6ÿ//&*,ÿ"$+*ÿ$/ÿ%!,ÿ%"**2ÿ"6!%$7)ÿ/ÿ
   '",$6&*"*2ÿ/&$,3*ÿ+!"ÿ/'!",$%ÿ'&"'!//8ÿÿ!"#$%ÿ"!&'ÿ+!&%)ÿ'"/&/$(ÿ,ÿ,6%$6*ÿ%)ÿ
   9'",ÿ(*&,$!%/ÿ!+ÿ,/ÿ+$""-/ÿ$6ÿ%"**2ÿ)$)ÿ%!,ÿ"6!--%)ÿ,-ÿ/ÿ'",$6&*"*2ÿ
    /&$,3*ÿ+!"ÿ/'!",$%ÿ'&"'!//8ÿÿ"!&'ÿ/ÿ*/!ÿ$-'"//)ÿ32ÿ,ÿ6!--%,/ÿ!+ÿ,ÿ&%,$%ÿ
   &$)/ÿ$6ÿ/! )ÿ,,ÿ,/ÿ"$+*/ÿ"ÿ%!,ÿ$)*2ÿ&/)ÿ+!"ÿ&%,$%ÿ'&"'!//8ÿÿ6!--%,/ÿ
    !+ÿ,ÿ&%,$%ÿ&$)/ÿ"ÿ6!%/$/,%,ÿ$,ÿ,ÿ!'$%$!%ÿ!+ÿ,ÿ,6%$6*ÿ9'",/ÿ!ÿ%"**2ÿ)!ÿ%!,ÿ
   "6!--%)ÿ,ÿ"$+*/ÿ+!"ÿ&%,$%ÿ'&"'!//8ÿ
   ÿ
   ÿ!'$%$!%/ÿ!+ÿ,ÿ)$,!"/ÿ"ÿ+$"*2ÿ)$($))ÿ$,ÿ"/'6,ÿ,!ÿ,ÿ/'!",$%ÿ&//ÿ!+ÿ,/ÿ"$+*/8ÿÿ
    $-'!","/ÿ%"**2ÿ"6!--%))ÿ,$"ÿ! %ÿ'!%/ÿ+!"ÿ/&6ÿ&//8ÿÿ6!-',$,$(ÿ/!!,$%ÿ
    "!&'/ÿ$%)$6,)ÿ,,ÿ,ÿ"$+*/ÿ6!&*)ÿ3ÿ&/)ÿ$%ÿ6",$%ÿ/!!,$%ÿ(%,/8ÿ&/5ÿ$*ÿ,"ÿ/ÿ
    /!-ÿ($)%6ÿ,,ÿ,/ÿ"$+*/ÿ6!&*)ÿ3ÿ&/)ÿ+!"ÿ&%,$%ÿ%)ÿ,",ÿ/!!,$%5ÿ,"ÿ/ÿ%!ÿ
   ($)%6ÿ!+ÿ%2ÿ$)/'")ÿ&/ÿ+!"ÿ/&6ÿ'&"'!//8ÿÿ-"ÿ+6,ÿ,,ÿ,2ÿ"ÿ%!,ÿ%"**2ÿ
   '"!$3$,)ÿ+"!-ÿ&/ÿ+!"ÿ/'!",$%ÿ'&"'!//ÿ)!/ÿ%!,ÿ-%ÿ,,ÿ,ÿ"$+*/ÿ-,ÿ,ÿ,/,ÿ+!"ÿ
   $ÿ-'!",,$!%8ÿ
                                               ;<=;>?4.<=4ÿ
    ÿ
    ÿ!"#$%ÿ"!&'ÿ/ÿ)*,ÿ$,ÿÿ6!-'*9ÿ$//&5ÿ,ÿ"/!*&,$!%ÿ!+ÿ$6ÿ/ÿ"@&$")ÿ,ÿ"!&'ÿ
    ,!ÿ,#ÿ$%,!ÿ66!&%,ÿ$%,"'",,$!%/ÿ!+ÿ* 5ÿ,6%$6*ÿ////-%,/ÿ!+ÿ+$""-/ÿ%)ÿ,$"ÿ'2/$6*ÿ
    6"6,"$/,$6/5ÿ-"#,$%ÿ),5ÿ,ÿ////-%,ÿ!+ÿ),ÿ6!-'$*)ÿ+"!-ÿ"/'!%//ÿ,!ÿ@&/,$!%%$"/ÿ
    %)5ÿ+$%**25ÿA&"&ÿ9'",$/ÿ$,ÿ"/'6,ÿ,!ÿ+$""-/8ÿBÿ+&**2ÿ"6!%$7ÿ,,ÿ'",$6&*"ÿ+$%)$%/ÿ
    /ÿ**ÿ/ÿ,ÿ"/&*,/ÿ$**ÿ3ÿ6!%,"!("/$*8ÿ
    ÿ
    C"!-ÿ,ÿ6"!//ÿ/6,$!%ÿ!+ÿ"'"/%,,$!%ÿ$,$%ÿDC5ÿÿ(ÿ3"!&,ÿ,!ÿ3"ÿ!&"ÿ,6%$6*5ÿ**5ÿ
   %)ÿ)-$%$/,",$(ÿ9'",$/ÿ,!ÿ"/!*(ÿ,ÿ$//&/ÿ$%ÿ,ÿÿ3*$(ÿ,!ÿ3ÿÿ+$"ÿ-%%"5ÿ,#$%ÿ
    $%,!ÿ6!%/$)",$!%ÿ**ÿ'!$%,/ÿ!+ÿ($ 8ÿB$*ÿ/!-ÿ!+ÿ,ÿ$//&/ÿ"ÿ)$++$6&*,ÿ,!ÿ"/!*(5ÿ$%ÿ,ÿ%)ÿ
      ÿ3*$(ÿ,,ÿ,ÿ&*,$-,ÿ6!%6*&/$!%ÿ$/ÿ6*"ÿ%)ÿ6!-'**$%8ÿ/ÿ/-$&,!-,$6ÿ//&*,ÿ"$+*/ÿ
      "ÿ)/$%)ÿ%)ÿ$%,%))ÿ,!ÿ3ÿ'",$6&*"*2ÿ/&$,3*ÿ+!"ÿ6!-3,ÿ","ÿ,%ÿ/'!",$%ÿ''*$6,$!%/8ÿ
   B$*ÿ,/ÿ'!%/ÿ6%ÿ3ÿ&/)5ÿ%)ÿ$%))ÿ-2ÿ3ÿ&/)ÿ32ÿ/!-5ÿ+!"ÿ&%,$%ÿ%)ÿ,",ÿ
    /!!,$%5ÿÿ3*$(ÿ$,ÿ$/ÿ6*"ÿ,,ÿ,2ÿ"ÿ%!,ÿ%"**2ÿ"6!%$7)ÿ/ÿ'",$6&*"*2ÿ/&$,3*ÿ+!"ÿ
    ,/ÿ'&"'!//8ÿ
    ÿ
    ÿ'&"'!/ÿ!+ÿ/6,$!%ÿEFG)HGIHÿ/ÿ,!ÿ-#ÿÿ*$-$,)ÿ96',$!%ÿ,!ÿ,ÿ%"*ÿ'"!$3$,$!%ÿ!%ÿ,ÿ
    $-'!",,$!%ÿ!+ÿ+$""-/5ÿ,!ÿ'"/"(ÿ,ÿ/'!",/-%J/ÿ"$,ÿ,!ÿ/'!",$%ÿ+$""-/8ÿ$/ÿ)6$/$!%ÿ$**ÿ
   $%ÿ%!ÿ2ÿ'"6*&)ÿ,ÿ$-'!",,$!%ÿ!+ÿ,"&ÿ/'!",$%ÿ+$""-/8ÿ.,ÿ$**ÿ!%*2ÿ'"(%,ÿ,ÿ$-'!",,$!%ÿ!+ÿ
   -$*$,"20/,2*ÿ+$""-/ÿ$65ÿ*,!&ÿ'!'&*"ÿ-!%ÿ/!-ÿ&%ÿ! %"/ÿ+!"ÿ6!**6,$!%5ÿ
    /*+0)+%/5ÿ6!-3,ÿ6!-',$,$!%/5ÿ!"ÿ'*$%#$%5ÿ/$-'*2ÿ6%%!,ÿ3ÿ+$"*2ÿ6"6,"$7)ÿ/ÿ/'!",$%ÿ
    "$+*/8ÿ
    ÿ
    "+!"5ÿ$,ÿ$/ÿ,ÿ+$%)$%ÿ!+ÿ,ÿ!"#$%ÿ"!&'ÿ,,ÿ,ÿ/-$&,!-,$6ÿ//&*,ÿ"$+*ÿ$/ÿ%!,ÿÿ,2'ÿ!+ÿ
    +$""-ÿ%"**2ÿ"6!%$7)ÿ/ÿ'",$6&*"*2ÿ/&$,3*ÿ+!"ÿ!"ÿ")$*2ÿ)',3*ÿ,!ÿ/'!",$%ÿ'&"'!//ÿ
   %)ÿ,,ÿ$-'!",,$!%ÿ!+ÿ,/ÿ"$+*/ÿ/!&*)ÿ%!,ÿ3ÿ&,!"$7)ÿ&%)"ÿKÿ?848;8ÿÿ
    LÿEFG)HGIH8ÿ
    ÿ
   ÿ                                      ÿÿÿÿ
   ÿ
          123456ÿ89 ÿ12 4 29 8649ÿ49ÿ62ÿ 345686ÿ4ÿ25689ÿ2 864 86 ÿ12ÿ
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   ÿ!"ÿ!#$ÿ%&#'(!")ÿ*ÿ$+!,,"ÿ'-'ÿ'-ÿ.($$,ÿ&('ÿ!"ÿ/''+-,"'ÿ0ÿ"!'ÿ1ÿ#'-!$(2ÿ
   .!$ÿ(,3!$''(!"4ÿ5!$ÿ'-ÿ$!"ÿ(+#ÿ("ÿ'-(ÿ$3!$')ÿ*ÿ$+!,,"ÿ'-'ÿ'-ÿ.($$,ÿ&('ÿ!"ÿ
   /''+-,"'ÿ6ÿ1ÿ#'-!$(2ÿ.!$ÿ(,3!$''(!"4ÿ7-ÿ$ÿ'-ÿ488ÿ$(,.($ÿ+&(1$ÿ$(.&ÿ"ÿ'-ÿ9&,'ÿ
   :#"'$ÿ*-(+-ÿ*ÿ!ÿ"!'ÿ1&(%ÿ$ÿ3$!3$&;ÿ("+&#ÿ("ÿ'-ÿ+'!$;ÿ!.ÿ,(#'!,'(+ÿ#&'ÿ
   $(.&4ÿ/''+-,"'ÿ<ÿ(ÿÿ+!,3(&'(!"ÿ!.ÿ'-ÿ$3!"ÿ.$!,ÿ'-ÿ=#'(!""($4ÿ/''+-,"'ÿ>ÿ
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           O")ÿB"'!$ÿP! ÿ,ÿ+&$ÿ'-'ÿ'-ÿ("'"'ÿ!.ÿ'-ÿ&(&'(!"ÿ*ÿ'!NÿQ$#&'Rÿ'-ÿ
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           ("+&#ÿ%$;ÿ+!"+(%1&ÿ';3ÿ!.ÿ+'(%(';ÿ!$ÿ+!,3'('(!"ÿ*-(+-ÿ,(-'ÿ,3&!;ÿÿ.($$,Tÿ
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           5!$ÿS,3&)ÿ("ÿ$3!"ÿ'!ÿB"4ÿ:""Eÿ=#'(!"ÿ+!"+$"("ÿ'-ÿ,"("ÿ!.ÿM3!$'("ÿ
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                    ÿ
                    Y$4ÿ:/?BA?4ÿC-'ÿ1!#'ÿ'$3ÿ"ÿG'ÿ-!!'("Zÿ
                    ÿ
                    Y$4ÿP@PP4ÿOÿ*!#&ÿ'-("Gÿ!4ÿOÿ*!#&ÿ'-("Gÿ'$3ÿ"ÿG'ÿ-!!'("ÿ*!#&ÿ+$'("&;ÿ
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                    ÿ
                    Y$4ÿ:/?BA?4ÿC!#&ÿ'-ÿV,3ÿ$$;ÿ"'(!"&ÿ,'+-ÿ1ÿ+!"($ÿÿM3!$'("ÿ
                    3#$3!ZNÿ
                    ÿ
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                    3!$'("ÿ3#$3!4ÿ
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   ÿ                                      ÿÿÿÿ
   ÿ
          123456ÿ89 ÿ12 4 29 8649ÿ49ÿ62ÿ 345686ÿ4ÿ25689ÿ2 864 86 ÿ12ÿ
Case No. 1:22-cv-02680-NYW-SKC Document 78-16 filed 10/20/23 USDC Colorado pg 85
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                  !"ÿ!!ÿ#ÿ$%&ÿ#'(()&ÿ*ÿ+!&&'#'"ÿ&ÿ,-.&ÿ+.&$'$$'.ÿÿ/&-($'.ÿ
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                  '..$$3ÿÿ$ÿ45443                ÿÿ6    3ÿ7ÿÿ,    !"-ÿ..$ÿÿ#&(8ÿÿ&&3ÿÿ'7.ÿ$ÿ%)
                                                                                                           '.9$+ÿ,%     ÿ!.'ÿ9,   ÿ%&$ÿ'ÿ.$$ÿ;
                                                                                                                                                      ÿ$%)-
                                                                                                                                                         $:ÿÿ,       ÿ("(8<#ÿ'*.'$$ÿ7!ÿ8"ÿÿ$ÿ
                                  )'   ! ' $  ( 8   $ 8 -        # ÿ ,                                           %  &         ÿ $                               
                                  %'.ÿ9$%ÿ'$ÿ8'ÿ&%ÿ=.ÿ+((!!$8'ÿ."ÿ$&8+-('*&ÿ"#ÿÿ+&ÿ)- ÿ&-$'($$''..ÿÿ',     -'+.%3ÿÿ$7%$ÿ'&8ÿÿÿ&)'    !%'$&(8ÿÿ)'
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                   ,     &&-)                                                                                        .  ÿ ,%                           ÿ $
                    $%$ÿ#+.$&ÿÿ,        &ÿ$%!"ÿ8+ÿ%,      .!"ÿÿ$'%.ÿÿ..ÿ$$(%ÿ(,'#ÿ$&%ÿÿ+,
                                                                                                            )- -!.$ÿ#!(8ÿ&)ÿ  -(ÿ$)''.!'ÿ$=(8ÿ.$$3ÿÿ7ÿÿ"&-ÿ.($'$.ÿ$%ÿ'..9ÿ3ÿ
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                    2(
                    ÿ!&3ÿ0>?6@    ÿ A63ÿ7&ÿ'$ÿ.$ÿ$(ÿ$%$ÿ)'!'$(8ÿ,-.&ÿ(ÿ&"ÿ'.ÿ5!8)-'+ÿ+)-$'$'.ÿ
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                     .ÿ3$ÿ%45443  $3ÿ ÿ7ÿ"ÿ.$ÿ9.,3ÿ(%-&ÿ$%ÿ@.$(ÿ+.ÿ$!!ÿ)3ÿ7ÿ)ÿ.$ÿ,!!ÿ'.#()"ÿ
                     ÿ
                     2(3ÿ>?6@A63ÿ7$ÿ'&ÿ)8ÿ."(&$."'.ÿ$%$ÿ$%8ÿ(3ÿ!"ÿ$%ÿ@.$(ÿ*ÿ'.+!'."ÿ
                     $7ÿ&ÿ)       "%'#$8ÿÿ'%&ÿ'$&(ÿ(&0-ÿBC.D&Eÿ'#Fÿÿ
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                         ÿ2(3ÿ45443ÿ7$ÿ'&ÿ.$ÿ$%$ÿ7ÿ"*$ÿ$%ÿ@.$(G&ÿ,("3ÿ>(ÿ'.ÿ7ÿ,!"ÿ%=ÿ$ÿ
                      &ÿ&8-ÿ$%($'$.ÿ'#ÿÿ,  ÿ)'    !'$.(38ÿ7ÿ$,  -ÿ)'
                                                                               .!ÿ''$&ÿ(8&ÿ,"ÿ'.-ÿÿ.&-ÿ&+'"!ÿ'ÿ&.-ÿÿ(&$-'.+'ÿ!=ÿ&-.$:(ÿ'$$'ÿ."ÿ&=ÿ..$$3ÿÿ*7ÿ$+%'.)     ÿ
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                                                                       & ÿ                                                                                                                     9 ÿ
                       $%ÿ@.$(ÿ,!"ÿ(ÿ,'$%ÿ$%$3ÿ7ÿ"ÿ.$ÿ9.,ÿ%,ÿ!&ÿ,ÿ+!"ÿ"&+('*ÿ'$3ÿÿÿ
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                                                        ,               (&8$ÿ.*"ÿÿ$%&ÿ"@ÿ'..ÿ$ÿ&-(ÿ+($('.(+ÿ$!=8:ÿ.%$ÿ'ÿ$&ÿ"''""ÿÿ$.%$$:ÿÿ"*8&ÿ-$%'$$ÿÿ$%+$ÿ'#.+ÿ$ÿ
                                         ÿÿ&-($'.ÿ('#!ÿ7&ÿ$%$ÿ+((+$0ÿ
                        ÿ
                        2(83&ÿ-45443       (ÿ3(H%     ÿ$,'ÿ,     !"ÿÿ&")'
                                                                                 )ÿ   ('"ÿ%'.$ÿ$$ÿÿ$)  ÿÿI3    3ÿ.?&    ÿ7ÿÿ&.!'"&ÿ-&ÿ($%='8ÿ&(!8ÿÿ$%.ÿ!'..ÿ&-($'ÿ.ÿ
                        &,       ÿ..ÿ&#3'I3         )&          !! ÿ
                                                                      *               $$                  %'&  +        $ ( 8
                                                      ÿ7ÿ$%'.9ÿ$%ÿ@.$(ÿ."ÿ7ÿ9.,ÿ,%$ÿÿ.'.ÿ&-($'.ÿ.ÿ'&3ÿ
                         ÿ
         ÿÿ;.3ÿJ+3ÿCDEKECÿBLEMF3BA)-%&'&ÿ"""3Fÿ
   ÿ N3ÿÿO.ÿ(.(:ÿ"3:ÿP .ÿ4'&$ÿLML:ÿB6($%*(9:ÿ73ÿLMMF:ÿ--3ÿCLNKNQQ<ÿ'!!')ÿ@3ÿ
         R(($$:ÿ"3:ÿ@%$(G&ÿS'*!:ÿ63ÿMQ:ÿB>+9.&+9:ÿ6R3ÿLMMF:ÿ--3ÿNTKNEN<ÿA",("ÿ;!'.$.ÿ
          AU!!:ÿ@)!!ÿ?()&ÿ#ÿ$%ÿ(!":ÿB>(('&*(:ÿ3ÿLMNF:ÿ-3ÿM<ÿ$ÿ4'+98:ÿ/H%ÿ2'!'$(8ÿ
         V9K?!'9&:1ÿ?)('+.ÿJ'#!).:ÿB?-('!ÿLMQF:ÿ-3ÿN3ÿ?!&:ÿ&ÿ.(!!8:ÿ7.ÿW3ÿ>:ÿ
          "3:ÿR.G&ÿ7.#.$(8ÿ-.&:ÿLMDKMM:ÿB6,ÿX(9ÿLMDF<ÿR+9ÿV,'&:ÿ"3:ÿH%ÿP .ÿ4'&$ÿ
          S9ÿ#ÿ?&&!$ÿ-.&:ÿB6($%*(9:ÿ73ÿLMEF3ÿÿ
   ÿ
   ÿ 3ÿÿ?($ÿS!$$:ÿ/H)((,G&ÿ@$$K#K$%K?($ÿ@-($'.ÿJ'#!:1ÿP .&ÿYÿ?)):ÿBR!8ÿLMF:ÿÿÿÿÿÿÿ
          -3ÿM<ÿR(($$:ÿ--3ÿNTKNEN<ÿ(.(:ÿ--3ÿCLNKNQQ3ÿ
   ÿ
   ÿ T3ÿ4.'!ÿ43ÿ2 &(=ÿ."ÿH%)&ÿS36!&.:ÿH%ÿ(!"G&ÿ?&&!$ÿJ'#!&:ÿBW'('.':ÿLEDF:ÿ
          -3ÿ3ÿ
   ÿ
   ÿ E3ÿÿ@ÿ.(!!8:ÿ?.&ÿV'"!,:ÿ"3:ÿ!ÿ%!G&ÿS'ZÿP .ÿ;$![:ÿBS$:ÿ6R3ÿLMMF<ÿ
          2 &(=ÿ."ÿ6!&.<ÿ><ÿR(($$<ÿ."ÿ(.(3ÿ
   ÿ                                            ÿÿÿÿ
   ÿ
                123456ÿ89 ÿ12 4 29 8649ÿ49ÿ62ÿ 345686ÿ4ÿ25689ÿ2 864 86 ÿ12ÿ
Case No. 1:22-cv-02680-NYW-SKC Document 78-16 filed 10/20/23 USDC Colorado pg 86
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   ÿ ÿ !"#ÿ
   ÿ
   ÿ $ÿ%&"'()*ÿÿ&(+)#,-ÿ.(/(&#(*ÿ0ÿ&(+)#,-ÿ1"23")ÿ0ÿ&(+)#,-ÿ45ÿ678,3"&*ÿÿ&(+)#,-ÿ
         45ÿ9(&:*ÿ0ÿ&(+)#,-ÿ4(&;3ÿ.&(/")*ÿ0ÿ&(+)#,-ÿ4(&;3ÿ<:(;*ÿ$ÿ&(+)#,-ÿ=&()*ÿÿ&(+)#,-ÿ
         )),>/?)"*ÿ,7"+;(7;"2ÿ&"@/,ÿ8&(3"!";#-ÿA&7();*ÿ0ÿ&(+)#,ÿ
   ÿ
   ÿ BÿÿCÿ)&//>*ÿ6(-ÿ1+,?ÿ)#ÿ4/,()-ÿD'//-ÿE&)&-ÿF&&;;-ÿG"#/5-ÿ)#ÿG5",ÿ
   ÿ
   ÿHÿ !"#ÿ
   ÿ
   ÿÿ !"#ÿ
   ÿ
   ÿIÿ !"#ÿ
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   ÿ
   ÿKÿ !"#ÿ
   ÿ
   ÿÿ !"#ÿ
   ÿ
   ÿ0ÿÿD'//*ÿ8ÿ$KK-ÿ<"2:>*ÿ8ÿJÿ
   ÿ
   ÿÿ1+,&?ÿ)#ÿ4/,()*ÿ88ÿLIB-ÿ)#*ÿ,ÿ)&//>*ÿ6(-ÿ)#ÿD'//ÿ
   ÿ
   ÿ$ÿD'//*ÿ88$KKL$00-ÿ)#*ÿ,ÿ)&//>*ÿE&)&-ÿF&&;;-ÿ)#ÿG"#/5ÿ
   ÿ
   ÿBÿC*ÿ@(&ÿM78/*ÿE/;&ÿN"2://*ÿOP3ÿ/"):&Q,ÿ%RÿS+),1'")*ÿTF+/>ÿB$0Uÿ8ÿI-ÿ
         F(3)ÿG23+:*ÿOV);7ÿV;;/ÿN"@/,*WÿS+),ÿXÿ%77(*ÿTF)+&>ÿB$U*ÿ8ÿJ-ÿF(3)ÿG23+:*ÿ
         OIIÿD&7ÿ.&!")*WÿS+),ÿXÿ%77(*ÿT1>ÿB0$U*ÿ8ÿ$-ÿF2:G5",*ÿOC(7;3")ÿ45YÿP3ÿ
         %Rÿ")ÿP5);>LP5(*WÿS+)ÿE(&/#*ÿTF+/>ÿB$U*ÿ8ÿJI-ÿN(&ÿ.(7!,*ÿO%ÿ1(,;ÿZ)"[+ÿ
         .&!")*WÿS+)ÿE(&/#*ÿT<27!&ÿB$U*ÿ8ÿI$-ÿS&&>ÿF7,*ÿO1";23//ÿ%&7,ÿ%RLII*Wÿ
         S+),ÿXÿ%77(*ÿT4(?7!&ÿB$U*ÿ8ÿIÿ
   ÿ
   ÿIHÿCÿ)(;ÿI*ÿ2(//([+>ÿ!;5)ÿC);(&,ÿ<(##ÿ)#ÿ6),)ÿ
   ÿ
   ÿIÿ !"#ÿ
   ÿ
   ÿIIÿCÿ)&//>*ÿ!"!/"(&83>ÿ




   ÿ                                     ÿÿÿÿ
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                                       !"#$%&ÿ
   ÿ
   ÿ
   '$()*+,ÿ$#-./ÿ#+0*12ÿ$)(+34ÿ#+0*)41ÿ567(8(9ÿ:.;1ÿ<-=ÿ
   ÿ
   '(,,ÿ$#=ÿ>/ÿ#+0*12ÿ$)(+34ÿ#+0*)41ÿ5?(3@ÿ:..;1ÿA-=ÿ
   ÿ
   *,,1ÿ$(,=ÿ'(,,ÿ?->/BCDE(,ÿ#+0*12ÿ"84FÿGÿ$))E1ÿ5H3)7(ÿ:.I;1ÿA-<=ÿ
   ÿ
   *,,1ÿ$(,=ÿ'JE)E((EKLFÿCDE(,+4ÿ#+0*F12ÿ"84FÿGÿ$))E1ÿ5M8*9ÿ:.;1ÿA.-<>1ÿ>.1ÿ>:=ÿ
   ÿ
   (831ÿ#E7(,=ÿ'J@ÿ$N"ÿ$FF8*,ÿC9F,)12ÿ"84Fÿ?O+41ÿ5CD,)7(ÿ:.;1ÿI>-I:1ÿAP1AI1ÿ
           <>-=ÿ
   ÿ
   Q*DD1ÿR+*9=ÿ'"(,ÿJE-HEÿR+,@ÿ,@ÿHKEE12ÿJ@ÿ"84ÿH+F,ÿEESÿE0ÿ$FF8*,ÿRDE4F1ÿ
           5:.;1ÿ.P-.>=ÿ
   ÿ
   QE)7F1ÿ#E(=ÿ'$ÿ?EF,ÿN4+T8ÿQ(7+412ÿ"84ÿRE(*U1ÿ5H3)7(ÿ:.<;1ÿP.-I1ÿA>=ÿ
   ÿ
   QE)7F1ÿ#E(=ÿ'"*+*ÿ>=P))ÿV,Eÿ#+0*21ÿ"84ÿRE(*U1ÿ5!3,E7(ÿ:.<;1ÿIP-I=ÿ
   ÿ
   QE)7F1ÿ#E(=ÿ'J@ÿ$W,E),ÿX*F@4+SEWÿ"EFÿ=PP12ÿJ@ÿ"84ÿH+F,ÿEESÿE0ÿ$FF8*,ÿRDE4F1ÿ
           5:.;1ÿ.P-:<=ÿ
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   QE)7F1ÿ#E(=ÿ'J@ÿN4+T8*9ÿN4+T8ÿ6-12ÿJ@ÿ"84ÿH+F,ÿEESÿE0ÿ$FF8*,ÿRDE4F1ÿ5:..;1ÿ
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   'QEES+4ÿ4Uÿ%3S*+4ÿK+,@ÿ%ÿGÿXLFÿ%X:A$I12ÿ"84ÿRE(*U1ÿ5$88F,ÿ:.A;1ÿ.-P/=ÿ
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   HW+F1ÿ#8FF=ÿ'%Wÿ&E8(ÿ$Xÿ4UÿC@EE,ÿ+,1ÿJEE12ÿ"84Fÿ?O+41ÿ567(8(9ÿ:.>;1ÿI:1ÿP-A=ÿ
   ÿ
   H+3S91ÿ,=ÿ'J@ÿ?+*+,(9ÿEES-$*+SF12ÿ$)(+34ÿ#+0*)41ÿ5$D(+*ÿ:./;1ÿI/-I1ÿ>=ÿ
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   YE*01ÿH+3S=ÿ'%3S*(ÿGÿXE3@LFÿC8D(ÿC)+-$8,E12ÿ$)(+34ÿ#+0*)41ÿ5M84ÿ:.<;1ÿP:-IP1ÿ
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   YO**1ÿYUK(UÿQ*+4,E4=ÿC)**ÿ$()FÿE0ÿ,@ÿRE(*U=ÿ%((+F78([ÿC,3SDE*ÿEESF1ÿ:.I=ÿ
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   6(43@1ÿ%EK(U=ÿ'%ÿGÿXLFÿ:))ÿ(3(7+412ÿ"84FÿGÿ$))E1ÿ5VEW)7(ÿ:.I;1ÿAP-AA=ÿ
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   "(44**1ÿH4ÿ$=ÿ'J@ÿ?+,3@**ÿ$X-A>12ÿ"84ÿRE(*U1ÿ5CD,)7(ÿ:.;1ÿA/-A=ÿ
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   !"#ÿ$ÿ%&'ÿ()*ÿ+,#-.ÿ/-0",.)ÿ12 3&4#ÿ(56)ÿ78975:ÿ
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   !"#ÿ$ÿ%&'ÿ;&<"ÿ(=ÿ>#4-.)*ÿ+,#-.ÿ/-0",.)ÿ1?4#@#Aÿ(556)ÿ=89=5:ÿ
   ÿ
   &)ÿB.ÿC:)ÿ<:ÿD.EFÿB.0.3#AÿGH&.E:ÿ(59(55:ÿIJÿK&#!LÿD.FEÿ@4"-E'-.ÿ>&,H.A)ÿ
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   @..-@33)ÿ/&4#3ÿG:ÿM'ÿN@""H@HEÿOÿ+##-O<*)ÿ+,#-.ÿ/-0",.)ÿ1;#'ÿ(56)ÿPQ9P7)ÿ
            Q9:ÿ
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   D,E)ÿ?#.!ÿG:ÿM'ÿRH#-.0-"<ÿ+#,&#AÿR+/9P)ÿÿRH-"ÿGH&.Eÿ.<ÿM3-E)ÿ1D@"Aÿ(5(6)ÿ
            =S9=8:ÿ
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   D,E)ÿT##A:ÿ+@E3#-"-.ÿU"+"+ÿ/-0")*ÿT@.Eÿ$ÿ+,,&)ÿ1V,4#ÿ(56)ÿ
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   D,E)ÿT##A:ÿ>'-.Eÿ+%9=ÿ:SSP)*ÿT@.Eÿ$ÿ+,,&)ÿ1+@@E3ÿ(586)ÿ5=958:ÿ
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   D,E)ÿT##A:ÿ;-3'""ÿ+#,Eÿ+%9SS)*ÿT@.Eÿ$ÿ+,,&)ÿ1I&O,4#ÿ(576)ÿS9P)ÿ(:ÿ
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   D,E)ÿT##A:ÿ;-3'""ÿOAÿN##"ÿ+%9=)*ÿT@.Eÿ$ÿ+,,&)ÿ1I&O,4#ÿ(586)ÿ5P95=:ÿ
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   D,E)ÿT##A:ÿM%ÿ>'-.Eÿ;9=Rÿ/-0")*ÿ+,#-.ÿ/-0",.)ÿ1D@"Aÿ(556)ÿ595S:ÿ
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   D,E)ÿT##A:ÿM'ÿR+/9=5ÿ/-0")ÿRH#-.0-"<ÿ+#,&#Aÿ/H#&<@Eÿÿ>"EE-)*ÿT@.Eÿ$ÿ+,,&)ÿ
            1+@@E3ÿ(576)ÿ8=988:ÿ
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   %H"E&'.)ÿW,.@":ÿR3A#FEÿRH9+ÿ+XT)*ÿM'ÿT@.ÿV-E3ÿN&&!ÿ&0ÿ+EE@"3ÿGH&.E)ÿ
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   %#J.)ÿ>'@!:ÿM'ÿ?3'-.ÿ?,E)*ÿT@.ÿG&#"<)ÿ12 3&4#ÿ(556)ÿ59S)ÿ5:ÿ
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   %#J.)ÿ>'@!:ÿM'ÿ/@<ÿ/-0"Eÿ&0ÿRH#-.0-"<ÿ+#,&#A)*ÿT@.ÿG&#"<)ÿ1;#'ÿ(5(6)ÿS98:ÿ
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   %#J.)ÿ>'@!:ÿ-"",3FEÿ+EE@"3ÿ?,-"A)*ÿM'ÿT@.ÿV-E3ÿN&&!ÿ&0ÿ+EE@"3ÿGH&.E)ÿ1(586)ÿ
            Q97:ÿ
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   U'@!)ÿD&'.:ÿ:SSÿW#,ÿ>#4-.)*ÿT@.Eÿ$ÿ+,,&)ÿ1;Aÿ(856)ÿ7598Q:ÿ
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   U'@!)ÿD&'.:ÿN.3,ÿN33"ÿ/-0"E)*ÿT@.Eÿ$ÿ+,,&)ÿ1D.@#Aÿ(56)ÿP89P()ÿ798:ÿ
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   U-<"J)ÿ+.@E)ÿ<:ÿ@"ÿG'"FEÿN-ÿT@.ÿ>3"&Y":ÿN&3&ÿ@"ÿG'"ÿ>&#H&#3-&.)ÿ(55:ÿ
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   UJ-E)ÿD!)ÿ<:ÿM'ÿT@.ÿV-E3ÿN&&!ÿ&0ÿ+EE@"3ÿGH&.E:ÿI&#3'4#&&!LÿVNBÿN&&!E)ÿB.:)ÿ(58:ÿ
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   UJ-E)ÿD!:ÿ+ÿ?,-"Aÿ+00-#)*ÿM'ÿT@.ÿV-E3ÿN&&!ÿ&0ÿ+EE@"3ÿGH&.E)ÿ1(586)ÿ895:ÿ
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   )!,7"ÿ#C!ÿ8&ÿ'34ÿ)Iÿ7ÿ.CH$"2ÿ567!ÿ)P7"ÿ>#76HGÿ?KA"ÿKK-KJ"ÿ0&ÿ
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   )6!HQ"ÿ87/ÿ8&ÿ7IÿD/!,7"ÿ34,C!ÿ:&ÿ34ÿ<,H/I+!ÿ.!!6/9ÿM;/!&ÿ<!479,7"ÿ8REÿ5,9Pÿ
           R,C=7G"ÿ?@0&ÿ
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   S+)H"ÿM,TH9&ÿ'34ÿ567!ÿ,;ÿU!H/"2ÿ567!ÿ)P7"ÿ>#76HGÿ??A"ÿKK-KJ"ÿJ&ÿ
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   "ÿ./7&ÿ'34ÿ.F-10ÿ.!ÿ.ÿ:6//=6=V2ÿ*H=,H"ÿ>#76HGÿ??A"ÿ1-JK&ÿ
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   M!"ÿR/H&ÿ'W/C9ÿ)0-B"2ÿ567!ÿXÿ.CC,"ÿ>S$9,THÿ?0@A"ÿ@"ÿK0&ÿ
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   M$%//"ÿ</9H&ÿ'34ÿ/7%H+!ÿ.F"2ÿ567!ÿ)P7"ÿ>#6/Gÿ?@A"ÿL&ÿ
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   B7,"ÿ(I&ÿ'D9,7/ÿ)9$4ÿ.F-10YB"2ÿ*H=,H"ÿ>#76HGÿ??A"ÿ@@-0&ÿ
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   B46/9!"ÿ#C&ÿ'34ÿ)7ÿ)$47"2ÿ567ÿ<,H/I"ÿ>.=H/ÿ?LA"ÿL@-L&ÿ
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   'B=H7;/Iÿ.HC,HGÿB&.&M&ÿ1"2ÿ.CH$7ÿM;/C7"ÿ>)H$4ÿ?@A"ÿJ0-J&ÿ
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   B9/"ÿFQ7ÿ(&ÿ':H99ÿ:)-J?"2ÿ567!ÿ)P7"ÿ>#76HGÿ?KA"ÿ1&ÿ
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   'B9GH-.Z5Eÿ34ÿ3HHT/ÿ3,G"2ÿ567ÿ<,H/I"ÿ>8$CTHÿ?1A"ÿKL-KJ&ÿ
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   B7!,7"ÿ34,C!ÿ#&ÿ'34ÿU7$HIT/ÿZP"2ÿ567!ÿXÿ.CC,"ÿ>#67HGÿ?LA"ÿKL-K@"ÿ0@&3==7"ÿ
           )/&ÿ'B6HQQEÿB6HQQ/ÿM;/!-H9ÿL"ÿ'ÿ567!ÿXÿ.CC,"ÿ>.66!9ÿ?0A"ÿ@"ÿ?@-?0&ÿ
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   3H!9H"ÿ#,47&ÿ'.FÿM;/EÿR47!ÿ.FBÿ,Hÿ3G=ÿJ@B"2ÿ.CH$7ÿM;/C7"ÿ>)Gÿ?A"ÿJO-J&ÿ
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   'Z[UÿBC-.69,C9$ÿ&1JÿRHT7"2ÿ.CH$7ÿM;/C7"ÿ>#76HGÿ?@A"ÿJ?&ÿ
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   'ZPÿBC-.69,C9$ÿRHT7"2ÿ.CH$7ÿM;/C7"ÿ>.66!9ÿ?A"ÿJJ-J0&ÿ
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   56)ÿ7)ÿ89ÿ:7.ÿ;,8,<=ÿ:7'8)ÿ>"6ÿ?8'"'@.)ÿA@7"6ÿB-C.=-CDÿA"@,ÿ7E'=6'.ÿ
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   5,.,)ÿH.)ÿ89ÿ:7.ÿI'="ÿ%9ÿJ@,"6E,@@CDÿIKLÿK@@C=)ÿL.-9)ÿ%%9ÿ
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   5@@8)ÿM9K9ÿK,""<=ÿ+&$NÿA0@,",)*ÿ:7.=ÿ#O'.)ÿ/#,-6ÿ%21)ÿ>%4>)ÿ2P4229ÿ
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   5@@8=)ÿM'!9ÿQ',0@R,ÿQ,@!ÿ"6ÿQ,ÿ?="4IR@@)*ÿ:7.=ÿ#O'.)ÿ/QE,7,Gÿ%21)ÿS%4S)ÿ
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   TR',O)ÿK@E9ÿ!"<=ÿ#''",GÿU@@C)*ÿ:7.ÿ5@,8)ÿ/A0"!E,ÿ%%1)ÿS%4>N9ÿÿ
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                 sh`abcdtiuicvÿajÿw_bcdieÿx_hidrcahdcigÿ^iju_yz{ÿ07E'=68ÿ'.ÿÿ
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                         EXHIBIT D
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              103D CoNGRESS                                                        REPORT
                2d Session  } HOUSE OF REPRESENTATIVES                             103-489
                                                       {




                 PUBLIC SAFETY AND RECREATIONAL FIREARMS USE
                                            PROTECTION ACT




              MAY 2, 1994.---Committed to the Committee of the Whole House on the State of the
                                      Union and ordered to be printed




                        Mr. BROOKS, from the Committee on the Judiciary,
                                         submitted the following


                                                REPORT
                                                together with


                           SUPPLEMENTAL AND DISSENTING VIEWS

                                           [To accompany H.R. 4296)

                           [Including cost estimate of the Congressional Budget Office)

                The Committee on the Judiciary, to whom was referred the bill
              (H.R. 4296) to make unlawful the transfer or possession of assault
              weapons, having considered the same, report favorably thereon
              with an amendment and recommend that the bill as amended do
              pass.
                The amendment is as follows:
                Strike out all after the enacting clause and insert in lieu thereof
              the following:

              SECftON I. SHORT TITLE.
                This Act may be cited as the "Public Safety and Recreational Firearms Use Pro­
              tection Act".
              SEC. I. RESTRJCftON ON MANUFAcnJRE, TRANSFER, AND POSSESSION OF CERTAIN SEMI•
                        AUTOMATIC ASSAULT WEAPONS.
                (a) REsTR.ICTJON.-Section 922 of title 18, United States Code, is amended by add­
              ing at the end the following:
                "(vXl) It shall be unlawful for a person to manufacture, transfer, or possess a
              semiautomatic assault weapon.
                "(2) Paragraph (1) shall not apply to the possession or transfer of any semiauto­
              matic assault weapon otherwise lawfully possessed on the date of the enactment of
              this subsection.
                "(3) Paragraph ( 1) shall not apply to---
                  79-006
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                                                            2
                        "(A)any or      the firearms, or replicas or duplicatesor    the firearms, specified
                     in Appendix A to this aection, as such firearms were manufactured on October
                     1, lffS;
                        "(B) any ftrearm tbat-
                              "(i) is manually Op!nlted by bolt, pump, lever or slide action;
                              "(ii) has been rendered permanently inoperable; or
                             "(ill) is an antique firearm;
                        "(C) any semiautomatic rifle that cannot accept a detachable magazine that
                                                or
                      holds more than 5 rounds ammunition; or
                        "(D) any semiautomatic shotgun that cannot hold more than 5 rounds of am-
                     munition in a fured or detachable magazine.
                The fact that a firearm is not listed in Appendix A shall not be construed to mean
                that paragraph ( 1) applies to such firearm. No firearm exempted by this subsection
                DUlY be delet.ed from Appendix A so long as this Act is in effect.
                   "(4) Paragraph (1) shall not apply to-
                        "(A) the United States or a department or agency of the United States or a
                      State or a department, agency, or political subdivision of a State;
                        "(B) the transfer of a senuautomatic assault weapon by a licensed manufac­
                      turer, licensed importer, or licensed dealer to an entity referred to in subpara­
                     graph (A) or to a law e nfon:ement officer authorized by such an entity to pur­
                      chase firearms for official use;
                        "(C) the possession, by an individual who is retired from service with a law
                     enforcement agency and is not otherwise prohibited from receiving a firearm,
                      of a semiautomatic assault weapon transferred to the individual by the agency
                     upon such retirement; or
                        "(D) the manufacture, transfer, or possession of a semiautomatic assault
                      weapon by a licensed manufacturer or licensed importer for the purposes of
                     testing or experimentation authorized by the Secretary.".
                   (b) DEFINmON OF SEMIAUTOMA11C Ass.\ULT WEAPON.-Section 921(a) of such title
                is amended by adding at the end the following:
                   "(30) The term 'semiautomatic assault weapon' meana-
                        "(A) anyor      the firearms1 or copies or du_plicates of the firearms, known as­
                                                      , and Poly Technologies Avtomat Kalashnikovs (all
                              "(i) Norinco, Mitchen,
                           models);
                              "(ii) Action Arms Israeli Military Industries UZI and Galil;
                              "(ill) Beretta Ar'TO (SC-70);
                              "(iv) Colt AR-15;
                              "(v) Fabrique National FN/FAL, FN/LAR, and FNC;
                              "(vi) SWD M-10, M-11, M-1119, and M-12;
                              "(vii) Ste_p-_ AUG;
                              "(viii) INTRATEC TEC-9, TEC-DC9 and TEC-22; and
                              "(ix) revolving cylinder shot.guns, such as (or similar to) the Street Sweep­
                           er and Striker 12;
                        •(B) a semiautomatic rifle that has an ability to accept a detachable magazine
                     and has at least 2 of-
                              "(i) a folding or telescoping stock;
                              "(ii) a pistol grip that protrudes conspicuously beneath the action of the
                           wea�n;
                              "(ill) a bayonet mount;
                              "(iv) a flash suppressor or threaded barrel designed to accommodate a
                           flash suppressor; and
                              "(v) a grenade launcher;
                        "(C) a semiautomatic pistol that has an ability to accept a detachable maga­
                      zine and has at least 2 of-
                              "(i) an ammunition magazine that attaches to the pistol outside of the
                           pistol grip;
                              "(ii) a threaded barrel capable of accepting a barrel extender, flash sup­
                           pressor, forward handgrip, or silencer;
                              "(iii) a shroud that is attached to, or partially or completely encircles, the
                           barrel and that permits the shooter to hold the firearm with the nontrigger
                           hand without bemg burned;
                              "(iv) a manufactured weight of 50 ounces or more when the pistol is un­
                           loaded; and
                              "(v) a semiautomatic version of an automatic firearm; and
                         "(D) a semiautomatic shotgun that has at least 2 of-
                              "(i) a folding or telescoping stock;
                              "(ii) a pistol grip that protrudes conspicuously beneath the action of the
                           weapon;
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                                                        3
                          "(iii) a fixed magazine capacity in excess of 5 rounds; and
                          "(iv) an ability to accept a detachable magazine.".
                (c) PENALTIES.-
                     (!) VIOLATION OF SECTION 922(V).--Section 924(a)(l)(B) of such title is amend­
                   ed by striking "or (q) of section 922" and inserting "(r), or (v) of section 922".
                     (2) USE OR POSSESSION DURING CRIME OF VIOLENCE OR DRUG TRAFFICKING
                   CRIME.--Section 924(c)( 1) of such title is amended in the first sentence by in­
                   serting", or semiautomatic assault weapon," after "short-barreled shotgun,".
                (d) IDENTIFICATION MARKINGS FOR SEMIAUTOMATIC AssAULT WEAPONS.--Section
             923(i) of such title is amended by adding at the end the following: "The serial num­
             ber of any semiautomatic assault weapon manufactured after the date of the enact­
             ment of this sentence shall clearly show the date on which the weapon was manu­
             factured.".
             SEC. 3. RECORDKEEPING REQUIREMENTS FOR TRANSFERS OF GRANDFA111ERED FIREARMS.
                (a) OFFENSE.--Section 922 of title 18, United States Code, as amended by section
             2(a) of this Act, is amended by adding at the end the following:
                "(w)(l) It shall be unlawful for a person to sell, ship, or deliver a semiautomatic
             assault weapon to a person who has not completed a form 4473 in connection with
             the transfer of the semiautomatic asaault weapon.
                "(2) It shall be unlawful for a person to receive a semiautomatic assault weapon
             unless the person has completed a form 4473 in connection with the transfer of the
             semiautomatic assault weapon.
                "(3) If a person receives a semiautomatic assault weapon from anyone other than
             a licensed dealer, both the person and the transferor shall retain a copy of the form
             4473 completed in connect.ion with the transfer.
                "(4) Within 90 days after the date of the enactment of this subsection, the Sec­
             retary shall prescribe regulations ensuring the availability of form 4473 to owners
             of semiautomatic assault weapons.
                "(5) As used in this subsection, the term 'form 4473' means-
                      "(A) the form which, as of the date of the enactment' of this subsection, is des­
                   ignated by the Secretary as form 4473; or
                      "(B) any other form which-
                           "(i) is required by the Secretary, in lieu of the form described in subpara­
                        graph (A), to be completed in connection with the transfer of a semiauto­
                        matic assault weapon; and
                           "(ii) when completed, contains, at a minimum, the information that, as
                        of the date of the enactment of this subsection, is required to be provided
                        on the form described in subparagraph (A).".
                (b) PENAL1Y.--Section 924(a) of such title is amended by adding at the end the
             following:
                "(6) A person who knowingly violates section 922(w) shall be fined not more than
             $1,000, imprisoned not more than 6 months, or both. Section 3571 shall not apply
             to any offense under this paragraph.".
             SEC. 4. BAN OF IARGE CAPACl1Y AMMUNITION FEEDING DEVICES.
                (a) PROHIBITION.�ction 922 of title 18, United States Code, as amended by sec­
             tions 2 and 3 of this Act, is amended by adding at the end the following:
                "(x)(l) Except as provided in paragraph (2), it shall be unlawful for & person to
             transfer or possess a large capacity ammunition feeding device.
                "(2) Paragraph (1) shall not apply to the possession or transfer of any large capac­
             ity ammunition feeding device otherwise lawfully possessed on the date of the enact­
             ment of this subsection.
                "(3) This subsection shall not apply to--
                      "(A) the United States or a department or agency of the United States or a
                   State or a department, agency, or political subdivision of a St.ate;
                      "(B) the transfer of a large capacity ammunition feeding device by a licensed
                   manufacturer, licensed importer, or licensed dealer to an entity referred to in
                   subparagraph (A) or to a law enforcement officer authorized by such an entity
                   to purchase large capacity ammunition feeding devices for official use;
                      "(C) the possession, by an individual who is retired from service with a law
                   enforcement agency and is not otherwise prohibited from receiving ammunition,
                   of a large capacity ammunition feeding device transferred to the individual by
                   the agency upon such retirement; or
                      "(D) the manufacture, transfer, or possession of any large capacity ammuni­
                   tion feeding device by a licensed manufacturer or licensed importer for the pur­
                   poses of testing or experimentation authorized by the Secretary.".
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                                                                  4
                 (b) DEFINITION OF LARGE CAPACITY AMMuNITION FEEDING DEVICE.-Section
               92l(a) of such title, as amended by section 2(b) of this Act, is amended by adding
               at the end the following:
                 "(31) The term 'large capacity ammunition feeding device'­
                       "(A) means-
                            "(i) a magazine, belt, drum, feed strip, or similar device that has a capac­
                         ity of, or that can be readily restored or converted to accept, more than 10
                          rounds of ammunition; and
                            "(ii) any combination of parts from which a device described in clause (i)
                          can be assembled; but
                       "(B) does not include an attached tubular device designed to accept, and capa­
                     ble of operating only with, .22 caliber rimfire ammunition.".
                  (c) LARGE CAPACITY AMMllNITION FEEDING DEVICES TREATED AS FIREARMS.-Sec­
               lion 92l(a)(3) of such title is amended in the first sentence by striking "or (D) any
               destructive device.n and inserting "(D) any destructive device; or (E) any large ca­
               pacity ammunition feeding device.".
                  (d) PEN ALTY.-Section 924(a)( l)(B) of such title, as amended by section 2(c) of this
               Act, is amended by striking "or (v)" and inserting "(v), or (x)".
                  (e) IDENTIFICATION MARK.l�GS FOR LARGE CAPACITY AMMUNITION FEEDING DE­
               VICES.-Section 923(i) of such title, as amended by section 2(d) of this Act, is amend­
               ed by adding at the end the following: "A large capacity ammunition feeding device
               manufactured after the date of the enactment of this sentence shall be identified
               by a serial number that clearly shows that the device was manufactured or im­
               ported after the effective date of this subsection, and such other identification as the
               Secretary may by regulation prescribe.".
               SEC. 5. snmv BY A1TORNEY GENERAL.
                 (a) STUDY.-The Attorney General shall investigate and study the effect of this
               Act and the amendments made by this Act, and in particular shall determine their
               impact, if any, on violent and drug trafficking crime. The study shall be conducted
               over a period of 18 months, c ommencing 12 months after the date of enactment of
               this Act.
                 (b) REPORT.-Not later than 30 months after the date of enactment of this Act,
               the Attorney General shall prepare and submit to the Congress a report setting
               forth in detail the findings and determinations made in the study under subsection
               (a).
               SEC. 8. EFFECTIVE DATE.
                 This Act and the amendments made by this Act-
                       ( ll shall take effect on the date of the enactment of this Act; and
                       (2) are repealed effective as of the date that is 10 years after that date.
               SEC. 7. APPENDIX A TO SECTION 922 OF TITI..E 18.
                  Section 922 of title 18, United States Code, is amended by adding at the end the
               following appendix:
                                                            "APPENDIX A
                                                     Centr.rru-e Rlftes-Aut.oloaden1
               Browning BAR Mark II Safari Semi-Auto Rifle
               Browning BAR Mark II Safari Magnum Rine
               ��ri�rn1 l��t              e
                                PM::f:1 �� Rifle
               Iver Jvhn60n M-·l Carbine
               Jver Johnson 50th Anr1ivPrs:uy M-1 Carbine
               ��::� ��:: �5c�r�i;!rbine
               lu>mington 1',ylon 66 Auto-Loading Rine
               R<,mington MudPI 7400 Auu, Rifle
               Rt-mington Model 7400 Rine
               Remingtor. Mod,1 7400 Sµecuil Purpose Auto Rifle
               Rugrr Mrni-14 Auto!N1d1ng Rifle (wio folding stock I
               Rug,,r Mini Thirty Rifle
                                                   Center<ire Riffe&-uever Ii !'lid�
               Browsing M,>ifol 81 BLR Levor-Artivo Rifle
               Bruwntn!( MoJel 81 Long Actior. BLR
               Browning Model 1886 Lever-Action Carbin•
               Bn,wning Model 1886 High Grade Carbine
               Cirnarrun 1860 H•nry R.,plica
               Cimarron 1866 Winchester Replir,as
               Cim,rmn 1873 Short Rine
               Cimarron 1873 Sporting Rine
               Cimarron 18i3 30" Ez_presa Rine
               Dixie Engraved 1873 Rine
               E.M.F. 1866 Yellowboy Lever Artions
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              BU:     :.:>er;;z:,:�Action Rifle
              Marlin Model 336CS Lever-Action Carbine
              Marlin Model 30AS Lever-Action Carbine
              Marlin Model 4«88 Lever-Action Sport.er
              Marlin Model 1894S Lever-Action Carbine
              Marlin Model 1894CS Carbine
              Marlin Model 1894CL Classic
              Marlin Model 189588 Lever-Action Rifle
              Mitcliell 1858 Henry Replica
              Mitcliell 1866 Winchester Replica
              Mitchell 1873 Winchester Replica
              Navy Arma Military Henry Rifle
              Navy Arma Henry Trapper
              Navy Arma Iron Frame Henry
              Navy Arma Henry Carbine
              Navy Arma 1866 Yellowboy Rifle
              Navy Arma 1873 Winchester-Style Rifle
              Navy Arma 1873 Sl"?rting Rifle
              Remington 7600 Shde Action
              Remington Model 7600 Special Purpose Slide Action
              Roeai M92 SRC Saddle-RinB Carbine
              Roeai M92 SRS Short Carbine
              Savage 99C Lever-Action Rifle
              Uherti Henry Rifle
              Uherti 1866 Sporting Rilfe
              Uherti 1873 Sporting Rifle
              Winchester Model 94 Side Eject Lever-Action Rifle
              Winchester Model 94 Tral)per Side Eject
              Winchester Model 94 Big Bore Side Eject
              Winchester Model 94 Ranger Side Eject Lever-Action Rifle
              Winchester Model 94 Wrangler Side Eject
                                                    Centerflre Rlfl--Bolt Action
              Aleine Bolt-Action Rifle
              A-Square Caesar Bolt-Action Rifle
              A-Square Hannibal Bolt-Action Rifle
              Anschutz 1700D Claaaic Rifles
              Anschutz 1700D Custom Rifles
              Anschutz 1700D Bavarian Bolt-Action Rifle
              Anschutz 1733D Mannlicher Rifle
              Barret Model 90 Bolt-Action Rifle
              Beeman/HW 60J Bolt-Action Rifle
              Blaser RS4 Bolt-Action Rifle
              BRNO 537 Sport.er Bolt-Action Rifle
              BRNO ZKB 527 Fm Bolt-Action Rifle
              BRNO ZICK 600, 601, 602 Bolt-Action Rifles
              Browning A-Bolt Rifle
              Browning A-Bolt Stainless Stalker
              Browning A-Bolt Left Hand
              Browning A-Bolt Short Action
              Browning Euro-Bolt Rifle
              Browning A-Bolt Gold Medallion
              Browning A-Bolt Micro Medallion
              Century Centurion 14 Sporter
              Century Enfield Sport.er #4
              Century Swedish Sport.er #38


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              Century Mauser 98 Sporter
              Cooper Model 38 Centerfire Sport.er

              Dakota 76 Short Action Rifles
              Dakota 76 Safari Bolt-Action Rifle
              Dakota 416 Rigby African
              E.A.A.ISahatti Rover 870 Bolt-Action Rifle
              Auguste Francotte Bolt-Action Rifles
              Carl Gustaf 2000 Bolt-Action Rifle
              Heym Magnum Express Series Rifle
              Hows Lightning Bolt-Action Rifle
              Hows Realtree Came Rifle
              lnterarms Mark X Viscou nt Bolt-Action Rifle
              lnterarms Mini-Mark X Rifle
              lnterarms Mark X Whitworth Bolt-Action Rifle
              lnterarms Whitworth Express Rifle
                               e        \�nl �n ge Rifle
              lmF JK�s� !�a� ��i                i
              Krico Model 600 Bolt-Action Rifle
              Krico Model 700 Bolt-Action Rifles
              Mauser Model 66 Bolt-Action Rifle
              Mauser Model 99 Bolt-Action Rifle
              McMillan Signature Classic Sport.er
              McMillan Signature Super Varminter
              McMillan Signature Alaskan
              McMillan Signature Titanium Mountain Rifle
              McMillan Classic Stainless Sport.er
              McMillan Talon Safari Rifle
              McMillan Talon Sport.er Rifle
              Midland 15005 Survivor Rifle
              Navy Arms TU-33140 Carbine
              Parker-Hale Model 81 Classic Rifle
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               Parker•Hale Model 81 Classic African Rifle
               Parker-Hale Model 1000 Rifle
               Parker•Hale Model 1 100M Africa n MBB11um
               Parker•Hale Model llOO Lightweight Rifle
               Parker•Hale Model 1200 Super Rifle
               Parker•Hale Model 1200 Super CliP. Rifle
               Parker•Hale Model 1300C Scout Rifle
               Parker•Hale Model 2100 Midland Rifle
               Parker•Hale Model 2700 L�tweight Rifle
               Parker.Hale Model 2800 Midland Rifle
               Remington Model Seven Bolt•Action Rifle
               Remi ngton Model Seven Youth Rifle
               Remington Model Seven Custom KS
               Remington Model Seven Cuatom MS Rifle
               Remington 700 AOL Bolt•Action Rifle
               Remington 700 BDL Bolt•Action Rifle
               Remi ngton 700 BDL Varmint Special
               Remington 700 BDL Europea n Bolt•Action Rifle
               Remington 700 Varmin t Sr.nthetic Rifle
               Remington 700 BDL SS Rifle
               Remington 700 Stain less Synthetic Rifle
               Remington 700 MTRSS Rifle
               Remington 700 BDL Left Hand
               Remington 700 Camo Synthetic Rifle
               Remington 700 Safari
               Remington 700 Mou n tain Rifle
               Remington 700 Custom KS Mou n tain Rifle
               Remington 700 Classic Rifle
               Ruger M77 Mark II Rifle
               Ruger M77 Mark II Magnum Rifle
               Ruger M77RL Ultra Light
               Ruger M77 Mark II AJJ.Weather Stai n leAS Rine
               Ruger M77 RSI International Carbme
               Ruger M77 Mark II E•press Rine
               Ruger M77VI' Target Rifle
               Sako Hunter Rifle
               Sako Fiben:1888 Sporter
               Sako Safari Grade Bolt Act1un
               Sako Hu n ter Left.Hand Rifle
               Sako CIB88ic Bolt Action
               Sako Hunter LS Rifle
               Sako Deluxe Lightweight
               Sako Super Delu•e Sporter
               Sako Man nlicher•Style Carbine
               Sako Varmint Heavy Barrel
               Sako TRG-S Bolt•Action Rifle
               Sauer 90 Bolt•Action Rifle
               Savage HOG Bolt•Action Rine
               Savage 1 lOCY Youth/Ladies Rifle
               Savage BOWLE One of One TbouBand Limited Edition Rifle
               Savage l 10GXP3 Bolt.Action Rifle
               Savage HOF Bolt•Action Rifle
               Savage l l0FXP3 Bolt•Action Rifle
               Savage l lOGV Varmint Rifle
               Savage l 12FV Varmin t Rifle
               Savage Model l l2FVS Varmin t Rifle
               Savage Model 1128V Heavy Barrel Vannint Rifle
               Savage l 16FSS Bolt•Action Rifle
               Savage Model l 16FSK Kodiak Rifle
               Savage U0FP Police Rifle
               Steyr•Mann licher Sporter Models SL, L, M, S, SIi'
               Steyr•Man nlicher Lu.us Model L, M, S

               ���ltt���          ��:I M Profession al Rifle
               Tikka Premium Grade !Mes
               Tikka Varmi n VCon tinental Rifle
               Tilli WhitetaiVBattue Rifle
               Ultra Light Arms Model 20 Rifle
               Ultra      t Arms Model 28, Model 40 Rifles
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               �:::: MJen lit�t1!'��·1ir�� ifl
               Voere Model 2155, 2150 Bolt-Action Rifles
               Weatherby Mark V O.,luu Bolt-Action Rifle
               Weatherby Lasermark V Rifle
               Weatherby Mark V Crown Custom Rifles
               Weatherby Mark V Sporter Rifle
               Weatherby Mark V Safari Grade Custom Rifles
               Weatherby Weatherman. Rifle
               Weatherby Weatherman. Alsskan Rifle
               Weatherby Classianark No. 1 Rifle
               Weatherby Weatberguard Alaskan Rifle
               Weatherby Vanguard VGX Delu•e Rifle
               Weatherby Vanguard ClaBaic Rifle
               Weatherby Vanguard Claasic No. 1 Rifle
                                     Weatherguard Rifle
               :kh1f't!��':
               Wichita Varmint Rifle
               Wi nchester Model 70 Sporter
               Winchester Model 70 Sporter Wi n Tuff'
               Winchester Model 70 SM Sporter
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             Winchester Model 70 SLainless Rifle
             Winchester Model 70 Varmin t
             Winchester Model 70 Sy nthetic Heavy Varmint Rifle
             Winchester Model 70 DBM Rifle
             Winchester Model 70 DBM-S Rifle
             Winchester Model 70 Featherweight
             Winchester Model 70 Featherweight WinTufT
             Winchester Model 70 Featherweight Classic
             Winchester Model 70 Lightweight Rifle
             Winchester Ranger Rifle
             Winchester Model 70 Super Espresa Magnum
             Winchester Model 70 Super Grade
             Winchester Model 70 Custom Sharpshooter
             Winchester Model 70 Custom Sporting Sharpshooter Rifle
                                                      Centerflre Ritle&-Slngle Shot
             Armoport 1866 Sharps Rifle, Carbine
             Brown Model One Sinide Shot Rifle
             Browning Model 18851lingle Shot Rifle
             Dakola Single Shot Rifle
             Deoert I ndustries G--90 Single Shot Rifle
             Harrington & Richardoon tntra Varmi nt Rifle
             Model 1885 High Wall Rifle
             Navy Arms Rolling Block Buffalo Rifle
             Navy Arma 12 Creedmoor Rifle
             Navy Arma Sharpe Caval ry_ Carbine
             Navy Arma Sharpe Plains Rifle
             New England Firearms Handi-Rifle
             Red Willow Armory Ballard No. 5 Pacific
             Red Willow Armory Ballard No. 1.5 Hunting Rifle
             Red Willow Armory Ballard No. 8 Union Hill Rifle
             Red Willow Armory Ballard No. 4.5 Target Rifle
             Remi ngton -Style Rolling Block Carbine
             Ruger No. IB Single Shot
             Ruger No. IA Light Sporter
             Ruger No. IH Tropical Rifle
             Ruger No. IS Medium Sporter
             Ruger No. I RSI International
             Ruger No. IV Special Varminter
             C. Sharpe Anne New Model 1874 Old Reliable
             C. Sharps Anne New Model 1875 Rifle
             C. Sharpe Anne 1875 Classic Sharps
             C. Sharpe Arma New Model 1875 Target & Long Range
             Shiloh Sharps 1874 Long Range Espreaa
             Shiloh Sharps 1874 Montana Rouprider
             Shiloh Sharps 1874 Military Carbine
             Shiloh Sharps 1874 Bueineaa Rifle
             Shiloh Sharpe 1874 Military Rifle
             Sharps 1874 Old Reliable
             Thompoon/Center Contender Carbi ne
             Thompoon/Cen ter Stainlese Contender Carbine
             Thompoon/Cen ter Contender Carbine Survival System
             Thompoon/Center Contender Carbi ne Youth Model
             Thoml'!!'n/Cen ter TCR '87 Si ngle Shot Rifle
             Uberti Rolling Block Baby Carbine
                                           Drilllnp, Combination Guna, Double IWla
             Barella Espresa SSO O'U Double Rifles
             Barette Model 455 &S Espreaa Rifle
             Chapuis RGEspresa Double Rifle
             Auguete Francotte Sidelock Double Rifles
             Auguete Francotte Bostock Double Rifle
             Heym Model 55B 0/U Double Rifle
             Heym Model 55FW O'U Combo Gu n
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             KreighofT Teck 0/U Combination Gun
             �:etg.��!.fe�i�:lination Gune
             Merkel DrillingB
             Merkel Model 160 Side-by-Side Double Rifles
             Merkel Over/Under Double Rifles
             Savage 24F 0/U Combi nation Gun
             Savage 24F-12T Turkey Gu n
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             Tikka Model 412S Double Fire
             A. Zoli Rifle-Shotgun O/U Combo
                                                   Rimflre Rlfl-Autoloaden
               AMT Lightning 25122 Rifle
               AMT Lightning Small-Game Hunting Rifle II
               AMT Magnum Hunter Auto Rifle
             . Anechutz 525 DeluR Auto
               Armecor Model 20P Auto Rifle
               Brown ing Auto-22 Rifle
               Brown ing Auto-22 Grade VI
               Krico Model 260 Auto Rifle
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               Lakefield Arms Model 64B Auto Rifle
               Marlin Model 60 Self-Loadil!J Rifle
               Marlin Model 60u Self-Loadmg Rifle
               Marlin Model 70 HC Auto
               Marlin Model 9901 Self-Loading Rifle
               Marlin Model 70P Papoc.e
               Marlin Model 922 Ma,inum Self-Loading Rifle
               Marlin Model 995 Self.Loading Rifle
               Norina, Model 22 ATD Rine
               Remington Model 522 Viper Autoloading Rifle
               Remington 552BDL Srec!!naster Rifle
               Ruger 10/22 Autoload1ng Carbine (w/o folding atoclr.)
               Survival Arms AR-7 Explorer Rifle
               Teus Remington Revolving Carbine
               Voere Model 2115 Auto Rifle

                                                   R1mftre Rtne.-Lever A Slide Action
                     i              ·Action Rifle
               �� ��a�:
               Marlin Model 39AS Golden Lever-Action Rifle
               Remington 572BDL Fieldma.ster Pump Rifle
               Norina, EM-321 Pump Rifle
               Roeai Model 62 SA Pump Rifle
               Roeai Model 62 SAC Carbine
               Winchester Model 9422 Lever-Action Rifle
               Winchester Model 9422 Magnum Lever-Action Rifle
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               Anschutz Achiever Bolt-Action Rifle
               Anschutz 14 161)(1516D Clueic Riffee
               Anachut& 14181)(1518D Mannlicher Riflee
               Anachutz 1700D Claaaic Rifles
               Anachutz 1700D Custom Riflee
               Anachutz 1700 FWT Bolt-Action Rifle
               Anachutz 1700D Graphite Custom Rifle
               Anschutz l 700D Bavarian Bolt-Action Rifle
               Armscor Model 14P Bolt-Action Rifle
               Armaa,r Model 1500 Rifle
               BRNO ZKM-452 Deluxe Bolt-Action Rifle
               BRNO ZKM 452 Deluu
               Beeman/HW 60-J-8T Bolt-Action Rifle
               Browning A-Bolt 22 Bolt-Action Rifle
                              t      Medallion
               g:::;:�t;!;� �:
               Cabanas Master Bolt-Action Rifle
               Cabanas Eapronoeda IV Bolt-Action Rifle
               Cabanas LeYre Bolt-Action Rifle
               Chipmunk Sinlde Shot Rifle
               Cooper Arms r.lodel 368 Sporter Rifle
               Dakota 22 Sporter Bolt-Action Rifle
               Krim Model 300 Bolt-Action Riffee
               Lakefield Arms Marlr. II Bolt-Action Rine
               Lakefield Arma Marlr. I Bolt-Action Rifle
               Magtech Model MT-22C Bolt-Action Rifl e
               Marlin Model 880 Bolt-Action Rifle
               Marlin Model 881 Bolt-Action Rifle
               Marlin Model 882 Bolt-Action Rifle
               Marlin Model 883 Bolt-Action Rifle
               Marlin Model 883SS Bolt-Action Rifle
               Marlin Model 25MN Bolt-Action Rifle
               Marlin Model 25N Bolt-Action Repeater
               Marlin Model 15YN "Little Buclr.aroo"
               Mauser Model 107 Bolt-Action Rifle
               Mauser Model 201 Bolt-Action Rifle
               Navy Arma TU KKW Training Rifle
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               Navy Arma TU-33/40    Carbine
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               ��z!1w]? ��i��fu1i;:u
               Norina, JW-15 Bolt-Action Rifle
               Remi ngton 541-T
               Remington 40-XR Rimfire Custom •l'Orter
               Remi ngton 541-T HB Bolt-Action Rifle
               Remington 581-8 Sportsman Rifle
               Ruger 77/22 Rimfire Bolt-Action Rifle
               Ruger K77f.!2 Varmint Rifle
               Ultra Light Arms Model 20 RF Bolt-Action Rifle
               Winchester Model 52B Sporting Rifle
                                                Competition Riflee-Centerf"u-e & Rlmflre
               Anschutz �MS Len Silhouette
               Anschutz 1808D RT Super Match 54 Target
               Anschutz 1827B Biathlon Rifle
               Anschutz 1903D Match Rifle
               Anschut:: 1803D Intermediate Match
               Anschutz 191 1 Match Rifle
               Anschutz 54.lBMS REP Deluu Silhouette Rifle
               Anschutz 1913 Super Match Rifle
               Anschutz 1907 Match Rifle
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              Amchuta 1910 Jlu_per Matcll II
              Anachuta liUBMS SilhauettAt Rifle
              AnlCbuta Super Match 54 Target Model 2013
              Amchuta Super Match 54 Target Model 2007
              Beeman/Fein-rkbau 2600 Target Rifle
              Cooper Arma Model TRP-1 ISU Standard Rille
              E.AA../Weihrauch HW 60 Target Rifle
              E.A.A.IHW 660 Match Rille
              �!, �!-/e'f��ia�RiRJ�
              Krico Model 400 Mat.ch Rille
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              Krico Model 3608 Biathlon Rifle
              Krico Model 500 Kricotronic Match Rifle
              �: t::::l � �� :tA1:
              Lakefield Arma Model 90B Target Rifle
              Lakefield Arma Model 91T Target Rille
              Lakefield Arma Model 9'lS Silhouette Rifle
              Marlin Model 2000 Target Rifle

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              Maueer Model 86-SR S-pecialty Rifle


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                       �    bo ���.!1:s 50-Caliber Rifle
                                  ilt �'if., Range Rille
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              McMillan National tfatch Rifle
              McMillan Lon11 Ran_ge Rifle
              Parker-Hale M-a7 Target Rifle
              Parker-Hale M-85 Sniper Rifle
              Remington 40-XB Rangemaater Target Centerfire
              Remingtcn 40-XR KS Rimlire Position Rifle
              Remingtcn 40-XBBR KS
              Remington 40-XC KS National Mat.ch Couree Rifle
              Sako TRG-21 Bolt-Action Rifle
              Steyr-Mannlicher Match SPG-UIT Rifle
              Steyr-Mannlicher SSG P-1 Rifle
              Steyr-Mannlicher SSG P-111 Rifle
              Steyr-Mannlicher SSG P-IV Rifle
              Tanner Standard UIT Rifle
              Tanner 50 Meter Free Rifle
              Tanner 300 Meter Free Rifle
              Wichita Silhouette Rifle
                                                         Sbottrw--Autoloaden
              American Arma/Franchi Black Masi• 4&'AL
              Benelli Super Black Eagle Shotgun
              Benelli Super Black Eagle Slu11 Gun
              Benelli Ml Super 90 Field Auto Shotgun
              Benelli Montefeltrn Super 90 20-Gauge Shotgun
              Benelli Mnntefeltrn Super 90 Shotgun
              Benelli Ml Sporting Special Auto Sbot,run
              Benelli Black Eqle Competition Auto Shotgun
              Beretta A-303 Auto Sbotpn
              Berette 390 Field Auto Shotgun
              t::::    ��u'f:l�
                                            r Skeet Shotguna
              Berette Model 1201F Auto�hotgun
              Browning BSA 10 Auto Sbolfl\ln
              Browning Bea 10 Stalker Auto Shotgun
              Browning A-liOOR Auto Shotgun
              Browning A-6000 Auto Sbotilun
              Browning A-6000 Sportin11 Cla:,a
              Browning Auto-6 Light 12 and 20
              Browning Auto-6 Stalker
              Browning Auto-5 Magnum 20
              Browning Auto-5 Majnum 12
              Chlll'Cbill Turkey Automatic Shotgun
              Comni Automatic Shotgun
              Maverick Model 60 Auto Shotgun
              MOIBberg Model 5500 Shotgun
              MOllbe,g Model 9200 Regal Semi-Auto Shotgun
              M...tie,j Model 9200 USST Auto Shotgun
              MOl8bers Model 9200 Camo Shotgun
              MOllbe,g Model 6000 Auto Shotgun
              Remington Model 1100 Shotgun
              Remington 11-87 Premier aliotgun
              Remington 11-87 Sporting Claya
              Remington 1 1-87 Premier SliMt
              Remington 11-87 Premier Trap
              Remington 11-87 Special Putp01e Maanum
              Remington 11-87 SPS-T Camo Auto Shotgun
              Remington 11-87 Specia! Putp01e Deer Gun
              Remington 1 1-87 SJ>s..BG-Camo Deerfl'urkey Sbolfl\ln
              Remington 11-87 SJ>S.Deer Shotgun
              Remington 11-87 Special Purpooe Synthetic Camo
              Remington SP-10 Magnum-Camo Auto Shotgun
              Remington SP-10 Magnum Auto Shotgun
              Remington SP-10 Magnum Turkey Combo
              Remington 1100 LT-20 Auto
              Remington 1100 S ' I Field
              Remington 1100 =up Deer Gun
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               Remi!IIIOD 1100 LT-20 Tou...-t 81,ea
               Wlncbioter Model 1400 8-1-Aoto Sbatcun
                                                         SboCpm--8Ude Actlnm
               lllvwnlns Model ,1 Pump Sbcqun
               Brownini BPS Pump 81,otcun
               llrownlni BPS 8talbr Pump Sbotgun
               Bruwninc BPS Pigean Grade Pump Sbotcun
               Bruwning BPS Pump Sbot«un (Ladi• and Youth Model)
               Bruwning BPS Game Gun "'l'u           ial
               BruwnUJJ BPS Game Gun Deer   �
               Ithaca Model 87 Supreme Pump
               ltbace Model 87 Deenla:,er Sbotflun
               Ithaca Deeralayer II Rifled Shotgun
               Ithaca Model 87 Turke)' Gun
               Ithaca Model 87 Oeluze Pump Sbcqun
               Magtecb Model 588-VR Pump Sh<qun
               Maverick Modela 88, 91 Pump Shotguna
               Moeaberg Model 500 llporting Pump
               Moeaberg Model 500 Camo Pump
               Moeaberg Model 500 Mualeloader Combo
               Moaaberg Model 500 Trophy Slugster
               Moaaberg Turkey Model 500 Pump
               Moeaberg Model 500 Bantam Pum_p
               Mosaberg Field Grade Model 835 Pump Shotgun
               Mosaberg Model 835 Regal UIU-Mq Pump
               Remington 870 WI�
               Remington 870 Ss,ecial Purpoe Deer Gun
               Remington 870 SJ>S...BG-Camo Deerfl'urkey Shotgun
               Remington 870 SPS-Deer Shotgun
               Remington 870 Marine Magnum
               Remington 870 TC Trap
               Remington 870 Soecial Pu       :r,thetic Camo
               Remington 870 Wingmaater  'Tm Ge
               Remington 870 Es:i,,- Rifle Sighted C
               Remington 879 SPS SDecial Purpoe Mapum
                                                         Gun
               Remington 870 SPS-1' Camo Pump 8hcqun
               Remington 870 Special Field
               Remington 870 BzpreN Turke)'
               Remington 870 lfijb Grad.
               Remington 870 EKii-
               Remiagton Model 870 Esp._ Youth Gun
               Wincbmter Model 12 Pump Sbcqun
               Wincbelter Model ,2 Hild, Grade Sbotcun
               Wi�r Model 1300 Walnut Pum11_
               Wincbelter Model 1300 811111 Hunter Deer Gun
               Winc:beater Model 1300 Rang,er Pump Gun Combo 6 Deer Gun
               Wincbeater Model 1300 TurbJ Gun
               Wincbeeter Model 1300 Reqar Pump Gun
                                                         �aden
               American Arma/Franchi Falcone& 2000 O'l1
               American Arma Silftl" I O'U
               American Arma Silftl" II Shotgun
               American Arm• Silftl" Skeet MJ
               America.a Arma/Franchi SporUn 2000 O'l1
               American Arma Sil_. Sporting �
               American Arma SilYer Ti-aD O'lJ
               American Arma WS'OU 1a': TSOU 12 Sluquna
               American Arma WT/OU 10 Shotgun
               Armaport 2700 O'U Gooae Gun
               Armaport 2700 Seri• O'U
               Armaport 2900 Tri-Barrel Shotgun
               &by Bratton Ovmfllnder Shotgun
               Beretta Model 686 Ultralight OU
               Beretta ASE 90 Competition OIU Shotgun
               Beretta OveriUnder Field Shotguns
               Beretta Onyx Hunter Sport O'O Sbc:qun
               Beretta Model 805, SOIi, S09 Sbotguna
               Beretta SporUng Cla7 Sbotguna
               Beretta 687EL l!pOrtmg O'O
               Beretta 682 Super SportilllJ O'U
               Beretta Serieo 682 CompetiUon Over/Undera
               Browning Citori O'U S�n
               Browning Superligbt Citon OverlUnder
               Browning !-!llhtning Sporting Clays
               Browning MICl"O Citori Lightning
               Browning Citori Plua Trap Combo
               Browning Citori Plua Trap Gun
               Browning Citori OIU Skeet Models
               Browning Citori OIU Trap Model■
               Browning Special Sporting Clayw
               Browning Cttori GT! Sporting Clays
               Browning 325 SporUng Clays
               Centurion Over/Under Shotgun
               Chapuia Over/Under Shotgun
               Connecticut Valley Claaaica Classic SP'!rter O/U
               Connecticut Valley Claaaica Classic Fteld Waterfowier
               Charles Daly Field Grade O'U
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              Charles Daly Lu:,i Over/Under
              f�i:w          t=�?jo� '8':e�n�� OIU
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              Kassner Grade I OIU Shotgun
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              KrieghofT K--M Sporti'!B Clays OIU
              KriejholT K--M Skeet Shotgun
              KriegholT K--M International Skeet
              KriejholT K--M Four-Barrel Skeet Set
              KriegholT K-80'RT Shotguns
              KriejholT K--M 0/U Trap Shotgun
              Laurona Silhouette 300 Sporting Clays
              Laurona Silhouette 300 Trap
              Laurona Super Model Over/Undera
              I.iutic LM� Deluze 0/U Shotgun
              l'daroccbi Conquista Over/Under Shotgun
              Maroccbi Avanza O/U Shotgun




              ��====l:
              Merkel Model 200E O'U Shotgun
              Merkel Model 200E Skeet, Trap Over/Undera
              Merkel Model 203E, 303E Over/Under Shotguns
              Perazzi Mirage Special Sporting 0/U
              Perazzi Mir&ll" S ial Four-Gauge Skeet
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              Perazzi
                       �f�J';:./;r    s':i1    ns
                                   al Skeet�er/Under
                       �                       Sk
                       MX8120Ov���J,;,'1&o       -:1
              Perazzi MX9 Single Over/Un der �otguns
              Perazzi MX12 Hunting Over/Under
              Peraui MX28, MX410 GBJDe 0/U Shotguns
              Perazzi MX20 Hunting Over/Under
              Piotti Boas Over/Under Shotgun
              Remington Peerless Over/Under Shotgun
              Ruger Red Label O/U Shotgun
              Ruger Sporting_ Clays 0/U Shotgun
              San Marco 12-Ga. Wildflower Shotgun
              San Marco Field Special 0/U Shotgun
              San Marco 10-Ga. OIU Shotgun
              S KB Model 505 Dehlle Over/Under Shotgun
              SKB Model 685 Over/Under Shotgun
              SKB Model 885 Over/Under Trap, Skeet, Sporting Clays
              Stoeger/JOA Condor I 0/U Shotgun
              StoegerllGA ERA 2000 Over/Under Shotgun
              Techni-Mec Model 610 Over/Under
              Tikka Model 412S Field Grade Over/Under
              Weatherby Athena Grade IV QIU Shotguno
              Weatherby Athena Grade V Classic Field OU
              Weatherby Orion 0/U Sh'!!f!l!ns
              Weatherby II, III Classic Field OIUs
              Weatherby Orion II Classic Sporting Clays O'U
                                              ys
              ::-::f:!..�r �odei'��ali'fs�!        �
              Winchester Model 1001 Sporting1f:/ays
              Pietro Zanoletti Model 2000 Field QIU OIU
                                                       SbotglUUl-,Slde by Sldea
              American Arms Brittany Shotgun
              American Arms Gentry Double Shotgun
              American Anno Derby Side-by-Side
              American Arms Grulla #2 Double Shotgun
              American Arms WSISS 10
              American Arms TSISS 10 Double Shotgun
              American Arms TSISS 12 Side-by-Side
              Arrieta Sidelock Double Shotguns
              Armsport 1050 Series Double Shotguns
              ��C:elsf         1 ��le Shotgun
              AYA Sidelock Dou T.e Shotguns
              Beretta Model 452 Sideloci Shotgun
              Beretta Side-b:,-Side Field Shotguns
              Cruoel"l!l!i Hermanoa Model 150 Double
              Chapuis Side-by-Side Shotgun
              E.A.A/Sabatti Saba-Mon Oouble Shotgun
              Charles Daly Model Dss Double
              Ferlib Model F VII Double Shotgun
              Auguste Francotte Bcmlock Shotgun
              Auguste Francotte Sidelock Shotgun
              Gerbi Model 100 Double
              Gerbi Model 101 Side-by-Side
              Gerbi Model 103A, B Side-by-Side
              Garbi Model 200 Side-by-Side
               Bill Hanus Birdgun Doubles
              Hatfield Uplander Sh�n
              Merkell Model 8, 47E Side-by-Side Sllatguno
              Merkel Model 47LSC Spo in ·Cl&5!$Double
              Merkel Model 47S, 147S �   Side, ,Sim
               Parker Reproductions Sid · ,.
               Piotti Kini No. 1 Sid e-by
               Piotti Lun1k Side-by-Side·
               Piotti King EJltrs Sid �
              Piotti Piuma Side-by-5idit
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                Preciaion Sports Model 600 Series Doubles
                Rizzini Bmlock Side-by-Side
                Rizzini Sidelock Side-by-Side
                Stoeger/JGA Uplander Side-by-Side Shotgu n
                Ugartechea 10-Ga. Magnum Shotgun

                                                 Sllotcu-Bolt Actlom & Slnele Shota
                 Armsport Single Barrel Shotgu n
                 Browni ng BT-99 Competition Trap Si-ial
                 Browning BT-99 Plus Trap Gun
                 Browning BT-99 Plus Micro
               • Browning Recoilless Trap Shotgun
                 Browning Micro Recoilless Trap Shotgun
                 Desert Industries Big Twenty Shotgun
                 Harrington & Richardson Topper Model 098
                 Harrington & Richardson Topper Classic Youth Shotgun
                 Harrington & Richardson N.W.T.F. Turkey Mag
                 Harrington & Richardson Topper Deluu Model 098
                 KrieghofT KS-5 Trap Gun
                 KrieghofT KS-5 Spec;ial
                 Kri"!'hofT K-80 Si ngle Barrel Trap G u n
                 1.Jutoc Mono G u n Sinide Barrel
                 !-,j u tic LTX Super Defuse Mono Gun
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                New England Firearms Turkey and Goose Gun
                New England Firearms N.W.T.F. Shotgun
                New England Firearms Tracker Slug Gun
                New England Firearms Standard Pardner
                New England Firearms Su rvival Gun
                Perani TM l S �al Sin_gle Trs_p
                Remington  90- r
                               Super Single Shotgun
                Snake Channer II Shotgun
                Stoeger/JGA Reuna Sinf,le Bam,J Shotgun
                Thompson/Center TCR 87 Hunter Shotgun.".

                                                   SUMMARY AND PuRPOSE
                  The purpose of this bill is to create criminal penalties for the
                manufacture, transfer, or possession of certain firearms within the
                category of firearms known as "semiautomatic assault weapons." It
                also creates such penalties for certain ammunition feeding devices,
                as well as any combination of parts from which such a device can
                be assembled.
                  In reporting legislation banning certain assault weapons last
                Congress, the Committee on the Judiciary said:
                       The threat posed by criminals and mentally deranged in­
                     dividuals armed with semi-automatic assault weapons has
                     been tragically widespread. I
                Since then, the use of semiautomatic assault weapons by criminal
                gangs, drug-traffickers, and mentally deranged persons continues
                to grow. 2
                  H.R. 4296 will restrict the availability of such weapons in the fu.
                ture. The bill protects the rights of persons who lawfully own such
                weapons on its date of enactment by a universal "grandfathering"
                clause and specifically exempts certain firearms traditionally used
                for hunting and other legitimate support. It contains no
                confiscation or registration provisions; however, it does establish
                record-keeping requ irements for transfers involving grandfathered
                semiautomatic assault weapons. Such record-keeping is not re­
                quired for transfers of grandfathered ammunition feeding devices
                  1 "Omnibus Crime Control Act of 1 99 1 ," Report of the Committee on the Judiciary,_ House of
                Representatives, on H . R. 337 1 , 102d Cong, 1st Se�s., Rept. 102-242, Oct.ober 7, 1 99 1 , at 202.
                  2 see, e.g., Hearing on H.R. 4296 and H.R. 3527, Public Safety and Recreational Firearms Use
                Protect.ion Act, House of Representatives, Committee on the Judiciary, Subcommittee on Crime
                and Criminal Just.ice, April 25, 1994 Firearms; Chief Sylvester Daughtry, President, Inter­
                nat.ional Association of Chiefs of Police; Mr. John Pitta , National Executive Director, Federal
                Law Enforcement Officers Association).
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              (or their component parts. ) H.R. 4296 expires ("sunsets") on its own
              terms after 10 years.
                                                   BACKGROUND
                 A series of hearings over the last five years on the subject of
              semiautomatic assault weapons has demonstrated that they are a
              growing menace to our society of proportion to their numbers: a As
              this Committee said in its report to the last Congress:
                      The carnage inflicted on the American people be crimi­
                   nals and mentally deranged people armed with Rambo­
                   style, semi-automatic assault weapons has been over­
                   whelming and continuing. Police and law enforcement
                   groups all over the nation have joined together to support
                   legislation that would help keep these weapons out of the
                   hands of criminals. 4
                 Since then, evidence continues to mount that these semiauto­
              matic assault weapons are the weapons of choice among drug deal­
              ers, criminal gangs, hate groups, and mentally deranged persons
              bent on mass murder.
                 Use in Crimes. On April 25, 1994, the Director of the Federal Bu­
              reau of Alcohol, Tobacco and Firearms testified that the percentage
              of semiautomatic assault weapons among guns traced because of
              their use in crime is increasing:
                      In 1990, 5.9 percent of firearms traced were assault
                   weapons. In 1993, that percentage rose to 8 . 1 percent.
                   Since Justice Department studies have shown that assault
                   weapons make up only about 1 percent of the firearms in
                   circulation, these percentages strongly suggest that they
                   are proportionately more often used in crimes.5
                 Law enforcement officials confirm this statistical evidence in ac­
              counts of the rising level of lethality they face from assault weap­
              ons on the street. For example, the representative of a national po­
              lice officers' organization testified:
                      In the past, we used to face criminals armed with a
                   cheap Saturday Night Special that could fire off six rounds
                   before loading. Now it _is not at all unusual for a cop to
                   look down the barrel of a TEC-9 with a 32 round clip. The
                   ready availability of and easy access to assault weapons by
                   criminals has increased so dramatically that police forces
                   across the country are being required to upgrade their
                   service weapons merely as a matter of self-defense and
                 3 Hearing on H.R. 4296 and H.R. 3527, Public Safety and Recreational Firearms Use Protec•
              tion Act House of Representatives, Committee on the Judiciary, Subcommittee on Crime and
              Criminal Justice, April 25, 1994; Hearing on Semiautomatic Assault Weapons, House of Rep­
              resentatives, ComDUttee on the Judiciary, Subcommittee on Crime and Cnminal Justice, June
               12, 1991; Hearing on Semiautomatic Assault Weapons, Part II, House of Representatives, Com•
              mittee on the Judiciary, Subcommittee on Crime and Criminal Justice, July 25, 1 99 1 ; Hearing
              on H.R. 1 190, Semiautomatic Assault Wea po ns Act of 1989, and related bills, House of Rep­
              resentatives, Committee on the Judiciary, Subcommittee on Crime, April 5 and 6, 1989.
                 • "Omnibus Crime Control Act of 1991," Re port of the Committee on the Judiciary, House of
              Representatives, on H.R. 337 1 , 102d Cong, ht Sess.,. Rept. 102-242, October 7, 1991, at 203.
                 5 Hearing on H.R. 4296 and H.R. 3527, Public Safety and Recreational Firearms Use Protec·
              tion Act, House of -Representatives, Committee on the Judiciary, Subcommittee on Crime and
              Criminal Justice, April 25, 1994 (Statement of Hon. John Magaw, Director, Bureau of Alcohol,
              Tobacco and Fireanns).
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                                                             14
                   preservation. The six-shot .38 caliber service revolver,
                   standard law enforcement issue for years, it just no match
                   against a criminal armed with a semi-automatic assault
                   weapon.a
                 A representative of federal law enforcement officers testified that
               semiautomatic assault weapons "dramatically escalate the fire­
               power or the user" and ..have become the weapon of choice for drug
               runners, hate groups and the mentally unstable." 7
                      The TEC-9 assault pistol iCJ the undisputed favorite of
                   drug traffickers, gang members and violent criminals.
                   Cities across the country confiscate more TEC-9s than any
                   other assault pistol. The prototype for the TEC-9 was
                   originally designed as a submachine gun for the South Af­
                   rican government. Now it comes standard with an ammu­
                   nition magazine holding 36 rounds of 9 mm cartridges. It
                   also has a threaded barrel to accept a silencer, and a bar­
                   rel shroud to cool the barrel during rapid fire. To any real
                   sportsman or collector, this firearm is a piece of junk, yet
                   is very popular among criminals.a
                 The Secretary of Housing and Urban Development testified that
               criminal gangs in Chicago routinely use semiautomatic assault
               weapons to intimidate not only residents but also security guards,
               forcing the latter to remove metal detectors installed to detect
               weapons.9
                 Use in Mass Killings and Killings of Law Enforcement Officers.
               Public concern about semiautomatic assault weapons has grown be­
               cause of shootings in which large numbers of innocent people have
               been killed and wounded, and in which law enforcement officers
               have been murdered.
                 On April 25, 1994, the Subcommittee on Crime and Criminal
               Justice heard testimony about several incidents representative of
               such killings.
                 On February 22, 1994, Los Angeles (CA) Police Department rook­
               ie officer Christy Lynn Hamilton was ambushed and killed by a
                  & Hearing on H.R. 4296 and H.R. 3527 , Public Safety and Recreational Firearms Use Protec­
               tion Act House of Representatives, Committee on the Judiciary, Subcommittee on Crime and
               Crimi;;! Justice, April 25, 1994 (Statement of Tony Loizzo, executive vice president, National
               Association of Police Organizations). See also, Hearing on Semiautomatic Assault Weapons,
               House of Representatives, Committee on the Judiciary, Subcommittee on Crime and Criminal
               Justice, June 12, 1991 (Statement of Dewey R. Stokes, National President, Fraternal Order of
               Police) (assault weapons "pose a grave and immediate threat to the lives of those sworn to up­
               bold our laws"); Hearing on H.R. 1 190, Semiautomatic Assault Weapons Act of 1 989, and related
               bills, House of Representatives, Committee on the Judiciary, Subcommittee on Crime, Apri l 5,
                1989 (Testimony of Daniel M. Hartnett, aasociate director, law enforcement, Bureau of Alcohol,
               Tobacco and Firearms) ("Fifteen years &f), police rarely encountered armed drug dealers. Today,
               firearms, especially certain t� of aenuautomatic weapons, are status symbols and tools of the
               trade for this country's most vicious criminals.•)
                  ' Heari111 on H.R. 4296 and H.R. 3527, Public Safety and Recreational Firearms Use Protec­
               tion Act Houae of Representatives, Committee on the Judiciary, Subcommittee on Crime and
               Crimin;! Justice, April 25, 1994 (Statement of John Pitta, e:irecutive vice president, Federal Law
               Enforcement Officers Association).
                  a Hearing on H.R. 4296 and H.R. 3527, Public Safety and recreational Firearms Use Protection
               Act, House of Re resentatives, Committee on the Judiciary, Subcommittee on Crime and Crimi­
               nal Justice, Apri r 26, 1994 (Statement of John Pitta, aecutive vice president, Federal Law En­
               forcement Officers Association).
                  • Heari111 on H.R. 4296 and H.R. 3527, Public Safety and Recreational Firearms Use Protec­
               tion Act House of Representatives, Committee on the Judiciary, Subcommittee on Crime and
               Crimi;;! Justice, April 25, 1994 (Statement of Hon. Henry Cisneros, Secretary, Department of
                Housing and Urban Development).
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              drug-abusing teenager using a Colt AR-15. The round that killed
              Officer Hamilton penetrated a car door, skirted the armhole of her
              protective vest, and lodged in her chest. The teenager alsc killed
              his father, who had given him the gun, and took his own life as
              well. Officer Hamilton had been voted the most inspirational officer
              in her graduating class only weeks before her murder. Officer
              Hamilton's surviving brother testified about the impact of this mur­
              der. 10
                On December 7, 1993, a deranged gunman walked through a
              Long Island Railroad commuter train, shooting commuters. Six
              died and 19 were wounded. The gunman used a Ruger semiauto­
              matic postol. Although the pistol itself would not be classified as
              an assault weapon under this bill, its 15 round ammunition maga­
              zine ("clip") would be banned. The gunman had several of these
              high capacity 15 round magazines and reloaded several times, fir­
              ing between 30 to 50 rounds before he was overpowered while try­
              ing to reload yet again. The parents of one of the murdered victims,
              Amy Locicero Federici, testified �bout the impact of this murder. 1 1
                O n February 2 8 , 1993, 4 special agents o f the Bureau of Alcohol,
              Tobacco and Firearms were killed and 15 were wounded while try­
              ing to serve federal search and arrest warrants at the Branch
              Davidian compound in Waco, Texas. The Branch Davidian arsenal
              included hundreds of assault weapons, including AR-15s, AK-47s,
              Street Sweepers, MAC l0s and MAC-l ls, along with extremely
              high capacity magazines (up to 260 rounds). 12
                 Finally, on July 1, 1993, gunman Gian Luigi Ferri Killed 8 peo­
              ple and wounded 6 others in a San Francisco high rise office build­
              ing. Ferri-who took his own lif�used two TEC DC9 assault pis­
              tols with 50 round magazines, purchased from a gun dealer in Las
              Vegas, Nevada. Two witnesses, both of whom lost spouses in the
              slaughter, and one of whom was herself seriously injured, testified
              about this incident . 1a
                 Numerous other notorious incidents involving semiautomatic as­
              sault wea_pons have occurred. They include the January 25, 1993,
              slaying of 2 CIA employees and wounding of 3 others at McLean,
              VA, (AK-47), and the January 17, 1989 murder in a Stockton, CA,
              schoolyard of 5 small children, and wounding of 29 others (AK-47
              and 75 round magazine, firing 106 rounds in less than 2 minutes).
                 Several witnesses who were victims themselves during such inci­
              dents testified in opposition to H.R. 4296/H.R. 3527, and in opposi­
              tion to the banning of any semiautomatic assault weapons or am­
              munition feeding devices.
                 Dr. Suzanna Gratia witnessed the brutal murder, in Luby's cafe­
              teria located in Killeen, Texas, of both of her parents who had just
                 to Hearin_g on H.R. 4296 and H.R. 3527, Public Safety and Recreational Firearms Use Protec­
              tion Act, House of Refresentatives, Committee on the Judiciary, Subcommittee on Crime and
              Criminal Justice, Apri 25, 1994 (Statement of Ken Brondell, Jr.).
                 1 1 Hearing on H.R. 4296 and H.R. 3527, Public Safety and Recreational Firearms Use Protec­
              tion Act1 House of Refresentatives, Committee on the Judiciary, Subcommittee on Crime and
              Criminal Justice, A_pri 25, 1994 (Statements of Jacob Locicero and Arlene Locicero).
                 1 2 Hearing on H.R. 4296 and H.R. 3527, Public Safety and Recreational Firearms Use Protec­
              tion Act House of Rerresentatives, Committee on the Judiciary, Subcommittee on Crime and
              CriminJ Justice, Apri 25, 1994 (Statement of John Pitta, executive vice president, Federal Law
              Enforcement Officers Association).
                 13 Hearing on H.R. 4296 and H.R. 3527, Public Safety and Recreational firearms Use Protec­
              tion Actl House of Rerresentatives, Committee on the Judiciary, Subcommittee Oil Crime and
              CrimiDaJ Justice, Apri 25, 1994 (Statements of Michelle Scully and Steve Sposato).
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               celebrated their 47 weeding anniversary. Just a few days before,
               she had removed her gun from her purse and left it in her car to
               comply with a Texas law which does not allow concealed carrying
               of a firearm. Dr. Gratia testified:
                       I am mad at my legislators for legislating me out of a
                    right to protect myself and my family. I would much rath­
                    er be sitting in jail with a felony offense on my head and
                    have my parents alive. As far as these so-called assault
                    weapons, you say that they don't have any defense use.
                    You tell that to the guy that I saw on a videotape of the
                    Los Angeles riots standing on his rooftop protecting his
                    property and his life from an entire mob with one of these
                    so-called assault weapons. Tell me that he didn't have a le­
                    gitimate self-defense use. 1•
                 Ms. Jacquie Miller was shot several times with a semiautomatic
               assault weapon and left for dead at her place of employment with
               the Standard Gravure Printing Company in Louisville, Kentucky,
               when a fellow employee went on a killing spree. Now permanently
               disabled, Ms. Miller testified:
                       It completely enrages me that my tragedy is being used
                    against me to deny me and all the law abiding citizens of
                    this country to the right of the firearm of our choosing. I
                    refuse in return to use my tragedy for retribution against
                    innocent people just to make myself feel better for having
                    this misfortune. Enforce the laws against criminals al­
                    ready on the books. After all, there are already over 20,000
                    of them. 15 More won't do a thing for crime control • • •
                    You cannot ban everything in the world that could be used
                    as a weapon because you fear it, don't understand it, or
                    don't agree with it.
                       This is America, not Lithuania or China. Our most cher­
                    ished possession is our Constitution and Bill of Rights.
                    Let's not sell those down the river or we could one day find
                    ourselves in a boat without a paddle against the criminals
                    who think we are easy pickings . 1s
                 Mr. Phillip Murphy used his lawfully-possessed Colt AR--15 H­
               BAR Sporter semiautomatic rifle-a gun which would be specifi­
               cally banned by H.R. 4296-to capture one of Tucson, Arizona's
               most wanted criminals who was attempting to burglarize the home
               of Mr. Murphy's parents. The 19-year old criminal he captured was

                  1< ffearing on H.R. 4296 and H.R. 3527, Public Safety and Recreational Firearms Use Protec­
               tion Act, House of Representatives, Committee on the J udiciary, Subcommittee on crime and
               Criminal Justice, April 25, 1994 (State of Dr. Suzanna Gratia, Copperas Cove, Teus)
                  !& The Committee notes that, under the Gun Control Act of 1968 as amended in 1986, it is
               a Federal felony for a convicted felon to be in possession of any firearm, including an assault
               weapon, under 18 U.S.C. 922(gX l ). Violations carry up to five years imprisonment and a
               $250,000 fine. If a crimi nal-whether previously convicted or not-is carrying an assault weapon
               and is involved in a drug trafficking crime, that criminal is subject to a mandatory minimum
               of 5 years imprisonment and a $250,000 fine under 18 U.S.C. 924(cX l). Any criminal who has
               three prior violent felony and/or serious drug offenses convictions and is in possession of a fire­
               arm is subject to a mandatory minimum of 15 years imprisonment and a $250,000 fine u nder
               18 U.S.C. 924CeX ll.
                  18 Hearing on H.R. 4296 and H.R. 3527, Public Safety and Recreational Firearms Use Protec­
               tion Act, House of Re resentatives, Committee on the Judiciary, Subcommittee on Crime and
               Criminal Justice, Apri r 25, 1994 (Statement of Ms. Jacquie Miller, Louisville, Kentucky).
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              a three-time loser with 34 prior convictions who was violating his
              third adult State parole for a knife assault. Mr. Murphy testified:
                    I respectfully urge this Committee and the Congress of
                  the United States to restrain themselves from forcing tens
                  of millions of law-abiding Americans like me to choose be­
                  tween the law and their lives . 11
                The Characteristics of Military-Style Semiautomatic Assault
              Weapons . The question of what constitutes an assault weapon has
              been studied by the Congress and the executive branch as the role
              of these guns in criminal violence has grown.
                A Bureau of Alcohol, Tobacco and Firearms working group
              formed under the Bush administration to consider banning foreign
              imports of such semiautomatic assault weapons conducted the most
              recent comprehensive study of military assault weapons and the ci­
              vilian firearms that are modelled after them. 1 8 The working group
              formulated a definition of the civilian version, and a list of the as­
              sault weapun characteristics that distinguish them from sporting
              guns. That technical work has to a large extent been incorporated
              into H.R. 4296. 19
                 The working group settled on the term "semiautomatic assault"
              for the civilian firearms at issue. That term distinguishes the civil­
              ian firearms from the fully automatic military weapons (machine­
              guns) 20 after which they are modelled and often simply adapted by
              eliminating the automatic fire feature. The group determined that
              "semiautomatic assault rifles * * * represent a distinctive type of
              rifle distinguished by certain general characteristics which are
              common to the modern military assault rifle." 2 1
                 The group elaborated on the nature of those characteristics as
              follows:
                     The modern military assault rifle, such as the U.S. M 16,
                   German G3, Belgian FN/FAL, and Soviet AK-47, is a
                   weapon designed for killing or disabling the enemy and
                   * * * has characteristics designed to accomplish this pur­
                   pose.
                     We found that the modern military assault rifle contains
                   a variety of physical features and characterii;tics designed
                 17 Hearing on H.R. 4296 and H.R. 3527, Public Safety and Recreational Firearms Use Protec•
              tion Act, House of Re resentatives, Committee on the Judiciary, Subcommittee on Crime and
              Criminal Justice, Apri f25, 1994 (Statement of Mr. Phillip Murphy, Tucson, Arizona).
                 ,su.s. Department of the Treasury, Bureau of Alcohol, Tobacco and Firearms, "Report and
              Recommendation of the ATF Worki ng Group on the Importability of Certain Semiautomatic Ri­
              fles," July, 1989.
                 •eThe ultimate question of law upon which the working group was advising the Secretary of
              the Treasury was whether these import firearms met a "sporting purpose" test under 18 U.S.C.
              Code section 925(d). He held that they did not. Although that legal question is not directly posed
              by this bill, the worki ng group's research and analysis on assault weapons is relevant on the
              questions of the purposes underlying the design of assault weapons, the characteristics that dis­
              tinguish them from sporting guns, and the reasons underlying each of the distinguishing fea­
              tures.
                 20 An automatic gun fires a continuous stream as long as the trigger is held down, until it

              has fired all of the cartridges ("rounds" or "bullets") in its magazine (or "clip"). Automatic fire­
              arms are also known as machineguns. A semi-automatic �n fires one round, then loads a new
              round, each time the trigger is pulled until its magazine 1s exhausted. Manually operated guns
              require the shooter to manually operate a bolt, slide, pump, or lever action to extract the fired
              round and load a new round before pulling the trigger.
                 21 U.S. Department of the Treasury, Bureau of Alcohol, Tobacco and Firearms, "Report and
              Recommendation of the ATF Worki ng Group on the Importability of Certain Semiautomatic Ri­
              fles," July, 1 989, p. 6.
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                    for military applications which distinguishes it from tradi­
                    tional sporting rifles. These military features and charac­
                    teristics (other than selective fire) are carried over to the
                    semiautomatic versions of the original military rifle .22
                  The "selective fire" feature to which the working group referred
               is the ability of the military versions to switch from fully automatic
               to semiautomatic fire at the option of the user. Since Congress has
               already banned certain civilian transfer or possession of machine­
               guns, 23 the civilian models of these guns are produced with cemi ­
               automatic fire capability only. However, testimony was received by
               the Subcommittee on Crime and Criminal Justice that it is a rel­
               atively simple task to convert 2 4 a sem iautomatic weapon to auto­
               matic fire 25 and that semiautomatic weapons can be fired at rates
               of 300 to 500 rounds per minute, making them virtually indisti n­
               guishable in practical effect from machinegu n s. 26
                  The 1989 Report's analysis of assault characteristics which dis­
               tinguish such firearms from sporting guns was further explained
               by an AFT representative at a 199 1 hearing before the Subcommit­
               tee on Crime and Criminal Justice:
                       We found that the banned rifles represented a distinc­
                    tive type of rifle characterized by certain military features
                    which differentiated them from the traditional sporting ri­
                    fles. These include the ability to accept large capacity de­
                    tachable magazines, bayonets, folding or telescoping
                    stocks, pistol grips, flash suppressors, bipods, grenade
                    launchers and night sights, and the fact that they are
                    semiautomatic versions of military machineguns. 27
                  Proponents of these military style semiautomatic assault weap­
               ons oft.en dismiss these combat-designed features as merely "cos­
               metic." The Subcommittee received testimony that, even if these
               characteristics were merely "cosmetic" in effect, it is precisely those
               cosmetics that contribute to their usefulness as tools of intimida­
               tion by criminals .2s
                  However, the expert evidence is that the features that character­
                ize a semiautomatic weapon as an assault weapon are not merely
               cosmetic, but do serve specific, combat-functional ends. By facilitat-
                  22 U.S. Department of the Treas ury , Bureau of Alcohol , Tobacco and Firearms , "Re po rt a nd
               Recommendation of the ATF Worki ng Group on the lmportability of Certain Semiautom atic Ri­
               fles , " July , 1989 , p. 6.
                  23 18 U.S. Code, section 922 ( 0).
                  2• The Com mittee notes that such conversion is a Federal felony that carries pe nalties of u p
               to IO years imprisonment a nd a $ 250 ,000 fi ne under 26 U . S . C . 586 1 .
                  " Hearing o n Semiautomatic Assault Weapons, House o f Representatives, Committee on the
               J udici ary , Subcommi ttee on Crime and Criminal J u stice, J u n e 1 2, 1 99 1 (Statement of Dewey
               R. Stokes , National President , Fraternal order of Police ) .
                  26 H earing on Semiautomatic Assault Weapons House of Represe ntatives, Commi ttee on the
                                                                       ,
               Judiciary , Subcommittee on Crime and Criminal J ustice , J u n e 1 2, 1 99 1 (Statement of Dewey
               R. Stokes , National President , Fraternal order of police ) .
                  27 Heari ng on Semi automatic Assault Wea po ns , House of Re p re5e ntatives, Committee on the
               Judiciary , Subcommi ttee on Crime a nd Criminal J u stice, J u ne 1 2 , 1 99 1 \ Statement of Rich ard
               Cook , Chief, Firearms Divisions , Bureau of Alcohol , Tobacco and Firearms) at 268.
                  2s Hearin g on H.R. 4 296 and H . R. 3527 , Public Safety and Recreational Firearms , Use Protec­
               tion Act , House of Represe nta tives , Committee on the J udiciary , Subcommittee on Criine and
               Crimi nal Justice April 25 , 1 994 (Statements of Hon. He nry Cisneros, Secretary , Department of
               Housi n g and Urban Development a n d John Pitta, National Executive Vice President, Federal
               Law E nforcement Officer,; Associat.i o n l ; Heari n g on Semiautomatic Assault Wearons , House of
               Represe ntatives, Committee on the Judiciary , Subcommittee on Crime and Cnmi nal Justice ,
               June 12, 1991 ( Statement of Pau l J . McNulty , Pri ncipal De puty Director. Office of Policy devel­
               o p ment , Department of J usticu) at 288.
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              ing the deadly "spray fire" of the weapon or enhancing its port­
              ability-a useful attribute in combat but one which serves to en­
              hance the ability to conceal the gun in civilian life.29
                High-capability magazine, for example, make it possible to fire a
              large number of rounds without re-loading, then to reload quickly
              when those rounds are spent. 3o Most of the weapons covered by the
              proposed legislation come equipped with magazines that hold 30
              rounds. Even these magazines, however, can be replaced with mag­
              azines that hold 50 or even 100 rounds. Furthermore, expended
              magazines can be quickly replaced, so that a single person with a
              single assault weapon can easily fire literally hundreds of rounds
              within minutes. As noted above, tests demonstrate that semiauto­
              matic guns can be fired at very high rates of fire. In contrast, hunt­
              ing rifles and shotguns typically have much smaller magazine ca­
              pabilities-from 3 to 5.
                Because of the greater enhanced lethality-numbers of rounds
              that can be fired quickly without reloading-H.R. 4296 also con­
              tains a ban on ammunition magazines which hold more than 10
              rounds, as well as any combination of parts from which such a
              magazine can be assembled.
                 Barrel shrouds also serve a combat-functional purpose. 3 1 Gun
              barrels become very hot when multiple rounds are fired through
              them quickly. The barrel shroud cools the barrel so that it will not
              overheat, and provides the shooter with a convenient grip espe­
              cially suitable for spray-firing.
                 Similar military combat purposes are served by flash suppressors
              (designed to help conceal the point of fire in night combat), bayonet
              mounts, grenade launchers, and pistol grips engrafted on long
              guns.32
                 The net effect of these military combat features is a capability for
              lethality-more wounds, more serious, in more victims-far beyond

                 29 Hearing on H.R. 4296 and H.R. 3527, Public Safety and Recreational Fireanns Use Protee·
              tion Act, House of Representatives, Committee on the Judiciary, Subcommittee on Crime and
              Criminal Justice, April 25, 1 994 (Statements and testimony of John McGaw, Director, Bureau
              of Alcohol, Tobacco an<I Fireanns, and John Pitta, National Executive Vire President, Feder�!
              Law Enforcement Officers Association); Hearing on Semiautomatic Assault Weapons, House of
              Representatives, Committee on the Judiciary, Subcommittee on Crime and Criminal Justice,
              June 12, 1991 (Statement of Richard Cook, Chief, Fireanns Division, Bureau of Alcohol, Tobacco
              and Fireanns); U.S. Department of the Treasury, Bureau of Alcohol, Tobacco and Firearms, "Re­
              port and Recommendation of the ATF Working Group on the lmpon.ability of Certain Semiauto­
              matic Rifles," J uly, 1989, p. 6.
                 ao u.S. Department of the Treasury, Bureau of Alcohol, Tobacco and Firearms, "Report a nd
              Recommendation of the ATF Working Group on the lmportability of Certain Semiautomatic Ri­
              fles," July, 1989, p. 6.
                 3 1 Hearing on H.R. 4296 and H.R. 3527, Public Safety and Recreational Firearms Use Protee­
              tion Act, House of Representatives, Committee on the Judiciary, Subcommittee on Crime and
              Criminal Justice, April 25, 1994 (Statements and testimony of John McGaw, Director, Bureau
              of Alcohol, Tobacco and Fireanns, and John Pitta, National Executive '.'ice President, Federal
              Law Enforcement Officers Association); U.S. Department of the Treasury, Bureau of Alcohol, To­
              bacco and Firearms, "Report and Recommendation of the ATF Working Group on the
              Im portability of Certain Semiautomatic Rifles," July, 1989, p. 6.
                 32 Hearing on H.R. 4296 and H.R. 3527, Public Safety and Recreational Firearms Use Protec­
              tion Act, House of Representatives, Committee on the Judiciary, Subcommittee on Crime and
              Cri minal Justice, April 25, 1994 (Statements and testimony of John McGaw, Director, Bureau
              of Alcohol, Tobacco and Firearms, and John Pitta, National Executive Vice President, Federal
              Law Enforcement Officers Association); U.S. Department of the Treasury, Bureau of Alcohol, To­
              bacco and Firearms, "Report and Recommendation of the ATF Working Group on the
              Importability of Certain Semiautomatic Rifles," July, 1 989, p. 6.
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               that of other firearms in general, including other semiautomatic
               guns.aa
                                  BRIEF EXPLANATION OF H.R. 4296
                  H.R. 4296 combines two approaches which have been followed in
               the past in legislation proposed to control semiautomatic assault
               weapons-the so-called "list" approach and the "characteristics" ap­
               proach.
                  The bill does not ban any semiautomatic assault weapons nor
               large capacity ammuniHon feeding device (or component parts) oth­
               erwise lawfully possessed on the date of enactment. However,
               records must be kept by both the transferor and the transferee in­
               volved in any tran sfer of these weapons, but not of the feeding de­
               vices (or combination of parts).
                  The bill explicitly exempts all guns with other than semiauto­
               matic actions-Le. , bolt, slide, pump, and lever actions. In addition,
               it specifically exempts by make and model 66 1 long guns most com­
               monly used in hunting and recreational sports, 34 making clear that
               these semiautomatic assault weapons are not and cannot be subject
               to any ban .
                  Section 2(z) of the bill lists 19 specific semiautomatic assault
               weapons-such as the AK-47, M- 10, TEC-9 , Uzi, etc.-that are
               banned.35 It also defines other assault weapons by specifically enu­
               merating combat style characteristics and bans those semiauto­
               matic assault weapons that have 2 or more of those characteris­
               tics.36
                  The bill makes clear that the list of exempted guns is not exclu­
               sive. The fact that a gun is not on the exempted list may not be
               construed to mean that it is banned . Thus, a gun that is not on the
               list of guns specifically banned by name would only be banned if
               it met the specific characteristics set out in the characteristics test.
               No gun may be removed from the exempted list.
                  H.R. 4296 also bans large capacity ammunition feeding devices­
               clips that accept more than 10 rounds of ammunition-as well as
                  33 Hearing on H . R . 4 296 and H.R. 3527, Publi c Safety and Recreational Fi rearms Use Protec­
               tion Act , House of Re resentati ves, Com mittee on the Judici ary, S u bcommittee on C ri m e and
               Criminal Justice, Aprir 25, 1994 (Statement and testimony of Dr. David M i lzman, Associate Di ­
               rec!nr, Tra uma Services, Georgetown University Medical Center, Wash i ngton, DC ) ; U.S. Depart­
               ment of the Treasury, B urea u of Alcohol, Tobacco and Fi rearms, " Report and Recommendation
               of the ATF Working Grou p on t.he lmportability of Certain Semiautomatic Rifles," July, 1 989,
               p. 6.
                  •• See H.R. 4296, Appendix A, for the list.
                  35 H.R. 4296 bans the following semia utomatic assault weapons by name (as well as any copies
               or du plicates, in any rnh berJ: Al l AK-47 type; Beretta AR-70; Colt AR- 1 5 ; DC9, 22; FNC; FN­
               FAULAR; Gali!; MAC 10, MAC l l -type; Steyr AUG; Street Sweeper; Striker 12; TEC-9; Uzi.
                  36 Wh ile noti ng that its list is not all-inclusive, the B ureau o f Alcohol, Tobacco, and Fireanns
               has li sted the following semi-automatic firearms that would be banned based on thei r general
               characteristics:
                  1. Semi -au tomatic Rifles: AA Arms AR9 semi-automatic rifle; AMT Lightning 25 rifle; Auto
               Ordnance Thom son Model 1 92 7 carbines ( fi n ned barrel versions); Ca lico M l O0 carbi ne; Colt
               Sporter Rifle ( a l r variations ) ; Federal XC900 carbine; Federa l XC450 carbine; Grendel R3 l car­
               bine; I ver Johnson M l carbine ( version w/cnll apsi ble stock and bayonet mount); S p ri ngfield M l A
               rifle.
                  2. Pistols: AA Arms AP9 pisto l ; Australian Automatic Arms pi ,tol; Auto Ordnance M odel
               1 927A5 pisto l ; America n Anns Spectra pi stol ; C alico Model M 950 pistol; Calico Model l lO pistol;
               All C laridge Hi -Tee pistol; D Max auto pistol; G rendel P-3 1 pistol ; Heckler & Koch SP89 pistol ;
               Wilki nson Li nda pistol.
                  3. Shotgu ns; Denelli M l Super 90 Defense shotgu n ; Benelli M3 Super 90 shotgun ; Fra nchi
               LAW 12 shotgun; Franchi SPAS 1 2 shotgu n; USAS 1 2 shotgun.
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              any combination o f parts· from which such a device can b e assem­
              bled.
                The bill exempts all semiautomatic assault weapons and large
              capacity ammunition feeding devices (as well as any combination
              of parts) that are lawfully possessed on date of enactment. Owners
              of such semiautomatic assault weapons need do nothing under the
              bill unless they wish to transfer the semiautomatic assault weapon.
                 H.R. 4296 differs significantly from previously-proposed legisla­
              tion-it is designed to be more tightly focused and more carefully
              crafted to clearly exempt legitimate sporting guns. Most signifi­
              cantly, the ban in the 199 1 proposed bill gave the Bureau of Alco­
              hol, Tobacco, and Firearms authority to ban any weapon which
              "embodies the same configu ration" as the named list of guns. The
              current bill, H.R. 4296 does not contain any such general authority.
              Instead, it contains a set of specific characteristics that must be
              present in order to ban any additional semiautomatic assault weap­
              ons.
                                        102D CONGRESS

                The Subcommittee on Crime and Criminal Justice held hearings
              on semiautomatic assault weapons on June 12 and July 25, 1991.
              A ban on certain semiautomatic assault weapons was included as
              Subtitle A of Title XX in H.R. 337 1, the Omnibus Crime Control
              Act of 1991. A ban on large capacity ammunition feeding devices
              was included in the same bill. The bill was reported out of the Ju­
              diciary Committee on October 7, 199 1. The provisions dealing with
              semiautomatic assault weapons and large capacity ammunition
              feeding devices were struck by the House of Representatives by a
              vote of 24 7-177 on October 17, 199 1.
                                        103D CONGRESS

                The Subcommittee on Crime and Criminal Justice held hearings
              on H.R. 4296 and its predecessor, H.R. 3527, which ban semiauto­
              matic assault weapons, on April 25, 1994. The Subcommittee re­
              ported favorably on an amendment in the nature of a substitute to
              H.R. 4296 on April 26, 1994, by a recorded vote of 8-5.
                                      COMMI'ITEE ACTION

                 The Committee on the Judiciary met on April 28, 1994 to con­
              sider H.R. 4296, as amended. Two amendments were adopted dur­
              ing the Committee's consideration.
                 An amendment was offered to provide that the absence of a fire­
              arm from the list of guns specifically exempted from the ban may
              not be construed as evidence that the semiautomatic assault weap­
              on is banned, and that no gun may be removed from the exempt
              list so long as the Act is in effect. This amendment was adopted
              by voice vote.
                 An amendment was offered to delete a provision that barred from
              owning any firearms those persons convicted of violating the rec­
              ordkeeping requirements relating to grandfathered weapons. This
              amendment was adopted by voice vote.
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                  A reporting quorum being present, the Committee on the Judici­
                ary, by a roll call vote of 20 to 15 , ordered H.R. 4296, as amended,
                favorably reported to the House.
                                         SECTION-BY-SECTION ANALYSIS
                                             SECTION !--SHORT TITLE
                  This section provides that the Act may be cited as the "Public
                Safety and Recreational Firearms Use Protection Act".
                     SECTION 2-RESTRICTION ON MANUFACTURE, TRANSFER, AND
                     POSSESSION OF CERTAIN SEMIAUTOMATIC ASSAULT WEAPONS
                  Subsection 2(a) makes it unlawful for a person to manufacture,
                transfer, or possess a semiautomatic assault weapon (including any
                "copies or duplicates.")
                  The ban on transfer and possession does not apply to ( 1) weapons
                otherwise lawfully possessed on the date of enactment; (2) any of
                the firearms (or their replicas or duplicates) listed in Appendix A;
                (3) any manually operated (bolt, pump, slide, lever action), perma­
                nently inoperable, or antique firearms; (4) semiautomatic rifles
                that cannot accept a detachable magazine that holds more than 5
                rounds; or, a semiautomatic shotgun that cannot hold more than 5
                rounds in a fixed or detachable magazine.
                  The fact that a gun is not listed in Appendix A may not be con­
                strued to mean that it is banned. No gun listed in Appendix A may
                be removed from that exempted list so long as the Act is in effect.
                  Federal departments and agencies and those of States and their
                subdivisions are exempted. Law enforcement officers au thorized to
                purchase firearms for official use are exempted, as are such officers
                presented with covered weapons upon retirement who are not oth­
                erwise prohibited from receiving such a weapon. Finally, weapons
                made, transferred, possessed, or imported for the purposes of test­
                ing or experiments authorized by the Secretary of the Treasury are
                exempted.
                   Subsection 2(b) defines sem iautomatic assault weapons, both by
                name and by characteristics. It lists by name specific firearms, in­
                cluding "copies or dupl icates" of such firearms.3 7 Characteri stics of
                covered semiautomatic rifles, pistols, and shotguns are defi ned by
                separate subsections applicable to each. In the case of rifles and
                pistols, in addition to being semiautomatic, a gun must be able to
                accept a detachable magazine and have at least 2 listed character­
                istics.
                   In the case of rifles, those characteristics are: ( 1) folding or tele­
                scoping stock; (2) a pi stol grip that protrudes conspicuou sly be­
                neath the action of the weapon ; (3) a bayonet mount; (4) a flash
                suppressor or threaded barrel designed to accommodate a flash
                suppressor; and (5) a grenade launcher.
                   In the case of pistols , the characteristics are: ( 1) a magazine that
                attaches to the pistol outside of the pistol grip; ( 2 ) a threaded bar­
                rel capable of accepting a barrel extender, flash suppressor, for­
                ward handgrip, or silencer; (3) a barrel shroud that permits the
                  37 H . R. 4296 bans the following semiautomatic assault weapons by name (as well as any copies
                or d u plicates, in any caliber): All AK-47 type; Beretta AR-70; Colt AR- 15; DC9, 22; FNC; FN­
                FALLAR: Gali!: MAC 1 0 , MAC I I- type; Steyr AUG; Street Sweeper; Striker 12; TEC-9; Uzi
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              shooter to hold the firearm without being burned; (4) an unloaded
              manufactured weight of 50 ounces or more; and (5) a semiauto­
              matic version of an automatic firearm.
                In the case of shotguns, covered weapons must have at least 2
              of the following four features: ( 1) a folding or telescoping stock; (2)
              a pistol grip that protrudes conspicuously beneath the action of the
              weapon; (3) a fixed magazine capacity in excess of 5 rounds; and
              (4) an ability to accept a detachable magazine.
                The section provides a fine of not more than $5,000, imprison�
              ment for not more than 5 years, or both, for knowingly violating
              the ban on manufacture, transfer and possession. It also adds use
              of a semiautomatic assault weapon to the crimes covered by the
              mandatory minimum of 5 years under 18 USC Section 924(c){ l) for
              use in a federal crime of violence or drug trafficking crime.
                 Finally, the section requires that semiautomatic assault weapons
              manufactured after the date of enactment must clearly show the
              date on which the weapon was manufactured.
                 SECTION 3-RECORDKEEPING REQUIREMENTS FOR TRANSFERS OF
                                GRANDFATHERED FIREARMS
                This section makes it unlawful to transfer a grandfathered semi�
              automatic assault weapon unless both the transferor and the trans­
              feree complete and retain a copy of federal form 4473 (or its succes­
              sor). Within 90 days of enactment, the Secretary of the Treasury
              must issue regulations ensuring the availability of the form to own­
              ers of semiautomatic assault weapons. The Committee expects the
              Secretary to make such forms easily and readily available to such
              gun owners. The Committee further expects the Secretary to main­
              tain the confidentiality of the requester and to ensure the destruc­
              tion of any and all information pertaining to any request for such
              forms immediately upon complying with the request. The Commit­
              tee does not expect the Secretary to release any such information
              to any other Department of the Federal, State or local Govern­
              ments or to use the information in any way other than to comply
              with the requests for the form. The Committee would consider fail­
              ure to comply with these expectations a very serious breach.
                 A person who knowingly violates the recordkeeping requirement
              shall be fined not more than $1,000, imprisoned for not more than
              6 months or both.
               SECTION 4-BAN OF LARGE CAPACITY AMMUNITION FEEDING DEVICES
                 Subsection 4(a) makes it unlawful for a person to transfer or pos­
              sess a large capacity ammunition feeding device (which is defined
              to include any combination of parts from which such a device can
              be assembled.)
                 The ban on transfer and possession does not apply to ( 1 ) devices
              (or component parts) otherwise lawfully possessed on the date of
              enactment; (2) Federal departments and agencies and those of
              States and their subdivisions; (3) law enforcement officers author­
              ized to purchase ammunition feeding devices for official use; de­
              vices transferred to such officers upon retirement who are not oth­
              erwise prohibited from receiving them; and (3) devices (or combina­
              tion of parts) made, transferred, possessed, or imported for the pur-
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                pose of testing or experiments authorized by the Secretary of the
                Treasury are exempted.
                  Subsection 4(b) defines large capacity ammunition feeding device
                to mean a magazine, belt, drum, feed strip, or similar device that
                has a capacity of more than 10 rounds, or can be readily restored
                or converted to accept more than 10 rounds. It includes any com­
                bination of parts from which such a device can be assembled. It ex­
                empts an attached tubular device designed to accept and capable
                of operating only with .22 caliber rimfire ammunition.
                   Subsection 4(c) adds large capacity ammunition feeding devices
                to the definition of "firearm" under 18 US Code section 92 1(a)(3).
                   Subsection 4(d) provides a fine of not more than $5,000, impris­
                onment for not more than 5 years, or both, for knowingly violating
                the ban.
                   Subsection 4(e) requires that large capacity ammunition feeding
                devices manufactured after the date of enactment be identified by
                a serial number that clearly shows the device was manufactured
                after the date or imported after the date of enactment, and such
                other identification as the Secretary of the Treasury may by regula­
                tion prescribe.
                             SECTION 5--STUDY BY ATI'ORNEY GENERAL
                  This section requries the Attorney General to study and report
                to the Congress no later than 30 months after its enactment the
                effects of the Act, particularly with regard to its impact-if any­
                on violent and drug-trafficking crime.
                  The study shall be conducted over a period of 18 months, com­
                mencing 12 months after the date of enactment.
                                    SECTION &-EFFECTIVE DATE
                  The Act and the amendment made by the Act take effect on the
                date of enactment and are repealed effective as of the date that is
                10 years after that date.
                        SECTION 7-APPENDIX A TO SECTION 922 OF TITLE 18
                  This section adds, as Appendix A, a list of firearms that are spe­
                cifically exempted from the ban on serr.iiautomatic assault weapons.
                                 COMMITI'EE OVERSIGHT FINDINGS
                   In compliance with clause 2(1)(3)(A) of rule XI of the Rules of the
                House of Representatives, the Committee reports that the findings
                and recommendations of the Committee, based on oversight activi­
                ties under clause 2(b)( l) of rule X of the Rules of the House of Rep­
                resentatives, are incorporated in the descriptive portions of this re­
                port.
                  COMMITTEE ON GoVERNMENT OPERATIONS OVERSIGHT FINDINGS
                  No findings or recommendations of the Committee on Govern­
                ment Operations were received as referred to in clause 2(1)(3)(0) of
                rule XI of the Rules of the House of Representatives.
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                        NEW BUDGET AUTHORITY AND TAX EXPENDITURES
                Clause 2(1)(3)(B) of House Rule XI is inapplicable because this
              legislation does not provide new budgetary authority or increased
              tax expenditures.
                               INFLATIONARY IMPACT STATEMENT
                Pursuant to clause 2(1)(4) of rule XI of the Rules of the House
              of Representatives, the Committee estimates that H.R. 4296 will
              have no significant inflationary impact on prices and costs in the
              national economy.
                        CONGRESSIONAL BUDGET OFFICE COST ESTIMATE
                 In compliance with clause 2(1)(3)(C) of rule XI of the Rules of the
              House of Representatives, the Committee sets forth, with respect to
              the bill H.R. 4296, the following estimate and comparison prepared
              by the Director of the Congressional Budget Office under section
              403 of the Congressional Budget Act of 197 4:
                                                         U.S. CONGRESS,
                                            CONGRESSIONAL BUDGET OFFICE.
                                                   Washington, DC, May 2, 1994.
              Hon. JACK BROOKS,
              Chairman, Committee on the Judiciary,
              House of Representatives, Washington, DC.
                 DEAR MR. CHAIRMAN: The Congressional Budget Office has re­
              viewed H.R. 4296, the Public Safety and Recreational Firearms Use
              Protection Act, as ordered rep_orted by the House Committee on the
              Judiciary on April 28, 1994. We estimate that enactment of the bill
              would result in costs to the federal government over the 1995-1999
              period of less than $500,000 from appropriated amounts. In addi­
              tion, we estimate that enactment of H.R. 4296 would lead to in­
              creases in receipts of less than $10 million a year from new crimi­
              nal fines. Such receipts would be deposited in the Crime Victims
              Fund and spent in the following year. Because the bill could affect
              direct spending and receipts, pay-as-you-go procedures would
              apply. The bill would not affect the budgets of state or local govern­
              ments.
                 H.R. 4296 would ban the manufacture, transfer, and possession
              of certain semiautomatic assault weapons not lawfully possessed as
              of the date of the bill's enactment. The bill also would ban the
              transfer and possession of certain large-capacity ammunition feed­
              ing devices not lawfully possessed as of the date of enactment. In
              addition, H.R. 4296 would establish recordkeeping requirements for
              transfers of grandfathered weapons and would direct the Attorney
              General to conduct a study of the bill's impact. Finally, the bill
              would create new federal crimes and associated penalties-prison
              sentences and criminal fines-for violation of its provisions.
                 The new recordkeeping requirements and the impact study
               would increase costs to the Department of the Treasury an d the
              Department of Justice, respectively, but we estimate that these
               costs would be less than $500,000 over the next several years from
               appropriated amounts. The imposition of new criminal fines in H.R.
               4296 could cause governmental receipts to increase through greater
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               penalty collections. We estimate that any such increase would be
               less than $10 million annually. Criminal fines would be deposited
               in the Crime Victims Fund and would be spent in the following
               year. Thus, direct spending from the fund would match the in­
               crease in revenues with a one-year lag.
                 If you wish further details on this estimate, we will be pleased
               to provide them.
                      Sincerely,
                                               ROBERT D. REISCHAUER, Director.
                  CHANGES IN EXISTING LAW MADE BY THE BILL, AS REPORTED
                  In compliance with clause 3 of rule XIII of the Rules of the House
               of Representatives, changes in existing law made by the bill, as re­
               ported, are shown as follows (existing law proposed to be omitted
               is enclosed in black brackets, new matter is printed in italic, exist­
               ing law in which no change is proposed is shown in roman):
                    CHAPl'ER 44 OF TITLE 18, UNITED STATES CODE
                       *        *       •        *        *        *        *
                                    CHAPTER 44-FIREARMS
               § 921. Definitions
                 (a) AB used in this chapter-
                 ( 1) * *   *
                       *        *       •        *        *        *        •
                 (3) The term "firearm" means (A) any weapon (including a start­
               er gun) which will or is designed to or may readily be converted
               to expel a projectile by the action of an explosive; (B) the frame or
               receiver of any such weapon; (C) any firearm muffler or firearm si­
               lencer; [or (D) any destructive device.] (DJ any destructive device;
               or (E) any large capacity ammunition feeding device. Such term
               does not include an antique firearm.
                       *        *       *        *        *        *
                 (30) The term "semiautomatic assault weapon'; means-
                      (A) any of the firearms, or copies or duplicates of the fire­
                   arms, known as-
                          (i) Norinco, Mitchell, and Poly Technologies Avtomat
                        Kalashnikovs (all models);
                          (ii) Action Arms Israeli Military Industries UZI and
                        Galil;
                          (iii) Beretta Ar70 (SC-70);
                          (iv) Colt AR,-15;
                          (v) Fabrique National FN I FAL, FN I LAR, and FNC;
                          (vi) SWD M-1 0, M-11, M-11 I 9, and M-12;
                          (vii) Steyr AUG;
                          (viii) INTRATEC TEC-9, TEC-DC9 and TEC-22; and
                          (ix) revolving cylinder shotguns, such as (or similar to)
                        the Street Sweeper and Striker 12;
                      (BJ a semiautomatic rifl,e that has an ability to accept a de­
                   tachable magazine a nd has at least 2 of-
                          (i) a folding or telescoping stock;
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                           (ii) a pistol grip that protrudes conspicuously beneath the
                        action of the weapon;
                           (iii) a bayonet mount;
                           (iv) a f1,ash suppressor or threaded barrel designed to ac­
                        commodate a f1,ash suppressor; and
                           (v) a grenade launcher;
                      (CJ a semiautomatic pistol !hat has an ability to accept a de­
                   tachable magazine and has at least 2 of-
                           (i) an ammunition magazine that attaches to the pistol
                        outside of the pistol grip;
                           (ii) a threaded barrel capable of accepting a barrel ex­
                        tender, f1,ash suppressor, forward handgrip, or silencer;
                           (iii) a shroud that is attached to, or partially or com­
                        pletely encircles, the barrel and that permits the shooter to
                        hold the firearm with the nontrigger hand without being
                         burned;
                           (iv) a manufactured weight of 50 ounces or more when
                         the pistol is unloaded; and
                           (v) a semiautomatic version of an automatic firearm; and
                      (DJ a semiautomatic shotgun that has at least 2 of-
                           (i) a folding or telescoping stock;
                           (ii) a pistol grip that protrudes conspicuously beneath the
                        action of the weapon;
                           (iii) a fixed magazine capacity in excess of 5 rounds; and
                           (iv) an ability to accept a detachable magazine.
                (31) The term "large capacity ammunition feeding device"-
                      (A) means-
                           (i) a magazine, belt, drum, feed strip, or similar device
                         that has a capacity of, or that can be readily restored or
                         converted to accept, more than 10 rounds of ammunition;
                         and
                           (ii) any combination of parts from which a device de­
                         scribed in clause (i) can be assembled; but
                      (BJ does not include an attached tubular device designed to
                   accept, and capable of opera.ting only with, .22 caliber rimfire
                   ammunition.
              § 922. Unlawful acts
                 (a) It shall be unlawful-
                     *         *        *        *        *        *
                (v)(l) It shall be unlawful for a person to manufacture, transfer,
              or possess a semiautomatic assault weapon.
                (2) Paragraph (1) shall not apply to the possession or transfer of
              any semiautomatic assault weapon otherwise lawfully possessed on
              the date of the enactment of this subsection.
                (3) Paragraph (1) shall not apply to--
                     (A) any of the firearms, or replicas or duplicates of the fire­
                  arms, specified in Appendix A to this section, as such firearms
                   were manufactured on October 1, 1993;
                     (BJ any firearm that-
                          (i) is manually operated by bolt, pump, lever, or slide ac­
                       tion;
                          (ii) has been rendered permanently inoperable; or
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                              (iii) is an antique firearm;
                         (C) any semiautomatic rifl,e that cannot accept a detachable
                     magazine that holds more than 5 rounds of ammunition; or
                         (D) any semiautomatic shotgun that cannot hold more than
                     5 rounds of ammunition in a fixed or detachable magazine.
                The fact that a firearm is not listed in Appendix A shall not be con­
                strued to mean that paragraph (1) applies to such firearm. No fire­
                arm exempted by this subsection may be deleted from Appendix A
                so long as this Act is in effect.
                   (4) Paragraph (1) shall not apply to---
                         (A) the United States or a department or agency of the United
                     States or a State or a department, agency, or political subdivi­
                     sion of a State;
                         (B) the transfer of a semiautomatic assault weapon by a li­
                     censed manufacturer, licensed importer, or licensed dealer to an
                     entity referred to in subparagraph (A) or to a law enforcement
                     officer authorized by such an entity to purchase firearms for of­
                     ficial use;
                         (C) the possession, by an individual who is retired from serv­
                      ice with a law enforcement agency and is not otherwise prohib­
                      ited from receiving a firearm, of a semiautomatic assault weap­
                      on transferred to the individual by the agency upon such retire­
                      ment; or
                         (D) the manufacture, transfer, or possession of a semiauto­
                      matic assault weapon by a licensed manufacturer or licensed
                      importer for the purposes of testing or experimentation author­
                      ized by the Secretary.
                   (w)(J) It shall be unlawful for a person to sell, ship, or deliver a
                semiautomatic assault weapon to a person who has not completed
                a form 4473 in connection with the transfer of the semiautomatic
                assault weapon.
                   (2) It shall be unlawful for a person to receive a semiau tomatic
                assault weapon unless the person has completed a form 4473 in con­
                nection with the transfer of the semiautomatic assault weapon.
                   (3) If a person receives a semiautomatic assault weapon from n ·,y­
                one other than a licensed dealer, both the person and the tran.'ifr. ror
                shall retain a copy of the form 4473 complet.ed in conneciion u •ith
                the transfer.
                   (4) Within 90 days after the date of the enactment of this sub­
                section, the Secretary shall prescribe regulations ensuring the au,1il ·
                ability of form 4473 to owners of semiautomatic assault weapons.
                   (5) As used in this subsection, the term "form 44 73" means-
                          (A) the form which, as of the date of the enactment of this
                      subsection, is designated by the Secretary as form 4473; or
                          (B) any other form which-
                               (i) is required by the Secretary, in lieu of the form de­
                            scribed in subparagraph (A), to be completed in connection
                            with the transfer of a semiautomatic assault weapon; and
                               (ii) when completed, contains, at a minimum, the infor­
                            mation that, as of the date of the enactment of this sub­
                            section, is required to be provided on the form described in
                            subparagraph (A).
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                (x)(l) Except as provided in paragraph (2J, it shall be unlawful
              for a person to transfer or possess a large capacity ammunition feed­
              ing device.
                (2J Paragraph (1) shall not apply to the possession or transfer of
              any large capacity ammunition feeding device otherwise lawfully
              possessed on the date of the enactment of this subsection.
                 (3J This subsection shall not apply t<r-
                   . (AJ the United States or a department or agency of the United
                    States or a State or a department, agency, or political subdivi­
                    sion of a State;
                       (BJ the transfer of a large capacity ammunition feeding device
                    by a licensed manufacturer, licensed importer, or licensed deal ­
                    er to an entity referred to i n subparagraph (AJ o r to a law en­
                    forcement officer authorized by such an en tity to purchase large
                    capacity ammunition feeding devices for of'fi,cial use;
                       (CJ the possession, by an individual who is rctir:.!d from serv­
                    ice with a law enforcement agency and is rw( otherwise prohib­
                    ited from receiving ammunition, of a large cupacity am muni­
                    tion feeding device transferred to the individual by the agency
                    upon such retirement; or
                       (DJ the manufacture, transfer, or possessi:orz of any large ca­
                    pacity ammunition feeding device by a licensed mcmu/'acturer or
                    licensed importer for the purposes of testing or experimentation
                    authorized by the Secretary.
                                                APPENDIX A
                                       Center/ire Riflea-Autoloaders
              Browning BAR Mark II Safari Semi-Auto Rifl-e
              Browning BAR Mark II Safari Magnum Rifl-e
              Browning High-Power Rifl-e
              Heckler & Koch Model 300 Rifi,e
              Iver Johnson M-1 Carbine
              Iver Johnson 50th Anniversarv M- 1 Carbine
              Marlin Model 9 Camp Carbine
              Marlin Model 45 Carbine
              Remington Nylon 66 Auto-Loading Rifl-e
              Remir.gton Model 7400 Auto Rifl-e
              Remington Model 7400 Rifl-e
              Remington Model 7400 Special Purpose Auto Rifl-e
              Ruger Mini-14 Autoloading Rifle (w /o folding stock)
              Ruger Mini Thirty Rifle
                                      Centerfire Rifles-Lever & Slide
               Browning Model Bl BLR Leuer-Action Rifle
               Browning Model Bl Long Action BI.R
               Browning Model 1886 Lever-Action Carbine
               Browning Model 1886 High Grade Carbine
               Cimarron 1860 Henry Replica
               Cimarron 1866 Winchester Replicas
               Cimarron 1873 Short Rifle
               Cimarron 1873 Sporting Rifle
               Cimarron 1873 30" Express Rifle
               Dixie Engraved 1873 Rifle
               E.M.F. 1866 Yellowboy Lever Actions
               E.M.F. 1860 Henry Rifle
               E.M.F. Model 73 Lever-Action Rifle
               Marlin Model 336CS Lever-Action Carbine
               Marlin Model 30AS Lever-Action Carbine
               Marlin Model 444SS Lever-Action Sporter
               Marlin Model 1894S Lever-Action Carbine
               Marlin Model 1894CS Carbine
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                                                         30
               Marlin Model 1894CL Classic
               Marlin Model 1895SS Lever-Action Rifle
               Mitchell 1858 Henry Replica
               Mitchell 1866 Winchester Replica
               Mitchell 1873 Winchester Replica
               Navy Arms Military Henry Rifle
               Navy Arms Henry Trapper
               Navy Arms Iron Frame Henry
               Navy Arms Henry Carbine
               Navy Arms 1866 Yellowboy Rifle
               Navy Arms 1573 Winchester-Style Rifle
               Navy Arms 1873 Sporting Rifle
               Remington 7600 Slide Action
               Remington Model 7600 Special Purpose Slide Action
               Rossi M92 SRC Saddle-Ring Carbine
               Rossi M92 SRS Short Carbine
               Savage 99C Lei•er-Action Rifle
               Uberti Henry Rifle
               Uberti 1866 Sporting Rifle
               Uberti 1873 Sporting Rifle
               Winchester Model 94 Side Eject Lever-Action Rifle
               Winchester Model 94 Trapper Side Eject
               Winchester Model 94 Big Bore Side Eject
               Winchester Model 94 Ranger Suk Eject Lever-Action Rifle
               Winchester Model 94 Wrangler Side Eject
                                              Center/ire Rifl,ea-Bolt Action
               Alpine Bolt-Action Rifle
               A-Square Caesar Bolt-Action Rifle
               A-Square Han11ibal Bolt-Action Rifle
               Anschutz 1 700D Classic Rifles
               Anschutz 1 700D Custom Rifles
               Anschutz 1 700D Bavarian Bolt-.,\ction Rifle
               Anschutz 1 733D Ma11nlicher Rifle
               Barret Model 90 Bolt-Action Rifle
               Bceman /HW 60,T Bolt-Action Rifle
               Blaser R84 Bolt-Action Rifle
               BRNO 537 Sporter Bolt-Action Rifle
               BRNO ZKB 527 Fox Dolt-Action Rifle
               BRNO ZKK 600. 601, 602 Bolt-Action Rifles
               Browning A-Bolt Rifle
               Browning A-Boit Stainless Stalker
               Browning A -Bolt Left Hund
               Browning A-Bolt Short Action
               Browning Euro-Bolt Rifle
               Browning A-Bolt Gold Medallion
               Browning A-Bolt Micro Medallion
               Ceritwy Centurion 14 Sporter
               Century Enfield Sporter #4
               C,·11tury S1redish. Sporter #38
               Century M,wser 98 Sporter
               Cooper Model :18 Centerfire Sporter
               Dakota 22 Sporter Bolt-Action Rifle
               Dakota 76 C/assi,: Bolt-Actior1 Rifle
               Dakota 76 Short Action Rifles
               Uakoto ;'6 Sa{nri Bolt-Action Ri,11<'
               DakC1ta -1 / t:i Rigby A(riccn
               £.A.A. _1 Sahatti Rn.r,cr 870 Bolt-Artion Rifle
               :\ 11g uste Fmnco!le Bo/I-Action Rifles
               Carl Gustn/ 20()0 Boit-Actwn Rifle
               Heym Magnr,m Exprl'.'S Series Ri,'1':
               lfou•a l.ightninp, Bnlt- !l.ctll;r, Ri/1e
               Ho,,·a Rn1!trec Cnmo Rifle
               [11l,·rnrms Mark X Viscuunt Bolt-Ar/ion Rifie
               /nterarms Mini-Murk X Rt{!,•
               lntt>rcirms Mark X \Vhi/1,·orth Rolt-Artiun !l1/I<'
               lntcrnn•;s Wliillrortli ExprPs:;: R1jlr
               /;•er Johnson Mod,,[ 5 IOOA I /.,vng-Han[?1' H1fle
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             KDF K15 American Bolt-Aetion Rifle
             Krico Model 600 Bolt-Action Rifle
             Krico Model 700 Bolt-Aetion Rifles
             Mauser Model 66 Bolt-Aetion Rifle
             Mauser Model 99 Bolt-Aetion Rifle
             McMillan Signature Classic Sporter
             McMillan Signature Super Varminter
             McMillan Signature Alaskan
             McMillan Signature Titanium Mountain Rifle
             McMillan Classic Stainless Sporter
             McMillan Talon Safari Rifle
             McMillan Talon Sporter Rifle
             Midland 1500S Survivor Rifle
             Navy Arms TU-33 I 40 Carbine
             Parker-Hale Model Bl Classic Rifle
             Parker-Hale Model Bl Classic lifrican Rifle
             Parker-Hale Model 1000 Rifle
             Parker-Hale Model 1100M African Magnum
             Parker-Hale Model 1100 Lightweight Rifle
             Parker-Hale Model 1200 Super Rifle
             Parker-Hale Model 1200 Super Clip Rifle
             Parker-Hale Model 1300C Scout Rifle
             Parker-Hale Model 2100 Midland Rifle
             Parker-Hale Model 2700 Lightweight Rifle
             Parker-Hale Model 2800 Midland Rifle
             Remington Model Seven Bolt-Action Rifle
             Remington Model Seven Youth Rifle
             Remington Model Seven Custom KS
             Remington Model Seven Custom MS Rifle
             Remington 700 ADL Bolt-Action Rifle
             Remington 700 BDL Bolt-Action Ri�
             Remington 700 BDL Varmint Special
             Remington 700 BDL European Bolt-Action Rifle
             Remington 700 Vannint Synthetic Rifle
             Remington 700 BDL SS Rifle
             Remington 700 Stainless Synthetic Rifle
             Remington 700 MTRSS Rifle
             Remington 700 BDL Left Band
             Remington 700 Camo Synthetic Rifle
             Remington 700 Safari
             Remington 700 Mountain Rifle
             Remington 700 Custom KS Mountain Rifle
             Remington 700 Classic Rifle
             Ruger M77 Mark 11 Rifle
             Ruger M77 Mark 11 Magnum Rifle
             Ruger M77RL Ultra Light
             Ruger M77 Mark 11 Alf-Weather Stainless Rifle
             Ruger M77 RS1 1nternational Carbine
             Ruger M77 Mark 11 Express Rifle
             Ruger M77VT Target Rifle
             Sako Hunter Rifle
             Sako Fiberclass Sporter
             Sako Safari Grade Bolt Action
             Sako Hunter Left-Hand Rifle
             Sako Classic Bolt Aetion
             Sako Hunter LS Rifle
             Sako Deluu Lightweight
             Sako Super Deluu Sporter
             Sako Mannlicher-Style Carbine
             Sako Vannint Heavy Barrel
             Sako TRG-S Bolt-Action Rifle
             Sauer 90 Bolt-Action Rifle
             SaU<J/le 1 10G Bolt-Action Rifle
             SaU<J/le 1 1 0CY Youth I Ladies Rifle
             SaOO/le 1 10WLE One of One Thousand Limited Edition Rifle
             Sauage 1 10GXP3 Bolt-Aetion Rifle
             Sauage l l0F Bolt-Aetion Rifle
             SaU<J/le 1 10FXP3 Bolt-Aetion Rifle
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                Savage 1 lOGV Varmint Ri/1,e
                Savage I 12FV Varmint Ri/1,e
                Savage Model 1 12FVS Varmint Ri/1,e
                Savage Model 112BV Heat-y Barrel Varmint Ri/1,e
                Savage 116FSS Bolt-Action Ri/1,e
                Savage Model 116FSK Kodiak Ri/1,e
                Savage 110FP Police Ri/1,e
                Steyr-Mannlicher Sporter Models SL, L, M, S. S I T
                Steyr-Mannlicher Lw:us Model L, M, S
                Sreyr-Mannlicher Model M Profes.•ional Ri/1,e
                'i'ikka Bolt-Action Ri/1,e
                Tikka Premium Grade Rifies
                Tikka Varmint I Continental Ri/1,e
                Tikka Whitetail I Battue Ri/1,e
                Ultra Light Arms Model 20 Rifle
                Ultra Light Arms Model 28, Model 40 Ri/1,es
                Voere VEC 91 Lightning Bolt-Action Ri/1,e
                Vcere Model 2165 Bali-Action Rifie
                Voere Model 2155, 2150 Bolt-Action Rifies
                Weatherb_v Mark V Deluxe Bolt-Action Rifle
                Weatherby Laserrnark V Rifle
                Weatherby Mark V Crown Custom Ri/1,es
                Weatherby ,",lark V Sporter Rifle
                Weatherby Mark V Safari Grade Custom Rifies
                Weatherby Weathermark Rifle
                Weatherby Weathermark Alaskan Rifle
                Weatherby Classicmark No. 1 Rifle
                Weatherby Weatherguard Alaskan Rifle
                Weatherby Vanguard VGX Deluxe Rifle
                Weatherby Vanguard Classic Rifie
                Weatherby Vanguard Classic No. 1 Ri/1,e
                Weatherby Vanguard Weatherguard Rifie
                Wichita Classic Rifle
                Wichita Varmint Rifie
                 Winchester Model 70 Sporter
                Winchester Model 70 Sporter WinTuff
                Winchester Model 70 SM Sporter
                Winchester Model 70 Stainless Rifie
                WinchP.ster Model 70 Varmint
                 Winchester Model 70 Sy11thetic Heavy Varmint Rifle
                Winchester Model 70 DBM Rifle
                Winchester Model 70 DBM-S Rifle
                 Winchester Model 70 Featherweight
                 Winchester Model 70 Featherweight WinTuff
                Winchester Model 70 Featherweight Classic
                Winchester Model 70 Lightweight Rifie
                 Winchester Ranger Rifie
                 Winchester Model 70 Super Express Magnum
                 Winchester Model 70 Super Grade
                 Winchester Model 70 Custom Sharpshooter
                 Winchester Model 70 Custom Sporting Sharpshooter Rifie
                                           Centerfire Rifles-Single Shot
                Armsport 1866 Sharps Rifie, Carbine
                Brown Model One Single Shot Rifle
                 Bro:vning Model 1885 Single Shot Rifie
                Dakota Single Shot Ri/1,e
                Desert Industries G-90 Single Shot Rifle
                Harrington & Richardson Ultra Varmint Rifie
                Model 1885 High Wall Rifle
                Navy Arms Rolling Block Buffalo Rifle
                Naty Arms #2 Creedmoor Rifle
                Navy Arms Sharps Cavalry Carbine
                Navy Arms Sharps Plain.� Rifle
                 New England Firearms Handi-Rifle
                Red Willow Armory Ballard No. 5 Pacific
                 Red Willow Armory Ballard No. 1.5 Hunting Rifie
                Red Willow Armory Ballard No. 8 Union Hill Rifle
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              R.ed Willow Armory Ballard No. 4.5 Target Rifle
              &mington-Style Rollinl/ Block Carbine
              Ruger No. IB Sinl/le Shot
              Ruger No. IA Light Sporter
              Ruger No. IH Tropical Rifle
              Ruger No. IS Medium Sporter
              Ruger No. 1 RSI International
              Ruger No. IV Special Varminter
              C. Sharps Arms New Model 1874 Old Reliable
              C. Sharps Arms New Model 1876 Rifle
              C. Sharps Arms 1875 Classic Shan,s
              C. Sharps Arms New Model 1875 Target & Long Range
              Shiloh Sharps 1874 Long Ranae &,,ress
              Shiloh Sharps 1874 Montana "Ilougkrider
              Shiloh Sharps 1874 Military Carbine
              Shiloh Sharps 1874 Business Rifle
              Shiloh Sharps 1874 Military Rifle
              Sharps 1874 Old Reliable
              Thompson I Center Contender Carbine
              Thompson I Center Stainless Contencur Carbine
              Thompson I Center Contender Carbine Survival System
              Thompson/Center Contender Carbine You.th Model
              Tho"'l.'son/Center TCR '87 Single Shot Rifle
              Ubert, Rolling Block Baby Carbine
                                 DrUUn,-, Combination Gu-, Double IUfle•
              &retta E,cpress SSO O I U Double Rifles
              &retta Model 455 &cS &,,ress Rifle
              Chapu.is RG&press Double Rifle
              Auguste Fraru:otte Sidelock Double Rifles
              Auguste Francotte &»clock Double Rifle
              He:,m Model 55B O I U Double Rifle
              Heym Model SSFW O I U Combo Gun
              He:,m Model 88b Side-by-Side Double Rifle
              Kodiak Mk. IV Double Rifle
              Kreigho eck O I U Combination Gun
              Kreiaho[E  Trump{ Drill"
              Meriel      r/Under Co':!f,ination Guns
              Merkel Drillings
              Merkel Model 160 Side-by-Side Double Rifles
              Merkel OuerI Under Double Rifles
              SalKIIJe 24F O I U Combination Gun
              SalKIIJe 24F-12T Turkey Gun
              �ringfield Inc. M6 Scout Rifle/Shotgun
              Tikka Model 412s Combination Gun
              Tikka Model 412S Double Fire
              A Zoli Rifle-Shotgun O I U Combo
                                          Rim/ire Rifle�loaders
              AMT Liahtning 25/22 Rifle
              AMT Lil/htning Small-Game Hunting Rifle II
              AMT Magnum Hunter Au.to Rifle
              Anschutz 525 Delu.u Au.to
              Armscor Model 20P Au.to Rifle
              Browning Au.to-22 Rifle
              Browning Au.to-22 Grade VI
              Krico Model 260 Au.to Rifle
              Lakefield Arms Model 64B Au.to Rifle
              Marlin Model 60 Self-Loadi,W Rifle
              Marlin Model 60ss Self-Loading Ilifle
              Marlin Model 70 HC Auto
              Marlin Model 9901 Self-Loading Rifle
              Marlin Model 70P Papoose
              Marlin Model 922 M, nu.m Self-Loading Rifle
              Marlin Model 995 Sel i-Loading Rifle
              Norinco Model 22 A Rifle
              Remington Model 522 Viper Au.toloading Rifle
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                                                      34
               Remington 552BDL Speedmaster Rifle
               Ruger 10/22 Autoloading Carbine (w /o folding stock)
               Survival Arms AR-7 Explorer Rifle
               Tems Remington Reuolvi"( Carbine
               Voere Model 2115 Auto Rifle
                                   Rimfire Riflea-lAr,er & Slide Action
               Browning 8�22 Lever-Action Rifle
               Marlin 39TDS Carbine
               Marlin Model 39AS Golckn Lever-Action Rifle
               Remington 572BDL Fieldmaster Pump Rifle
               Norinco EM-321 Pump Rifle
               Rossi Model 62 SA Pump Rifle
               Rossi Model 62 SAC Carbine
               Winchester Model 9422 Lever-Action Rifle
               Winchester Model 9422 Magnum Lever-Action Rifle
                                Rim/ire Rifle-8oll Actions & Si1111le Shot•
               Anschutz Achiever Bolt-Action Rifle
               Anschutz 1416D/ 1516D Classic Rifles
               Anschutz 1418D/ 1518D Mannlicher Rifles
               Anschutz 1 700D Classic Rifles
               Anschutz 1 700D Custom Rifles
               Anschutz 1 700 FWT Bolt-Action Rifle
               Anschutz 1 700D Graphite Custom Rifle
               Anschutz 1 700D Bavarian Boll-Action Rifle
               Armscor Model 14P Bolt-Action Rifle
               Armscor Model 1500 Rifle
               BRNO ZKM-452 Deluxe Bolt-Action Rifle
               BRNO ZKM 452 Deluxe
               Bttman/HW 60-J-ST Bolt-Action Rifle
               Browning A-Bolt 22 Bolt-Action Rifle
               Browning A-Bolt Gold Medallion
               Cabanas Phaser Rifle
               Cabanas Master Bolt-Action Rifle
               Cabanas Espronceda IV Bolt-Action Rifle
               Cabanas Leyre Bolt-Action Rifle
               Chipmunk Single Shot Rifle
               Cooper Arms Model 36S Sporter Rifle
               Dakota 22 Sporter Bolt-Action Rifle
               Krico Model 300 Bolt-Action R ifles
               Lakefield Arms Mark II Bolt-Action R ·
                                                   i
               Lakefield Arms Mark I Bolt-Acti.on Ri
               Magtech Model MT-22C Bolt-Acti.on ifle
               Marlin Model 880 Bolt-Action Rifle
               Marlin Model 881 Bolt-Action Rifle
               Marlin Model 882 Bolt-Action Rifle
               Marlin Model 883 Bolt-Action Rifle
               Marlin Model 883SS Bolt-Action Rifle
               Marlin Model 25MN Bolt-Action Rifle
               Marlin Model 25N Bolt-Action Repeater
               Marlin Model 15YN "Little Buckaroo"
               Mauser Model 107 Bolt-Action Rifle
               Mauser Model 201 Bolt-Action Rifle
               Navy Arms TU-KKW Training Rifle
               Navy Arms TU-33/40 Carbine
               Navy Arms TU-KKW Sniper Trainer
               Norinco JW-27 Bolt-Action Rifle
               Norinco JW-15 Bolt-Action Rifle
               Remington 541-T
               Remington 40-XR Rim/ire Custom Sporter
               Remington 541-T HB Bolt-Action Rifle
               Remington 581-S Sportsman Rifle
               Ruger 77 /22 Rimfire Bolt-Action Rifle
               Ruger K77 /22 Varmint Rifle
               Ultra Light Arms Model 20 RF Bolt-Action Rifle
               Winchester Model 52B Sporting Rifle
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                                                   35
                                  Competiffon Rifle•-Centerfire & Rim/ire
              Anschutz 64-MS Left Silhouette
              Anschutz 1808D RT Super Match 54 Target
              Anschutz 1827B Biathlon Rifle
              Anschutz 1903D Match Ri/1,e
              Anschutz 1803D Intermediate Match
              Anschutz 1911 Match Rifle
              Anschutz 54. lBMS REP Deluxe Silhouette Rifle
              Anschutz 1913 Super Match Rifle
              Anschutz 1907 Match Rifle
              Anschutz 1910 Super Match II
              Anschutz 54. lBMS Silhouette Rifle
              Anschutz Super Match 54 Target Model 2013
              Anschutz Super Match 54 Target Model 2007
              Beeman I Feinwerkbau 2600 Target Rifle
              Cooper Arms Model TRP-1 /SU Standard Rifle
              E.A.A I Weihrauch HW 60 Target Ri/1,e
              E.AA I HW 660 Match Rifle
              Finnish Lion Standard Target RifT,e
              Krico Model 360 S2 Biathlon Ri/1,e
              Krico Model 400 Match Rifle
              Krico Model 360S Biathlon Rifle
              Krico Model 500 Kricotronic Match Rifle
              Krico Model 600 Sniper Ri/1,e
              Krico Model 600 Match Rifle
              Lakefield Arms Model 90B Target Rifle
              Lakefield Arms Model 91T Target Ri/1,e
              Lakefield Arms Model 92S Silhouette Ri/1,e
              Marlin Model 2000 Target Rifle
              Mauser Model 86-SR Specialty Rifle
              McMillan M�6 Sniper RifT,e
              McMillan Combo M�7 / M-88 50-Caliber Ri/1,e
              McMillan 300 Phoenix Long Range Rifle
              McMillan M� Sniper Rifle
              McMillan National Match Ri/1,e
              McMillan Long Range Rifle
              Parker-Hale M�7 Target Ri/1,e
              Parker-Hale M� Sniper Rifle
              Remington 4�XB Rangemaster Target Centerfire
              Remington 4�XR KS Rimfire Position Ri/1,e
              Remington 4�XBBR KS
              Remington 4�XC KS National Match Course Rifle
              Sako TRG-21 Bolt-Action Rifle
              Steyr-Mannlicher Match SPG-UIT Ri/1,e
              Steyr-Mannlicher SSG P-1 Rifle
              Steyr-Mannlicher SSG P-lll Rifle
              Steyr-Mannlicher SSG P-N Rifle
               Tanner Standard UIT Ri/1,e
              Tanner 50 Meter Free Rifle
              Tanner 300 Meter Free llifle
              Wichita Silhouette Rifle
                                            Slwtgu--.Autoloaden
              American Arms I Franchi Black Magic 48 /AL
              Benelli Super Black Eagle Shotgun
              Benelli Super Black Eagle Slug Gun
              Benelli Ml Su�r 90 Field Auto Shotgun
              Benelli Monte(eltro Super 90 20-Gauge Shotgun
              Benelli Montefeltro Super 90 Shotgun
              Benelli Ml Sporting Special Auto Shotgun
              Benelli Black Eagle Competition Auto Shotgun
              Beretta A-303 Auto Shotgun
              Beretta 390 Field Auto Shotgun
              Beretta 390 Super Trap, Super Skeet Shotguns
              Beretta Vittoria Auto Shotgun
              Beretta Modl!l 1201F Auto Shotgun
              Browning BSA 10 Auto Shotgun
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                                                    36
                Browning Bsa 10 Stalker Auto Shotgun
                Browning A-500R Auto Shotgun
                Browning A-5000 Auto Shotgun
                Browning A-5000 Sporting Clays
                Browning Auto-5 Light 12 and 20
                Browning Auto-5 Stalker
                Browning Auto-5 Magnum 20
                Browning Auto-5 Magnum 12
                Churchill Turkey Automatic Shotgun
                Cosmi Automatic Shotgun
                Maverick Model 60 Auto Shotgun
                Mossberg Model 5500 Shotgun
                Mossberg Model 9200 Reaal Semi-Auto Shotgun
                Mossberg Model 9200 USST Auto Shotgun
                Mossberg Model 9200 Camo Shotgun
                Mossberg Model 6000 Auto Shotgun
                Remington Model 1100 Shotgun
                Remington 11-87 Premier Shotgun
                Remington 11-87 Sporting Clays
                Remington 11-87 Premier Skeet
                Remington 11-87 Premier Trap
                Remington 11-87 Special Purpose Magnum
                Remington 11-87 SPS-T Camo Auto Shotgun
                Remington 11-87 Special Purpose Deer Gun
                Remington 11-87 SPS-BG-Camo Deer/Turkey Shotgun
                Remington 11-87 SPS-Deer Shotgun
                Remington 11-87 Special Purpose Synthetic Camo
                Remington SP-10 Magnum-Como Auto Shotgun
                Remington SP-10 Magnum Auto Shotgun
                Remington SP-10 Magnum Turkey Combo
                Remington 1100 LT-20 Auto
                Remington 1100 Special Field
                Remington 1100 20-Gauge Deer Gun
                Remington 1100 LT-20 Tournament Skeet
                Winchester Model 1400 Semi-Auto Shotgun
                                             Shotguna-Slide Actiona
                Browning Model 42 Pump Shotgun
                Browning BPS Pump Shotgun
                Browning BPS Stalker Pump Shotgun
                Browning BPS Pigeon Grade Pump Shotgun
                Browning BPS Pump Shotgun (Ladies and Youth Model)
                Browning BPS Game Gun Turkey Special
                Browning BPS Game Gun Deer Special
                Ithaca Model 87 Supreme Pump Shotgun
                Ithaca Model 87 Deerslayer Shotgun
                Ithaca Deerslayer II Rifled Shotgun
                Ithaca Model 87 Turkey Gun
                Ithaca Model 87 Deluxe Pump Shotgun
                Magtech Model 586-VR Pump Shotgun
                Maverick Models 88, 91 Pump Shotguns
                Mossberg Model 500 Sporting Pump
                Mossberg Model 500 Camo Pump
                Mossberg Model 500 Muzzleloader Combo
                Mossberg Model 500 Trophy Slugster
                Mossberg Turkey Model 500 Pump
                Mossberg Model 500 Bantam Pump
                Mossberg Field Grade Model 835 Pump Shotgun
                Mossberg Model 835 Regal Ulti-Mag Pump
                Remington 870 Wingmaster
                Remington 870 Special Purpose Deer Gun
                Remington 870 SPS-BG-Camo Deer/ Turkey Shotgun
                Remington 870 SPS-Deer Shotgun
                Remington 870 Marine Magnum
                Remington 870 TC Trap
                Remington 870 Special Purpose Synthetic Camo
                Remington 870 Wingmaster Small Gauges
                Remington 870 Express Rifle Sighted Deer Gun
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                                                  37
               Remington 879 SPS Special Purpose Magnum
               Remington 870 SPS-T Camo Pump Shotgun
               Remington 870 Special Fi�ld
               Remington 870 Express Turkey
               Remington 870 High Grades
               Remington 870 Express
               Remington Model 870 Express Youth Gun
               Winchester Model 12 Pump Shotgun
               Winchester Model 42 High Grade Shotgun
               Winchester Model 1300 Walnut Pump
               Winchester Model 1300 Slug Hunter Deer Gun .
               Winchester Model 1300 Ranger Pump Gun Combo & Deer Gun
               Winchester Model 1300 Turkey Gun
               Winchester Model 1300 Ranger Pump Gun
                                            Shotgun--Over/Unders
               American Arms I Franchi Falconet 2000 0 I U
               American Arms Siluer I O I U
               American Arms Silver 11 Shotgun
               American Arms Silver Skeet O I U
               American Arms I Franchi Sporting 2000 0 I U
               American Arms Silver Sporting O I U
               American Arms Silver Trap O I U
               American Arms WS /OU 12, TS /OU 12 Shotguns
               American Arms WTI OU 10 Shotgun
               Armsport 2700 0 I U Goose Gun
               Armsport 2700 Series O / U
               Armsport 2900 Tri-Barrel Shotgun
               Baby Bretton Over I Under Shotgun
               Beretta Model 686 Ultralight O I U
               Beretta ASE 90 Competition O I U Shotgun
               Beretta Over I Under Field Shotguns
               Beretta Onyx Hunter Sport O I U Shotgun
               Beretta Model SOS, SO6, SO9 Shotguns
               Beretta Sporting Clay Shotguns
               Beretta 687EL Sporting O/U
               Beretta 682 Super Sporting O I U
               Beretta Series 682 Competition OverI U11ders
               Browning Citori O I U Shotqun
               Browning Superlight Citon Over/ Under
               Browning Lightning Sporting Clays
               Browning Micro Citori Lightning
               Browning Citori Plus Trap Combo
               Browning Citori Plus Trap Gun
               Browning Citori O I U Skeet Models
               Browning Citori O I U Trap Models
               Browning Special $JX)rting Clays
               Browning Citori GTI Sporting Clays
               Browning 325 Siurting Clays
               Centurion Ouer Under Shotgun
               Chapuis Over I Under Shotgun
               Connecticut Valley Classics Classic Sporter O I U
               Connecticut Valley Classics Classic Field Waterfowler
               Charles Daly Field Grade O I U
               Charles Daly Lux Over I Under
               EA.A I Sabatti Sporting Clays Pro-Gold O / U
               EAA/ Sabatti Falcon-Mon Ouer I Under
               Kassnar Grade I O I U Shotgun
               Krieghoff K-80 Sporting Clays O I U
               Krieghoff K-80 Skeet Shotgun
               Krieghoff K-80 International Skeet
               KrieghoffK-80 Four-Barrel Skeet Set
               Krieghoff K-80I RT Shotguns
               KrieghoffK-80 0 I U Trap Shotgun
               Laurona Silhouette 300 $porting Clays
               Laurona Silhouette 300 Trap
               Laurona Super Model Ouer I Unders
               IJutic LM--6 Deluxe O I U Shotgun
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                                                      38
                Marocchi Conquista Over I Under Shotgun
                Marocchi Avanza O I U Shotgun
                Merkel Model 200E O I U Shotgun
                Merkel Model 200E Skeet, Trap Over I Unders
                Merkel Model 203E, 303E Over I Under Shotguns
                Perazzi Mirage Special �rting O I U
                Perazzi Mirage Special Four-Gauge Skeet
                Perazzi Sporting Classic O I U
                Perazzi MX7 Over/ Under Shotguns
                Perazzi Mirage Special Skeet Over/ Under
                Perazzi MXB I MXB Special Trap, Skeet
                Perazzi MXB/20 Over/ Under Shotgun
                Perazzi MX9 Single Over I Under Shotguns
                Perazzi MX12 Hunting Over/ Under
                Perazzi MX28, MX410 Game 0 / U Shotguns
                Perazzi MX20 Hunting Over/ Under
                Piotti Boss Over I Under Shotgun
                Remington Peerless OtJer I Under Shotgun
                Ruger Red Label O I U Shotgun
                Ruger Sporting Clays O I U Shotgun
                San Marco 12-Ga. Wildflower Shotgun
                San Marco Field Special O I U Shotgun
                San Marco 10-Ga. 0 I U Shotgun
                SKB Model 505 Deluxe Over I Under Shotgun
                SKB Model 685 Over I Under Shotgun
                SKB Model 885 Over I Under Trap, Skeet, Sporting Clays
                Stoeger/IGA Condor I O / U Shotgun
                Stoeger I IGA ERA 2000 Over I Under Shotg,m
                Techni-Mec Model 610 Over/ Under
                Tikka Model 412S Field Grade Over/ Under
                Weatherby Athena Grade N O I U Shotguns
                Weatherby Athena Grade V Classic Field O I U
                Weatherby Orion 0/ U Shotguns
                Weatherby II, III Classic Field O I Us
                Weatherby Orion II Classic Sporting Clays O I U
                Weatherby Orion II Sporting Clays O I U
                Winchester Model 1001 O / U Shotgun
                Winchester Model 1001 Sporting Clays O I U
                Pietro Zanoletti Model 2000 Field O I U
                                              Shotguna-Suk by Sides
                American Arms Brittany Shotgun
                American Arms Gentry Double Shotgun
                American Arms Derby Side-by-Side
                American Arms Grulla #2 Double Shotgun
                American Arms WS I SS 10
                American Arms TS I SS 10 Double Shotgun
                American Arms TS I SS 12 Side-by-Side
                Arrieta Sidelock Double Shotguns
                Armsport 1050 Series Double Shotguns
                Arizaga Model 31 Double Shotgun
                AYA Boxlock Shotguns
                AYA Sidelock Double Shotguns
                Beretta Model 452 Sidelock Shotgun
                 Beretta Side-by-Side Field Shotguns
                 Crucelegui Hermanos Model 150 Double
                 Chapuis Side-by-Side Shotgun
                 E.A.A I Sabatti Saba-Mon Double Shotgun
                 Charles Daly Model Dss Double
                 Ferlib Model F VII Double Shotgun
                Auguste Francotte Boxlock Shotgun
                Auguste Francotte Sidelock Shotgun
                 Garbi Model 100 Double
                 Garbi Model 101 Side-by-Side
                 Garbi Model 103A, B Side-by-Side
                 Garbi Model 200 Side-by-Side
                 Bill Hanus Birdgun Doubles
                 Hatfield Uplander Shotgun
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              Merkell Mada 8, 41E Side-by-Side Shotguns
              Merltel Mada 41LSC Spartin/I Clay, Double
              Mer11el Mocul 41S, l41S Side-by-Sida
              Parke Reproductions Side-by-Side
              Piotti Ki"ll No. l Side-by-Side
              Piotti Lunik Side-by-Side
              Piotti Ki"ll Extra Side-by-Side
              Piotti Piuma Side-by-Side
              Precision Sports Mocul 600 Series Doubles
              Riaini llo%lock Side-by-Side
              Riaini Sidelock Side-by-Side
              StoegerI IGA Uplander Side-by-Side Shotgun
              Ugartechea. 10-Ga. MCJBnum Shotgun
                                    Slaotgun.--BoU Actioru & Single Shtm
              Armsport Siflllle Barrel Shotgun
              Browniflll BT�9 Competition Trap Special
              Browni"ll BT�9 Plus Trap Gun
              Browniflll BT�9 Plus Micro
              Browni"ll &coilleBB Trap Shotgun
              Browniflll Micro Recoilless Trap Shotgun
              Desert Industries Big Twenty SMtllun
              Harrington & Richardson Topper Mocul 098


              KrieggKS-6
              Harrington & Richardson Topper Classic Youth Shotgun


                    KS-6
              Harrington & Richardson N. W.T.F. Turlrey MCJB
              Harrington & Richardson Topper Delu.R Mocul 098
                               Trap Gun
              Kriegho          Special
              � Mono     K-80 Suigle Barrel Trap Gun
              l,Jutic       Gun Siflllle Barrel
              I,Jutic LTX. Super Delu.R Mono Gun
              IJutic Recoilless Space Gun Shotgun
              Marlin Mada 55 Gooee Gun Bolt Action
              New Eflllland Firearms Turkey and Gooee Gun
              New Eflllland Firearms N.W. T.F. SMIIIUn
              New Eflllland Firearms Tracker Sl"6 Gun
              New Eflllland Firearma Standard Pardner
              New Eflllland Firearma Suroiual Gun
              Perazzi TMl Special Siflllle Trap
              Remington 90--T Super Siflllle Shotgun
              Snake Charmer II Shotgun
              Stoeger/IGA Reuna Siflllle Barrel Shotgun
              Thompson/Center TCR '81 Hunter Shotgun.
              § 923. Licensing
                (a) • • •
                        •        •         •         •       •         •    •
                (i) Licensed importers and licensed manufacturers shall identify
              by means of a serial number engraved or cast on the receiver or
              frame of the weapon, in such manner as the Secretary shall by reg­
              ulations prescribe, each firearm imported or manufactured by such
              importer or manufacturer. The serial number of any semiautomatic
              assault weapon manufactured after the date of the enactment of this
              sentence shall clearly show the date on which the weapon was man­
              ufactured. A large capacity ammunition feeding deuice manufac­
              tured after the date of the enactment of this sentence shall be identi­
              fied by a serial number that clearly shows that the deuice was man­
              ufactured or imported after the effective date of this subsection, and
              such other identification as the Secretary may by regulation pre­
              scribe.
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                                                   40
               § 924. Penalties
                  (a)( 1) Except as otherwise provided in this subsection, subsection
               (b), (c), or (0 of this section, or in section 929, whoever-
                        (A) knowingly makes any false statement or representation
                     with respect to the information required by this chapter to be
                     kept in the records of a person licensed under this chapter or
                     in applying for any license or exemption or relief from disabil­
                     ity under the provisions of this chapter;
                        (B) knowing_ly violates subsection (a)(4), (a}(6), (f), (k), [or (q)
                     of section 922] (r), (v), or (x) of section 922;
                       *        *         *         *         *         *         *
                 (6) A person who knowingly violates section 922(w) shall be fined
               not more than $1,000, imprisoned not more than 6 months, or both.
               Section 3571 shall not apply to any offense under this paragraph.
                       *        *         *         *         *         *         *
                  (c)( l) Whoever, during and in relation to any crime of violence or
               dru� trafficking crime (including a crime of violence or drug traf­
               ficking crime which provides for an enhanced punishment if com­
               mitted by the use of a d eadly or dangerous weapon or device) for
               which he may be prosecuted in a court of the United States, uses
               or carries a firearm, shall, in addition to the punishment provided
               for such crime of violence or drug trafficking crime, be sentenced
               to imprisonment for five years, and if the firearm is a short­
               barreled rifle, short-barreled shotgun, or semiautomatic assault
               weapon, to imprisonment for ten years, and if the firearm is a ma­
               chinegun, or a destructive device, or is equipped with a firearm si­
               lencer or firearm muffler, to imprisonment for thirty years. In the
               case of his second or subsequent conviction under this subsection,
               such person shall be sentenced to imprisonment for twenty years,
               and if the firearm is a machinegun, or a destructive device, or is
               equipped with a firearm silencer or firearm muffler, to life impris­
               onment without release. Notwithstanding any other provision of
               law, the court shall not place on probation or suspend the sentence
               of any person convicted of a violation of this subsection, nor shall
               the term of imprisonment imposed under this subsection run con­
               currently with any other term of imprisonment including that im­
               posed for the crime of violence or drug trafficking crime in which
               the firearm was used or carried. No person sentenced under this
               subsection shall be eligible for parole during the term of imprison­
               ment imposed herein.
                       *        *         *         *         *         *         *
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                     SUPPLEMENTAL VIEWS OF HON. DAN GLICKMAN
                 I supported this bill because it is a narrowly crafted bill focused
              on specific weapons that have no business being on our streets. It
              is aimed at rapid fire weapons that have the sole purpose of killing
              people, and it is aimed at weapons that are more suited for the bat­
              tlefield than the target range.
                 I believe that violence in our nation is getting out of hand. It is
              devastating to read that a student killed a student with a semi­
              automatic weapon. But it is equally devastating to hear of students
              killing students with anyone. What we really need to focus on is
              why students are engaging in violence in the first place. F�r this
              reason, I think this legislation must be viewed as part of the effort
              to reduce crime--in conjunction with the comprehensive crime bill
              that increases/enalties, calls for tougher sentencing, provides for
              more jails an police officers, and provides for prevention pro­
              grams.
                 But we must not abrogate the Second Amendment rights that
              are provided for in the Constitution. We must be extremely careful
              that in this legislation and in any legislation in the future, that we
              are not taking away guns that truly are used for sports, hunting,
              or self-defense.
                 I don't believe that this bill is the first step in a long road to ban­
              ning guns. However, some of my constituents have expressed their
              fear that the Congress is moving slowly toward banning all guns
              for all people. We must be absolutely clear that this narrowly craft­
              ed legislation is not that first step and is not just a precursor to
              further, broader federal gun control and federal gun bans. Sport
              shooters and hunters tell me that they don't want assault weapons
              on the streets and in the hands of gang members any more than
              anyone else. But what they don't want is for Congress to take the
              short step to saying that the hunting rifles are being used on the
              streets, and should be taken away. And then the handguns are
              being used on the streets and should be taken away.
                 I want to make sure that what we are doing has a purpose--that
              it gets at the weapons that are being used by gang members and
              others in killing sprees or other random violence. I want to be able
              to assure the hunters, sport shooters and folks who want to be pre­
              pared for self-defense that we're not going to turn around and tell
              these gun owners that their sporting guns are illegal. This is a
              good bill, but let's tread very carefully before going any further.
                 Finally, because I want to make sure that there is no mistake
              about which guns are banned and which are exempt, especially
              guns that will be developed in the future, I offered an amendment
              during Committee markup that was accepted by the Committee.
              This amendment clarifies that simply because a gun is not on the
              list of specifically exempted guns, does not mean that that firearm
              is banned. A firearm must meet the specific criteria set out in the
                                                 (41)
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               bill, or be specifically named as a banned gun before it can be
               banned. In other words, the exempted gun list is not exhaustive.
                  Furthermore, my amendment makes clear that no gun may be
               taken off the list of specifically exempted guns as long as the act
               is in effect. In this way, it is absolutely clear that the intent of Con­
               gress is that exempted guns remain exempted.
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               DISSENTING VJ[EWS OF HON. F. JAMES SENSENBRENNER,
                 JR., HON. GEORGE GEKAS, HON. LAMAR S. SMITH, HON.
                  BILL McCOLLUM, HON. HOWARD COBLE, HON. STEVE
                  SCHIFF, AND HON. BOB GOODLA'ITE
                  We strongly oppose H.R. 4296 which would ban a variety of guns.
               The primary problem with this bill is that it targets law abiding
               citizens. If this bill r.asses, simply possessing a shotgun or rifle
               could land you in jai . You don't have to shoot anybody. You don't
               have to threaten anyone, just leaving it in the hall closet is enough
               to land you in jail. Even if you use the gun for self-defense, you
               can go to jail.
                  It is already a federal crime for convicted criminals to possess
               these weapons, or any other gun for that matter. The laws aimed
               at these criminals should be fully enforced before we start going
               into the homes of law-abiding citizens and arresting them.
                  Another problem with this legislation is that simple, cosmetic
               changes to certain guns would turn those guns from being illegal
               to, all of a sudden being legal. For example, simply by removing a
               pistol grip, or a bayonet mount from a rifle saves the owner from
               going to jail, but leaves the gun's performance unaffected.
                  Finally, the problem of these guns has been greatly exaggerated.
               Although semiautomatic weapons are used in the most high profile
               killings that make it on the nightly news, in fact, more than 99
               percent of killers eschew assault rifles and use more prosaic de­
               vices. According to statistics from the Justice Department and re­
               ports from local law enforcement, five times as many people are
               kicked or beaten to death than are killed with assault rifles.
                  Passing this legislation is an excuse to avoid the real issues of
               violent crime, and threatens the rights of law-abiding citizens.
               Therefore, we oppose H.R. 4296.
                                                    F. JAMES SENSENBRENNER, Jr.
                                                    GEORGE W. GEKAS.
                                                  LAMAR SMITH.
                                                  BILL MCCOLLUM.
                                                  HOWARD COBLE.
                                                  STEVE SCHIFF.
                                                  Boe GooDI..ATTE.




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                           DISSENTING VIEWS OF HON. JACK BROOKS
                    I am strongly opposed to H.R. 4296, the Public Safety and Rec­
                 reational Firearms Use Protection Act, because it misidentifies the
                 causes of violent crime in the United States; diverts national prior­
                 ities away from meaningful solutions to the problem of violent
                 crime; punishes honest American gun owners who buy and use fire­
                 arms for legitimate, lawful purposes such as, but not necessarily
                 limited to, self-defense, target shooting, hunting, and firearms col­
                 lection; fails to focus the punitive powers of government upon
                 criminals. Most fundamentally, a prohibition on firearms violates
                 the right of individual Americans to keep and bear arms, protected
                 by the Second Amendment to the Constitution of the United
                 States-a stark fact of constitutional life that the proponents of
                 H.R. 4296 conveniently overlook in their zeal to abridge the rights
                 of law-abiding citizens.
                    Reasons claimed to justify a prohibition on the firearms that
                 would be affected by H.R. 4296 include the assertion that those
                 particular firearms are used often in the commission of violent
                 crimes. Data on the use of the firearms H.R. 4296 labels as "as­
                 sault weapons" is not comprehensive, but such data as do exist con­
                 sistently show that "assault weapons" are involved in a small per­
                 centage of violent crimes.
                    Most of the firearms labelled as "assault weapons" in H.R. 4296
                 are rifles-yet rifles are the general category of firearms used least
                 often in the commission of violent crimes. The FBI Uniform Crime
                 Reports, 1992, the most recent comprehensive data available,
                 shows that rifles of any description are used in 3.1 percent of homi­
                 cides, for example, while knives are used in 14.5 percent, fists and
                 feet are used in 5 percent, and blunt objects are used in another
                 5 percent.
                    Professor Gary Kleck, of Florida State University, the 1993 recip­
                 ient of the American Society of Criminology's Hindelang Award, es­
                 timates that one-half of 1 percent of violent crimes are committed
                 with "assault weapons." University of Texas criminologist Sheldon
                 Ekland-Olson estimates that one-quarter of rifle-related homicides
                 may involve rifles chambered for military cartridges, which would
                 include not only so-called "assault" type semi-automatic rifles, but
                 non-semiautomatic rifles as well.
                    Since 1980, rifle-related homicides have declined by more than a
                 third. According to the Metropolitan Police of Washington, D.C.,
                 the city which has the highest per capita rate of homicides of any
                 major city in the United States, between 1980-1993 there occurred
                 only 4 rifle-related homicides out of a total of more than 4,200
                 homicides in the period. The last rifle homicide during the period
                 was recorded in 1984. Other data from D.C. police show that rifles
                 are used in about one-tenth of 1 percent of robberies and assaults.
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                 The California Department of Justice surveyed law enforcement
              agencies in the state in 1990, as the state's legislature addressed
              "assault weapon" ban legislation there. The California Department
              of Justice found that only 3. 7 percent of the firearms that are used
              in homicides and assaults were "assault weapons," defined there to
              include even more firearms than are defined as "assault weapons"
              in H.R. 4296.
                 Connecticut State Police report that less than 2 percent of fire­
              arms seized by police in the state are "assault weapons"; the Mas­
              sachusetts State Police report that "assault" type rifles were used
              in one-half of 1 percent of homicides between 1985 199 1.
                 I believe the proponents of H.R. 4296 are in error in claiming
              that the Bureau of Alcohol, Tobacco and Firearms (BATF) has
              traced a large number of "assault weapons" to crime. This claim
              has been effectively contradicted by both the BATF itself and the
              Congressional Research Service's (CRS) report on the BATF fire­
              arms tracing system. The BATF has stated that it "does not always
              know if a firearm being traced has been used in a crime." For in­
              stance, sometimes a firearm is traced simply to determine the
              rightful owner after it is found by a law enforcement officer.
                 Each year, the BATF traces about 50,000 firearms, yet only
              about 1 percent of these traces relate to "assault weapons" that
              have been seized by police in the course of investigations of violent
              crimes. Most "assault weapons" traced relate not to violent crime
              but to property violations, such as stolen guns being traced so that
              they may be returned to their lawful owners, violations of the Gun
              Control Act, and other non-violent circumstances.
                 As noted by BATF and by CRS in its report to Congress entitled
              "Assault Weapons: Military-Style Semiautomatic Firearms Facts
              and Issues" ( 1992) that firearms traces are not intended to "trace
              guns to crime," that few "assault weapons" traced relative to vio­
              lent crime investigations, and that available state and local law en­
              forcement agency data shows relatively little use of "assault weap­
              ons" are used frequently in violent crimes.
                 "Assault weapons" function in the same manner as any other
              semi-automatic firearm. They fire once with each pull of the trig­
              ger, like most firearms. They use the same ammunition as other
              firearms, both semi-automatic and not. Therefore, "assault weap­
              ons" are useful for target shooting, self-defense, hunting, and other
              legitimate purposes, just as other firearms are.
                 H.R. 4296 would prohibit rifles that are commonly used for com­
              petitive shooting, such as the Springfield N IA and the Colt "AR-
               15."
                 Accessories found on some models of "assault weapons," such as
              folding stocks, flash suppressors, pistol grips, bayonet lugs, and de­
              tachable magazines may look menacing to persons unfamiliar with
              firearms, but there is absolutely no evidence that any of these ac­
              cessories provide any advantage to a criminal. As has been dem­
              onstrated on many occasions, firearms which H.R. 4296 specifically
              exempts from its prohibition, firearms not equipped with those ac­
              cessories, can be fired at the same rate, with the same accuracy,
              and with the same power as "assault weapons."
                 Time and again, supporters of H.R. 4296 have claimed that "as­
              sault weapons" can be "spray-fired from the hip"; but this is simply
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                not true. The firearms targeted in H.R. 4296 are not machineguns.
                Machineguns are restricted under the National Firearms Act of
                1934. H.R. 4296's guns are semi-automatic, and fire only one shot
                at a time.
                   H.R. 4296's limitation on the capacity of ammunition feeding de­
                vices would do nothing to reduce the number of rounds available
                to a criminal. It has been demonstrated frequently that such de­
                vices can be switched in less than a second, so a criminal deter­
                mined to have available a number of rounds greater than H.R.
                4296 would permit in a single magazine would need only to possess
                additional smaller magazines. However, police have reportedly con­
                sistently that when criminals fire shots, they rarely discharge more
                than 2-5 rounds, well below the number of rounds H.R. 4296 would
                permit in a single magazine.
                   Most fundamentally, to impinge upon the constitutionally-pro­
                tected rights of honest, law-abiding Americans on the b asis of
                myth, misinformation, and newspaper headlines is a crime in and
                of itself. To protect against such a mockery of our Constitution and
                the infliction of such harm upon our citizens, I intend to oppose
                H.R. 4296 vigorously on the House floor in the hope that careful
                reflection will permit cooler heads and the light of reason to pre­
                vail.
                                                 0
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                         EXHIBIT E
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                         DEPARTMENT OF
                         THE TREASURY
                         STUDY ON
                         THE SPORTING
                         SUITABil.ITY
                         OF MODIFIED
                         SEMilAUTOMATIC
                         ASSAULT RIFLES


                           APRIL 1 998
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                                             EXECUTIVE SUMMARY

       On Novem ber 1 4, 1 997, the President and the Secretary of the Treasury ordered a rev iew
       of the importation of certain modified versions of sem iautomatic assault rifles into the
       U n ited States. 1 The decision to conduct this rev iew stemmed in part from concerns
       expressed by members of Congress and others that the rifles being imported were
       essentially the same as sem iautomatic assau lt rifles prev iously determ ined to be
       non importable in a 1 9 89 dec ision by the B ureau of A lcohol, Tobacco and F irearms
       (A TF). The decision also stemmed from the fact that nearly 1 0 years had passed since
       the last comprehensive rev iew of the importation of rifles, and many new rifles had been
       deve loped during th is time.

       Under 1 8 U . S . C . section 925(d)(3), the Secretary shal l approve applications for
       importation only when the firearm s are generally recognized as particularly su itable for
       or read ily adaptable to sporting purposes (the "sporting purposes test"). In 1 989, A TF
       den ied appl ications to import a series of sem iautomatic versions of automatic-fire
       m i litary assau lt rifles. When ATF exam ined these sem iautomatic assau lt rifles, it found
       that the rifles, wh i le no longer mach ineguns, sti l l had a m i litary configuration that was
       designed for kill ing and d i sabl ing th e enemy and that d i stinguished the rifles from
       trad itional sporting rifles. This distinctively m i l itary configuration served as the bas i s for
       ATF ' s find ing that the rifles were not considered sporting rifles under the statute .

       The m i l itary configuration identified by ATF incorporated e ight physical features:
       abi lity to accept a detachable magazine, folding/telescoping stocks, separate pistol grips,
       ab il ity to accept a bayonet, flash suppressors, bipods, grenade launchers, and night sights.
       In 1 9 89, A TF took the position that any of these m i l itary configuration features, other
       than the abil ity to accept a detachable magazine, wou ld make a sem iautomatic rifle not
       im portab le.

       Subseq uent to the 1 989 decision, certain sem iautomatic assau lt rifles that failed the
       1 98 9 sporting purposes test were modified to remove all of the m i litary configuration
       features other than the ability to accept a detachable magazine. S ignificantly, m ost of
       these modified rifles not only still had the abi lity to accept a detachable magazine but,
       more specifical ly, stil l had the abi lity to accept a detachable large capacity m agazine that


           The President and the Secretary directed that all pending and future applications for importation of
           these ri fles not be acted upon until completion of the review. They also ordered that outstand ing
           perm its for importation of the rifles be suspended for the duration of the review period. The existence
           of applications to import I m i l l ion new rifles and outstanding permits for nearly 600,000 other rifles
           threatened to defeat the purpose of the exped ited review unless the Departm ent of the Treasury
           deferred action on add itional applications and tem porarily suspended the outstanding perm its . (See
           exhibit I for a copy of the November 1 4, 1 997, memorandum directing this review.)

          The rifles that are the subject of this review are referred to in this report as "study rifles."
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       was originally designed and produced for the m i l itary assault rifles from which they were
       derived . These magazines are referred to in th is report as "large capacity m i litary
       magazines." Study rifles w ith the abi lity to accept such magazines are referred to in th i s
       report a s "large capacity m i litary magazine rifles," o r "LCMM rifles." It appears that
       only one study rifle, the V EPR caliber .308 (an A K47 variant), is not an LCMM rifle.
       Based on the standard deve loped in 1 989, these modified ri fles were found to meet the
       sporting purposes test. Accord ingly, the study rifles were approved for import into the
       U n ited States.

       These mod ified rifles are the subject of the present review. L ike the rifles banned in
       1 989, the study rifles are sem iautomatic rifles based on AK47, FN-FAL, HK9 1 and 93,
       Uzi, and S IG SG5 5 0 m i l itary assault rifles. Wh i le there are at least 5 9 specific model
       designations of the study rifles, they all fall within the basic designs l i sted above. There
       are at least 3 9 models based on the AK4 7 design, 8 on the FN-F AL design, 7 on the
       HK9 1 and 93 designs, 3 on the Uzi design, and 2 on the SIG SG 5 5 0 design (see exhibit 2
       for a list of the models). I l lustrations of some of the study rifles are included in exhibit 3
       of th is report.

       Thi s rev iew takes another look at the entire matter to determ ine whether the modified
       rifles approved for importation since 1 989 are generally recognized as particularly
       suitable for or readi ly adaptable to sporting purposes. 2 We have explored the statutory
       hi story of the sporting purposes test and prior adm inistrative and judicial i nterpretations;
       reexam ined the basic tenets of the 1 989 decision; analyzed the physical features of the
       study rifles, as well as information from a wide variety of sources relating to the rifles'
       use and suitabi l ity for sporting purposes; and assessed chan ges in law that m i ght have
       bearing on the treatment of the rifles.

       Th is rev iew has led us to conclude that the basic finding of the 1 989 deci sion remains
       val id and that m i l itary-style sem iautomatic rifles are not importable under the sporting
       purposes standard . Accord ingly, we believe that the Department of the Treasury
       correctly has been denying the importation of rifles that had any of the distinctly m i l itary
       configuration features identified in 1 989, other than the abil ity to accept a detachable
       magazine. Our review, however, did result in a finding that the abi lity to accept a
       detachable large capacity magazine original ly designed and produced for a m i l itary
       assau lt weapon should be added to the list of d i squalifying m i l itary configuration features
       identified in 1 989.

       Several important changes have occurred since 1 989 that have led us to reevaluate the
       importance of this feature in the sporting purposes test. Most significantly, by passing
       the 1 994 bans on sem iautomatic assault weapons and large capacity ammunition feeding

       2
           The study was carried out by a working group composed of A TF and Treasury representatives. The
           working group ' s activities and findings were overseen by a steering committee composed of ATF and
           Treasu ry official s .
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           dev ices, Congress sent a strong signal that firearms w ith the abi lity to expel large
           amounts of ammun ition quickly are not sporting; rather, firearms with this abi lity have
           m i l itary purposes and are a crime problem . Specifically, Congress found that these
           magazines served "com bat-functional ends" and were attractive to crim inals because they
           ·'make it poss ible to fire a large number of rounds without reloading, then to re load
           quickly when those rounds are spent."3 Moreover, we d id not find any evidence that the
           ab il ity to accept a detachable large capacity m i l itary magazine serves any sporting
           purpose . Accord ingly, we found that the ability to accept such a magazine is a critical
           factor in the sporting purposes test, which m ust be given the same weight as the other
           m i l itary configuration features identified in 1 989.

           In add ition, the inform ation we collected on the use and suitability of LCMM rifles for
           hunting and organ ized competitive target shooting demon strated that the rifles are not
           espec ially su itable for sporting purposes. A lthough our rev iew of this information
           indicated that, with certain exceptions, the LCMM rifles sometimes are used for hunting,
           their actual use in hunting is lim ited . There are even some general restrictions and
           proh ibitions on the use of sem iautomatic rifles for hunting game. Similarly, although the
           LCMM rifles usually may be used, with certain exceptions, and sometimes are used for
           organized competitive target shooting, their suitabil ity for this activity is lim ited. In fact,
           there are some restrictions and prohibitions on their use.

           Furthermore, the information we gathered demonstrated that the LCMM rifles are
           attractive to certain crim inals. We identified specific examples of the LCMM rifles '
           be ing used in v iolent crime and gun trafficking. I n addition, we found some disturbing
           trend s involving the LCMM rifles, inc luding a rapid and continuing increase in crime gun
           trace requests after 1 99 1 and a rapid "time to crime." Their abi lity to accept large
           capacity m i l itary magaz ines likely plays a role in their appeal to these crim inals.

           A fter weighing al l the information collected, we found that the LCMM rifles are not
           generally recognized as particu larly suitable for or readi ly adaptable to sporting purposes
           and are therefore not importable. However, th is decision will in no way preclude the
           importation of true sporting firearm s.




               H. Rep. No. 1 03 -489, at 1 8- 1 9.
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                                                        BACKGROUND

       Importation of Firearms Under the Gun Control Act

       The Gun Control Act of 1 968 (GCA)4 generally prohibits the importation of firearms into
       the U nited States. 5 However, the GCA creates four narrow categories of firearms that the
       Secretary of the Treasury shall authorize for i mportation. The category that is relevant to
       this study is found at 1 8 U . S . C . section 92 5 (d)(3).

                    The Secretary shall authorize a firearm . . . to be imported or brought into the
                    Un ited States . . . if the firearm . . .

                                 (3) is of a type that does not fall within the definition of a
                                 firearm as defined in section 5 845 (a) of the Internal
                                 Revenue Code of 1 954 and is generally recognized as
                                 particularly suitable for or readily adaptable to sporting
                                 pu rposes, excluding surplus m i litary firearms, except in any
                                 case where the Secretary has not authorized the importation
                                 of the firearm pursuant to this paragraph, it shall be
                                 un lawful to import any frame, receiver, or barrel of such
                                 firearm which would be prohibited if assembled. (Emphasis
                                 added)

       Th is provision originally was enacted, in a slightly different form, by Title IV of the
       Omnibus Crime Control and Safe Streets Act of 1 968 6 and also was contained in Title I of
       the GCA, which amended Title IV later that year.

       The GCA was enacted in large part "to assist law enforcement authorities in the States and
       their subdivisions in combating the increasing prevalence of crime in the
       Un ited States. " However, the Senate Report to the act also made c lear that Congress d id
       not intend the GCA to place any undue or unnecessary restrictions or burdens on
       responsible, law-abiding c itizens with respect to acquir ing, possessing, transporting, or
       using firearms for lawful activ ities. 7




           Pub. L. No. 90-6 1 8 .

           1 8 U . S . C . secti o n 922( 1 ) .
       6   Pub. L. No. 90-3 5 1 .
       7   S . Rep. No. 1 50 I , 90th Cong. 2d Sess. 22 ( 1 968).
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       Consistent with th is general approach, legislative history indicates that Congress intended
       the i mportation standard provided in section 925 (d)(3) to exclude mil itary-type weapons
       from im portation to prevent such weapons from being used in crime, while allowing the
       importation of high-qual ity sporting rifles. According to the Senate Report, section
       925( d)(3) was intended to "curb the flow of surplus military weapons and other firearms
       being brought into the United States wh ich are not particularly su itable for target shooting
       or hunting. " 8 The report goes on to explain that " [t]he importation of certain foreign­
       made and m i l itary surplus nonsporting firearms has an important bearing on the problem
       wh ich th is title is designed to al leviate [crime] . Thus, the import provisions of this title
       seem entirely justified. " 9 Indeed, during debate on the bill, Senator Dodd, the sponsor of
       the legislation, stated that "Title IV prohibits importation of arms which the Secretary
       determ ines are not su itable for . . . sport . . . . The entire intent of the importation section
       is to get those kinds of weapons that are used by criminals and have no sporting
       purpose . " 1 0

       The Senate Report, however, also makes i t clear that the importation standards "are
       designed and intended to prov ide for the importation of quality made, sporting firearm s,
       including . . . rifles such as those manufactured and im ported by Browning and other such
       manufacturers and importers of firearms." 1 1 (The rifles being imported by Browning at
       that time were sem iautomatic and manual ly operated trad itional sporting rifles of high
       qual ity.) Simi larly, the report states that the importation prohibition "would not interfere
       with the bringing in of currently produced firearms, such as rifles . . . of recognized qual ity
       wh ich are used for hunting and for recreational purposes . " 1 2 The reference to recreational
       purposes is not inconsistent with the expressed purpose of restricting importation to
       firearms particularly su itable for target shooting or hunting, because firearms particularly
       suitable for these purposes also can be used for other purposes such as recreational
       shooting.

       During debate on the bill, there was discussion about the meaning of the term "sporting
       purposes . " Senator Dodd stated :


                  [h ]ere again I would have to say that if a military weapon is used in a

        8
             S . Rep. No. 1 5 0 I , 90 th Cong. 2d Sess. 22 ( 1 968).

             S . Rep. No. 1 50 I , 90 th Cong. 2d Sess. 24 ( I 968).
        10
             1 1 4 Cong. Rec. S 5 5 56 , 5 5 82 , 5 5 8 5 ( 1 968).
        11
             S . Rep. No. 1 5 0 1 , 90 th Cong. 2d. Sess. 3 8 ( I 968).

        12
             S. Rep. No. 1 5 0 I , 90 th Cong. 2d. Sess. 22 ( 1 968).
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                  special sporting event, it does not become a sporting weapon . It is a
                  m i l itary weapon used in a special sporting event . . . . As I said previously
                  the language says no firearms will be adm itted into this country un less they
                  are gen u ine sporting weapons. 1 3

       Legi slative history al so shows that the determ ination o f a weapon's suitabi l ity for sporting
       purposes is the direct responsibil ity of the Secretary of the Treasury . The Secretary was
       g iven th is discretion largely because Congress recognized that section 925(d)(3 ) was a
       difficult provis ion to im plement. Immed iately after discussing the large role cheap
       im ported .22 cali ber revolvers were playing in crime, the Senate Report stated :

                   [t)he d i fficu lty of defin ing weapons characteristics to meet th is target
                   without discrim inating against sporting quality firearms, was a major
                   reason why the Secretary of the Treasury has been given fairly broad
                   discretion in defin ing and adm in istering the import prohibition . 1 4

       Indeed, Congress granted thi s d iscretion to the Secretary even though some expressed
       concern w ith its breadth :

                  [t] he proposed import restrictions o f Title I V would give the Secretary of
                  the Treasury unusually broad discretion to decide whether a particular type
                  of firearm is generally recognized as particularly suitable for, or readi ly
                  adaptable to, sporting purposes. If th is authority means anything, it
                  perm its Federal officials to differ with the judgment of sportsmen expressed
                  through consumer preference in the marketplace . . . . 1 5

       Section 925 (d)(3) prov ides that the Secretary shall authorize the i mportation o f a firearm
       if it is of a "type" that i s generally recognized as particularly suitable for or readi ly
       adaptable to sporting purposes. The legi slative history also makes it clear that the
       Secretary shall scrutin ize types of firearms in exerc ising h i s authority under section 925(d).
        Speci fical ly, the Senate Report to the GCA states that section 925 (d) "gives the

       Secretary authority to perm it the im portation of ammunition and certain types of
       firearms . " 1 6

       13
             1 1 4 Cong. Rec. 2 7 46 1 -462 ( 1 968).
       14
            S . Rep. No. 1 50 1 , 90 th Cong. 2 d Sess. 3 8 ( 1 968).
       15
            S . Rep. No. I 097 , 9 0 th Cong. 2d. Sess. 2 1 5 5 ( I 968) (views of Senators Dirksen , Hruska, Thunnond, and
            B urdick). In Gun South, I nc. v. Brady , F.2d 8 58 , 863 ( 1 1 th Cir. 1 989), the court, based on legislative
            history, found that the GCA gives the Secretary "unusually broad discretion in apply ing section 925(d)(3 )."
       16
            S . R ep. N o . I 5 0 1 , 90 th C ong. 2 d . Sess. 3 8 ( 1 968).
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       The Senate Report to the GCA also recommended that the S ecretary establ ish a council
       that would provide him with guidance and assistance in determining which firearms meet
       the criteria for importation into the Un ited States. 1 7 Accordingly, following the enactment
       of the GCA, the Secretary established the Firearms Evaluation Panel (FEP) (also known as
       the Firearms Advisory Panel) to provide guidelines for implementation of the "sporting
       purposes" test. This panel was composed of representatives from the military, the law
       enforcement comm unity, and the firearms industry. At the initial meeting of the FEP, it
       was understood that the panel's role would be advisory only. 1 8 The panel focused its
       attention on handguns and recommended the adoption of factoring criteria to evaluate the
       various types of handguns. These factoring criteria are based upon such considerations as
       overall length of the firearm, cal iber, safety features, and frame construction. ATF
       thereafter developed an evaluation sheet (ATF Form 4590) that was put into use for
       evaluating handguns pursuant to section 925 (d)(3). (See exhibit 4.)

       The FEP d id not propose criteria for evaluating rifles and shotguns under section
       925(d)(3 ). Other than surplus m il itary firearms, which Congress addressed separately, the
       rifles and shotguns being imported prior to I 968 were generally conventional rifles and
       shotguns spec ifically intended for sporting purposes. Therefore, in I 968, there was no
       cause to deve lop criteria for evaluating the sporting purposes of rifles and shotguns.

        1 984 Appl ication of the Sporting Purposes Test

       The first time that A TF undertook a mean ingful analysis of rifles or shotguns under the
       sporting purposes test was in 1 984 . At that time, A TF was faced w ith a new breed of
       im ported shotgun, and it became clear that the historical assumption that all shotguns were
       sporting was no longer viable. Specifically, A TF was asked to determine whether the
       Striker- I 2 shotgun was suitable for sporting purposes. This shotgun is a m i litary/law
       enforcement weapon initial ly designed and manufactured in South Africa for riot control .
       When the importer was asked to subm it ev idence o f the weapon's sporting purposes, it
       provided information that the weapon was suitable for police/combat-style competitions.
       ATF determ ined that th is type of competition d id not constitute a sporting purpose

       under the statute, and that the shotgun was not suitable for the traditional shotgun sports
       of hunting, and trap and skeet shooting.



       17 S . Rep. No. 1 50 1 , 90th Cong. 2d Sess. 3 8 ( 1 968).

       18 G i l bert Equipm ent Co. v . Higgins , 709 F. Supp. I 07 1 , 1 08 3 , n. 7 (S.D Ala. 1 989), aff d without op. , 894
                                                                                          .
          F.2d 4 1 2 (I I th Cir. 1 990).
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        1 986 Firearms Owners Protection Act

       On May 1 9, 1 986, Congress passed the Firearms Owners Protection Act, 1 9 which
       amended section 925(d)(3) to provide that the Secretary "shal l " (instead of "may")
       authorize the importation of a firearm that is of a type that is generally recognized as
       particu larly su itable for or read i ly adaptable to sporting purposes. The Senate Report to
       the law stated "it is anticipated that in the vast m ajority of cases, [the substitution of 'shall'
       for 'may' in the authorization section] will not result in any change in current practices. " 20
       As the courts have found, " [r]egardless of the changes made [by the 1 986 law], the
       firearm must meet the sporting purposes test and it remains the Secretary's obligation to
       determ ine whether specific firearms satisfy this test." 2 1

        1 986 Appl ication of the Sporting Purposes Test

       In 1 986, A TF again had to determ ine whether a shotgun met the sporting purposes test,
       when the G i lbert Equipment Company requested that the U SAS- 1 2 shotgun be classified
       as a sporting fi rearm under section 925( d)(3). Again, A TF refused to recognize
       pol ice/combat-style competitions as a sporting purpose. After examining and testing the
       weapon, A TF determ ined its weight, size, bulk, designed magazine capacity,
       configuration, and other factors prevented it from being classified as particularly suitable
       for or readi ly adaptable to the trad itional shotgun sports of hunting, and trap and skeet
       shooting. Accordingly, its importation was denied .

       When th is dec ision was chal lenged in Federal court, ATF argued, in part, that large
       magazine capac ity and rapid reloading abi l ity are m i litary features. The court accepted
       th is argument, finding "the overall appearance and design of the weapon (especially the
       detachable box magazine . . . ) i s that of a combat weapon and not a sporting weapon. " 2 2
       In reaching thi s decision, the court was not persuaded by the importer's argument that box
       magazines can be lengthened or shortened depending on desired shel l capacity. 23 The
       court also agreed with ATF ' s conclusion that police/com bat-style competitions were not
       considered sportin g purposes.



       1 9 Pub. L . No. 9 9 -308.

            S. Rep. No. 98-583 , 98 th C ong . ] s Sess. 27 ( 1 9 84 ) .
       20                                           t


       2 1 G i l bert Equ ipm ent C o . , 709 F. Supp . at 1 08 3 .

       22 Jg. at I 089.

       23 Jg. at I 087, n. 2 0 and I 089.
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        1 989 Report on the Importability of Semiautomatic Assault Rifles

       In 1 989, after five chi ldren were ki lled in a California schoolyard by a gunman with a
       sem iautomatic copy of an AK47, ATF decided to reexam ine whether certain
       semiautomatic assau lt-type rifles met the sporting purposes test. This decision was
       reached after consultation w ith the Director of the Office of National Drug Control Policy.
        In March and April 1 989, A TF announced that it was suspending the importation of
       certain "assau lt-type rifles." For the purposes of this suspension, assau lt-type rifles were
       those rifles that general ly met the following criteria: ( 1 ) mil itary appearance; (2) large
       magazine capacity; and (3) sem iautomatic version of a mach inegun . An ATF working
       group was establ ished to reevaluate the importabil ity of these assau lt-type rifles. On July
       6, 1 9 89, the grou p issued its Report and Recommendation of the ATF Working Group on
       the Im portabi l ity of Certain Sem iautomatic Rifles (hereinafter 1 989 report).

       In the 1 9 89 report, the working group first discussed whether the assault-type rifles under
       review fell within a "type" of firearm for the purposes of section 925(d)(3) . The working
       group concluded that most of the assault-type rifles under review represented "a
       distinctive type of rifle [which it called the "semiautomatic assault rifle"] distinguished by
       certain general characteristics which are common to the modem m i litary assault rifle." 24
       The working group explained that the m odem m i litary assau lt rifle is a weapon designed
       for ki l l ing or d isabl ing the enemy and has characteristics designed to accomplish this
       purpose. Moreover, it found that these characteristics distinguish modem m i litary assault
       rifles from traditional sporting rifles.

       The characteristics of the modem m i litary assault rifle that the working group identified
       were as fol lows: ( 1 ) military configuration (which included : ability to accept a detachable
       magazine, folding/telescoping stocks, separate pistol grips, ability to accept a bayonet,
       flash suppressors, bipods, grenade launchers, and night sights) (see exh ibit 5 for a
       thorough discussion of each of these features); (2) ability to fire automatically (i.e., as a
       machinegun); and (3) chambered to accept a centerfire cartridge case having a length of
       2 .25 inches or less. 2 5 In regards to the abil ity to accept a detachable magazine, the
       working group explained that:


                 [ v ] irtually all modem military firearms are designed to accept large,
                 detachable magazines. This provides the soldier with a fairly large
                 ammunition supply and the ability to rapidly reload. Thus, large capacity
                 magazines are indicative of m i litary firearms. While detachable

       24 1 989 report at 6.

       25   1 989 report at 6.
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                  magazines are not lim ited to m ilitary firearms, most traditional
                  sem iautomatic sporting firearms, designed to accommodate a detachable
                  magazine, have a relatively small magazine capacity.2 6

       The working group emphasized that these characteristics had to be looked at as a whole to
       determ ine whether the overal l configuration of each of the assault-type rifles under rev iew
       placed the rifle fairly within the sem iautomatic assau lt rifle type. The sem iautomatic
       assau lt rifles shared all the above m i litary assau lt rifle characteristics other than being
                        07
       mac h meguns.�
             .

       The working group also addressed the scope of the term "sporting purposes." It
       concluded that the term shou ld be given a narrow interpretation that focuses on the
       trad itional sports of hunting and organized competitive target shooting. The working
       group made this determ ination by looking to the statute, its legislative history, applicable
       case law, the work of the FEP, and prior interpretations by ATF . In add ition, the working
       group found that the reference to sporting purposes was intended to stand in contrast to
       m i l itary and law enforcement applications. Consequently, it determined that
       po lice/combat-type com petitions should not be treated as sporting activ ities. 2 8

       The work ing group then evaluated whether the sem iautomatic assault rifle type of firearm
       is generally recognized as particularly suitable for or readily adaptable to traditional
       sporting applications. This examination took into account technical and marketing data,
       expert opinions, the recommended uses of the firearms, and information on the actual uses
       for which the weapons are employed in this country. The working group, however, did
       not consider crim inal use as a factor in its analysis of the importabi lity of this type of
       firearm .

       After analyzing this information, the working group concluded that sem iautomatic assault
       rifles are not a type of firearm general ly recognized as particularly suitable for or readily
       adaptab le to sporting purposes. Accordingly, the working group conc luded that sem i­
       automatic assault rifles should not be authorized for importation under section 925 (d)(3) .
       However, the working group found that some o f the assault-type rifles under rev iew (the
       Valmet Hu nter and .22 rimfire caliber rifles), did not fall w ithin the sem iautomatic assault
       rifle type. In the case of the Valmet Hunter, the working group found that although it was
       based on the operating mechanism of the AK47 assault rifle, it had been substantially


       26 J 8
           9 9 report at 6 ( footnote om itted).

       27
            The sem iautom atic assault rifles were sem iautomatic versions of m achineguns.

       28
            1 989 report at 9- 1 1 .
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       changed so that it was sim ilar to a trad itional sporting rifle. 29 Specifically, it did not have
       any of the m ilitary configuration features identified by the working group, except for the
       ab il ity to accept a detachable magazine.

       Fol low ing the 1 989 study, A TF took the position that a semiautomatic rifle with any of
       the eight military configuration features identified in the 1 989 report, other than the
       ab ility to accept a detachable magazine, failed the sporting purposes test and, therefore,
       was not importable.

       Gun South, Inc. v . Brady

       Concurrent with its work on the 1 989 report, A TF was involved in l itigation w ith Gun
       South, Inc. (G S I). In October 1 988 and February 1 989, A TF had granted GSI penn its to
       import AUG-SA rifles. As mentioned previously, in March and Apri l of 1 989, ATF
       imposed a tem porary suspension on the importation of rifles being reviewed in the 1 989
       study, which included the AUG-SA rifle. GSI filed suit in Federal court, seeking to
       prohibit the Government from interfering w ith the delivery of fireanns imported under
       penn its issued prior to the temporary suspension .

       The court of appeals found that the Government had the authority to suspend temporari ly
       the importation of G SI's AUG-SA rifles because the GCA " impliedly authorizes" such
       action. 3 0 In addition, the court rejected G SI's contention that the suspension was arbitrary
       and capricious because the AUG-SA rifle had not physically changed, explaining the
       argument "places too much emphasis on the rifle's structure for detenn ining whether a
       fi reann falls w ith in the sporting purpose exception . Whi le the Bureau must consider the
       rifle's physical structure, the [GCA] requ ires the Bureau to equally consider the rifle's
       use . " 3 1 In addition, the court found that A TF adequately had considered sufficient
       ev idence before imposing the temporary suspension, citing evidence ATF had considered


       demonstrating that semiautomatic assault-type rifles were being used w ith increasing
       frequency in crime. 32


       29 Th is finding reflects the fact that the operating m echanism o f the AK47 assault rifle is si milar to the
          operating mechan ism used in many traditional sporting rifles.
       30 Gun South, Inc. v. Brady , 877 F.2d 858 ( 1 1 th C ir. I 989). The court of appeal s issued its ruling j ust days
          before the 1 989 report was issued. However, the report was complete before the ruling was issued.
       31
            lg_,


       32 Id.
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       A lthough G S ! sued ATF on the temporary suspension of its import perm its, once the I 989
       report was issued, no one pursued a lawsuit challenging ATF ' s determ ination that the
       sem iautomatic assault rifles banned from importation d id not meet the sporting purposes
       test. 3 3

       V iolent Crime Control and Law Enforcement Act of 1 994

       On September I 3, 1 994, Congress passed the Violent Crime Control and Law
       En forcement Act of I 994, 3 4 wh ich made it unlawfu l, w ith certain exceptions, to
       m anufacture, transfer, or possess sem iautomatic assau lt weapons as defined by the
       statute . 3 5 The statute defined sem iautomatic assau lt weapons to include 1 9 named models
       of fireann s (or copies or duplicates of the firearms in any cal i ber) ;36 sem iauto-matic rifles
       that have the abi l ity to accept detachable magazines and have at least two of five features
       specified in the law; sem iautomatic pistols that have the abi lity to accept detachable
       magazines and have at least two of five features specified in the law; and semiautomatic
       shotguns that have at least two of four features specified in the law . 37 However, Congress

       33 After the 1 989 report was issued, Mitchell Anns, I nc. asserted takings claims against the Government
          based upon the suspension and revocation of four penn its allowing for the im portation of sem iautomatic
          assault rifles and A TF ' s tem porary m oratorium on im port penn its for other rifles. The court found for the
          Governm ent, holding the injury com plained of was not redressable as a taking because M itchel l Ann s d id
          not hold a property interest within the mean i ng of the Just Com pensation C lause of the Fifth Amendment.
          M i tche l l Anns v. United States , 26 C l . Ct. I ( 1 992), aff'd, 7 F.3d 2 1 2 (Fed. C i r. 1 993), cert. denied, 5 1 1
          U . S . I 1 06 ( 1 994).
       34   Pub. L. No. I 03-22. Title XI, Subtitle A of this act m ay be cited as the "Public Safety and Recreational
            Firearn1 s Use Protection Act."
       3 5 1 8 U . S . C . section 922(v ).

       36 Chapter 1 8 U.S.C. section 92 1 (a)(3 0)(A ) states that the tenn " sem iautomatic assault weapon" m eans "any
          of the fi reann s , or copies or duplicates of the fireann s in any cal i ber, known as -," fol lowed by a list of
          named fireann s. Even though section 92 1 ( a)(3 ) defines "fireann " as used in chapter 1 8 to m ean, in part.
          " the fram e or recei ver of any such weapon," the use of "fireann " in section 92 1 (a)(30)(A) has not been
          i nterpreted to m ean a fram e or receiver of any of the named weapons, except when the fram e or receiver
          actual ly is incorporated in one of the named weapons.

            Any other interpretation would be contrary to Congress' intent in enacting the assault weapon ban. In the
            House Report to the assault weapon ban, Congress emphasized that the ban was to be interpreted narrowly.
              For example, the report explained that the present bill was more tightly focused than earlier drafts which
            gave ATF authority to ban any weapon which "embodies the same configuration" as the nam ed list of guns
            i n section 92 1 (a)(3 0)(A); instead, the present bill "contains a set of specific characteristics that m ust be
            present in order to ban any additional sem iautomatic assault weapons [beyond the listed weapons] ." H .
            Rep. I 03-489 a t 2 1 .
       37 1 8 U . S . C . section 92 1 (a)( 3 0).
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       exem pted from the assau lt weapon ban any sem iautomatic rifle that cannot accept a
       detachable magazine that holds more than five rounds of ammunition and any
       sem iautomatic shotgun that cannot hold more than five rounds of ammunition in a fixed or
       detachable magazine. 3 8

       Although the 1 994 law was not directly addressing the sporting purposes test in section
       925( d)(3), section 925( d)(3 ) had a strong influence on the law's content. The technical
       work of ATF's 1 989 report was, to a large extent, incorporated into the 1 994 law. The
       House Report to the 1 994 law explained that although the legal question of whether
       sem iautomatic assault weapons met section 925( d)(3)'s sporting purposes test "is not
       directly posed by [the 1 994 law], the working group's research and analysis on assault
       weapons is relevant on the questions of the purposes underlying the design of assault
       weapons, the characteristics that distinguish them from sporting guns, and the reasons
       underlying each of the distinguishing features." 3 9 As in the 1 98 9 study, Congress focused
       on the external features of firearms, rather than on their sem iautomatic operating
       mechanism .

       The 1 994 law also made it un lawful to possess and transfer large capacity ammunition
       feed ing dev ices manufactured after Septem ber 1 3 , 1 994. 40 A large capacity ammunition
       feed ing dev ice was generally defined as a magazine, belt, drum, feed strip, or similar
       dev ice that has the capacity of, or that can be readi ly restored or converted to accept,
       more than I O rounds of ammunition. 4 1

       Congress passed these provisions o f the 1 994 law i n response to the use o f sem iautomatic
       assau lt weapons and large capacity ammunition feeding dev ices in crime. Congress had
       been presented with much evidence demonstrating that these weapons were "the weapons
       of choice among drug dealers, crim inal gangs, hate groups, and mentally deranged persons
       bent on mass murder. "42 The House Report to the 1 994 law recounts numerous
       crimes that had occurred involving semiautomatic assault weapons and large capacity
       magazines that were originally designed and produced for military assau lt rifles. 43


       38
            1 8 U . S . C . sections 922(v)(3 )(C)&(D).
       39
            H. Rep. No. I 03-489, at 1 7, n. 1 9.
       40
            1 8 U . S . C . section 922(w).
       41   1 8 U . S . C . section 92 1 (a)(3 1 ).
       42 H. Rep. No. 1 03-489, at 1 3 .

       41
            H . Rep. No. I 03-489, at 1 4- 1 5 .
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       In enacting the sem iautomatic assault weapon and large capacity ammunition feeding
       device bans, Congress emphasized that it was not preventing the possession of sporting
       firearms. The House Report, for example, stated that the bill differed from earlier bills in
       that "it is designed to be m ore tightly focused and more carefully crafted to clearly exempt
       legitimate sporting guns. " 44 In addition, Congress specifically exempted 66 1 long guns
       from th e assault weapon ban which are "most commonly used in hunting and recreational
       sports. " 4 5

       Both the 1 994 law and its legislative h i story demonstrate that Congress recognized that
       ammunition capacity is a factor in determining whether a firearm is a sporting firearm . For
       example, large capacity ammunition feeding devices were banned, whi le rifles and
       shotguns with small ammunition capacities were exempted from the assault weapon ban .
       Moreover, the House Report specifically states that the abi l ity to accept a large capacity
       magazine was a m i litary configuration feature which was not "merely cosmetic," but
       "serve[ d] specific, combat-functional ends." 46 The House Report also explains that, wh ile
       "[m]ost of the weapons covered by the [ban] come equipped with magazines that hold
       30 rounds [and can be replaced w ith magazines that hold 50 or even 1 00 rounds], . . . [i]n
       contrast, hunting rifles and shotguns typically have much smaller magazine capabilities-­
       from 3 - 5 . "4 7

       Finally, it must be emphasized that the sem iautomatic assault weapon ban of section
       922(v) is distinct from the sporting purposes test governing imports of section 925 (d)(3 ).
       C learly, any weapon banned under section 922(v) cannot be imported into the
       Un ited States because its possession in the Un ited States would be illegal . However, it is
       possible that a weapon not defined as a semiautomatic assault weapon under section
       922(v) still would not be importable under section 925 (d)(3 ). In order to be importable,
       the firearm must be of a type generally recognized as particu larly suitable for or readi ly
       adaptable to sporting purposes regardless of its categorization under section 922(v). The

       Secretary's discretion under section 925 (d)(3) remains intact for all weapons not banned
       by the 1 994 statute.

       The Present Review

       Prior to the Novem ber 1 4, 1 997, decision to conduct th i s rev iew, certain members of
       44 H . Rep. No. I 0 3-4 89, at 2 1 .

       45 H. Rep. No. I 03-489, at 2 0 . None of these 66 I guns are study rifles.

       46
                 H . Rep. No. I 03-489, at I 8.
       47 H . Rep. No. I 03-489, at 1 9 (footnote omitted).
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        Congress strongly urged that it was necessary to review the manner in which the Treasury
        Department is applying the sporting purposes test to the study rifles, in order to ensure
        that the present practice is consistent with section 925(d)(3) and current patterns of gun
        use. The fact that it had been nearly 1 0 years since the last comprehensive review of the
        importation of rifles (with many new rifles being developed during this time) also
        contributed to the decision to conduct this rev iew.
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                       DEFIN ING THE TYPE OF WEAPON UNDER REVIEW

       Section 925 (d) (3) provides that the Secretary shall authorize the importation of a firearm
       if it is of a "type" that meets the sporting purposes test. Given this statutory mandate, we
       had to determ ine whether the study rifles suspended from importation fell within one type
       of firearm . Our review of the study rifles demonstrated that all were derived from
       sem iautomatic assault rifles that fai led to meet the sporting purposes test in 1 989 but were
       later found to be importable when certain mil itary features were removed.

       Within this group, we determined that v irtually all of the study rifles shared another
       important feature: The ability to accept a detachable large capacity magazine (e.g., more
       than 1 0 rounds) that was originally designed and produced for one of the following
       military assault rifles: AK47, FN-FAL, HK9 1 or 93, SIG SG5 50, or Uzi. (This is the only
       military configuration feature cited in the 1 989 study that remains with any of the study
       rifles).

       We determ ined that all of the study rifles that shared both of these characteristics fell
       within a type of firearm which, for the purposes of this report, we call "large capacity
       military magazine rifles" or "LCMM rifles." It appears that only one study rifle, the
       VEPR caliber .308--which is based on the AK47 design--does not fall within this type
       because it does not have the ability to accept a large capacity military magazine.

                                 SCOPE OF "SPORTING PURPOSES"

       As in the 1 989 study, we had to determ ine the scope of "sporting purposes" as used in
       section 925(d)(3). Looking to the statute, its legislative history, the work of the F irearms
       Evaluation Panel (see exhibit 6), and prior A TF interpretations, we determined sporting
       purposes shou ld be given a narrow reading, incorporating only the traditional sports of
       hunting and organized competitive target shooting (rather than a broader interpretation
       that could include v irtually any lawful activity or competition.)

       In terms of the statute itself, the structure of the importation provisions suggests a
       somewhat narrow interpretation. F irearms are prohibited from importation (section
       922(1)), with four specific exceptions (section 925( d)). A broad interpretation perm itting
       a firearm to be imported because someone may wish to use it in some lawful shooting
       activity would render the general prohibition of section 922(1) meaningless.

       Sim ilarly, as discussed in the "Background" section, the legislative history of the GCA
       indicates that the term sporting purposes narrowly refers to the traditional sports of
       hunting and organized competitive target shooting. There is nothing in the history to
       indicate that it was intended to recognize every conceivable type of activity or competition
       that might employ a firearm.
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       In add ition, the FEP specifical ly addressed the infonnal shooting activity of "plinking"
       (sh ooting at random ly selected targets such as bottles and cans) and detenn ined that it was
       not a legitimate sporting purpose under the statute . The panel found that, "wh i le many
       persons partic ipate in this type of activ ity and much ammunition was expended in such
       endeavors, it was primarily a pastime and cou ld not be considered a sport for the purposes
       of im portation . . . . " (See exhibit 6.)

       Finally, the 1 989 report determ ined that the term sporting purposes should be given a
       narrow reading incorporating the traditional rifle sports of hunting and organized
       competitive target shooting. In addition, the report determ ined that the statute's reference
       to sporting purposes was intended to stand in contrast with m i l itary and law enforcem ent
       applications. This is consistent with ATF 's interpretation in the context of the Striker- 1 2
       shotgun and the U SAS- 1 2 shotgun . It i s also supported by the court's decision in G ilbert
       Equipment Co. v . Higgins.

       We received some comments urging us to find "practical shooting" is a sport for the
       purposes of section 92 5 ( d)(3 ). 4 8 Further, we received information showing that practical
       shooting is gaining in popularity in the United States and is governed by an organization
       that has sponsored national events since 1 989. It also has an international organization.

       While some m ay consider practical shooting a sport, by its very nature it is closer to
       police/combat-style competition and is not comparable to the more trad itional types of
       sports, such as hunting and organ ized com petitive target shooting. Therefore, we are not
       conv inced that practical shooting does, in fact, constitute a sporting purpose under section
       9 2 5 ( d)(3 ) . 4 9 However, even if we were to assume for the sake of argument that practical
       shooting is a sport for the purposes of the statute, we still would have to decide whether a
       firearm that cou ld be used in practical shooting meets the sporting purposes test. I n other
       words, it sti ll would need to be determined whether the firearm is of a type that is
       generally recognized as particu larly suitable for or readi ly adaptable to practical shooting
       and other sporting purposes. 50 Moreover, the legislative history makes c lear that the use
       of a m il itary weapon in a practical shooting competition would not m ake that weapon

       48
            Practical shooting involves moving, identifying, and engaging m ultiple targets and del ivering a num ber of
            shots rapidly. In doing this, practical shooting partici pants test their defensive ski l l s as they encounter
            props. includi ng wal l s and barri cades, with fu ll or partial targets, "no-shoots," steel reaction targets,
            movers, and others to challenge them .
       49
            As noted earl ier, ATF has taken the position that police/combat-style competitions do not constitute a
            "sporting purpose.'' Th i s position was u pheld in Gilbert Equipment Co . , 709 F . Supp. at I 077.
       50
            Our findings on the use and su itabil ity of th e LCMM ri fles in practical shooting competitions are contained
            in th e "Suitab i l ity for S porting Purposes" section of th is report.
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       sporting: "if a m i l itary weapon is used in a special sporting event, it does not become a
       sporting weapon. It is a mil itary weapon used in a special sporting event." 5 1 While none
       of the LCMM rifles are mil itary weapons, they sti l l retain the m i litary feature of the ability
       to accept a large capacity m i litary magazine.




       51
            1 1 4 Cong. Rec. 2746 1 -462 ( 1 968) (Sen. Dodd).
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                                                   METHOD OF STUDY

    As explained in the "Executive Summary" section of this report, the purpose of this study is to
    rev iew whether modified sem iautomatic assault rifles are properly importable under
    1 8 U . S .C . section 925(d)(3 ). More specifically, we reexamined the conclusions of the
     1 98 9 report as applied today to determ ine whether we are correct to allow importation of the
    study rifles that have been modified by having certain military features removed . To determ ine
    whether such rifles are general ly recognized as particularly suitable for or readily adaptable to
    sporting purposes, the Secretary must consider both the physical features of the rifles and the
    actual uses of the rifles. 52 Because it appears that all of the study rifles that have been imported
    to date have the abil ity to accept a large capac ity m i litary magazine, 5 3 all of the information
    col lected on the study rifles' physical features and actual uses app lies only to the LCMM rifles.

    P hysical featu res :

    The discussion of the LCMM rifles' physical features are contained in the "Su itability for
    S porting Purposes" section of this report.

     Use:

    We col lected relevant information on the u se of the LCMM rifles. A lthough the 1 989 study did
    not consider the crim inal use of firearms in its importabi lity analysis, legislative history
    demonstrates and the courts have found that crim inal use is a factor that can be considered in
    determ ining whether a firearm meets the requirements of section 925(d)(3 ) .54 Accordingly, we
    dec ided to consider the crim inal use of the LCMM rifles in the present analysis.

    The term "generally recogn ized" in section 925(d)(3 ) indicates that the Secretary shou ld base his
    evaluation of whether a firearm is of a type that is particularly suitable for or read ily adaptable to
    sporting purposes, in part, on a "commun ity standard" of the firearm ' s use. 5 5 The commun ity
    standard "may change over time even though the firearm remains the same. Thus, a changing
    pattern of use may significantly affect whether a firearm is generally recognized as particularly
    su itable for or read ily adaptable to a sporting purpose . " 5 6 Therefore, to assist the Secretary in
    determ in ing whether the LC M M rifles presently are of a type generally recognized as
    particularly su itable for or readi ly adaptable to sporting purposes, we gathered information from
    the re levant "commun ity . " The relevant community was defined as persons and groups who are
     52
          Gun South, Inc . , 877 F.2d a t 866.
    53
          The VEPR cal iber .308 d iscussed on page 16 has not yet been imported .
     54
          1 1 4 Cong. Rec . S 5556, 5 5 82, 5 5 8 5 ( 1 968)( "[t)he entire intent of the im portation section [of the sporting
          purposes test] i s to get those kinds of weapons that are used by criminals and have no sporting purposes") ( Sen.
          Dodd); Gun South, I nc . , 8 77 F .2d at 866.
     55
          Gun South, Inc. , 8 77 F .2d at 866.
    56
          lg .
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                                                                20


    know ledgeable about the uses of these firearms or have relevant information about whether these
    fi rearms are particularly suitable for sporting purposes. We identified more than 2 ,000 persons
    or groups we bel ieved would be able to provide relevant, factual information on these issues.
    The individuals and groups were selected to obtain a broad range of perspectives on the issues.
    We conducted surveys to obtain specific information from hunting guides, editors of hunting and
    shooting magazi nes, organ ized competitive shooting groups, State game commissions, and law
    enforcem ent agencies and organ izations. Add itionally, we asked industry members, trade
    assoc iations, and various interest and information groups to prov ide relevant information. 5 7 A
    detai led presentati on of the surveys and responses is included as an appendix to thi s report.

    We also rev iewed numerous advertisements and publications, both those subm itted by the editors
    of hunting and shooting magazines and those collected internally, in our search for material
    d iscussing the uses of the LCMM rifles. Further, we collected importation data, tracing data, and
    case stud ies. 5 8

    O u r findi ngs o n use are contained in the "Su itabi l ity for Sporting Purposes" section o f th is
    report.



    57
         Hu nting gu ides : Guides were asked about specific types of firearms used b y their clients . T h e guides were an
         easily definable group, versus the entire un iverse of hunters. We obtained the names of the hunting guides
         surveyed from the States .

         Editors of hu nting and shooting magazines : Editors were surveyed to determ ine whether they recommended
         the LCMM rifles for hu nting or organized competitive target shooting and whether they had written any artic les
         on the subject. The l i st of ed itors we surveyed was obtained from a directory of firearm s-related organizations.

         O rganized com petitive shooting grou ps : Organized groups were asked whether they sponsored competitive
         events with high-power semiautomatic rifles and whether the LCMM rifles were allowed in those competitions.
         We felt it was significant to query those who are involved with organized events rather than unofficial activities
         with no s pecific ru les or guidelines . As with the ed itors above, the list of groups was obtained from a directory
         of firearms-related organizati ons.

         State gam e commission s : State officials were surveyed to determ ine whether the use of the LCMM rifles was
         prohibited or restricted for hunting in each State.

         Law enforcem ent agencies and orga nization s : Specific national organizations and a sampling of 26 pol ice
         departments across the country were contacted about their knowledge of the LCMM rifles ' use in crime. The
         national organ izations were surveyed with the intent that they would gather input from the wide range of l aw
         en forcement agenc ies that they represent or that they would have access to national studies on the subj ect.

         Ind ustry m em bers and trade association s : These groups were included because of their knowledge on the
         issue.

         In terest and information groups: These organ izations were included because of their wide range of
         perspectives on the issue.
    58   To assist us with our review of the crime-related inform ation we collected, we obtained the services of Garen J .
         W intem ute, MD, M . P .H . Director o f the Violence Prevention Research Program, University of Cal ifornia,
         Davis, and A nthony A. B raga, Ph .D . , J . F . K . School of G overnment, H arvard University .
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                                   S UITABILITY FOR SPORTING PURPOSES

       The next step in our rev iew was to evaluate whether the LCMM rifles, as a type, are
       general ly recognized as particu larly suitable for or readily adaptable to hunting and
       organ ized competitive target shooting. 5 9 The standard appl ied in making this
       determ ination is h igh. It requires more than a showing that the LCMM rifles may be used
       or even are sometimes used for hunting and organized competitive target shooting; if this
       were the standard, the statute wou ld be meaningless. Rather, the standard requires a
       showing that the LCMM rifles are especially suitable for use in hunting and organized
       competitive target shooting.

       As d i scussed i n the "Method of Study" section, we considered both the physical features
       of the LCMM rifles and the actual uses of the LCMM rifles in making this determ ination.

       Physical Features

       The ability to accept a detachable large capacity magazine that was originally
       designed and produced for one of the following military assault rifles: AK47, FN­
       FAL, HK9 1 or 93, SIG SG550, or Uzi.

       Although the LCMM ri fles have been stripped of many of their m i litary features, they all
       sti l l have the abi l ity to accept a detachable large capacity magazine that was originally
       designed and produced for one of the following m i litary assault rifles: AK47, FN-FAL,
       HK9 1 and 93, SIG SG550, or Uzi ; in other words, they sti ll have a feature that was
       designed for killing or disabl ing an enemy. As the 1 989 report explains:

                 Virtually all modem m i l itary firearms are designed to accept large,
                 detachable magazines. This provides the soldier with a fairly large
                 ammun ition supply and the abil ity to rapidly reload. Thus, large capacity
                 magazines are indicative of m i l itary firearms. While detachable
                 magazi nes are not lim ited to m i l itary firearms, most traditional




       59
            One com menter suggests that the Secretary has been improperly applying the ''read i ly adaptable to
            sporting purposes" provision of the statute. Historical ly, the Secretary has considered the "particularly
            suitable for or readily adaptable to" prov isions as one standard. The broader interpretation urged by the
            commenter would m ake the standard virtual ly unenforceable. If the S ecretary al l owed the importation of a
            fi rearm which is readily adaptable to sporting purposes, without requiring it actual ly to be adapted prior to
            importation, the Secretary would have no control over whether the adaptation actually would occur
            fo l lowing the importation.
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                  sem iautomatic sporting firearms, designed to accommodate a detachable
                  magazine, have a relatively small magazine capacity. 60

       Thus, the 1 989 report found the abil ity to accept a detachable large capacity m agazine
       original ly designed and produced for a m i litary assault rifle was a military, not a sporting,
       featu re . Neverthe less, in 1 989 it was decided that the abi l ity to accept such a large
       capac ity magazine, in the absence of other mil itary configuration features, wou ld not be
       viewed as d isqual ifying for the purposes of the sporting purposes test. However, several
       im portant developments, wh ich are discussed below, have led us to reevaluate the weight
       that should be given to the abi lity to accept a detachable large capacity m i l itary magazine
       in the sporting purposes test.

       Most signi ficantly, we must reevaluate the significance of this m i litary feature because of a
       major amendment that was made to the GCA since the 1 989 report was i ssued. In 1 994,
       as d i scussed in the "Background" section of th is report, C ongress passed a ban on large
       capac ity am munition feeding devices and sem iautomatic assault weapons. 6 1 In enacting
       these bans, Congress made it clear that it was not preventing the possession of sporting
       fi rearm s . 62 Although the 1 994 law was not directly addressing the sporting purposes test,
       section 925 (d)(3) had a strong influence on the law's content. As discussed prev iously,
       the technical work of A TF's 1 989 report was, to a large extent, incorporated into the 1 994
       law.

       Both the 1 994 law and its legislative h istory demonstrate that Congress found that
       ammunition capacity is a factor in whether a firearm is a sporting firearm . For example,
       large capac ity ammunition feed ing devices were banned, while rifles and shotguns with
       smal l am munition capacities were exem pted from the assault weapon ban. In other words,
       Congress found magazine capacity to be such an i mportant factor that a semiautomatic
       rifle that cannot accept a detachable magazine that holds more than five rounds of
       ammun ition will not be banned, even if it contains all five of the assault



       60 1 9 8 9 report at 6 (footnote om itted). Th i s was not the first time that ATF considered magazine capacity to
          be a relevant factor in deciding whether a firearm met the sporting purposes test. See Gilbert Equipment
          Co., 709 F. Supp. at 1 0 89 ("the overall appearance and design of the weapon (especially the detachable box
          m agazine . . . ) is that of a com bat weapon and not a sporting weapon. "
       61    The ban o n large capacity am muniti on feed ing devices does not include any such device m anufactured on
            or before September 1 3 , 1 994. A ccordingly, there are vast num bers of large capacity magazines original ly
            des igned and produced for mi l itary assau lt weapons that are legal to transfer and possess ("grandfathered"
            large capac ity m i l itary magazines). Presently these grandfathered large capacity mil itary magazines fit the
            LCMM rifles.
       62 See, for exam ple, H. Rep. No. I 03-489, at 2 1 .
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       weapon features l isted in the law. Moreover, unlike the assault weapon ban in which a
       detachable magazine and at least two physical features are required to ban a rifle, a large
       capacity magazine in and of itself is banned.

       In addition, the House Report specifically states that the abil ity to accept a large capacity
       magazine is a m i litary configuration characteristic that is not "merely cosmetic," but
       "serve [s] specific, combat-functional ends." 63 The House Report also explains that large
       capacity magazines

                  make it possible to fire a large number of rounds w ithout re-loading, then
                  to reload quickly when those rounds are spent. Most of the weapons
                  covered by the proposed legislation come equipped w ith magazines that
                  hold 30 rounds. Even these magazines, however, can be replaced w ith
                  magazines that hold 5 0 or even I 00 rounds. Furthermore, expended
                  magazines can be qu ickly replaced, so that a single person with a single
                  assault weapon can easily fire l iterally hundreds of rounds within m inutes . .
                  . . In contrast, hunting rifles and shotguns typically have much smaller
                  magazine capabilities--from 3-5 .64

       Congress specifical ly exempted 66 1 long guns from the assau lt weapon ban that are "most
       commonly used in hunting and recreational sports ." 6 5 The vast majority of these long
       guns do not use large capacity magazines. Although a small number of the exempted long
       guns have the abil ity to accept large capacity magazines, only four of these exempted long
       guns were designed to accept large capacity m i l itary magazines. 66

       The 1 994 law also demonstrates Congress' concern about the role large capacity
       magazines and firearms with the ability to accept these large capacity magazines play in


       63
            H . Rep. No. I 03-489, at 1 8 .

       64 H. Rep. No. I 03-489, at 1 9 ( footnote om itted). The fact that 1 2 States place a l i m it on the magazine
          capacity allowed for hunting, usual ly 5 or 6 rounds, is consistent with this analysis. (See exhibit 7).
       65
            H. Rep. I 03-489, at 20.
       66
            These four firearm s are the Iver Johnson M- 1 carbine, the Iver Johnson 50th Anniversary M- 1 carbine, the
            Ruger M i n i - 1 4 autoloading rifle (without folding stock), and the Ruger Mini Thirty rifle. All of these
            weapons are manufactured in the United States and are not the subject of this study. In this regard, it should
            also be noted that Congress can disti nguish between domestic firearm s and foreign firearms and impose
            d i fferent requirem ents on the importation of firearms. For exampl e, Congress may ban the importation of
            certai n firearm s although simi lar firearms may be produced domestical ly. See, for example, B-West
            Imports v. United States, 75 F . 3 d 633 (Fed. Cir. 1 996).
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       crime. The House Report for the bill makes reference to numerous crimes involving these
       magazines and weapons, including the following: 67

                 The 1 989 Stockton, Californ ia, schoolyard shooting in which a gunman with a
                 sem iautomatic copy of an AK47 and 75-round magazines fired 1 06 rounds in less
                 than 2 minutes. Five children were killed and twenty-nine adu lts and children were
                 injured .

                 The 1 993 shooting in a San Francisco, California, office build ing in which a
                 gunman u sing 2 TEC DC9 assau lt pisto ls with 5 0-round magazines kil led
                 8 people and wounded 6 others.

                 A 1 993 shooting on the Long Island Railroad that killed 6 people and wounded 1 9
                 others. The gunman had a Ruger semiautomatic pistol, which he reloaded several
                 times with 1 5 -round magazines, firing between 30 to 50 rounds before he was
                 overpowered .

       The House Report also includes testimony from a representative of a national police
       officers ' organ ization, which reflects the congressional concern with crim inals' access to
       firearms that can quickly expel large amounts of ammunition :

                 In the past, we used to face crim inals armed with a cheap Saturday Night Special
                 that could fire off six rounds before [re]loading. Now it is not at all unusual for a
                 cop to look down the barrel of a TEC-9 with a 3 2 round c l ip. The ready
                 availabil ity of and easy access to assault weapons by crim inals has increased so
                 dramatically that pol ice forces across the country are being required to upgrade
                 their service weapons merely as a matter of self-defense and preservation . The six­
                 shot . 3 8 caliber serv ice revolver, standard law enforcement issue for years, is just
                 no match against a crim inal armed with a sem iautomatic assault weapon. 68

       Accordingly, by passing the 1 994 law, Congress signaled that firearms with the abi lity to
       accept detachable large capacity m agazines are not particularly suitable for sporting
       purposes. Although in 1 989 we found the abil ity to accept a detachable large capacity
       mil itary magazine was a military configuration feature, we must give it more weight, given
       this clear signal from Congress.

       The passage of the 1 994 ban on large capacity magazines has had another effect. Under
       the 1 994 ban, it general ly is unlawful to transfer or possess a large capacity magazine


       67 H . Rep. No. I 03-489, at 1 5 (two of these exam ples invo l ve handguns).

       68 H Rep. 1 03-489, at 1 3 - 1 4 (footnote om itted).
           .
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           manufactured after September 1 3 , 1 994. Therefore, if we require the LCMM rifles to be
           mod ified so that they do not accept a large capacity m i litary magazine in order to be
           importable, a person will not be able to acquire a newly manufactured large capacity
           magazine to fit the modified rifle. Thus, the modified rifle neither will be able to accept a
           grandfathered large capacity m i litary magazine, nor can a new large capacity magazine be
           manufactured to fit it. Accordingly, today, making the abil ity to accept a large capacity
           military magazine disqualifying for importation will prevent the importation of firearms
           wh ich have the abi l ity to expel large amounts of ammun ition quickly without reloading .

           Th is was not the case in 1 989 or prior to the 1 994 ban .

           It is im portant to note that even though Congress reduced the supply of large capacity
           m i l itary magazines by passing the 1 994 ban, there are sti l l vast numbers of grandfathered
           large capacity m i l itary magazines available that can be legally possessed and transferred.
           These magazines currently fit in the LCMM rifles. Therefore, the 1 994 law did not
           eliminate the need to take further measures to prevent firearms imported into the United
           States from hav ing the abi lity to accept large capacity mil itary magazines, a nonsporting
           factor.

           Another impetus for reevaluating the existing standard is the development of modified
           weapons. The 1 989 report caused 43 different models of semiautomatic assault rifles to
           be banned from being imported into the United States. The effect of that determ ination
           was that nearly all semiautomatic rifles with the ability to accept detachable l arge capacity
           m i litary magazines were denied importation. Accordingly, at the time, there was no need
           for the abil ity to accept such a magazine to be a determining factor in the sporting
           purposes test. Thi s is no longer the case. As discussed earl ier, m anufacturers have
           modified the sem i automatic assault rifles disallowed from importation in 1 989 by
           removing all of their m i l itary configuration features, except for the abi lity to accept a
           detachable magazine . As a resu lt, semiautomatic rifles with the abi lity to accept
           detachable large capacity military magazines (and therefore quickly expel large amounts of
           ammun ition) legally have been entering the United States in significant numbers.
           Accordingly, the development of these modified weapons necessitates reevaluating our
           existing standards.

           Thus, in order to address Congress' concern with firearms that have the abi lity to expe l
           large amounts of ammunition quickly, particularly in light of the resumption of these
           weapons com ing into the United States, the abil ity to accept a detachable large capacity
           m i l itary magazine must be given greater weight in the sporting purposes analysis of the
           LCMM rifles than it presently receives. 69

           69   A fi rearm that can be easily modified to accept a detachable large capacity mil itary m agazine with only
                m inor adjustments to the firearm or the magazine is considered to be a firearm with the abi lity to accept
                these magazines. The ROMAK4 is an exam ple of such a firearm : With minor modifications to either the
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       Derived from semiautomatic assault rifles that failed to meet the sporting purposes
       test in 1 989 but were later found importable when certain military featu res were
       removed .

       A l l rifles that fai led to meet the sporting purposes test in 1 989 were found to represent a
       distinctive type of rifle distinguished by certain general characteristics that are common to
       the modem m i litary assault rifle. Although the LCMM rifles are based on rifle designs
       excl uded from importation under the 1 989 standard, they al l were approved for import
       when certain military features were removed. However, the LCMM rifles all still maintain
       some characteristics common to the modern m i l itary assault rifle. Because the outward
       appearance of most of the LCMM rifles continues to resemble the military assault rifles
       from which they are derived, we have examined the issue of outward appearance carefully.
        Some m ight prefer the rugged, util itarian look of these rifles to more trad itional sporting
       guns. Others might reco il from using these rifles for sport because of their nontrad itional
       appearance. In the end, we concluded that appearance alone does not affect the LCMM
       rifles' su itability for sporting purposes. Available information leads us to believe that the
       determ ining factor for their use in crime is the abi lity to accept a detachable large capacity
       m i litary magazine .

       Use

       In the 1 98 9 study, ATF found that all rifles fairly typed as sem iautomatic assault rifles
       should be treated the same. Accordingly, the report stated " [t]he fact that there may be
       some evidence that a particular rifle of this type is used or recommended for sporting
       purposes shou ld not control its importability. Rather, all findings as to suitability of these
       rifles as a whole should govern each rifle within this type." 70 We adopt the same approach
       for the present study.

       Use for hunting:

       The information we collected on the actual use of the LCMM rifles for hunting medium or
       larger game suggests that, w ith certain exceptions, the LCMM rifles sometimes are used
       for hunting; however, their actual use in hunting is l imited . 7 1 In fact, there are some

            fireann or a large capacity m agazine that was original ly designed and produced for a sem iautomatic assault
            ri fle based on the AK47 design, the ROMAK4 has the abi l ity to accept the m agazine.
       70    1 989 report at 1 1 .
       71
            We targeted the surveys toward the hunting of medium and larger game (e.g., turkey and deer) because the
            LCM M rifles cham ber centerfire cartridges and therefore likely would be m ost suitable for hunting this
            type of gam e. We also learned that the LCMM rifles were used to shoot certain varm ints (e.g., coyotes and
            groundhogs), which are generally considered to be pests, not game. Many commented that the LCMM
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        general restrictions and prohibitions o n the use o f any semiautomatic rifle fo r hunting
        game. Almost half of the States place restrictions on the use of semiautomatic rifles in
        hunting, mostly involving magazine capacity (5 -6 rounds) and what can be hunted with the
        rifles (see exhibit 7).

       Of the 1 9 8 hunting guides who responded to our survey, only 26 stated that they had
       cl ients who used the LCMM rifles on hunting trips during the past 2 hunting seasons and
       only 1 0 indicated that they recommend the LCMM rifles for hunting. In contrast, the vast
       majority of the gu ides ( 1 52) ind icated that none of their cl ients used the LCMM rifles on
       hunti ng trips during the past 2 hunting seasons. In addition, the hunting guides ind icated
       that the most common sem iautomatic rifles used by their clients were those made by
       Browning and Rem ington . 72 We found significant the comments of the hunting guides
       indicating that the LCMM rifles were not widely used for hunting.

       Of the 1 3 editors of hunting and shooting magazines who responded to our survey, only
       2 stated that their publications recommend specific types of centerfire sem iautomatic rifles
       for use in hunting medium or larger game. These two respondents stated that they
       recommend all rifles that are safe and of appropriate caliber for hunting, including the
       LCMM rifles. However, they did not recommend the LCMM rifles based on the Uzi
       design for hunting big game; these rifles use a 9mm cartridge, which is not an appropriate
       cal iber for this type of game, according to the editors. It is important to note that the
       LCMM rifles use different cartridges. The LCMM rifles based on the FN-F AL, S IG
       SG550, and HK9 l and 93 design s are chambered for either the .308 Winchester cartridge
       or the .223 Rem ington cartridge, depend ing on the specific model ; the LCMM rifles based
       on the Uzi design are chambered for the 9mm Parabellum cartridge; and the majority of
       the LCMM rifles based on the AK47 design are chambered for the 7.62 x 3 9mm cartridge
       (some are chambered for the .223 Rem ington cartridge) .

       Of the five interest and information groups that responded to our survey, three supported
       the use of the LCMM rifles for hunting. However, one of these groups stated that the




            rifles were particularly useful on farms and ranches because of their ruggedness, utilitarian design, and
            reliability.
       72
            According to a 1 996 study conducted for the Fish and Wildlife Service, only 2 percent of big game hunters
            surveyed used licensed hunting guides. Therefore, it should be noted that the information prov ided by the
            guides we surveyed may not be representative of al l hunters. However, we believe that the hunting guides'
            inform ation is rel iable and instructive because of their high degree of experience with and knowledge of
            hunting.
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       ammunition used by the LCMM rifle models based on the Uzi design were inadequate for
       shooting at long d istances (i.e., more than I 00 yards).

       Out of the 70 published articles reviewed from various shooting magazines, only
       5 contained relevant information. One of these five articles stated that, in the appropriate
       calibers, the LCMM rifles could make "excellent" hunting rifl e s. Two of the articles
       stated that the 7.62 x 39mm cartridge (used in LCMM rifles based on the AK47 design)
       could be an effective hunting cartridge. One of the articles that recommended the rifles
       also recommended modifications needed to improve their performance in hunting. None
       of the articles suggested that LCMM rifles based on the Uzi design were good hunting
       rifles. Thus, although the LCMM rifles could be used in hunting, the articles provided
       limited recommendations for their use as hunting weapons.

       In their usage guides, ammunition manufacturers recommend the .308 and the 7.62 x
       39mm cartridges (used in LCMM rifl e s based on the FN-FAL and HK 9 1 designs, and the
       AK47 design respectively) for medium game hunting. However, the usage guides do not
       identify the 9mm cartridge (used in the Uzi design rifles) as being suitable for hunting.

       A majority of the importers who provided information said that the LCMM rifles they
       import are used for hunting deer and similar animals. However, they provided little
       evidence that the rifles were especially suitable for hunting these animals. Two of the
       importers who responded also provided input from c itizens in the form of letters
       supporting this position. The letters show a wide variety of uses for the LCMM rifles,
       including deer hunting, plinking, target shooting, home defense, and competitive shooting.

       Our review of all of this information indicates that while these rifles are used for hunting
       medium and larger game, as well as for shooting varmints, the evidence was not
       persuasive that there was widespread use for hunting. We d id not find any evidence that
       the abil ity to accept a large capacity military magazine serves any hunting purpose.
       Traditional hunting rifles have much smaller magazine capabi l ities. Furthermore, the mere
       fact that the LCMM rifles are used for hunting does not mean that they are particularly
       su itable for hunting or meet the test for importation.

       Use for organized competitive target shooting:

       Of the 3 1 competitive shooting groups we surveyed that stated they have events using
       high-power sem iautomatic rifles, 1 8 groups stated that they permit the use of the LCMM
       rifles for all competitions. However, 1 3 respondents stated that they restrict or prohibit
       the LCMM rifles for some competitions, and one group stated that it prohibits the LCMM
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       rifles for all competitions. These restrictions and prohibitions generally were enacted for
       the fol lowing reasons:

        I.     H igh-power rifle competitions general ly require accuracy at ranges beyond the
             capabilities of the 9mm cartridge, which is used by the LCMM rifles based on the Uzi
             design .

       2 . The models based o n the AK47 design are l im ited t o competitions of 2 0 0 yards o r less
           because the 7.62 x 3 9mm cartridge, which is used by these models, generally has an
           effective range on ly between 300 and 5 00 yards.

       3 . Certain matches require U . S . mil itary service rifles, and none of the LCMM rifles fal l
           into th is category.

       The LCMM rifles are perm itted in all United States Practical Shooting Association
       (USPSA) rifle competitions. The USPSA Practical Shooting Handbook, Glossary of
       Term s, states that "[y]ou can use any safe firearm meeting the m inimum caliber (9mm/. 3 8)
       and power factor ( l 2 5 PF) requirements." The USPSA has stated that "rifles with designs
       based on the AR 1 5, AK47, FN-FAL, HK9 1 , HK93, and others are allowed
       and must be used to be competitive." Moreover, we received some information indicating
       that the LCMM rifles actual ly are used in practical shooting competitions. 73 However, we
       did not receive any information demonstrating that an LCMM rifle ' s abil ity to accept large
       capacity military magazines was necessary for its use in practical shooting competitions.

       A couple of the interest groups recommended the LCMM rifles for organized competitive
       target shooting.

       None of the 70 published articles read mentioned the use of the LCMM rifles in organized
       competitive target shooting.

       All of the major ammunition manufacturers produce .308 Winchester ammunition (which
       is used in the LCMM rifle models based on the HK 9 1 and FN-FAL designs) and .223
       Rem ington amm unition (which is used in the HK 93, the SIG SG550, and some of the
       study rifle models based on the AK47 design) specifical ly for competitive shooting for
       rifles. The maj or manufacturers and advertisers of 9mm ammunition (wh ich is used in the
       LCMM rifles based on the Uzi design) identify it as being suitable for pistol target
       shooting and self-defense.




       73    M erely because a ri fle is used in a sporting competition, the rifle does not become a sporting ri fle. I I 4
             Cong. Rec. 2 746 1 -462 ( 1 968).
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           A majority of the importers who provided information stated that the LCMM rifles they
           import are permitted in and suitable for organized competitive target shooting. Two of
           the importers who responded also provided input from citizens in the form of letters and
           petitions supporting this position. However, the importers provided little evidence that
           the rifles were especially suitable for organized competitive target shooting.

           The information collected on the actual use of the LCMM rifles for organized competitive
           target shooting suggests that, with certain exceptions, the LCMM rifles usually may be
           used and sometimes are used for organized competitive target shooting; however, their
           suitabil ity for this activity is lim ited. In fact, there are some restrictions and prohibitions
           on their use. The use of the rifles in competitive target shooting appears more widespread
           than for hunting and their use for practical shooting was the most significant. Although
           we are not convinced that practical shooting does in fact constitute a sporting purpose
           under section 925(d), we note that there was no information demonstrating that rifles with
           the ability to accept detachable large capacity military magazines were necessary for use in
           practical shooting. Once again, the presence of this military feature on LCMM rifles
           suggests that they are not generally recognized as particularly suitable for or readily
           adaptable to sporting purposes.

           Use in crime:

           To fully understand how the LCMM rifles are used, we also examined information
           available to us on their use in crime. Some disturbing trends can be identified, and it is
           clear the LCMM rifles are attractive to criminals.

           The use of LCMM rifles in violent crime and firearms trafficking is reflected in the cases
           cited below. It should be noted that the vast majority of LCMM rifles imported during the
           period 1 99 1 - 1 997 were AK4 7 variants, which explains their prevalence in the cited cases.

           North Phi ladelphia, Pennsylvania

           From April 1 995 to November 1 996, a convicted felon used a straw purchaser to acquire
           at least 55 rifles, including a number of MAK90s. The rifles were then trafficked by the
           prohibited subj ect to individuals in areas known for their h igh crime rates. In one case, the
           rifles were sold from the parking lot of a local elementary school.
           Oakland, California

           On July 8, 1 995, a 32-year-old Oakland police officer assisted a fellow officer with a
           vehicle stop in a residential area. As the first officer searched the rear compartment of the
           stopped vehicle, a subject from a nearby residence used a Norinco model NMH 90 to
           shoot the 32-year old officer in the back. The officer later died from the wound.
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              El Paso, Texas

             On April 1 5 , 1 996, after receiving information from the National Tracing Center, A TF
             initiated an undercover investigation of a suspected firearms trafficker who had purchased
             326 MAK90 semiautomatic rifles during a 6-month period. The individual was found to
             be responsible for illegally diverting more than 1 ,000 firearms over the past several years.
             One of the MAK90 rifles that the subject had purchased was recovered from the scene of
             a 1 996 shootout in Guadalajara, Mexico, between suspected drug traffickers and Mexican
             authorities. Another MAK90 was recovered in 1 997 from the residence of a former
             Mexican drug kingpin fol lowing his arrest for drug-related activities.

             Charlotte, North Carolina

             On May 24, 1 996, four armed subjects-one with a MAK90 rifle-carried out a home
             invasion robbery during which they killed the resident with a 9mm pistol. All four
             suspects were arrested.

             Dallas, Texas

             In September 1 997, an investigation was initiated on individuals distributing crack cocaine
             from a federally subsidized housing community. During repeated undercover purchases of
             the narcotics, law enforcement officials noticed that the suspects had firearms in their
             possession. A search warrant resulted in the seizure of crack cocaine, a shotgun, and a
             North China Industries model 320 rifle.

             Chesterfield, V irginia

             In November 1 997, a MAK90 rifle was used to kill two individuals and wound three
             others at a party in Chesterfield, V irginia.

�
,iP          Orange, California

             In December 1 997, a man armed with an AKS 762 rifle and two other guns drove to
             where he was previously employed and opened fire on former coworkers, killing four and
             injuring three, including a police officer.

             Baltimore, Maryland

             In December 1 997, a search warrant was served on a homicide suspect who was armed at
             the time with three pistols and a MAK90 rifle.
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       We also studied import and trace information to learn whether the LCMM rifles are used
       in crime.

       Between 1 99 1 and 1 997, there were 425, 1 1 4 LCMM rifles imported into the U nited
       States. Th is represents 7.6 percent of the approximately 5 m i llion rifles imported during
       th is period . The breakdown of the specific variants of LCMM rifles imported follows:

                 AK-47 variants : 3 77,93 4
                 FN-F AL variants : 3 7, 5 3 4
                 HK variants:          6,495
                 Uzi variants:         3, 1 4 1
                 SIG SG5 5 0 variants:      10

       During th is same time period, A TF traced 632, 802 firearms. 74 This included 8 I ,842 rifles
       of which approximately 3 , 1 76 were LCMM rifles. 7 5 While this number is relatively
       low compared to the number of total traces, it must be viewed in light of the small
       number of LCMM rifles imported during th is time period and the total number of rifles,
       both imported domestic, that were available in the United States. A more significant trend
       is reflected in figure 1 .




       74
            A TF traces crime guns recovered and submitted by law enforcement officials. A crime gun is defined, for
            purposes of firearm s tracing, as any firearm that is i l legal ly possessed, used in a crime, or suspected by law
            enforcem ent of being used in a crime. Trace information is used to establish links between criminals and
             firearms, to investigate i l l egal firearm trafficking, and to identify patterns of crime gun traces by
            j urisdiction. A substantial num ber of fi rearms used in crime are not recovered by law enforcement
            agencies and therefore not traced. In add ition, not al l recovered crime guns are traced. Therefore, trace
             requests substantially underestimate the number of firearm s involved in crimes, and trace numbers contain
            unknown statistical biases. These problems are being reduced as more law enforcement agencies institute
            pol icies of comprehensive crime gun tracing.
       75
            The vast majority of LCM M rifles traced during thi s time period were AK47 variants. Spec i fi cally, AK47
            variants comprised 95.6 percent of the LCMM ri fles traced. Th is must be viewed within the context that
            8 8 percent of the LCMM ri fles imported duri ng this period were AK47 variants.
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                                                      Firearms Traces 1 99 1 - 1 997

                                       Total Firearms               Total Rifles             Total Assauit76             Total LCMM
              Year                         Traced                     Traced                  Rifles Traced              Rifles Traced
              1 99 1                       42 ,442                     6, 1 96                      656                            7
              1 992                        45, 1 34                    6,659                        663                           39
              1 993                        54,945                      7,690                        852                         1 82
              1 994                        83, 1 37                    9,20 1                       73 5                        5 96
              1 995                        76,847                      9,988                        717                         528
              1 996                      1 3 6,062                   1 7,475                     1 ,075                         800
              1 997                      1 94,2 3 5                  24,63 3                     1 ,5 1 8                   1 ,024
            Cumulative Total              632, 802                   8 1 , 842                  6,2 1 6                     3 , 1 76

                                                                         Figure I

            The figures in this table show that between 1 99 1 and 1 994, trace requests involving
            LCMM ri fles increased rapidly, from 7 to 596. During the same period, trace requests for
            assau lt rifles i ncreased at a slower rate, from 656 to 73 5 . The years 1 99 1 to 1 994 are
            significant because they cover a period between when the ban on the importation of
            sem iautomatic assault rifles was imposed and before the September 1 3, 1 994, ban on
            sem iautomatic assau lt weapons was enacted . Thus, during the years leading up to the
            1 994 ban, traces of LCMM rifles were increasing m uch more rapidly than the traces of the
            rifles that had been the focus of the 1 989 ban, as wel l as the rifles that were the focus of
            the 1 994 congressional action.

            We also compared patterns of importation with trace requests to assess the association of
            LCMM rifles with criminal involvement. The comparison shows that importation of
            LCMM rifles in the early 1 990s was followed immediately by a rapid rise in the number of
            trace requests involving LCMM rifles. Th is is shown in figures 2 and 3 .
rt




            76
                 For purposes of th is table, assault ri fles include ( I ) semi autom atic assau lt rifles banned from importation
                 in 1 989 but sti l l avai l able domestically because they had been imported into the          United States prior to
                 the ban , (2) domestical ly produced rifl es that would not h ave qual ified for importation after 1 989, and (3)
                 sem i autom atic assault ri fles that were banned in 1 994.
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                                           LCMM Rifles Im ported, 1 99 1 -1 997
                   'C

                    0           250
                    C.
                   -
                    E - 200
                          1/)
                   1/)    'C
                   (I;)
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                   ... I-
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                   E:,            0
                   z                    1 991      1 992    1 993        1 994     1 995    1 996    1 997

                                                             Figure 2




                                               LCMM Rifles Traced , 1 991 -1 997
                   "O
                    Qi  1 200
                   I- 1 000                                                                            10 4
                    1/1
                          800
                   � 600
                    ... 400
                                           7
                    E 200
                    :,
                   z        0
                                       1 991      1 992    1 993        1 994     1 995    1 996    1 997


                                                              Figure 3


       Two aspects of the relationship between importation and trace request patterns are
       significant. First, the rapid rise in traces following importation indicates that, at least in
       some cases, very little time elapsed between a particular LCMM rifle ' s importation and its
       recovery by law enforcement. This time lapse is known as "time to crime." A short time
       to crime can be an indicator of il legal trafficking. Therefore, trace patterns suggest what
       the case examples show: LCMM rifles have been associated with illegal trafficking.
       Second, wh ile LCMM rifles have not been imported in large numbers since 1 994, 77 the
       num ber of trace requests for LCMM rifles continues to rise. This reflects a sustained and

       77
               One reason is that there has been an embargo on the importation of firearms from China since
            May 1 994.
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              continuing pattern o f crim inal association fo r LCMM rifles despite the fact that there were
              fewer new LCMM rifles avai lable. 78 Moreover, it is reasonable to conclude that if the
              importation of LC MM rifles resumes, the new rifles would contribute to the continuing
               . .
              nse m trace requests "1or th em. 19

              All of the LCMM rifles have the abi lity to accept a detachable large capacity m i litary
              magazine. Thus, they all have the ability to expend large amounts of ammunition quickly.
               In passing the 1 994 ban on semiautomatic assault rifles and large capacity ammunition
              feeding devices, Congress found that weapons with thi s ability are attractive to crim inals. 80
                Thus, we can infer that the LCMM rifles may be attractive to criminals because in some
              ways they remain akin to military assau lt rifles, particularly in their abi l ity to accept a
              detachable large capacity m i litary magazine .




              78
                    The increase in trace requests also reflects the fact that law enforcement officials were making trace
                   requests for all types of fireann s m uch more frequently beginning in 1 996. There were 76,847 trace
                   requests in 1 995, 1 3 6,062 trace requests in 1 996, and 1 94,23 5 trace requests in 1 997. Traces for assault
                   rifles were increasing by approximately the same percentage as traces for LCMM rifles during these years.
              79
                   In addition to looking at case studies and tracing and im port information, we attem pted to get infonnation
1!fu
iJ/                on the use of the LCMM ri fles in crime by survey ing national law enforcement agencies and organizations,
                   as wel l as metropol itan police departments. Twenty-three national law enforcement agencies and
                   organ izations were surveyed and five responded. Three of the respondents stated they had no infonnation.
                    The other two prov ided infonnation that was either outdated or not specific enough to identify the LCMM
                   rifles.

                   The 26 metropol itan pol ice departments surveyed prov ided the following infonnation :

                   1 7 departm ents had no infonnation to prov ide.
                   5 departments stated that the LCMM rifles were viewed as cri me guns.
                   I department stated that the LCMM rifles were nonsporting.
                   2 departments stated that the LCMM rifles were used to hunt coyotes in their areas.
                   I department stated that the LCMM ri fles were used for si lhouette target shooting.
              80
                   H. Re p. N o. 1 03 -489, at 1 3 , 1 8 , 1 9 .
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                                           DETERMINATION

       In 1 989, A TF determined that the type of rifle defined as a semiautomatic assault rifle
       was not generally recognized as particularly suitable for or readi ly adaptable to sporting
       purposes. Accordingly, ATF found that semiautomatic assault rifles were not importable
       into the United States. This finding was based, in large part, on ATF's determ ination that
       sem iautomatic assault rifles contain certain general characteristics that are common to the
       modern m i l itary assault rifle. These characteristics were designed for killing and
       disabling the enemy and distinguish the rifles from traditional sporting rifles. One of
       these characteristics is a military configuration, which incorporates eight physical
       features: Abil ity to accept a detachable magazine, folding/telescoping stocks, separate
       pistol grips, abil ity to accept a bayonet, flash suppressors, bipods, grenade launchers, and
       night sights. I n 1 989, ATF decided that any of these m i litary configuration features,
       other than the abi lity to accept a detachable magazine, would make a semiautomatic
       assault rifle not importable.

       Certain sem iautomatic assault rifles that failed the 1 989 sporting purposes test were
       modified to remove all of the military configuration features, except for the abi lity to
       accept a detachable magazine. Sign ificantly, most of these modified rifles not only still
       have the ability to accept a detachable magazine but, more specifically, still have the
       abi lity to accept a large capacity military magazine. It appears that only one of the
       current study rifles, the VEPR caliber .308 (an AK47 variant), does not have the ability to
       accept a large capacity m i litary magazine and, therefore, is not an LCMM rifle. B ased on
       the standard developed in 1 989, these modified rifles were found not to fall within the
       semiautomatic assault rifle type and were found to meet the sporting purposes test.
       Accordingly, these rifles were approved for import into the U nited States.

       Members of Congress and others have expressed concerns that these modified
       sem iautomatic assault rifles are essentially the same as the semiautomatic assault rifles
       determ ined to be not importable in 1 989. In response to such concerns, the present study
       reviewed the current application of the sporting purposes test to the study rifles to
       determ ine whether the statute is being appl ied correctly and to ensure that the current use
       of the study rifles is consistent with the statute' s criteria for importability.

       Our review took another look at the entire matter. We reexamined the basic tenets of the
       1 989 study, conducted a new analysis of the physical features of the rifles, surveyed a
       wide variety of sources to acquire updated information relating to use and suitabi lity, and
       assessed changes in law that m ight have bearing on the treatment of the study rifles.

       This review has led us to conclude that the basic finding of the 1 989 decision remains
       valid and that m i l itary-style sem iautomatic rifles are not importable under the sporting
       purposes standard . Accordingly, we believe that the Department of the Treasury
       correctly has been denying the importation of rifles that had any of the distinctly military
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           configuration features identified in 1 989, other than the abi lity to accept a detachable
           magazine. Ou r rev iew, however, did result in a finding that the abi lity to accept a
           detachable large capacity m agazine originally designed and produced for a m i l itary
           assau lt weapon shou ld be added to the list of disqualifying m i litary configuration features
           identi fied in 1 989.

           Several im portant changes have occurred since 1 989 that have led us to reevaluate the
           i m portance of th is feature in the sporting purposes test. Most significantly, by passing
           the 1 994 bans on sem iautomatic assau lt weapons and large capacity ammunition feed ing
           devices, Congress sent a strong signal that firearm s w ith the ability to expel large
           amounts of amm unition q uickly are not sporting ; rather, firearms with this ability have
           m i l itary purposes and are a crime problem . The House Report to the 1 994 law
           emphasizes that the abi l ii to accept a large capacity magazine "serve[s] specific,
           com bat-functional ends ." 1 Moreover, this abi lity plays a role in increasing a firearm ' s
           "capab il ity fo r lethality," creating "more wounds, m ore serious, in more v ictims." 82
           Furthermore, the House Report noted sem iautomatic assault weapons w ith this abi lity are
           the "weapons of choice among drug dealers, crim i nal gangs, hate groups, and mental ly
           deranged persons bent on mass murder." 83

           M oreover, we did not find any ev idence that the ab i l ity to accept a detachable large
           capacity m i l itary magazine serves any sporting purpose. The House Report to the 1 994
           law notes that, while m ost of the weapons covered by the assault weapon ban come
           equipped w ith detachable large capacity magazines, hunting rifles and shotguns typically
           have m uch smaller magazine capabilities, from 3 to 5 rounds. 84 Sim ilarly, we found that
           a num ber of States limit m agazine capac ity for hunting to 5 to 6 rounds. We simply
           found no inform ation showing that the ability to accept a detachable large capacity
           m i litary m agazine has any purpose in hunting or organ ized competitive target shooting.

           Accordingly, we find that the abil ity to accept a detachable large capacity m i litary
           magazine is a critical factor in the sporting purposes test that must be given the same
           weight as the other m i litary configuration features identified in 1 989.

           The inform ation we col lected on the use and suitab i l ity of the LCMM rifles for hunting
           and organ ized competitive target shooting demonstrated that the rifles are not especially
           su itab le for sporting purposes. A lthough our study found that the LCMM rifles, as a
           type, m ay sometimes be used for hunting, we found no evidence that they are commonly
           used for hunting. In fact, some of the ri fles are unsu itable for certain types of hunting.
           81
                H . Rep. No. 1 03-489, at 1 8 .
           82
                H . Rep. No. 1 03-489, at I 9.
           83
                H. Rep . No. 1 03 -489, at 1 3 .
           84
                H . Rep. N o . I 03 -489, at 1 9 (footnote omitted).
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           The information w e collected also demonstrated that although the LCMM rifles, as a
           type, may be used for organized competitive target shooting, their suitability for these
           competitions is lim ited . There are even some restrictions or prohibitions on their use for
           certain types of competitions. In addition, we believe that all rifles which are fairly
           typed as LCMM rifles should be treated the same. Therefore, the fact that there may be
           some evidence that a particular rifle of this type is used or recommended for sporting
           purposes should not control its importabi l ity. Rather, all findings as to suitability of
           LCMM rifles as a whole should govern each rifle within this type. The findi ngs as a
           whole simply d id not satisfy the standard set forth in section 925 (d)(3).
I
           Finally, the information we gathered demonstrates that the LCMM rifles are attractive to
           certain crim inals. We find that the LCMM rifles' abi lity to accept a detachable large
           capacity m i litary magazine likely plays a role in their appeal to these crim inals. I n
           enacting the 1 994 bans o n sem iautomatic assault weapons and large capacity ammunition
           feed ing dev ices, Congress recognized the appeal large magazine capacity has to the
           crim inal element.

           Weighing all this information, the LCMM rifles, as a type, are not generally recognized
           as particu larly suitable for or readily adaptable to sporting purposes. As ATF found in
           conducting its 1 989 study, although some of the issues we confronted were d ifficult to
           resolve, in the end we believe the ultimate conclusion is clear and compelling. The
           abil ity of all of the LCMM rifles to accept a detachable large capacity military magazine
           gives them the capabil ity to expel large amounts of ammunition quickly; this serves a
           function in com bat and crime, but serves no sporting purpose. G iven the h igh standard
           set forth in section 925(d)(3) and the Secretary's d iscretion in applying the sport ing
           purposes test, th is conclusion was clear.

           Th is decision w i l l in no way preclude the importation of true sporting firearms. It will
           prevent only the importation of firearms that cannot fairly be characterized as sporting
           rifles.

           Individual importers with existing perm its for, and applications to import involving, the
           LCMM rifles w i l l be notified of this determ ination in writing. Each of these importers
           will be given an opportunity to respond and present add itional information and
           arguments. Final action will be taken on permits and applications only after an affected
           importer has an opportunity to makes its case.
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                                      T H E: W H IT E H OU S E
                                         WAS H I N GTO N



                                       November 14 , 1 9 9 7




               MEMORANDUM FOR THE SECRETARY O F THE TRSAS'UR.Y
               SUBJECT :       Importation of Modified Semiautoma.cic
                               Assault -Type Rifles

               The Gun Control Act of 19GB restricts the i=portation of
               firearms unless they are determined to be particularly suitable
               for or readily adaptable to sporting purpoaee . In 1989 , the
               Deparcmenc of the Treasury ( the Department ) conducted a review
               of exiscing criteria for applying the sta�utory �est based on
               changing patterns of gun use . As a result of that review,
               43 assault - type ri fles were specif ically banned from impor­
               tation . However . manufacturers bave modified many of those
               weapons banned in 1 9 8 9 to remove certain military features
               without changing their essent ial ope�at ional mechanism .
               Examples of such weapons are the Galil and the Uzi .
               In recent we eks . Members of Congress have scrongly urged that it
               is again necessary to review the manner in which the Oepartment
               is app1ying the eporcing purposes teat , in order to ensure that
               the agency' s practice is consistent with the statute and current
               patterns of gun use . A letter signed by 3 0 Senators strongly
               urged that modified assault - cype weapons are not properly
               importable under the statute and �bat I should use my authority
               to suspend cemporarily their importation while the Department
               conducts an incensive , expedited review . A recenc letter from
               Senator Dianne Feinstein emphasized again thac �eapons of this
               type a.re designed not for sporting purposes buc for the com­
               mission of crime . In addition, 34 Memb��a of the �ouse of
               Representatives signed a letter to Israeli Prime Minister
               Binyamin Netanyahu requesting that he intervene to scop all
               sales of Galils and Uzis inco the United States . These
               concerns have caused the Government of Israel to announce
               a temporary moratorium on the exportation of Galils and U:is
                so that the United Staces can. review the importa.bility of
                these weapons under the Gun Concrol Act .
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            The number of weapons at issue underscores the potential chreat
            to t.he public health and safety that necessi tates immedia te
            action . Firea:rt1\S importers have obt:ained permi ts co import
            nearly 6 0 0 , 0 0 0 modi f i ed assault - type rifles . In addition . there
            are pending before the Departmenc applications to import more
            than l mill ion addit ional such weapons . The number of rifles
            covered by outstanding permits is comparable to chac which
            existed in 'J.9 8 9 when the Bush Administration temporarily
            suspended imporc permits for assault-type ri f les . The number
            of weapons for which permits for importation are being sought
            through pending appl ications is approximately 10 times greater
            than in 19 8 9 . The number of such firearms for \ofhich import
            applicat ions have been f iled has skyrocketed from 1 0 . 0 0 0 on
            occober 9 , 1997 , to more than l million today .
            My Administration is coauuitted to enforcing the statutory
            reetrietions on importation of firearms that do not meet the
            sport ing pu.rpoaes tesc . It is necessary that we ensure that the
            atatuce is being correct1y applied and ch.at the current use of
            these modified weapons is consistent with che statut e ' s criteria
            for importability . This review should be conducted at onea on .
            an expedited basi s . The review is directed to weapons such as
            che Uzi and Galil chat fai led to meet �he sporting purposes teet
            in 198 9 , but were l ater found importable when certain military
            feacures were removed . The results of this review should be
            applied to all pending and future applications .
            The existence of outstanding permits for nearly 6O0 , 00 0 , modified
            aaaault - type rifles threacens to defeat the purpose of the
            expedited review unlese , as in 19 89 , the nepartmenc temporarily
            suspends such permit.a . Importers typically obtain authorizacion
            to import firearms in tar greater numbers than are actually
            imported into t.he United St.ates . However . gun importers could
            effectively negate the impact of any Department determinacion by
            simply importing weapons to the maximum amount allowed by their
            permits . The public health and safety require that the only
            f irearms allowed into che United States are those that meet the
            cri teria of the gtatute .
            Accordingly . as we discussed , you will :
                    1) Conduct. an immediate expedited review not to exceed
             1 4 0 daya in lengch to determine whether mo�ified semiaucomatie
             aesauit -type rifles are properly importable under the statutory
             spotting purposes tesc . The results o� this review will govern
             action on pending and future applications for import permits ,
             which shall not be acted upon until che completion of this
             review .
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                                          3

             2_) Suspend outst anding pe%111i1;s for importation of
        modified semiautomatic assault -type rifles for �he duration
        of Che 1 2 0 -day r evie� period . The temporary suspension does
        not consti�u�e a permanent revocation of any lic ense . Permi ts
        will be revoked only if and to the extenc t:hat you dete rmine
        chat a particular weapon does not satisfy the statutory teat
        for importation , and only after an affected importer has an
        opportunity to make its case to the Depa.r,:.me.nc .




                                        ' '
                                       tM,... ...L
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                                                                                  Exhibit 2

                                           STUDY RIFLE MODELS


    A K47 Variants:                                             FN-FAL Variants:

    MAK90*              SA2000               Saiga rifle        L l A l Sporter
    3 1 4*              ARM                  Galil Sporter      FAL Sporter
    56V*                MISR                 Haddar             FZSA
    89*                 MI STR               Haddar I I         SAR4800
    EXP56A*             SA85M                WUM I              X FAL
    S LG74              Mini PSL             WUM 2              C3
    N HM90*             ROMAK I              SLR95              C3A
    N HM90-2 *          ROMAK 2              SLR96              LAR Sporter
    NHM9 1 *            ROMAK 4              SLR97
    SA85M               Hunter rifle         SLG94
    SA93                3 86S                SLG95
    A93                 PS/K                 SLG96
    AKS 762             VEPR caliber
    V EPR                  7.62 x 39mm
      caliber .308


        H K Variants:                Uzi Variants:              SIG SG550 Variants:

    BT96                             Officers 9 *               SG550- l
    Centurian 2000                   3 2 0 carbine*             SG550-2
    S R9                             Uzi Sporter
    PSG I
    M SG90
    G3SA
    SAR8

    •     These models were manufactured in China and have not been imported since the 1 994
          embargo on the importation of firearms from China.
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                                                                                       Exhibit 3


                                            STUDY RIFLES

    The study ri fles are semiautomatic firearms based on the AK47, FN-FAL, HK 9 1 and 93, Uzi,
    and SIG SG 5 5 0 designs. Each of the study rifles is derived from a semiautomatic assau lt rifle.
    The fo l lowing are some examples of specific study rifle models grouped by design type. In each
    i n stance, a sem iautomatic assau lt rifle is shown above the study ri fles for comparison .

     A K47 V ariants




                                          A K4 7 sem iautomatic assau lt rifle




                   MISR                                                          ARM




                  MAK90                                                WUM I
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                                                                              Exhibit 3
     FN-FA L Variants




                                FN-FAL sem iautomatic assault rifle
    -------------------------------------------------------------------




        L l A l Sporter                                        SAR 4800




     HK 9 1 and 93 Variants




                                     HK9 l sem iautomatic assault rifle




                          SR9                                         SAR 8
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I



                                                                                                   Exh ibit 3


         Uzi Variants




                                                 Uzi sem iautomatic assault rifle




                                         --· · ·, ·' ·
                                         V
                                                              .
                                                   -� .   :.
                                                          .




                                                          320 carbine




         SIG SG5 5 0 Variants

        The fo l lowing il lustration depicts the configurat ion of a sem iautom atic assau lt ri fle based on the
        S I G S G 5 5 0 des ign . No i l lustrations of mod ified sem iautomatic versions are avai lable.




                                        S IG SG 5 5 0 sem iautomatic assault rifle
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                                                                                                                                                    Ex h ib i t .'..

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                                                                                   Exhibit 5


                                      MILITARY CONFIGURATION

     I.   Abil ity to accept a detachable magazine. V irtually all modem military firearms are
          designed to accept large, detachable magazines. This provides the soldier with a fairly large
          ammunition supply and the ability to rapidly reload. Thus, large capacity magazines are
          indicative of m i litary firearms. While detachable magazines are not limited to military
          firearms, most traditional semiautomatic sporting firearms, designed to accommodate a
          detachable magazine, have a relatively small magazine capacity. Additionally, some States
          have a limit on the magazine capacity allowed for hunting, usually five or six rounds.

    2.    Fold ing/telescoping stock. Many military firearms incorporate folding or telescoping
          stocks. The main advantage of this item is portability, especially for airborne troops. These
          stocks allow the firearm to be fired from the folded position, yet it cannot be fired nearly as
          accurately as with an open stock. W ith respect to possible sporting uses of this feature, the
          folding stock makes it easier to carry the firearm when hiking or backpacking. However, its
          predominant advantage is for military purposes, and it is normally not found on the
          traditional sporting rifle.

    3.    Pistol grips. The vast majority of m i litary firearms employ a well-defined separate pistol
          grip that protrudes conspicuously beneath the action of the weapon. In most cases, the
          ''straight line design" of the mil itary weapon dictates a grip of this type so that the shooter
          can hold and fire the weapon . Further, a pistol grip can be an aid in one-handed firing of the
          weapon in a combat situation. Further, such grips were designed to assist in controlling
          machineguns during automatic fire. On the other hand, the vast majority of sporting
          firearms employ a more traditional pistol grip built into the wrist of the stock of the firearm
          since one-handed shooting is not usually employed in hunting or organized competitive
          target competitions.

    4.    Ability to accept a bayonet. A bayonet has distinct m i litary purposes. F irst, it has a
          psychological effect on the enemy. Second, it enables soldiers to fight in close quarters with
          a knife attached to their rifles. No traditional sporting use could be identified for a bayonet.

    5.    Flash suppressor. A flash suppressor generally serves one or two functions. F irst, in
          military firearms it d isperses the muzzle flash when the firearm is fired to help conceal the
          shooter's position, espec ially at night. A second purpose of some flash suppressors is to
          assist in controlli ng the "muzzle climb" of the rifle, particularly when fired as a fully
          automatic weapon. From the standpoint of a traditional sporting firearm, there is no
          particular benefit in suppressing muzzle flash. Flash suppressors that also serve to dampen
          muzzle climb have a limited benefit in sporting uses by allowing the shooter to reacquire
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                                                                                         Exhibit 5


         the target for a second shot. However, the barrel of a sporting rifle can be modified by
         "magna-porting" to achieve the same result. There are also muzzle attachments for sporting
         firearms to assist in the reduction of muzzle cl imb. I n the case of military-style weapons
         that have flash suppressors incorporated in their design, the mere removal of the flash
         suppressor may have an adverse impact on the accuracy of the firearm.

    6.   B ipods. The majority of m i litary firearms have bipods as an integral part of the firearm or
         contain specific mounting points to which bipods may be attached. The military utility of
         the bipod is primarily to provide stability and support for the weapon when fired from the
         prone position, especially when fired as a fully automatic weapon. B ipods are avai lable
         accessory items for sporting rifles and are used primarily in long-range shooting to enhance
         stability. However, traditional sporting rifles generally do not come equipped with bipods,
         nor are they specifically designed to accommodate them. I nstead, bipods for sporting
         firearms are generally designed to attach to a detachable "slingswivel mount" or simply
         clamp onto the firearm.

    7.   Grenade launcher. Grenade launchers are incorporated in the majority of m ilitary firearms as
         a dev ice to facilitate the launching of explosive grenades. Such launchers are generally of
         two types. The first type is a flash suppressor designed to function as a grenade launcher.
         The second type attaches to the barrel of the rifle by either screws or clamps. No traditional
         sporting application could be identified for a grenade launcher.

    8.   N ight sights. Many m i litary firearms are equipped w ith luminous sights to faci litate sight
         alignment and target acquisition in poor light or darkness. Their uses are generally for
         military and law enforcement purposes and are not usually found on sporting firearms since
         it is generally not legal to hunt at night.
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                                                                                        Exhibit 6


     [This document has been retyped for clarity.]

                                       MEMORANDUM TO FILE

                                    FIREARMS ADVI SORY PANEL

         The initial meeting of the F irearms Advisory Panel was held in Room 3 3 1 3, Internal
    Revenue Building, on December 1 0, 1 968, with all panel members present. I nternal Revenue
    S ervice personnel in attendance at the meeting were the Director, A lcohol and Tobacco Tax
    Div ision, Harold Serr; Chief, Enforcement B ranch, Thomas Casey; Chief, Operations
    Coordination Section, Cecil M. Wolfe, and Firearms Enforcement Officer, Paul Westenberger.
    D eputy Assistant Commissioner Compliance, Leon Green, visited the meeting several times
    during the day.

         The Director convened the meeting at I 0:00 a.m. by welcoming the members and outlining
    the need for such an advisory body. He then introduced the Comm issioner of Internal Revenue,
    Mr. Sheldon Cohen, to each panel member.

         Mr. Cohen spoke to the panel for approximately fi ft een m inutes. He thanked the members
    for their willingness to serve on the panel, explained the role of the panel and some of the
    background which led to the enactment of the Gun Control Act of 1 96 8 . Comm issioner Cohen
    explained to the panel members the conflict of interest provisions of regulations pertaining to
    persons employed by the Federal Government and requested that if any member had any
    personal interest in any matter that came under discussion or consideration, he should make such
    interest known and request to be excused during consideration of the matter.

         Mr. Seer then explained to the panel the areas in which the Division would seek the advice
    of the panel and emphasized that the role of the panel would be adv isory only, and that it was the
    responsibil ity of the Service to make final decisions. He then turned the meeting over to the
    moderator, Mr. Wolfe.

         Mr. Wolfe explained the responsibility of the Service under the import provisions of the
    Gun Control Act and under the Mutual Security Act. The import provisions were read and
    discussed.

         The panel was asked to assist in defining Asporting purposes= as used in the Act. It was
    generally agreed that firearms designed and intended for hunting and all types of organized
    competitive target shooting would fall within the sporting purpose category. A discussion was
    held on the so-called sport of Aplinking:::. It was the consensus that, while many persons
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                                                                                            Exhibit 6


        participated in the type of activ ity and much ammunition was expended in such endeavors, it was
        primarily a pastime and could not be considered a sport for the purposes of importation since any
        fi rearm that could expel a projectile could be used for th is purpose without having any
        c haracteristics generally associated with target guns.

             The point system that had been developed by the Division and another point system formula
        suggested and furnished by the Southern Gun Distributors through Attorney Michael Desalle,
        was explained and demonstrated to the panel by Paul Westenberger. Each panel member was
        g iven copies of the formulas and requested to study them and endeavor to develop a formula he
        believed would be equitable and could be applied to all firearms sought to be imported.

             A model BM59 Beretta, 7.62 mm, NATO Caliber Sporter Version Rifle was presented to
        the panel and their adv ice sought as to their suitability for sporting purposes. It was the
        consensus that these rifles do have a particu lar use in target shooting and hunting. Accordingly,
        it was recommended that importation of this rifle together with the S IG-AMT 7.62mm NATO
        Cal iber Sporting Rifle and the Cetme 7.62mm NATO Caliber Sporting Rifle be authorized for
        importation. Importation, however, should include the restriction that these weapons must not
        possess combination flash suppressors/grenade adaptors w ith outside diameters greater than
        20mm (.22 mm is the universal grade adaptor size).

             The subject of ammunition was next discussed. Panel members agreed that incendiary and
        tracer small arms ammunition have no use for sporting purposes. Accordingly, the Internal
        Revenue Serv ice will not authorize these types of small arms ammunition importation. All other
        conventional smal l arms ammunition for pistols, revolvers, rifles and shotguns will be
        authorized .

            The meeting was adjourned at 4 :00 p.m.




                                                      C.M. Wolfe
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                                                                              Exhibit 7

                      STA TE FISH AND GAME COMMISSION REVIEW


     S TA TE RESTRICTION   RIFLE RESTRICTION             MAGAZINE RESTRICTION

    A labama               Not for turkey

    A laska

    Arizona                                              Not more than five rounds

    Arkansas               Not for turkey

    C alifornia

    C olorado                                            Not more than six rounds

    C onnecticut*          No rifles on public land

     Delaware              No rifles

    F lorida                                             Not more than five rounds

    G eorgia               Not for turkey

     Hawaii

     Idaho                 Not for turkey

     I l linois            Not for deer or turkey

     Ind iana*             Not for deer or turkey

    Iowa                   N ot for deer or turkey
                           No restrictions on coyote or fox
    Kansas

    Kentucky

    Lou isiana             Not for turkey

    Maine*                 Not for turkey

    Maryland*
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                                                                            Exhibit 7


        S TA TE RESTRICTION   RIFLE RESTRICTION        MAGAZINE RESTRICTION



        M assachusetts        Not for deer or turkey

        M ichigan             Not for turkey           Not more than six rounds

        M innesota

        M ississippi          Not for turkey

        M issouri             Not for turkey           Chamber and magazine not more
                                                       than 1 1 rounds

        Montana

        Nebraska                                       Not more than six rounds

        Nevada                Not for turkey

        New Hampshire*        Not for turkey           Not more than five rounds

        New Jersey            No rifles

        New Mexico            Not for turkey

        New York*                                      Not more than six rounds

        North Carol ina       Not for turkey

�       North Dakota          Not for turkey

        Ohio                  Not for deer or turkey

        Oklahoma                                       Not more than seven rounds for
                                                       .22 caliber
        Oregon*                                        Not more than five rounds

        Pennsylvania*         No semiautomatics
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                                                                                               Exhibit 7


         S T ATE RESTRICTION            RIFLE RESTRI CTION              MAGAZINE RESTRI CTION

         Rhode Island                   Prohibited except for
                                        woodchuck in summer

        South Carolina                 Not for turkey

        South Dakota                                                   Not more than five rounds

        Tennessee                       Not for turkey

        Texas

        Utah                            Not for turkey

        V ermont                                                       Not more than six rounds

        V i rginia*

         Wash ington                    Not for turkey

        West Virginia

        Wisconsin

        Wyom ing


        * Lim ited restrictions ( e.g., specified areas, county restrictions, populated areas, time of day).


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                                       DEPA RTMENT OF THE T R E ASU R Y
                                B U R E A U O F A L C O H O L . TOB ACCO A N D F I R E A R M S
                                               WASH I N G T O N , O . C . 20226


       0 I H ECTOR

                                                                                             O : F : S : DMS
                                                                                             3 3 10




                     Dear S ir or Madam :
                     On November 14 , 1 9 9 7 , the Pres ident and t he Secret ary
                     of the Treasury decided to conduc t a review to
                     determine whether mod i f ied semiautomati c ass au l t ri f les
                     are properly importable under Federal law . Under
                     1 8 U . S . C . sec t ion 9 2 5 ( d ) ( 3 ) , f irearms may be import ed
                     into the United States only if they are determined to
                     be of a type generally recogn i zed as part i cu larly
                     suitable for or readi ly adaptable to sport ing purposes .
                     The firearms in quest ion are semiautomat i c r i f l es based
                     on the AK4 7 , FN- FAL , HK9 1 , HK9 3 , SIG SGS S 0 - 1 , and Uz i
                     des igns .
                     As part of the review , the Bureau of Alcoho l , Tobacco
                     and Firearms ( ATF ) is interested in rece iving
                     informat ion that s hows whether any or all o f the above
                     types o f semiautomat ic r i f l es are part icularly sui t able
                     for or readily adaptable to hunt ing or organi zed
                     compet i t ive target shoot ing . We are ask i ng that you
                     voluntarily complete the enc losed survey t o a s s i s t us
                     in gathering this informat ion . We ant i c ipate that the
                     survey wi l l take approximately 1 5 minutes to complet e .
                     Responses must be rece ived no later than January 9 ,
                     1 9 9 8 ; those received after that date cannot be included
                     in the review . Re sponses should be forwarded to t he
                     Bureau of Alcohol , Tobacco and Firearms , Department HG ,
                     P . O . Box 5 0 8 6 0 , Washington , DC 2 0 0 9 1 . We apprec iate
                     any informat ion you care to provide .
                                                  S incerely yours ,



                                           ffa:ohn�: Ma!!  �
                                                 Di rector
                      Enc l osure
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                                                                                      1)MB No. 1 5 1 2-0542

                                ATF SURVEY OF HUNTING GUIDES
                                       FOR RIFLE USAGE
                                                  Page I of 2

       Please report only on those clients who hunted medium game (for example, turkey) or larger
       game (for example, deer) with a rifle.

       For the purposes ofthis survey, please count only individual clients and NOT the number of trips
       taken by a client. For example, ifyou took the same client on more than one trip, count the client
       only once.

       1 . What is the approximate nwnber of your clients who have ever used manually operated rifles
       during the past two hunting seasons of 1 995 and 1 996?

       -----number of clients.
       2. What is the approximate number of your clients who have ever used semiautomatic rifles
       during .the past two hunting seasons of 1 995 and 1 996?

       -----number of clients.
       3. What is the approximate number of your clients who have ever used semiautomatic rifles
       whose design is based on the AK 47, FN-FAL, HK9 1 , HK93, SIG 550-1, or Uzi during the past
       two hunting seasons of 1 995 and 1 996?

       -----number of clients.
       4. From your knowledge, for your clients who use semiautomatic rifles, please list the three
       most commonly used rifles.
            Make                        Model                                    Caliber




        5. Do you recommend the use of any specific rifles by your clients?

               __Yes (Continue to #6)            __No ( You are.finished with the survey. Thank you.)




        An agency may not conduct or sponsor, and a person is not required to respond to, the collection
        of information unless it displays a currently valid 0MB control number.
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       6. If your answer to item 5 is "Yes", please identify the specific rifles you recommend.
            Make                          Model                                        Caliber




       7. Do you recommend the use of any semiautomatic rifles whose design is based on the AK 47,
       FN-F AL, HK.9 1 , HK93, SIG 550-1, or Uzi?

                     Yes (Continue to #8)        __No ( You are finished with the survey. Thank you.)

       8. If your answer to item 7 is "Yes", please identify the specific rifles whose design is based on
       the AK 47, FN-FAL, HK91, HK93, SIG 550- 1 , or Uzi that you recommend.
            Make                          Model                                       Caliber




        An agency may not conduct or sponsor, and a person is not required to respond to, the collection
        of information unless it displays a currently valid 0MB control nwnber.
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                       Number of clients Using                   Recom mend
          case Manu al          Semiauto AK47 et.al .          Any      AK4 7 et.al.
          A      1        28             0           0          No
                 2      1 00           1 0            0        Yes          No
          A
          A      3        18             0            0         No
          A      4      1 20           40             0        Yes          No
           A      5        12            0            0        Yes          No
           A      6        80          40             0         No
           A      7      275            25            0         No
           A      8
           A       9         0            0            0
           A     10           0
                              2           5            0        Yes          Yes
           A 11
           A 12             12             0           0        Yes          No
            A 13            10             6            0        No           No
            A 14              5            7            0        No
            A 15               0           0            0
            A     16        20             0            0        No           No
            A 17
            A 18               0            0           0        No
            A     19         1 7            6            0       No
            A 20             30             8            0       No
                           1 17             7            0       Yes           No
             A 21
                           1 60             0            0       Yes           No
             A 22
             A 23             23             1           0       Yes           No
             A 24           1 00             5           0       Yes           No
                            210            10             0       Yes          No
             A 25
                               12            4            1       Yes          Yes
             A 26
                    27         24             3           0       Yes           No
             A
                               20           15            0       Yes           No
             A 28
                                 4            0           0        No           No
              A 29
                                 4            0            0      Yes           No
              A 30
                             1 00              5           0       No           No
              A 31
              A 32                1            0           0       No           No
              A 33                                         0       No           No
              A 34            1 42              1           0      No
                                78              2           0      Yes           No
              A 35
               A 36           600          200                     No
               A 37              20          1  3           1       No
               A 38              45           1 5           0       No
               A 39            1 00           1  0          0       No
                                 80              6           2     Yes           No
               A 40
               A 41            250            25             0     Yes           No
               A 42                 4             0          0      No
                                  14              2          0      No            No
                A 43
                A 44            1 71           1  5          0      Yes           No
                                  54              6           0     Yes           No
                A 45
                A 46               10             6           0      No
                A 47                 0            0           0      No           No
                A 48               24              0          0      No
                A 49             1 80              2          0      Yes          No
                A 50
                 A 51
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                            Number of clients Using               Recommend
           case         Manual  Semiauto AK47 et.al.             Any    AK47 et.al.
           A       52         24          16          0          No
           A       53        600        1 00         12          No
           A       54         18           6          0          No
           A       55          0           0          0          No
           A       56          0           0          0          No
           A       57         40           4          0          No
           A       58
           A       59          40        10              0       No         No
           A       60          60         2              0       No         No
           A       61          63         4              0       Yes        No
           A       62          40         4              0       No
           A       63           8         0              0       Yes        No
           A       64          27          1             0       Yes        No
           A       65          50          9             0       Yes        No
           A       66          35          2             0        No
           A       67           6          0             0       Yes         No
            A      68           6          3                      No
            A      69          50         20             0        No
            A      70                      0             0       Yes         No
            A      71          27          1             0       Yes
            A      72          85          0             0       Yes         No
            A      73          56         24             0       Yes         No
            A      74          25         25             0       Yes         No
            A      75         1 00        20             0        No
            A      76           50        15             3        No
            A      77          15          4             0        No
            A      76          12          0             0       Yes         No
            A      79          75          0             0        No
            A      80
            A      81           0          0             0        No
            A       82          0          0              0       No
            A       83          12         4              0       No         No
            A       84          40             0          0       Yes        No
            A       85          24             0          0       No
            A       86          17             0          0       No          No
            A       87          16             3          0       Yes         No
            A       88          45         10             0       No
            A       89          11             7          7       Yes        Yes
            A       90          35             1          0       Yes        No
            A       91          25          2             0       Yes        No
               A    92              0       0             0
               A    93          75         40             0       Yes         No
               A    94          60             2             0    Yes         No
               A    95          26             0             0    No
               A    96          20             0                   No         No
               A 97             65         11                0    Yes         No
               A 98             40             5             0    Yes         No
               A 99             26             5             0     No
               A 1 00           13             2             0     No
               A 1 01
               A 1 02           45             6             0     No         No
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                   Number of clients Using                               Recommend
                             Semiauto AK47 et. al .                     Any   AK4 7 et.al.
          case Manual
          A 1 03     1 20             4             0                   No
          A 1 04                                                        Yes
          A 1 05      1 50          50              0                   No           No
          A 1 06         80         20              0                   Yes          No
           A 1 07        40            0            0                    No          No
           A 1 08        1 0           0            0                    No
           A 1 09      1 60          40              0                  Yes          No
           A 1 10        1 0         1 0             0                   No          No
           A 111           6           0             0                   No
           A 112
                          1 50             1 50            1 00          Yes         Yes
           A 1 13
           A 1 14           50               25               0          No          No
           A 1 15           19                0               0          Yes         No
           A 1 16          80                 3               0          No
           A 1 17          40                10               0          Yes         No
           A 1 18
            A 1 19          50                0                0         Yes          No
            A 1 20            0                0               0          No
            A 121             0                0               0
            A 1 22         1 20              15                0         Yes          No
            A 1 23           10               0                 0        Yes          No
            A 1 24           22               0                 0        Yes          No
            A 1 25           40              40                20         No
            A 1 26           50               10                0         Yes         No
            A 1 27           60               20                0         Yes         No
             A 1 28           14               0                0          No         No
             A 1 29           13              16                  4       ·No
             A 1 30           80               4                  0       Yes         No
             A 1 31           12               2                  0       Yes         No
             A 1 32                               4               0       Yes         No
             A 1 33          50                26                 7           No      No
             A 1 34          12                 0                 0           No
             A 1 35           2                10                  3          No
              A 1 36             2                 1               1         Yes          No
              A 1 37         28                    0               0         Yes          No
              A 1 38          45                  10                          No
              A 1 39          46                  59                0         Yes         No
              A 1 40                                                0         Yes         No
              A 141           40                  10                0         No          No
              A 1 42          70                  20                0         Yes         No
              A 1 43          50                      3             0         No          No
               A 1 44          60                     6             0         Yes         No
               A 1 45        1 40                     0             0         Yes         No
               A 1 46          20                     4             1         Yes          No
               A 1 47          10                     1             0         Yes          No
               A 1 48            0                    0             0          No          No
               A 1 49           37                    0              0         Yes         No
                                                                     0         Yes         No
               A   1 50
               A   1 51              6             10                0         No          No
               A   1 52          110                5                0         No
                                  15                  17                       Yes         No
               A   1 53
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                     N u mber of clients U sing               Recommend
            case Manual    Semiauto AK47 et.al .             Any   AK47 et.al.
            A 1 54      18            4         0            No
            A 1 55      25            3         0            Yes       No
            A 1 56       60         6                3       No
            A 1 57       20         0                0       No
            A 1 58       88        46                0       No        No
            A 1 59       68        19                3       Yes       Yes
            A 1 60       25         5                0       No
            A 1 61       15         0                0       No
            A 1 62       75        10                0       No
            B    1                                           No
            C    1       25          0               0       Yes       No
            C    2       55         10               6       Yes       Yes
            C    3       60         30               0       No
            C    4       80         20               0       No
            C    5       10          0               0       No         No
            C    6       25          6               0       No
            C    7       66         10               1       No
            C    8       24          0               0       Yes        No
            C    9       10         15               15       No
            C    10      35         15               9       Yes       Yes
            C    11                                  0        No
            C    12                                                     No
            C    13       25        10                0       No
            C    14       60        20                0      Yes        No
            C    15       20         0                0      Yes        No
            C    16       14         0                0       No
            C    17                   0               0      Yes        No
            C    18       18        25                5      Yes        Yes
            C    19      1 25       50                5      Yes        No
            C    20        20         5               2       No
            C    21                   0               0      Yes        No
            C    22        30         0               0      No         No
            C    23      1 50       20             0         Yes        No
            C    24        60         0            0          No
            C    25        16        7             6          Yes       Yes
            C    26      300       650           400          No
            C    27       20        15                8       Yes       Yes
             C   28         3        5                2       No
             C   29       45         6                   0    Yes        No
             C   30                                           No
             C   31       30            0                0    Yes        No
             C   32                                      0    Yes        No
             C   33        35           4                0    Yes        No
             C   34        25           5                0    Yes        No
             C   35                                           Yes        No




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                             04. Three most commonly used rifles
       case   Make      Other Make         Model           Caliber
       A 1
       A 2
       A 3
       A 4     Browning                    BAR                 300
       A 5
       A 6     Remington                   742                 30.06
       A 7     Browning                    BAR                 30 .06, .270. 7MM, 300 Mag
       A 8
       A 9
       A 10
       A 1 1 Remington                      740-7400           20, 30
       A 12
       A 1 3 Remington                      700                7 mm mag
       A 1 4 Remington                      7400               270
       A 15
       A 16
       A 17
        A 18
        A 1 9 Browning                                          30.06
        A 20 Remington                      742                 30.06
        A 21
        A 22
        A 23 Browning                       ?                   300 mag
        A 24 Remington                                          30.06
        A 2 5 Remington                                         30.06
        A 26 Browning                       BAR                 30.06
        A 27 Remington                                          30.06
        A 28             ?                  ?                   06
        A 29
        A 30
        A 3 1 Browning                       automatics
        A 32
        A 33
        A 34 Remington                                          .3006
        A 35 Browning                                           7 mm
         A 36 Browning                                          30 .06
         A 37 Brown ing                      BAR                30.06
         A 38 Browning                       br                 7 mm, 300win, 30.06
         A 39 Remington                      7600                .270 win, .30-06, .280 rem
         A 40 Browning                       Bar mark I I       300 win mag
         A 4 1 Remington
         A 42
         A 43 Remington                      7600                243 - 7 mm mag
         A 44                                                    30.06. 300 winmag, .338 , 270
         A 4 5 Brown ing                     BAR Automatic       30 .06



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                             Q4 . Three most commonly used rifles
    A   46   Brown ing                      BAR             7 mm, 30.06
    A 47
    A 48
    A 49
    A 50
    A 51
    A 52     Browning                      BAR                7 mm mag/30.06
    A 53     Browning                      BAR                30 .06, 300 wm
    A 54     Brown ing                     BAR                30 .06
    A 55
    A 56
    A 57     Browning                      semi-auto          300 mag
    A 58
    A 59
    A 60
    A 61     Browning                                         30 .06
    A 62     Browning                                         7 mm
    A 63     Browning                      BAR                .270 - 300 win mag
    A 64     Browning                      BAR                30.06
    A 65     Browning                      semi-auto          .308
    A 66     Browning
    A 67
    A 68     Remington                     7400                30.06
    A 69     Browning
    A 70
    A 71     Browning                      Not sure
    A 72
    A 73     Browning                       BARR               30.06
     A 74    Browning                       BAR                300
     A 75    Remington                      7400 old 752       270 and 30.06
     A 76    Browning                       BAR                308, 30.06, 300win, 338 win
     A 77    Remington                                         308
     A 78    Browning                                          300 , 270, 30.06
     A 79
     A 80
     A 81
     A 82
     A 83                                                      30 caliber or biaaer for elk
     A 84
     A 85
     A 86
     A 87     B rowning                                         30.06 and 7 mm
     A 88     Browning                      BAR                 7 mm, .300, .270
     A 89     Other       Russian           SKS                 7 .62
     A 90     Brown ing                                         1 or 2 in over 50 years
     A 91     Browning                                          300 win mag


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                            04 . Three most commonly used rifles
   A 92
   A 93
   A 94    Browning                       BAR
    A 95
    A 96
    A 97     Browning                     BAR                  300-06-270
    A 98     Browning                                          300, 30 .06
    A 99 Other         Savage                                  7 mm
    A 1 00 Browning                        ?                   7 mm mag
    A 1 01
    A 1 02 Browning Only 1 I recall        BAR                 30.06
    A 1 03
    A 1 04
    A 1 05
    A 1 06 Brown ing                       BAR                 300 win mag
    A 1 07
    A 1 08
    A 1 09 Browning                                            30 .06
    A 1 1 0 Remington                      700                 30 .06 , 270 , 7 mm
    A 111
    A 1 12
    A 1 1 3 Other      Weatherby                               300 mag
    A 1 1 4 Browning                                           7 m mag
    A 1 15
     A 1 16
     A 1 1 7 Browning
     A 118
     A 1 19
     A 1 20
     A 121
     A 1 22 Browning                        U/K                 .338 mag
     A 1 23
     A 1 24
     A 1 25
     A 1 26 Remington                          742              243, 30.06
     A 1 27 Winchester                         ?                30.06
     A 1 28 Winchester                                          270, 306
     A 1 29 Brown ing                          BAR              7 mm and 243
     A 1 30 Browning                                            30.06
      A 1 3 1 Browning                         BAR               .7 mm mag
      A 1 32 Remington                                          30 .06
      A 1 33                                   AK 47            223
      A 1 34
      A 1 35 Remington                                           270
      A 1 36 Browning                          BAR
      A 1 37



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                              Q4 . Three most commonly used rifles
         A 1 38 Winchester                                   30.06
         A 1 39 Browning                     BAR             270, 7 mm
         A 1 40 Browning                                     7 mm
         A 1 41
         A 1 42 Browning                                      7 mm mag
         A 1 43
         A 1 44 Browning                                      30.06
         A 1 45
         A 1 46 Browning                    BDL               7 mg
         A 1 47 Browning                    BAR               308
         A 1 48
         A 1 49
         A 1 50 Remington
         A 1 5 1 Browning                   BAR               308
         A 1 52 Remington                                     various 270 - 338
         A 1 53 Browning                                      30
         A 1 54 Browning                     BAR              7 mm mag
         A 1 55                                               30.06
         A 1 56 Other     BAR
         A 1 57
         A 1 58 Remington                    280              280
         A 1 59 Browning                                      7 mm mag
         A 1 60 Remington                    Semiauto         30.06
         A 161
         A 1 62 Browning                                       30.06
         B 1                                                   .308, 30-06, .270
         C 1
         C 2    Other     AK-47              Antelope Hunter 30
         C 3    Browning                     Auto            30 .06
         C 4    Browning                     Bar             7mm
         C 5
         C 6
         C 7    Browning                                       30.06
         C 8
          C 9 Other        FN-FAL                              308
          C 1 0 Remington                    742               30.06
          C 1 1 Browning                                       306
          C 12
          C 1 3 Remington                                      .06 - 7mm
          C 1 4 Browning                      BAR              7mm
          C 15
          C 16
          C 17
          C 1 8 Ruger                         Ranch Rifle      223
          C 1 9 Other      AK47
          C 20 Browning                       BAR               300 win mag


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                                   04 . Three most commonly used rifles
        C 21    Other        Bolt-action or pump
        C 22
        C 23    Brown ing                                          30.06
        C 24
        C 25    Other        AK47                                  7.62-39
        C 26    Other        HK                   93               .308
        C 27    Browning                        • BAR              7mm
        C 28    Other        Norinco              SKS Type 56      7 . 62X39
        C 29    Browning                          BAR              30.06 -.300
        C 30
        C 31
        C 32    Browning                                           3.06 - 7mm
        C 33    Remington                                          30.06
        C 34    Remington                         74 1             .270 - 30.06
        C 35    Remington                                          .270
        A 1
        A 2
        A 3
        A 4     Rem ington                        7400              30 .06
        A 5
        A 6     Browning                                            30.06
        A 7     Remington                         700               30.03, 270, 7 mm
        A 8
        A 9
        A 10
        A 11    Winchester                        1 00              30
         A 12
         A 13   Winchester                        70                300 mag
         A 14   Remington                         7400              30.06
         A 15
        A 16
        A 17
        A 18
        A 1 9 Remington                            7400             30.06
        A 20 Browning                                               7 mm mag
        A 21
        A 22
        A 23
        A 24 Brown ing                                              30.06
        A 25 Browning                                               30.03 to 300 mag
        A 26 Remington                             Fieldmaster      30.06
        A 27
        A 28
        A 29
        A 30
        A 3 1 Remington                            automatics


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                          04. Three most commonly used rifles
     A 32
     A 33
     A 34
     A 35
     A 36    Remington                                    270 - 30.06
     A 37    Remington                  7400              30.06
     A 38
     A 39    Browning                    BAR              .270 win , 7 mm mag
     A 40    Remington                   7400             30.06
     A 41    Brown ing
     A 42
     A 43    Brown ing                   BAR              243 - 7 mm mag
     A 44
     A 45
     A 46    Remington                   1 1 00           1 2 gauge
     A 47
     A 48
     A 49
     A 50
     A 51
     A 52    Remington                   7400             30 .06
      A 53   Remington                   14oon42          30.06
      A 54
      A 55
      A 56
      A 57   Remington                   semi-auto         30.06
      A 58
      A 59
      A 60
      A 61   Other     Savage                              7 mm mag
      A 62   Remington                                     30.06
      A 63   Remington                   742               .270 - 30.06
      A 64
      A 65 Winchester                     semi-auto        .308
      A 66 Remington
      A 67
      A 68 Remington                      7400             .308
      A 69 Remington
      A 70
      A 7 1 Remington                     742              30.06
      A 72
      A 73 Remington                                       30.06
      A 74 Remington                      ?600             30.06
      A 75 Browning                       BAR              270/338 and 30.06
      A 76 Other      AK-47                                 30
      A 77 Remington                                        30 .06


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                          04 . Three most commonly used rifles
   A 78   Remington                      ?               300, 270. 30.06
   A 79
   A 80
   A 81
   A 82
   A 83
   A 84
   A 85
   A 86
   A 87 Remington                                         30.06
   A 88 Remington                        742. 7400        30.06 . . 270
   A 89 Other         Heckler-Koch       HK91             308
   A 90 Remington
   A 91 Remington                                         30.06
   A 92
   A 93
   A 94
   A 95
   A 96
   A 97
    A 98 Remington                       760               .300, 30.06, 270
    A 99 Brown ing                                         7 mm
    A 1 00 Remington                      742              30 .06
    A 1 01
    A 1 02
    A 1 03
    A 1 04
    A 1 05
    A 1 06
    A 1 07
    A 1 08
    A 1 09 Winchester                                      308
    A 1 10
    A 111
    A 1 12
    A 1 1 3 Remington                     700            7 mm mag
    A 1 1 4 Remington                     742 Wlngmaster 30.06
    A 115
    A 1 16
    A 1 1 7 Remington
    A 118
    A 1 19
    A 1 20
    A 121
    A 1 22
    A 1 23



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                             04 . Th ree most commonly used rifles
    A 1 24
    A 1 25
    A 1 26 Ruger                             22
    A 1 27 Martin                            ?               .308
    A 1 28 Remington                                         7m
    A 1 29
    A 1 30
    A 1 3 1 Browning                         BAR             30.06
    A 1 32
    A 1 33 Ruger                             Mini 1 4        223
    A 1 34
    A 1 3 5 Remington                                         243
    A 1 36 Other       HK 9 1
    A 1 37
    A 1 38 Browning                                           308
    A 1 39 Remington                          742             30.06 - 6 mm
    A 1 40 Rem ington                                         30 .06
    A 141
    A 1 42 Browning                                            300 win mag
    A 1 43
     A 1 44 Browning                                           7 mm mag
     A 1 45
     A 1 46 Brown ing                         BDL              300
     A 1 47
     A 1 48
     A 1 49
     A 1 50 Winchester
     A 1 5 1 Remington                        742              30.06
     A 1 52 Ruger                                              various 270 - 338
     A 1 53 Winchester                                         30
     A 1 54 Browning                           BAR              30.06
     A 1 55
     A 1 56 Other      AK-4 7
     A 1 57
     A 1 58 Winchester                                          338
     A 1 59 Remington                                           30 .06
     A 1 60
     A 161
     A 1 62 Remington                         742                30.06, 270
     B 1
     C 1
     C 2
     C 3      Winchester                       Auto              30 .06
     C 4      Browning                         Bar               338
     C 5
     C 6


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                             04 . Three most commonly used rifles
    C 7     Remington                                       30.06
    C 8
    C 9     Other        Uzi                                   9mm
    C 10    Other        AK-47             Hunter              7.62x39
    C 11    Other        Weatherby                             300
    C 12
    C 13    Winchester                                         .06 - 7mm
    C 14    Browning                                           300
    C 15
    C 16
    C 17
    C 18    Other        AK-47
    C 19    SigArms                        550- 1
    C 20    Ruger                          Mini 1 4             .223
    C 21
    C 22
    C 23 Remington                         742                  30.06
    C 24
    C 25 Other     MAK-90                                       7 .62-39
    C 26 Other     HK                      91                   0.223
    C 27 Remington                         7400 Series          30.06
    C 28 Remington                         7600                 30.06
    C 29 Remington                         742                  .308 - 3.06
    C 30
    C 31
    C 32 Remington                                              30.06 • 7mm
    C 33 Browning                                               300 win
    C 34 Browning                                               .270 - 30 .06
    C 35 Browning                                               300
    A 1
    A 2
     A 3
     A 4     Ruger                          Mini 1 4            223
     A 5
     A 6     Other       Savage                                 270
     A 7
     A 8
     A 9
     A 10
     A 11
     A 12
     A 13    Browning                       A-bolt               270
     A 14
     A 15
     A 16
     A 17



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                         04. Three most commonly used rifles
    A 18
    A 19
    A 20
    A 21
    A 22
    A 23
    A 24
    A 25
    A 26 Other      China              SKS              7.62x37
    A 27
    A 28
    A 29
    A 30
    A 31
    A 32
    A 33
    A 34
    A 35
    A 36 Winchester                                     270 - 30.06
    A 37
    A 38
     A 39
     A 40 Ruger                                          44 mag
     A 41
     A 42
     A 43 Ruger                                          223 - 30 .06
     A 44
     A 45
     A 46
     A 47
     A 48
     A 49
     A 50
     A 51
     A 52
     A 53   Ruger                          Mini-1 4              .223
     A 54
     A 55
     A 56
     A 57   Ruger                          semi-auto             35 cal
     A 58
     A 59
     A 60
     A 61
     A 62    Ruger                         Mini 1 4              223
     A 63



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                        Q4 . Three most commonly used rifles
   A 64
   A 65
   A 66
   A 67
   A 68
   A 69
   A 70
   A 71
   A 72
   A 73
   A 74 Brown ing                        BAR            30.06
   A 75
   A 76 Remington                                        30.06, 270
   A 77 Browning                                         300
   A 78
   A 79
   A 80
   A 81
   A 82
   A 83
   A 84
   A 85
   A 86
    A 87
    A 88
    A 89 Other      Springfield Armory   FNG             308
    A 90
    A 91
    A 92
    A 93
    A 94
    A 95
    A 96
    A 97
    A 98
    A 99
    A 1 00
    A 1 01
    A 1 02
    A 1 03
    A 1 04
    A 1 05
    A 1 06
    A 1 07
    A 1 08
    A 1 09



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                               04. Three most commonly used rifles
        A 1 10
        A 111
        A 1 12
        A 1 1 3 Other     All                                30 .06
        A 1 1 4 Remington                    721             270
        A 115
        A 1 16
        A 117
        A 1 18
        A 1 19
        A 1 20
        A 121
        A 1 22
        A 1 23
        A 1 24
        A 1 25
        A 1 26 Browning    Remington          Shotguns         12 gauge
        A 1 27 Remington                                      .308 or 30.06
        A 1 28 Other       Savage                             308
        A 1 29
         A 1 30
         A 131
         A 1 32
         A 1 33 Srowning                      BAR              7 mm
         A 1 34
         A 1 35 Browning                      742              30.06
         A 1 36 Other      AK 47
         A 1 37
         A 1 38
         A 1 39 Other      Weathert>y                          300 m
         A 1 40
         A 141
         A 1 42
         A 1 43
         A 1 44
         A 1 45
          A 1 46 Ruger                         #1               7 mag
         A 1 47
         A 1 48
         A 1 49
         A 1 50 Brown ing
         A 1 51
         A 1 52 Browning                                         various 270 - 338
         A 1 53
         A 1 54 Browning                        BAR              8 mm mag
         A 1 55


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                           Q4. Three most commonly used rifles
   A 1 56 Other      Uzi
   A 1 57
   A 1 58 Browning                                           300
   A 1 59
   A 1 60
   A 1 61
   A 1 62
   B 1
   C 1
   C 2
   C 3 Browning                           Auto               270
   C 4    Browning                        Bar                300
    C 5
    C 6
    C 7
    C 8
    C 9   Other      HK91
    C 1 0 Browning                        BAR                30.06
    C 11
    C 12
    C 1 3 Browning                                            300
    C 14
    C 15
    C 16
    C 17
    C 18
    C 19
    C 20 Other       AK47                                     7.62 X 39
    C 21
    C 22
    C 23 Remington                        742                 308, 270
    C 24
    C 25             M 1 -A1                                  .223
     C 26
     C 27 Winchester Various               M1 Garand          30.06
     C 28
     C 29                                  M 1 A1              30.06
     C 30
     C 31
     C 32
     C 33
     C 34
     C 35




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                                         Q 6 . Rifles recommended for clients
case      Make         Other Make                  Model      Caliber
A 1
A 2       Ruger                                                  30.06
A 3'
A 4       Other        Weatherby                 Mark V          300
 A 5                                                             30.06
 A 6
 A 7
 A 8
 A 9
 A 10
 A 11
 A 12
 A 13
 A 14
 A 15
 A 16
 A 17
 A 18
 A 19
 A 20
 A 21     Winchester                                             30.06, .270
 A 22     Remington                               700            7 mm or larger
 A 23     Winchester                              70             25 to 30
 A 24     Remington                               710            30 .06
  A 25               Any make                     Bolt action    Does not recommend
  A 26    Winchester                              70             30.06 or larger
  A 27    Other      Weatherby                                   300
  A 28    Other      bolt action                                 270 and up
  A 29
  A 30                 hunter's choice                            .270
  A 31
  A 32
  A 33
  A 34
  A 35    Winchester                              70              300 win mag
  A 36
  A 37
  A 38
  A 39
  A 40     Remington                                              30 .06 - 300 win mag
  A 41
   A 42
   A 43
   A 44                                                           30.06, 300winmag, 338, 270
   A 45    Browning                                Bolt Action    25.06 - 328


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                                     Q 6. Rifles recommended for clients
case   Make      Other Make                   Model        Caliber
A 46
A 47
A 48
A 49 Oth er      Weatherby                                 300 mag
A 50
A 51
A 52
A 53
A 54
A 55
A 56
A 57
A 58
A 59
A 60
 A 6 1 Remington                              Bolt Action 300 mag
 A 62
 A 63 Other      bolt action repeating rifles              30.06 to .338 winmag
 A 64 Winchester                               70          338
 A 65 Remington                                bolt action 308,25-06,243, 7 mm mag,30 .06,22-250,300 mag all
 A 66
 A 67 Ruger                                    #1           7 mm, 30.06, 7 mm mag
 A 68
A 69
A 70    Other                                  Bolt Action   30.06
A 71                                                         3 00 mag
A 72    Other        My make                  Any model      7 mm, 270 , 30 .06 , 25 .06
A 73
A 74    Brown ing                              BAR           300 win mag
A 75
 A 76
 A 77
 A 78   Browning                               Bolt action
 A 79
 A 80
 A 81
 A 82
 A 83
 A 84
 A 85
 A 86
 A 87    Remington                             700           30.06 , 7 mm, 270
 A 88
 A 89    Other       Russian                   SKS            7.62
 A 90    Other       Weatherby                                7 mm mag



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                                         Q 6. Rifles recommended for clients
    case     Make        Other Make               Model      Caliber
    A 91     Remington                            700        ? mag
    A 92
    A 93 Winchester                              70           300 mag
    A 94 Other         Any bolt action                        270 or larger
    A 95
    A 96
    A 97 Other         Any bolt action                         30 or larger. on sem iauto same
    A 98
    A 99
I   A 1 00
    A 1 01
    A 1 02
    A 1 03
    A 1 04
    A 1 05
    A 1 06 Other       Weatherby                               300 magnum
    A 1 07
    A 1 08
    A 1 09 Remington                             70            7 mm
    A 1 10
     A 111
     A 1 12
     A 1 13
     A 1 14
     A 115
     A 1 16
     A 117                                                     magnum
     A 118
     A 1 1 9 Remington                            700           7 mm
     A 1 20
     A 121
     A 1 22
     A 1 23
     A 124
     A 1 25
     A 1 26                                                     300 mag, 338 mag, 30 .06
     A 1 27
     A 1 28
     A 1 29
     A 1 30 Remington                             700           7 mm magnum
     A 1 31
     A 1 32 Other         Weatherby                             300 mag
     A 1 33
     A 1 34
     A 1 35


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                                   Q 6. Rifles recommended for clients
case     Make     Other Make                Model      Caliber
A 1 36
A 1 37 Remington                           700           7 mm
A 1 38
A 1 39 Brown ing                           BAR           7 m or 270
A 1 40
A 141
A 1 42                                                   30.06
A 1 43
A 1 44 Browning                                          from 7 mm mag to 338 mag for deer and elk
A 1 45 Winchester                                        30 .06
A 1 46 Browning                            BDL           7 mag
A 1 47 Remington                           700 BDL       7 mm
A 1 48
A 1 49
A 1 50 Brown ing                           Bolt action
A 1 51
A 1 52
A 1 53 Remington                           700           30
A 1 54
A 1 55 Other      Weatherby                              300
A 1 56
A 1 57
A 1 58
A 1 59 Browning    Ruger                                 243, 30 .06, 7 mm mag, 340 weather• . 338
A 1 60
A 161
A 1 62
 B 1                                                     7.62 X 39
 C 1    Other     Manually operated
 C 2    Ruger                               77           300
 C 3
 C 4
 C 5
 C 6
 C 7
 C 8    Remington                           700           270
 C 9
 C 1 0 Other      HK                        91            .308
 C 11
 C 12
 C 13
 C 1 4 Other      Bolt-action w/ belted mag               Calibers, make and model mean nothing
 C 1 5 Other      Bolt-action                             30.06-7mrn
  C 16
  C 1 7 Other     Bolt-action



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                                       Q 6. Rifles recommended for clients
case     Make          Other Make               Model       ! Caliber
C 18     Ruger                                  Ranch Rifle I 223
C 19                                                          .243 and larger
C 20
C 21
C 22
C 23     Other         Bott-action                           7mm mag
C 24
C 25     Other         Savage                                7mm mag
C 26
C 27     Winchester                            70            30.06
C 28
 C 29    Winchester                            70            30.06 - .338
 C 30
 C 31    Winchester                            Manual, bolt 300
 C 32    Remington                             All          270 - 7mm
 C 33    Winchester                            70           30.06 - .300 win
 C 34    Other      Bolt-action                             270 or larger for elk and deer
 C 35    Other      Bolt-action or semiautos                .270 or larger
 A 1
 A 2     Remington                                            7 mm
 A 3
 A 4     Winchester                             70            300
 A 5
 A 6
 A 7
 A 8
 A 9
 A 10
 A 11
 A 12
 A 13
 A 14
 A 15
 A 16
 A 17
 A 18
 A 19
 A 20
 A 21     Remington                             70             30.06
 A 22     Winchester                            70             7 mm or larger
 A 23     Remington                             700            25 to 30
  A 24    Remington                                            300 Mag
  A 25
  A 26    Browning                              A bolt         30 .06 or laraer
  A 27                                                         300 win mag, 30 .06 or 270



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                                    Q 6. Rifles recommended for clients
case Make       Other Make                   Model      Caliber
A 28
A 29
A 30            hunter's choice -                          .308
A 31
A 32
A 33
A 34
A 35 Remington                             700 BDL         7 mm
A 36
A 37
A 38
A 39
A 40 Winchester                                            30.06 - 300 win mag
A 41
 A 42
 A 43
 A 44
 A 45 Remington                             Bolt Action    25.06 - 328
 A 46
 A 47
 A 48
 A 49
 A 50
 A 51
 A 52
 A 53
 A 54
 A 55
 A 56
 A 57
 A 58
 A 59
 A 60
 A 61 Other     Savage                       Bolt Action    7 mm mag
 A 62
 A 63
 A 64 Remington                              700            300 win mag
 A 65 Other     Weatherby
 A 66
 A 67 Remington                              Bolt Action    7 mm. 30.06, 7 mm mag
 A 68
 A 69
 A 70                                        Pump           30.06
 A 71                                                       7 mm mag
 A 72


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                                Q 6. Rifles recommended for clients
case Make       Other Make               Model      Caliber
A 73
A 74 Winchester                        7C             300 win mag
A 75
A 76
A 77
A 78 Remington                          Bolt Action
A 79
A 80
A 81
A 82
A 83
A 84
A 85
A 86
A 87 Browning                                         308. 7 mm. 30.06
A 88
A 89 Other       Heckler-Koch           HK-91         308
A 90
A 9 1 Winchester                        70            300 mag
 A 92
 A 93 Browning                          Mark II       300 mag, 280-270-25.06
 A 94
 A 95
 A 96
 A 97 Other      Semi-auto                            30 cal or larger
 A 98
 A 99
 A 1 00
 A 101
 A 1 02
 A 1 03
 A 1 04
 A 1 05
 A 1 06 Remington                        700           300 win mag
 A 1 07
 A 1 08
 A 1 09 Winchester                                     300 mag, 30 .06
 A 1 10
 A 111                                                                         ,   --
 A 1 12                                                                            --
 A 1 13
 A 1 14
 A 1 15
 A 1 16
 A 1 17


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                                     Q 6. Rifles recommended for clients
    case Make           Other Make            Model      Caliber
    A 118
    A 1 1 9 Other       Weatherby                           300
    A 1 20
    A 121
    A 1 22
    A 1 23
    A 1 24
    A 1 25
    A 1 26
    A 1 27
    A 1 28
    A 1 29
    A 1 30
    A 1 31
    A 1 32 Other       Weatherby                            700 mag
    A 1 33
    A 1 34
    A 1 35
    A 1 36
    A 1 37 Other       Weatherby                            300
    A 1 38
    A 1 39 Remington                         742            30.06 or 6 mm
    A 1 40
    A 1 41
    A 1 42                                                  7 mm recommended for deer and elk
    A 1 43
     A 1 44 Other      Weatherby                            from 7 mm mag to 338 for deer
     A 1 45 Other      Weatherby                            300
     A 1 46 Browning                          BOC           300
     A 1 47
     A 1 48
     A 1 49
     A 1 50 Winchester                        Bolt Action
     A 1 51
     A 1 52
     A 1 53 Remington                         700            7 mm
     A 1 54
     A 1 55 Other      Weatherby                             7 mm
     A 1 56
     A 1 57
     A 1 58
     A 1 59 Winchester Remington                             340 Weather - .338 mag
     A 1 60
     A 1 61
     A 1 62


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                                    Q 6. Rifles recommended for clients
case    Make          Other Make             Model      Caliber
B 1
C 1
C 2     Browning                                           300
C 3
C 4
C 5
C 6
C 7
C 8     Remington                           700            280
C 9
C 10    Winchester                          70             .270
C 11
C 12
C 13
C 14
C 15
C 16
C 17    Other         Pump
C 18    Other         AK-47
 C 19                                                      6mm
 C 20
 C 21
 C 22
 C 23   Other         Bott-action                          .30
 C 24
 C 25   Other         Bolt-action                          30.06
 C 26
 C 27   Ruger                                77            .300 win mag
 C 28
 C 29   Remington                            700           30 .06- .338
 C 30
 C 31   Rem ington                           Manual bolt   300
 C 32   Browning                             All           .270 - 7mm
 C 33   Ruger                                77            30.06 - .300 win
 C 34
 C 35
 A 1
 A 2     Winchester                                         375
 A 3
 A 4     Winchester                          70             270
 A 5
 A 6
 A 7
 A 8
 A 9



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                                         Q 6. Rifles recommended for cl ients
    case Make         Other Make                  Model      Caliber
    A 10
    A 11
    A 12
    A 13
    A 14
    A 15
    A 16
    A 17
    A 18
    A 19
    A 20
    A 2 1 Remington                              70             .270
    A 22
     A 23 Other       Ally bolt action            1 -5 shotmag 25 to 30
     A 24 Other       Weatherby                                300 mag
     A 25
     A 26
     A 27
     A 28
     A 29
     A 30
     A 31
     A 32
     A 33
     A 34
     A 35
     A 36
     A 37
     A 38
     A 39
     A 40 Ruger                                                  30 .06 - 300 win mag
     A 41
      A 42
      A 43
      A 44
      A 45 Winchester                             Bolt Action    25.06 - 328
      A 46
     A 47
     A 48
     A 49
     A 50
     A 51
     A 52
     A 53
     A 54



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                                       Q 6. Rifles recommended for cl ients
case     Make       Other Make                  Model      Caliber                   .
A 55
 A 56
 A 57
 A 58
 A 59
 A 60
 A 61    Other       Weatherby                 Bolt Action    338 mag
 A 62
 A 63
 A 64    Other      Weatherby Mark V                          300 Wea Mag
 A 65    Winchester Browning
 A 66
 A 67    Winchester Bolt Action
 A 68
 A 69
 A 70                                          Bolt Action    7 mm
 A 71
 A 72
 A 73
 A 74    Browning                              A Bolt         300 win mag
 A 75
 A 76
 A 77
 A 78
 A 79
 A 80
 A 81
 A 82
 A 83
 A 84
 A 85
 A 86
 A 87 Other          Weatherby                                 300, 7 mm, 338
 A 88
 A 89 Other           Springfield Armory        FNG            308
 A 90
 A 91 Ruger                                     77             300 mag
 A 92
 A 93 Ruger                                     M77            270, 26-06, 300 mag
 A 94
 A 95
  A 96
  A 97
  A 98
  A 99


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                               Q 6. Rifles recommended for clients
case     M a ke   Other Make            Model      Caliber
A 1 00
A 1 01
A 1 02
A 1 03
A 1 04
A 1 05
A 1 06 Browning                        1 895        45-70 govt
A 1 07
A 1 08
A 1 09
A 1 10
A 111
A 1 12
A 1 13
 A 1 14
 A 115
 A 1 16
 A 1 17
 A 1 18
 A 1 1 9 Other     Savage                            270 or 30.06
 A 1 20
 A 1 21
 A 1 22
 A 1 23
 A 1 24
 A 1 25
 A 1 26
 A 1 27
 A 1 28
 A 1 29
 A 1 30
 A 1 31
 A 1 32
  A 1 33
  A 1 34
  A 1 35
  A 1 36
  A 1 37
  A 1 38
  A 1 39
  A 1 40
  A 141
  A 1 42                                              300 winmag recommended
  A 1 43
  A 1 44 Remington Weatherby                          from 270 to 338 for deer and elk



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                                Q 6 . Rifles recommended for clients
case   Make        Other Make             Model      Caliber
A 1 45 Remington                                     270
A 1 46 Ruger                              #1         7 mag
A 1 47
A 1 48
A 1 49
A 1 50                                                All bolt action with a round nose point
A 151
A 1 52
A 1 53
A 1 54
A 1 55
A 1 56
A 1 57
A 1 58
A 1 59                                                300mag,41 6Rigby ,375mag,270 mag,500 nitroxpress
A 1 60
A 161
A 1 62
B 1
C 1
C 2    Other     Sako                                 300
C 3
C 4
C 5
C 6
C 7
C 8
C 9
C 1 0 Winchester                         1 00          .308
C 11
C 12
C 13
C 14
 C 15
 C 16
 C 1 7 Other     Weatherby                             243 to 300
 C 18
 C 19
 C 20
 C 21
 C 22
 C 23
 C 24
 C 25
 C 26



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                                  a 6. Rifles recommended for clients
case   Make          Other Make          Model         Caliber
C 27   Springfield                       M Garard      30.06 - 308
C 28
C 29   Browning                          A bolt        30 .06 - . 338
C 30
C 31
C 32   Ruger                             All           .270 - 7 mm
C 33   Browning                          A bolt        30.06 - 300 win
C 34
C 35




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                                        Q 8. Recommended rifles based on AK47 et.al .
              case      Make   Other Make        Model                                      Caliber
         A         26 AK47                                                                        7 . 62x37
         A         89 Other    Russian           SKS                                                  7.62
         A       1 1 3 FN -FAL
         A       1 59 AK47
         C           2 AK47                      Antelope and Vam,ints and Target Shooters             30
         C         1 0 AK47                                                                       7 . 62x39
         C         1 8 AK47
         C         2 5 AK47                                                                           7.62


•
         C         27 FN-FAL                                                                          308
         A         26          SKS                                                                7.62x37
         A         89 HK91                                                                             308
         A        113          H K 99
         C            2 AK4 7                     Antelope and Varmints and Target Shooters            243
         C          1 0 HK9 1                                                                          308
         C          25         MAK 90                                                                 7.62
         C          27         Century            L1A1                                                 308
         A          89 Other   Springfield Armory FNG                                                  308
         A        1 1 3 HK93
         C          1 0 HK93                                                                           223
          C         25         M- 1 5                                                                  223
          C         27 HK91    And clones                                                              308




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                                Addi tional Comments by Hunting Guides

      Addi t ional comments :

      (8)   The respondent answered quest ions 1 , 2 , 3 , and 5 with "None of your
            business . " He then s tated in quest ion 4 : " I t ' s none of your bus iness what
            kind , make , model or how many guns l aw ab iding c i t i zens of the U . S . own ,
            prefer to shoot : "

      (9)   The respondent wrote that he was no longer i n busi ne s s but that he had
            owned a waterfowl operation and upland bird operat i on ( shotguns only) . He
            added that assault ri fles were not true sporting r i fles and that they
            should be l im i t ed to use by the mi li tary and l aw enforcement agencies .
            However , he f e l t that true sporting weapons that c an be modi fied into some
            � qu as i - a s s au l t weapons " should not be rest r icted . He stated that he
            supported the e f fort to get mil itary weapons of f the streets but did not
            want the rights of t rue sportsmen to be a f fected .

       ( 1 0 ) Al though l i censed , the respondent did not guide anyone during the past
               year .

       ( 1 1 ) The respondent s ta ted in question 6 that he recommends any legal caliber
               rifle that c l i ent is comfortable with and that is capable of killing the
               des ired game .

       ( 12 ) For questi on 6 , the respondent repl ied that he didn ' t recommend any
              spec i f i c make or model , other than whatever hi s c li ents are most
              comfortable us ing so long as the weapons are legal for the. parti cular
              game .

       ( 15 ) The respondent s tated that his organization was solely recreational
              wi ldl ife watching and photography .

       ( 17 ) The respondent did not answer the questions but informed us that i t is
              i l legal i n Hawai i to hunt turkey with a ri f le .

       ( 2 3 ) The respondent s t at ed that the study r i f l e s were more suitable for
               mi litant s than sportsmen . He added , � r f they want to use these weapons
                let them go back to the service and use them to defend our country, not
               against i t . "

       ( 2 5 ) The respondent s t at ed that , in his 3 5 years of conducting big game hunts ,
               he had never seen any of the study rifles u s ed for hunting . He suggested
               that the r if le s are made to ki l l people , not big game .

       ( 2 6 ) The respondent recommended bol t - action r i f l e s for h i s c lients but s tated
               that he does n ' t demand that they use such r i f les . The respondent
               recommended the s tudy ri f les in close- range s i tuat ions in which there are
               multiple target s that may pose a danger to the hunte r ( e . g . , coyotes ,
                foxes , mountain l ions , and bears ) .

        ( 2 7 ) The respondent s tated that he recormnended the study ri fles for hunting but
                not any spe c i f i c make .




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          (32)      The r e s pondent s a i d that mo s t o f h i s c l ients a r e bow or p i s t o l hunters .
                    He s aid that the re i s l i t t l e i f any u s e for the s tudy r i f le s i n hi s
                    out f i t t ing s e rv i ce because i t f ocuse s on hunt s o f mountain l ions and
                    b ighorn sheep . However , he did recommend the study r i f l e s on targe t
                    ranges and in compe t i t ive shoot ing s i tuat ions and c it ed h i s r ight to bear
                    arms .

           (35)     The respondent re commended bol t - ac t i on r i f l e s f or h i s c l ient s .

           (40)     The res pondent s tated that s emiautoma t i c r i f l e s ( s uch as the AK4 7 ) and
                    o t hers are use ful for preda tor hunt i ng .

           (41)     The respondent s a id t hat he re commended only ranges o f cal ibers deemed
                    sui table but not make s and mod e l s of spec i f i c r i f les .

           (44 )    The respondent recommended the fol lowing c a l ibers for hunting wi thout any
                    spec i f i c makes or mode l s : 3 0 . 0 6 , 3 0 0 W i n mag , 3 3 8 , and 2 7 0 .

           (47)     The respondent s tated : " You are aski ng ques t ions about certain makes of
                    a s s ault ri f l e s , but you are go ing to end up going after ALL semiautomatic
                    guns . I ' ve spent about 2 1 years HUNT ING wi th shotguns and I ' ve used
                    semiautoma t i c mode l s . I f you go down the l i s t of t imes that one new l aw
                    didn ' t end up be ing a whole s loe [ s i c ] of othe r l aws I would be surpri sed .
                    Maybe some face - to - face w i t h t he s e .,,,eapons wou ld be a good thing for
                    po l it i c i ans . If they see how they are used in ' the Real World ' then they
                    may make better amendment s . "

           (49)     The respondent spec i f ic a l ly recommended the s tudy r i f l e s only for gri z z ly
                    bears or moos e .

           (SO)      The respondent s t ated that hi s bus i ne s s involved wat erfowl hunt ing , which
                     uses only shotguns .

           (51)      The respondent rep l i ed : " I t i s my op inion this i s a one sided survey , and
                     does not te l l the real meaning and purpos e of the survey . And that i s to
                     ban a l l sport ing arms in the future . The way thi s survey is presented is
                     out of l ine . n

            (53 )    The respondent s ta t ed : " I recommend to a l l my hunters that they j oin the
                     NRA, vote Republ i c an , and buy a good s emi - auto for personal de fense . "

            (57)     The respondent s tated that mos t o f hi s c l i ents use bolt - action r i f l e s . He
                     sugges ted that semiautomatics are not as accurate as bol t - action r i f les .

            (58)     The respondent stated that the survey did not pertain to hi s wat erfowl
                     hunt ing bus ines s s ince only shotguns are used . He added that he did not
                     bel i eve s emiautoma t i c s in general present any more threat to the public
                     than other weapons or f i rearms . However , he suggested that che aply made
                     a s s aul t - type ri f l e s imported from China and other countri es are inaccurate
                     and not suitable for hunt ing .

            (59)     The re spondent s t ated that he had no knowledge o f the semiautomatic r i f l e s
                     beyond 3 0 . 0 6 or s imi lar cal ibers f o r hunt ing . He added that he did not
                     have a use for • automa t i c • weapons .
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     ( 64 )     The respondent stated : "We need to look at weapons .and determine what t he
                des igner ' s intent was for the weapon . We rea l ly � need combat weapons
                in the hunting environment . I personally woul d refuse to guide for anyone
                carrying such a weapon . "

     ( 65 )     The respondent recommended the fol lowing cal ibers for hunt ing : 7mm, 3 0 . 0 6 ,
                . 3 08 , . 7 0 8 , 2 5 . 0 6 , . 2 4 3 , 2 2 . 2 5 0 , and 3 0 0 mag . However , he stated that the
                study r i f l e s are of no use to the sporting or hunt ing communi ty
                whatsoever .

     ( 71)      The respondent stated that he mainly hunts e l k but did not recommend any
                addit ional information about specific firearms except for us ing 3 0 0 mag
                and 7 mm mag cal ibers .

     ( 73 )     The respondent recommended any bolt -action or s emiautomatic in the 3 0 or
                7mm cal i bers . However , he s tated that he doesn ' t al low his c l i ents to use
                any model s based on assault rifles : �They are not needed for hunt ing . A
                good hunter does not have these . "

      (78)      The respondent recommended bol t - action ri fles for hunti ng , parti cular l y
                Browning and Remington .

      ( 80 )    Although the respondent s tated that he does not conduct guides , he did not
                see a reason to a llow any rifles other those manufactured speci f ical ly for
                hunting and sport shoot i ng : "Al l assault rifles are for f ighti ng war and
                kil ling humans . "

      ( 82 )    The respondent s tated t hat he used shotguns only .

      ( 84 )    The respondent said that he did not allow semiautomatic or automatic
                rif les in hi s bus ine s s . He spe c i fically recommended manual ly operated
                ri f les .

      ( 90 )    The respondent stated that a l l the semiautomatics l ike AK47 s are
                absolutely worthle s s and that he found no redeeming hunt ing value in any
                AK47 type of r i f l e . He further explained that the purpose of hunt ing is
                to use the minimum number o f she l l s , not the maximum : " I have only known
                1 (person] in s o years to use an AK47 . He shot the deer about 3 0 times .
                That wasn ' t hunting , it was murder . w He sugges ted that he would be
                wi l l i ng to test i fy in Congress against such weapons .

       ( 92 )    The respondent s tated that he had been contacted in error , as he was not
                 in the hunting guide bus ine s s .

       (98)      The respondent recommended any rifle that a c lient can shoot the best .

       ( 10 1 ) The respondent wrot e a l e t ter saying that his business was too new to
                provide us with useful information about client use ; howeve r , he stated
                that the Chi nese AK47 does a pro ficient j ob on deer and s imilar s izes of
                game and may be the only r i f l e that some poor people could a f ford . He
                said that he is wi l l i ng to tes t i fy to Congres s about the outrageous price
                of certain weapons .

       ( 10 2 ) The respondent did not recommend rif les but recommended cal ibers . 2 7 0 ,
                3 0 . 0 6 , . J OO , and 7 mm .




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      ( 1 0 3 ) The respondent stated that he had c l ients who used semi automa t i c r i f les ,
                but he didn ' t know whi ch makes or mode l s .

      ( 104 )      The respondent recommended any legal weapons capabl e of k i l l ing game ,
                   " including the types mentioned under the 2 nd amendment . "

      ( 10 5 )     The respondent s tated tha t the semiautoma t i c ri f le s u s ed by his c l ients
                   were Remingtons .

      ( 1 12 )     The respondent stated that he coul d not provide any useful informat ion
                   because his bus ine s s was too new .

       ( 113 )     The respondent recommended whatever is avai lable to knock down an elk .
                   He recommended spec i f ic cal ibers : 3 0 . 0 6 , 3 0 0 , or 3 3 8 .

       ( 115 )     The respondent ques t i oned why anyone would use a s emiautoma t i c f i rearm to
                   hunt game : �Anyone using such horrible arms should be shot with one
                   themse lves . Any big game animal does not have a chance with a ri f le and
                   now you say peopl e can use semiautomatic rifles . "

       ( 116 )     The respondent had had three c l i ents who used semiautomat ics with 3 0 . 06
                   and 2 7 0 - cal iber ammun i t ion ; however , he didn ' t know the makes or mode l s .

       (118)       The survey questions were not answered , but the respondent wrot e : �This
                   i s a s tupid survey . No one contends they hunt much for big game with an
                   AK4 7 . The debate i s over the right to own one , whi ch the 2nd amendment
                   s ays we can . "

       (119)       The respondent recommended bol t - ac tion rifles for hunting .

       ( 12 1 )    The respondent s tated that he uses only shotguns in h i s operati on .

       ( 12 2 )    The respondent recommended r i f l e s with the calibers o f . 2 7 0 - 3 0 . 0 6 or
                   larger to the . 3 0 0 mag or . 3 3 8 mag . However , he s a i d that anything other
                   than a standard s emiautoma t i c sport ing rifle is i l l egal in Colorado ,
                   where his bus ine s s i s conducted .

        ( 12 3 )   The respondent , who i s a bighorn sheep out f itter , s t ated that t he
                   semiautomati c rif le s have no place i n big game hunting . He recorranended
                   bas i c hunting r i f l e s with calibers of 2 7 0 or 3 0 . 0 6 .

        ( 12 4 )    The respondent , who hunts mai nly deer and elk , recommended cal ibers 2 70 ,
                    3 0 . 06 , 3 0 0 mag , 7 mm , 8mm , or 3 3 8 .

        ( 12 5 )    The respondent said that hi s c l ients did use semiautomati c s , but he
                    didn ' t have any spe c i f i c informa t i on about which one s .

        ( 12 6 )    The respondent s t ated that the s tudy r i f l e s shoul d remain in one ' s home
                    or on private property . He would l i ke to have s ome for personal use but
                    would not recommend them for hunting . He further expres sed h i s
                    disple asure with t h e Brady b i l l and stated that criminal s need to b e held
                    accountab l e for thei r actions .

        (127)       The respondent , who hunts mos t ly elk and deer , said that the AK4 7 i s not
                    powerful enough to hunt elk ; however , it may be ideal for sma l le r game ,
                    l i ke deer or antelope . He recommended any r i f l e s of 3 0 . 06 cal iber or
                    large r for hunting .


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      ( 13 1 )     The respondent recommended bol t - action r i f les for his c l i ents with
                   cal ibers . 2 4 , . 2 5 , 7 mm , or . 3 0 . He ci ted his preference because of
                   fewer moving parts , thei r ease to f ix , and thei r lack of sens i tivity to
                   weather conditions in the f ield . He added , however , that he had seen the
                   study r i fles used with good succe s s .

      ( 13 2 )     The respondent s tated that the study ri f le s are not worth anything in
                   cold weather .

      ( 133 )      The respondent recommended handguns for hunting in cal ibers 4 1 or 4 4 mag .

      ( 13 6 )     The respondent did not recommend any rifles by make , but he did recommend
                   a caliber o f . 3 08 or larger for elk .

      ( 14 0 )     The respondent recommended any good bol t or semiautoma t i c in 2 7 0 caliber
                   and up . He added : �I feel the government is too involved in our l ives
                   and seek too much control over the people of our count ry . I am 6 5 yrs
                   old and see more of our freedom lost every day . I be l i eve in our country
                   but I have l ittle faith in (organi zations ] l i ke the A . T . F . "

      ( 14 5 )     The responded stated : noon ' t send these guns out wes t .      Thanks l n

       ( 14 8 )    The respondent did not hunt turkey or deer and had no addit ional
                   information to provide .

       ( 14 9 )    The respondent said that he recommends specific ri fles to his c li ents i f
                   they ask , usual ly 2 7 0 t o 7mm caliber big game rifles .

       ( 15 0 )    The respondent recommended Winchester , Remington , or any other
                   autoloading hunting r i f l e .

       ( 15 2 )    The respondent said that he recommended caliber si zes but not specific
                   ri f les .

       ( 159)      The respondent recommended any gun with which a cl i ent can hit a target .
                   He stated that the AK4 7 could be used for hunting and target shooting .

       ( 174 )      The respondent recommended bol t - action rifles to his c l ient s .

       ( 17 5 )     The respondent said that mos t o f his deer-hunting c l i ents use bol t - action
                    rifles , such as Rugers and Remingtons , in cal ibers of 3 0 . 0 6 , 2 7 0 , or 243 .
                    In his duck guide service , only shotguns are used .

        ( 18 0 )    The respondent wrote : "We agree people should not be a l lowed to have
                    semiautomatics and automatics . Thi s does not mean that you s i l ly
                    bas tards in Washington need to push complete or a l l gun control . w

        ( 182 )     The respondent felt that the survey i s biased because i t didn ' t ask about
                    hunting varmints . He stated that many of the study ri fles are sui table
                    for such act ivi ty .

        ( 184 )     The respondent did not recommend s ingle shots or automatics and only
                    allows bolt action or pumps for use by his c l i ents .




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           ( 188)     The respondent wrote that the s tudy guns are good for sma l l game hunting :
                      " I have very good luck with them as they are smal l , easy to handle , fas t ­
                      shoot i ng and flat firing guns . "

           ( 1 92 )   The respondent submitted a letter with the survey : " I do not recommend
                      the use of semiautomat ic weapons for hunting in my area . Mos t of thes e
                      weapons a r e prone to b e unre liab l e because the owner does not know how t o
                      proper ly care for them in adverse weathe r . The FN- FAL , HK9 1 , HK9 3 , and
                      S IG SGS S 0 - 1 are excellent and expens ive weapons very much sui ted to
                      compet i t i on shoot ing .

                      " Have you surveyed the criminal element on their choice of weapons ? I
                      suspect the c riminal use of the s ix weapons you mentioned do l aw - abi ding
                      c i t i zens compare a very sma l l percentage to the same weapon used . I
                      rea l i ze that even one wrongful death i s too many but now can you j us t i fy
                      the over 3 0 0 , 0 0 0 deaths per year f rom government supported tobacco?

                      �oun control does not work - it never has and it never wil l . What we
                      need are police that capture crimina l s and a court system with the
                      forti tude to punish them for the i r crime s . w

           (198)      The respondent stated that this was h i s f irst year in and that i t was
                      mainly a bow- hunt ing bus ine s s .




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                                    DEPARTMENT OF THE TR EASUR Y
                              B U R EA U O F A LCOHOL, TOBACCO A N D F I R EA R MS
                                             WASH I N GT O N , 0.C. 2 0 2 2 6

     D I R ECTOR



                                               DEC I O 1997                     O : F : S : DMS
                                                                                 3310




                   Dear Sir or Madam :
                   On November 14 , 1 9 97 , . the President and the Secretary
                   of the Treasury decided to conduct a review to
                   determine whether modi f ied semiautomatic assault rif les
                   are properly importable under Federal law . Under
                   1 8 U . S . C . sect ion 9 2 5 (d) ( 3 ) , f i rearms may be imported
                   into the Uni ted States only if they are determined to
                   be of a type general ly recognized as part icularly
                   suitable for or readily adaptable to sporting purposes .
                   The f i reanns in quest ion are semiautomat ic rifles based
                   on the AK4 7 , FN- FAL , HK9 1 , HK93 , S IG SGS S0 - 1 , and Uz i
                   designs .
                   As part of the review , the Bureau of Alcohol , Tobacco
                   and Fireanns (ATF) is interested in receiving
                   information that shows whethe r any or a l l of the above
                   types of semiautomatic rifles are part icularly suitable
                   for or readily adaptable to hunting or organized
                   compet i t ive target shooting . We are asking that your
                   organi zation voluntarily complete the enclosed survey
                   to assist us in gathering this informat ion . We
                   ant icipate that the survey will take approximately
                   15 minutes to complete .
                   Responses must be received no later than 3 0 days
                   following the date of this letter ; those received after
                   that date cannot be included in the review . Responses
                   should be forwarded to the Bureau of Alcohol , Tobacco
                   and Firearms , Department HSE , P . O . Box 5 0 8 6 0 ,
                   Washington , DC 2 0 0 9 1 . We appreciate any information
                   you care to provide .
                                            Sincerely yours ,



                                      �o�� - �
                                                   Director
                   Enclosure
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                                                                                            0MB No. 1 5 1 2-0542

                          ATF SURVEY OF HUNTING/SHOOTING EDITORS
                                      FOR RIFLE USAGE
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          1 . Does your publication recommend specific types o f centerfire semiautomatic rifles for use in
              hunting medium game (for example, turkey) or larger game (for example, deer)?

          __Yes (Continue) __No (Skip to #3)

          2. If your answer to item I is "Yes", please identify the specific centerfire semiautomatic rifles
          you recommend.
          Make                            Model                                      Caliber




          3. Does your publication recommend against the use of any semiautomatic rifles whose design is
          based on the AK 47, FN-FAL, HK91, HK93, SIG 550- 1 , or Uzi for use in hunting medium
          game (for example, turkey) or larger game (for example, deer)?

          __Yes (Continue) __No (Skip to #5)

           __ Yes, in certain circumstances. Please explain ________________

           _______________________________ (Continue)

           4. If your answer to item 3 is "Yes" or "Yes, in certain circumstances", p lease identify the
           specific rifles that you recommend against using for hunting medium game ( for example,
           turkey) or larger game (for example, deer)?

           Make                          Model                                      Caliber




           5. Does your publication recommend specific types of centerfire semiautomatic rifles for use in
           high-power rifle competition?

           __Yes (Continue)            __No (Skip to # 7)
           An agency may not conduct or sponsor, and a person is not required to respond to, the collection
           of information unless it displays a currently valid 0MB control number.
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                       ATF SURVEY OF HUNTING/SHOOTING EDITORS
                                   FOR RIFLE USAGE
                                                    Page 2 of 2
       6. If your answer to item 5 is "Yes", please identify the specific centerfire semiautomatic rifles
       you recommend.
       Make                            Model                                      Caliber




       7. Does your publication recommend against the use of any semiautomatic rifles whose design is
       based on the AK 47, FN-FAL, HK91, HK93, SIG 550-1, or Uzi for use in high-power rifle
       competition?

       __Yes (Continue) __No (Skip to #9)

       __Yes, in certain circumstances. Please explain _______________
                                                                      _
       ------------------------------(Continue)
       8. If your answer to item 7 is "Yes" or "Yes, in certain circumstances", please identify the
       specific rifles your publication recommends against using for high-power rifle competition.
       Make                            Model                                    Caliber




       9. Have you or any other author who contributes to your publication written any articles since
       1 989 concerning the use of semiautomatic rifles and their suitability for use in hunting or
       organized competitive shooting? (Exclude Letters to the Editor.)

              Yes (Continue)        __No (You are finished with the survey. Thank you.)

        10. If your answer to item 9 is "Yes", please submit a copy of the applicable article(s). Any
        material you are able to provide will be very beneficial to our study. Please indicate the
        publication, issue date and page for each article.


        An agency may not conduct or sponsor, and a person is not required to respond to, the collection
        of information unless it displays a currently valid 0MB control number.
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                                                      Editors


      Comments :

      2.   I f your answer to i tem 1 is "Yes , • please identify the specific center f i re
           ri f l e s you recommend :

              (Bl     Anything except Uzis .

              ( 9)    Al l study rifles except Uzi .

             ( 12 )   S e e attached �rticles .

      3.   Please explain circums tances to quest ion 3 : Does your pub l i cation recommend
           against the use of any semiautomatic rifles whose des ign is based on the AK
           4 7 , FN- FAL , HK9 1 , HK93 , S IG 5 5 0 - 1 , or Uzi for use in hunting medium game
           ( for examp l e , turkey) or larger game ( for example , deer ) ?

             ( 12 )   When the cal iber i s inappropriate or i l l egal for the speci f i c game
                      spe c i e s .


      4.   Other r i f l e make recommendations in response to que s t ion 4 : I f your answer
           to i tem 3 is "Ye s " or "Yes , in certain c ircumstances , w please ident ify the
           spec i f i c r i f les that you recommend against using for hunting medium game
           ( for example , turkey) or larger game ( for example , deer) ?

              ( 12 ) See attached art icles .

           The fol l owing two items are for the responses to question 6 : I f your answer
           to i tem 5 is "Yes , • please ident ify the speci f ic centerfire semiautomatic
           rifles you recommend :

             Model

              (5)     Spring f i e ld MlA and Colt AR - 1 5 .

             Cal iber

              (5)      7 . 62m ( MlA) and . 2 2 3 ( Colt) .

           The fol lowing items are for quest ions 9 and 1 0 on art icles written and the
           submiss ion of these articles with the survey .

           Art icle 1

              (8)     No articles enc losed .

              (9)      S emiautomatic Takes Tubb to HP Tit l e .

             ( 10)    N o articles attached .

           Art icle 2

              (9)     AR - 15 Spaceguns I nvading Match .
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                                     DEPA R TMENT OF THE TREASURY
                              B U R E A U O F A LC O H O L , TOBACCO A N D F I R E A R M S
                                              WASH I N G TO N , D .C . 2 0 2 2 6

     D I R ECTOR


                                                    DEC I O 1997                        O : F : S : DMS
                                                                                        3 3 10



                   Dear Sir or Madam :
                   On November 1 4 , 1 9 9 7 , the Pres ident and the Secretary
                   of the Treasury decided to conduct a review to
                   determine whether modi f ied semiautomatic as sault rifles
                   are properly importable under Federal law . Under
                   1 8 U . S . C . sect ion 9 2 5 ( d ) ( 3 ) , firearms may be imported
                   into the United States only i f they are determined to
                   be of a type general ly recognized as part icul arly
                   suitable for or readily adaptab l e to sport ing purposes .
                   The f i rearms in ques t ion are semiautomatic rifles based
                   on the AK4 7 , FN- FAL , HK9 1 , HK9 3 , S IG SGS S 0 - 1 , and Uzi
                   des igns .
                   As part o f the review , the Bureau of Alcohol , Tobacco
                   and Firearms (ATF ) is interes ted in receiving
                   informat ion that shows whether any or all or the above
                   types o f s emiautomat ic rifles are particularly suitable
                   for or readily adaptable to hunt ing or organi zed
                   competit ive t arget shooting . We are asking that your
                   organizat ion voluntarily complete the enclosed survey
                   to ass i s t u s in gathering this information . We
                   ant icipate t hat the survey wi l l take approximately
                   15 minutes to complete .
                   Responses must be rece ived no l ater than 3 0 days
                   fol lowing the date of this letter ; those received after
                   that date cannot be included in the review . Responses
                   should be f orwarded to the Bureau of Alcohol , Tobacco
                   and Firearms , Department FG , P . O . Box 5 0 8 6 0 ,
                   Washington , DC 2 0 0 9 1 . We apprec iate any informat ion
                   you care to provide .
                                              Sincerely yours ,



                                     � Jo�•w . �
                                         Director
                   Enclosure
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                                                                                          0MB No. 1 5 1 2-0542

                 ATF SURVEY OF STATE FISH AND GAME COMMISSIONS
                                 FOR RIFLE USAGE
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      State:   -----------
      1 . Do the laws in your state place any prohibitions or restrictions (other than seasonal) on the use
      of high-power rifles for hunting medium game (for example, turkey) or larger game (for
      example, deer)?

               __Yes (Continue)             __No (Skip to #2)

               l a. If "Yes", please cite law(s) and briefly describe the restrictions.




      2. Do the laws in your state place any prohibitions or restrictions (other than seasonal) on the use
      of semiautomatic rifles for hunting medium game (for example, turkey) or larger game (for
      example, deer)?

               __Yes (Continue)              __No (Skip to #3)

               2a. lf "Yes", please cite law(s) and briefly describe the restrictions.




       An agency may not conduct or sponsor, and a person is not required to respond to, the collection
       of information unless it displays a currently valid 0MB control nwnber.
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                     ATF SURVEY OF STATE FISH AND GAfvffi COMMISSIONS
                                     FOR RIFLE USAGE
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                 _________________________(Continue)
           3. What, if any, is the minimwn caliber or cartridge dimensions that may be used for hunting
           medium game (for example, turkey) or larger game (for example, deer)?

           Caliber: ------------- OR Dimensions: -------------

           __There is no minimwn.

           4. Does your commission or state collect any data on the types of rifles used in your state for
           hunting medium game ( for example, turkey) or larger game (for example, deer)?

           ___Yes (Continue)            __No (You arefinished with the survey. Thank you.)

                  4a. If "Yes", please provide hard copies of any such available data for the past two
                  hunting seasons of 1 995 and 1 996. Any data that you provide will be most beneficial to
                  our study.

                  If you would like us to contact you regarding the data, please provide your name and
                  phone nwnber.

                  Name:------------------Phone:----------




            An agency may not conduct or sponsor, and a person is not required to respond to, the collection
            of information unless it displays a currently valid 0MB control number.
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                             Survey Fish and Game Commissions for Rifle Usage
                           Restrictions                Minimum Caliber or Cartridge
            STATE        01        02                     03                      04            05
                        HiPwr Semiauto            Minimum Caliber        Minimum Cartridge Collect Data
           Alabama       Yes       Yes   Any center fire rifle          None                    No
            Alaska       Yes        No   No Centerfire for big game                             No
            Arizona      No        Yes    .22 mag or larger                                     No
           Arkansas      Yes        No   None                           None                    No
           California    No         No    See Question 1 a              See Question 1 a        No
           Colorado      Yes       Yes    0.24                                                  No
         Connecticut     Yes       Yes
           Delaware      Yes       Yes
            Florida      Yes       Yes    No rimfire for deer                                   No
            Georgia      Yes        No    .22 Centerfire or larger                              No
             Hawaii       No        No
             Idaho       Yes       Yes     .22 rimfire                                          No
             Illinois    Yes       Yes     None                          None                   No
            Indiana      Yes       Yes     None                                                 No
              Iowa       Yes       Yes    not provided                                          No
            Kansas       Yes        Yes    .23 caliber or larger                                No
           Kentucky       No        No
           Louisiana     Yes        No     .22 Centerflre                                        No
             Maine       Yes        No     .22 mag or larger                                    No
           Maryland      Yes        Yes
        Massachusetts Yes           No     None                          None                   Yes
            Michigan     Yes        Yes     .23 or larger                                        No
           Minnesota     Yes         No    0.23                          1 .285"                 No
           Mississippi   Yes         No     None                         None                    No
            Missouri     Yes        Yes    None                          None                    No
            Montana       No         No    None                                                  No
           Nebraska       No        No
            Nevada        No         No                                                          No
        New Hampshire Yes           Yes                                  above .22 rimfire       No
          New Jersey     Yes        Yes     None                         None                    No
          New Mexico     Yes         No     .24 centerflre or larger                             No
           New York      Yes        Yes     Must be centerflre                                   No
         North Carolina Yes          No     None                          None                   No
          North Dakota   Yes        Yes     .22 Centerflre or larger                             No
               Ohio      Yes         No     None                          None                   No
           Oklahoma      Yes        Yes      .22 mag num                                         No
             Oregon       Yes       Yes      .22 or .24 or larger                                No
         Pennsylvania     Yes       Yes      None                         None                   No
          Rhode Island    Yes       Yes                                   .229 maximum           No
         South Csrolina Yes          No      Must be larger than .22                             No
         South Dakota     Yes        No      None                         None                   No
           Tennessee      Yes       Yes      .24 or larger caliber                               No
              Texas       Yes        No      None                         None                   No
               Utah       Yes        No                                   None                    No
            Vermont       Yes        No                                                           No
             Virginia     Yes       Yes       .23 caliber for deer                                No
           Washington     Yes       Yes       .240 or larger for coyote                           No
          West Virginia    No        No                                   Any centerfire          No
           Wisconsin      Yes        No       .22 caliber or larger                               No
            Wyoming       Yes        No                                    23/1 00 bullet dia.    No
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                                       State Fish and Game Commissions

     Res trict ions for High Powered Rif les

     l a . Please cite l aw { s ) and briefly describe the res t rictions .

     Alabama
     ( 1 9 ) No automatic weapons , no s ilenced weapons .

     Alaska
      ( 2 3 ) B i son hunters mus t use a cal iber capable of f i ring a 2 0 0 -grain bullet
              having 2 , 0 0 0 pounds of energy at 100 yards .

     Arkansas
      ( 1 1 ) No r i f l e s for turkey .

     California
      ( 2 2 ) Centerfire for big game , 1 0 gauge or sma l l e r for res ident sma l l game .

     Colorado
      ( 1 0 ) S emiautomatic r i f l e may not hold more than 6 rounds .

     Connecticut
      ( 3 9 ) Shotgun only on publ ic lands .     Can use any type o f r i f l e on private l and .

     Delaware
      ( 4 0 ) No r i f l e s - shotguns/muzzle loader s only .

     Florida
      ( 2 5 ) Machine guns and s i lencers not permitted for any hunting .

     Georgia
      { 2 9 ) No hi -power ri f l e s allowed for turkey hunting .

     Hawaii
      ( 4 9 ) Mus t have d i scharge of 1 2 0 0 foot pounds .

      .I..d..ahQ
       ( 3 0 ) No hi -power r i f l e s allowed for hunting turkey .

      Illinois
       ( 12 ) Turkey or deer may not be hunted with ri f l e . Deer may not be hunted with
              muzzle loading rifle . No restrict ion on r ifles for coyote , fox , and
              woodchuck , etc .

      Indiana
       ( 3 4 ) No hi -power r i f l e s allowed for deer or turkey hunting .    Limited
               restrictions f or spec i f ied areas .

      �
      ( 2 6 ) Cannot u s e r i f l e s for turkey or dee r , only shotgun or bow and arrow . No
              difference i f publ ic or private l ands . For coyote or f ox , there i s no
              restriction on r i f les , magazine s ize , or caliber .

      Kansas
       ( 3 3 ) Mus t use ammunition speci fically des igned for hunting .



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          )Jouisiana
          (6)      No r i f l e s for turkey hunt ing .   Ri fles for deer hunting mus t be no sma ller
                   than . 2 2 centerf i re .

          Milne
          ( 3 2 ) No hi - power r i f le s for turkey and water fowl .       Some l imi ted restrictions
                  for spec i f i c areas .

          Maryland
          ( 4 2 ) Some res trictions based on county . They are allowed in wes tern and
                  southern Maryland . Shotguns only in and around Balt imore and
                  Washington, D . C .

          Massachusetts
          ( 14 ) Rifles not permi tted for hunting deer and turkey .

          Michigan
          ( 2 7 ) No turkey hunting with hi -power rifle . No night hunt ing with h i -power
                  ri fle . Deer hunting with hi - power r i f le allowed only in lower s outhern
                  peninsu l a . Limited restrict ions for spec i f i c areas .

          Minnesota
           ( 1 3 ) Caliber mus t be at least . 2 3 . Ammunition mus t have a case length of at
                   least 1 . 2 8 5 " . . 30 ca liber Ml carbine cartridge may not be used .

          Mississippi
           ( 15 ) Restricts turkey hunt ing to shotguns .          However quadriplegics may hunt
                  turkey wi th a rifle .

          Missouri
           (5)     R i f l e s not permitted for turkey . Self loading f irearms for deer may not
                   have a combined magaz ine + chamber capacity of more than 1 1 cartridge s .

          Nebraska
           ( 4 3 ) Allowed and f requently used , but magaz ine capaci ty maximum is s ix rounds .

          Nevada
           {1)     Answer to #3 refers to NAS 5 0 1 . 1 5 0 and NAS 5 0 3 . 14 2 .   Not for turkey .

          New Hampshire
           (7)      Magazine capacity no more than s rounds . Prohibits full metal j acket
                    bullets for hunting .  Prohibi t s deer hunting with rifles in certain towns .

          New Jersey
           ( 17 ) No r i f les .

           New Mexico
           ( 3 1 ) No hi -power r i f les a l l owed for hunt ing turkey .

           New York
           (24 )    No semiautomatics with a magaz ine c apacity of greater than 6 rounds ;
                    machineguns and s i l encers not permitted for any hunt ing . Limited
                    restrict ions for specif ic areas .

           North Carolina
           ( 2 0 ) Center f i re r i f les not permit ted for turkey hunt ing .


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     North Dakota
     ( 2 8 ) No hi -power r i f les for turkey hunting .

     QluQ
      (3) Prohibits       high power r i f l e s for turkey , deer and migratory birds .          High
            power r i f l e s can be used on a l l other legal game animals .

     Oklahoma
      (8)   Centerfire r i f les only for large game .         Magaz i nes for . 22 centerf ire r i f l e s
            may not hold more than 7 rounds .

     Oregon
      (2)   OAR 6 3 5 - 6 5 - 7 0 0 ( 1 ) must be . 2 4 cal iber or larger center f ire r i f l e , no ful l
            automatic ; OAR 6 3 5 - 6 5 - 7 0 0 ( 2 ) hunters sha l l only use centerfire r i f l e . 22
            cal iber ; OAR- 6 5 - 7 0 0 ( 5 ) no military or full j acket bullets in original or
            a ltered form . Limited restrictions for speci f i c areas .

     Pennsylvania
      ( 16 ) Rif le s not permitted in Philadelphia & Pitt sburgh areas .

     Rhode Island
      ( 4 4 ) . 22 cente r f i r e during the summer for woodchucks .

     south Carolina
      ( 1 8 ) No r i f l e for turkey , r i f l e for deer must be l arge r than . 2 2 caliber

      south Dakota
      ( 5 0 ) Magaz ine not more than f ive rounds .

      Tennessee
      ( 3 7 ) No hi -power ri f le s a l lowed for turkey hunting .

      Tex.il
       ( 2 1 ) Rimfi re ammun i t ion not permitted for hunting deer , antelope , and bighorn
               sheep ; machine guns and s i l encers not permitted for hunting any game
               animals .

      llt.ah
       ( 9 ) No r i f l e s for turkey hunting .

      Vermont
       ( 4 7 ) Turkey s i ze l e s s than 1 0 gauge .   Deer/moose /bee r , no restriction on
               calibe r .

      Virginia
       ( 4 8 ) 2 3 caliber or l arger for deer and bear . No restrict ions for turkey . No
               magazine res t r i c t ions , shotgun l imited to 3 shel l s . Restrictions vary f rom
               county to county - approximately 9 0 dif f erent r i f le restrictions in the
               State of Virginia based on the county restrict ions . sawed-off f irearms are
               i l legal to own unle s s with a permit , if barr e l l e s s than 16 inches f or
               r i f l e , and 1 8 inches for shotgun .

      Washington
       ( 4 6 ) Hunting turkey l imited to shotguns .          Sma l l game l imited to shotguns .



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         Wisconsin
         ( 3 6 ) No . 22 rimf ire ri f les for deer hunting .

         Wyoming
         (4)    Big game and t rophy anima l s , firearm must have a bore diameter of at l eas t
                2 3 / 1 0 0 of an inch .


         Res trictions for Semiautomatic Rifles

         2 a . Please cite law ( s ) and brie f ly de scribe the res trict ions .

         Alabama
         ( 1 9 ) Turkey may not be hunted with a centerf i re r i f l e or rimfi re rif l e .
                 semiautomatic r i fl e s o f proper cal iber are l egal for a l l types o f hunt ing .
                 No res trict ions on magaz ine capacity, except wi ldl i fe management areas
                 where centerfire rifles are restricted to 10 round max .

         Arizona
         (38)   Magaz ine cannot hold more than 5 rounds .

         Colorado
          ( 1 0 ) Semiautomatic r i f le may not hold more than 6 rounds .

         Connecticut
          ( 3 9 ) Shotgun only on pub l i c lands .   Any type o f r i f le can be used on private
                  land .

         Delaware
          ( 4 0 } No r i f les - shotguns /muzzle loaders onl y .

         Florida
          ( 2 5 } No semiautomat i c centerf ire rifles having a magazine capaci ty greater than
                  5 rounds .

         .Imlho
          ( 3 0 ) No hi - power r i f l e s ( inc luding semiautomatic) al lowed for turkey hunting .

          Illinois
          ( 12 ) See # 1 .

          Indiana
          ( 3 4 ) No hi -power r i f l e s a l lowed for turkey hunt ing .

          �
          ( 2 6 } Cannot use r i f les for turkey or dee r , only shotgun or bow and arrow . No
                  difference in pub l ic or private land . For coyote or fox , there i s no
                  restriction on rifle , magazine s i ze , or cal iber .

          Kansas
          ( 3 3 ) Mus t use ammuni tion speci f ically designed for hunt ing .




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     Maryland
     ( 4 2 ) Some restrict ions . Based on county .           Shotguns only in and around Baltimore
             and Washington , D . C .

     Michigan
     ( 2 7 ) Unlawful to hunt with semiautomatic rifles capable of holding more than 6
             rounds in magaz ine and barre l . Rimf ire ( . 2 2 cal ) r i f le s exc luded f rom
             restrictions .

     Missouri
     ( 5)    Combi ned magaz i ne + chamber capacity may not be more than 1 1 cartridges .

     New Hampshire
     (7)     Turkey may not be hunted with r i f l e s .       R i f les may not have magaz ine
             capacity o f more than 5 cartridges .

     New Jersey
      ( 1 7 ) No ri f l e s .

     New York
      ( 2 4 ) No semiautomatics with a magaz ine capaci ty o f greater than 6 rounds .

     North Dakota
      ( 2 8 ) No hi -power ri f l e s ( including semiautomatic s ) may be used for hunting
              turkey .

     Oklahoma
      (8)    See # 1 .

     Oregon
      (2)    OAR 6 3 5 - 65 - 7 0 0 ( 1 ) and ( 2 ) l imits magaz i ne capac i ty to no more than 5
             cartridges .

     Pennsylvania
      ( 16 ) S emiautoma t i c r i f l e s are not lawful for hunting in Pennsylvania .

     Rhode Island
      ( 4 4 ) Cannot use s em i automatic during the wint e r , only during the summer months
              for woodchucks ( during dayl ight f rom Apr i l 1 to Septembe r 3 0 ) .

      Tennessee
      ( 3 7 ) No hi -power r i f l e s , inc luding semiautomat ics , allowed for turkey hunting .

      Vermont
       ( 4 7 } S emiautomat i c 5 rounds or less .

      Virginia
       ( 4 8 ) S emiautoma t i c s are l egal wherever rifles can be used . 2 3 cal iber or larger
               for deer and bear . No restrictions for turkey . No magaz ine restrict ions ,
               s hotgun l imited to 3 shel l s . Restrictions vary f rom county to county -
               approximately 9 0 d i f f erent r i f l e restrict ions in the State of Virginia
               based on the county restrict ions . Sawed -off f i rearms are i ll egal to own
               unl e s s with a permi t , if barrel less than 16 inches for r i f l e , and 1 8
               inches for shotgun . S t riker 12 - drums holds 1 2 or more rounds and i s
               i l legal .




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     washington
      ( 4 6 ) Cannot use ful ly automatic for hunt ing .

     west Virginia.
      ( 4 5 ) cannot use ful ly automatic f i rearms for hunt ing .




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                                   Comments Provided by Law Enforcement Agencies

              (1)    No research .

              (2)    No research .

              (3)    NOBLE and others forwarded informat ion to a U . S . Senator on
                     ci rcumstances concerning poli ce of f icers k i l led or injured by
                     these weapons . No data was provided .

              (4)    No research .

              (7)    The organi zat ion stated : �Most o f the data avai l able on guns and
                     crime does not provide the detai l needed to identi fy the types of
                     guns l i s ted .          we have conducted several surveys that ref er
                     to assau l t r i f les generical ly, including the Survey of Inmates in
                     State Correctional Fac i l it ies 1 9 9 1 , Survey of Inmates in Local
                     Jai l s 1 9 9 5 , and the survey o f Adults on Probation 1 9 9 5 . The data
                     on as sault weapons has not been analyzed in the recently released
                     Survey o f Adu l t s on Probation 1 9 9 5 or i n the yet to be released
                     Survey o f Inmates in Local Jai l s 1 9 9 5 .

                     "Our report Guns Used in Crime includes the results of an
                     analys i s o f the stolen data f rom the FBI ' s National Crime
                     Informat ion Center database . Our analys is was l imited to general
                     categories o f guns and calibers o f handguns . The recent
                     eva l uation of the assault weapons ban funded by the National
                     Inst i tute of Justice analyzed a more recent set o f the same data
                     with an emphas i s on assault weapons . The result s of this
                     eval uation were reported in Impact Evaluation of the Public
                     safety and Recreational Firearms use Protection Act of 1994 . "
                     �BJS [Bureau o f Just i ce Stat i s t i cs ] supports the Firearms
                     Research Information System ( FARIS ) . .            This database
                     contains f i rearms - re lated information f rom surveys , research ,
                     evaluat ions , and stat ist ical reports . . . . we queried this
                     database for any research on assau l t weapons . The results of the
                     query include both the reports l i s ted above , as wel l as several
                     others . Please not e that in BJS ' s report Guns Used in Crime
                     refers to the report Assault Weapons and Homicide in New York
                     � p repared by one o f our grantees . While the data are f rom
                     1 99 3 , the report provides interesti ng insights into the use of
                     assault weapons and homi c ide . Another source of data on assaul t
                     weapons and c rime i s the FBI ' s Law Enforcement O f f icers Ki l l ed
                     and Assaul ted series , which records the type of gun used in
                     ki l li ngs of pol i ce o f ficers . Several of the reports l i s ted in
                     the FARIS query used these dat a , including COJ;? Killers ; Assault
                     weapons Attacks on America' s Police , and cops under Fire; Law
                     Enforcement Officers Killed with Assault Weapons or Guns with
                     High capacity Magazines . "
               (9)   Guns in America; National survey on Private ownership and use of
                     Firearms ( May 1 997 ) states : The 1 994 NSPOF ( Nat iona l survey of
                      Private Ownership o f Firearms ) estimates for the total number o f
                      privately owned f i rearms i s 1 92 mi l l ion : 6 5 mi l l ion handguns , 7 0
                      mil lion ri fles , 4 9 mil l ion shotguns , and 8 mil l ion other long
                      guns .
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                                   DEPARTM ENT OF THE TR EASU R Y
                            BU R E A U O F A LC O H O L , TOBACCO A N D F I R E A R MS
                                           WASH I N G TO N , O .C . 20226

      D I R ECTOR

                                               DEC 1 0 1997                        O : F : S : DMS
                                                                                   3 3 10




               Dear Sir or Madam :
               On November 1 4 , 1 9 9 7 , the President and the Secretary
               of the Treasury decided to conduct a review to
               determine whether modified semiautomatic assault rifles
               are properly importable under Federal law . Under
               1 8 U . S . C . sect ion 9 2 5 {d) ( 3 ) , firearms may be imported
               into the United States only if they are determined to
               be of a type general ly recognized as particularly
               suitable for or readily adaptable to sporting purposes .
               The firearms in question are semiautomat ic ri f les based
               on the AK4 7 , FN- FAL , HK9 1 , HK93 , SIG SGS S 0 - 1 , and Uz i
               designs .
               As part of t he review , the Bureau of Alcohol , Tobacco
               and Firearms ( ATF ) is interested in receiving
               information that shows whether any or all o f the above
               types of semiautomatic rifles are particularly suitable
               for or readily adaptable to hunting or organi zed
               compet it ive target shooting .
                Al though ATF is not required to seek public comment on
                this study , the agency would appreciate any factual ,
                relevant informat ion concerning t he sporting use
                suitabil i ty of t he rifles in ques tion .
                Your voluntary response must be received no later than
                30   days from the date of this letter ; those rece ived
                after that date cannot be included in the review .
                Please forward your responses to the Bureau o f Alcohol ,
                Tobacco and Firearms , Department TA , P . O . Box 5 0 8 6 0 ,
                Washington , DC 2 0 0 9 1 .
                                           Sincerely yours ,



                                   �o�. M:!fw �
                                     Director
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                       Comments Provided by Industry Members and Trade Associations

          (12)   The respondent felt that def ini tions and usage should be subj ect
                 to rulemaking . The respondent s tated that limi t s on " sport ing "
                 use do not take into account f irearms technology and its
                 derivative uses among mil l ions of di sparate consumers . Mi l l i ons
                 of gun owners currently engage in informal target competition .

                 The respondent stated that the f i rearms are suitable for sporting
                 purposes and that ATF ' s practice of making " ad hoc " revis ions to
                 import cri teria disrupts legit imate commerce . The respondent
                 recommends that all changes to criteria should be subj ect to
                 rul emaking .

          (19)   The respondent submitted a brochure and a statement supported by
                 seven letters f rom FFL ' s who s e l l the SLR - 95 and 97 and ROMAK 1
                 and 2 . The respondent and a l l the supporting letters attes t to
                 the suitabil i ty of these guns for hunting because ( 1 ) they are
                 excellent for deer or varmint hunting ; ( 2 ) they are used by many
                 for target s hooting ; ( 3 ) their ammuni t ion i s readi ly avail ab l e
                 and af fordable ; and ( 4 ) they are excellent for young/new hunters
                 because o f low recoil , an inexpens ive purchase price , durab i l ity ,
                 and l ight weight , as wel l as being des igned only for
                 s emiautomatic f ire .

          (20)   One respondent submitted results o f i t s independently conducted
                 survey , which cons i s ted of 30 questions . The results of the
                 survey suggest that 36 percent of those queried actual ly use
                 AK4 7 - type rifles for hunt ing or competition , 38 percent use LlAl ­
                 type r i f l e s for hunting or competition , and 3 8 percent use G3 -
                 type r i f l e s for hunt ing or competition . Other uses inc lude home
                 defens e , noncompetitive target shoot ing , and p linking . Of those
                 queried who do not currently own thes e types o f r i f le s , 3 5
                 percent would use AK-type r i f l e s for hunting o r competition , 3 6
                 percent would use LlAl - type rif l e s for hunting o r competition ,
                 and 37 percent would use G3 - type rifles for hunting or
                 competi t ion .

          (22)   The respondent c laims that the maj ority o f the s tudy rifles '
                 length and calibers can be used only for sporting purposes . The
                 respondent asserts that the only technical detail remaining after
                 the 1 9 8 9 dec i s ion that i s s imilar to a mi l itary ri f l e is the
                  locking system .   After 1 9 8 9 , the imported rifles have no phys ical
                 features o f military assault rif les . All have features which can
                 be found on any s emiautomatic sporting/hunting r i f le .

                  However , the respondent writes that the Uz i - type carbines are
                  unot suitable for any kind of sporting events other than l aw
                  enforcement and mi l itary competit ions because the cal iber and
                  locking sys tem do not allow precise shoot ing over long
                  distance s . "




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         (23)    One respondent , who imports the SAR- 8 and SAR - 4 8 0 0 that are
                 chambered for . 3 0 8 Winchester ammunit ion , states that neither
                 rifle possesses any of the characteristics of e i ther the 1 9 8 9
                 dete rmination o r the 1 994 law . The respondent states that both
                 are permitted in match rifle and other competit ions . The
                 respondent states that only two questions should be considered to
                 determine hunt ing suitabi l ity of a rif l e : Whether the caliber is
                 adequate to take one or more game species and whether the gun is
                 safe and rel i abl e . The respondent states that there is no
                 factual or legal bas is to conclude that the rifles are not
                 " part i cu l arly suitable " for sporting purposes .

          (24)   The respondent writes : �The particular f irearms differ f rom
                 other guns that are universally acceptable only in cosmetic ways .
                 There i s no functional difference between s emiautomatic f irearms
                 based on the external features that have been keyed on in an
                 attempt to implement the import restrictions of the 1 9 94 Crime
                 Bill . As further attempts to differentiate functional ly
                 ident ical f i rearms by these features for the purposes of cul l ing
                 out those that might be pol it ically suitable for an
                 administrat ive import ban is wrong . "

          (25)   The respondent writes that the SLG95 was developed exclus ively
                 for hunt ing and competitive shooting . The respondent points out
                 that it is capable of s ingle f iring only and cannot be
                 reass embled for use as an automatic weapon . It i s made for
                 endurance and accuracy to 3 0 0 meters .

          (26)   The respondent recommends AK47 variants spec i fically, but
                 beli eves a l l s tudy rifles are suitable or adaptable for sporting .
                 The respondent states that a Gali l - chambered . 3 0 8 / . 2 2 3 with a
                 two -posi tion rear sight , adj us tabl e f ront sight , or scope mount
                 channel , are rel iable , durable , accurate , and suitable for
                 hunting and organi zed competitive shooti ng . The respondent
                 s tates that the Uzi , which chambers 9mm and 4 0 S &W , two-position
                 rear s ight , and an adj ustabl e front s ight is suitable for
                 organized competitive target shooting .

          (27)   The respondent s tates that the S IG - SGS S 0 - 1 , i n its original
                 configuration , never possessed assault r i f le f eatures . The
                 respondent s tates that is was bui l t as a s emiautomati c , not a
                 fully automatic that was converted or modif ied to semiautomatic .
                  It does have protruding pistol grip , and its ergonomics are
                  geared toward i t s original design of goal -precision shooting .
                  The respondent says that the name " Snipe r " was a marketing
                  deci s ion, and it is extremely popular in . 22 3 competit ions . Its
                  price i solates the gun to the competitor/collector .




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             (28)    Letters f rom H&K users were submi tted in support o f their
                     cont inued importat ion and use as sporting arms . Specifically,
                     the SR9 and PSGl were said to be clearly suitable and uti l i zed
                     dai ly for hunting and target shoot ing . The respondent states
                     that sport i s defined as " an act ive past ime , divers ion ,
                     recreation " and that the use o f these i s all the j ustif ication
                     needed to allow thei r importation . The PSGl has been imported
                     s ince 1 9 7 4 , and the SR9 s ince 1 9 9 0 . The semiautomatic feature
                     dates to turn of the century .

                     The respondent states that the cost would dissuade criminals f rom
                     us ing them . The respondent refers to ATF ' s reports � cr ime Gun
                     Analys i s ( 1 7 Communi ties ) " and "Trace Reports 1 9 9 3 - 1 9 9 6 " to show
e                    that the H&K SR9 and PSGl are not used in crime . In the 4 -year
                     period covered by the reports , not one was t raced .
              (29)   The respondent faults the 1 9 8 9 report both for not suff iciently
                     addres si ng the is sue of ready adaptab i l ity, as wel l as for the
                     l imited definition of sporting purposes . The respondent states
                     that sport is defined as " that which diverts , and makes mirth;
                     pas t ime , divers ion . " The respondent says that the NRA sponsors
                     many matches , and personal ly attests to the FN- FAL and HK9 1 as
                     being perfectly suitable for such matche s . The respondent s tates
                     that the r i f l e s are also used for hunting deer , rabbits , and
                     varmints . Furthe r , the respondent remarks that the use of these
                     rif l e s in crime is minuscule .


                                          Importer/Individual Letters

              On January 15 , 1 9 9 8 , the s tudy group received a second submission f rom
              Heckler and Koch , dated January 14 , 1 9 9 8 . It transmit ted 6 9 letters
              f rom individual s who appeared to be answering an advertisement p l aced
              in Shotgun News by Heckler and Koch . The s tudy group obtained a copy
              of the adverti s ement , which requested that past and current owner s o f
              certain H&K r i f les provide written accounts o f how they u s e o r used
              these f irearms . The advertisement s tated that the f irearms in
              question , the SR9 and the PSGl , were used for sporting purposes such as
              hunt ing , target shooting , compet it ion , collecting , and informal
              p linking . The advertisement also referred to the 12 0 -day study and the
              temporary ban on importation , indicat ing that certain f irearms may be
              banned in the future .

              synopses of Letters :
              1.     The writer used his SR9 to hunt deer ( photo inc luded ) .

              2.     The writer used his SR9 to hunt deer ( photo included ) .
              3.     The writer used his SR9 for informal target shooting and plinking .

              4.     The writer used his SR9 for target pract ice and recreation .

              5.     The writer ( a police off icer) used SR9 to hunt .          Said that i t ' s too
                     heavy and expens ive for criminals .



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         6.       The writer used his SR9 for compet i t i on .

         7.       The writer used H&K rifles such as these around the farm to control
                  wild dog packs .

         8.       The writer used his SR9 to hunt deer .

         9.       The writer used his SR9 to hunt , part ic ipate in t arge t practice ,
                  and compete .

         10 .     The writer used h i s H&K rif les for informal target shoot ing .

         11 .     The wri ter used h i s SR9 to hunt elk because i t ' s rugged , and to
                  shoot targe t s .

          12 .    The wri ter used his SR9 to targe t practice .

          13 .    The wri ter used h i s HK9 1 to hunt varmints and compete in mi l it ary
                  r i f l e matche s .

          14 .    The writer does not use the f irearms but i s f ami l iar with the i r use
                  for target shooti ng , hunting , and compet ition .

          15 .    The writer uses HK f irearms for DCM marksmanship competition .

          16 .    The writer used his HK93 for 1 0 0 - yard c lub matches and NRA-high
                  power r i f l e matche s .

          17 .    The wri ter does not own the f i rearms but enj oys shooting sports and
                  collecti ng .

          18 .    The wri t e r used his HK91 to hunt dee r , boar , and mountain goat and
                  in high -power match compet i tions .

          19 .    The writer used his SR9 to shoot t argets and for compet i tions .

          20.     The wri te r used h i s HK91 to shoot varmint s , hunt sma l l and big
                  game , and shoot l ong - range s ilhouettes .

          21 .    The writer used h i s SR8 to hunt dee r , target shoot , and p link .

          22 .     The wri t e r used h i s HK93 to shoot in c lub compe t it ions .

          23 .     The writer used h i s SR9 to shoot target s because the reco i l does
                   not impac t h i s arthri t i s .

          24 .     The wri ter ( a police o f f icer) doe s not own the f i rearm but never
                   sees HKs used in crime .

           25 .    The writer used his HKs for target shoot ing , compe t i t ion , and
                   col lect ion .

           26 .    The wri ter does not own the f i rearms but l ikes recreational target
                   shoot ing .

           27 .    Writer doe s not own the f irearms but s tate s , "Don ' t ban . "



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         28 .    The wri ter used hi s SR9 for hunt ing deer , varmint s , and groundhogs ;
                 for t arge t shooting ; and f or occas i onal compet i t ions .

         29 .    The wri te r used hi s SR9 to hunt deer because i t ' s accurat e , rugged ,
                 and rel i ab l e .

         30 .    The writer used h i s SR9 to hunt dee r and e lk .

         31 .    The wri t e r used h i s SR9 to target shoot .

         32 .    The wri t e r used his SR9 to hunt deer and t a rget shoot .

         33 .    The wri te r used hi s HK9 1 to shoot mi l i tary r i f l e 1 0 0 - yard
                 compe t i t i ons .

         34 .    The wri ter used his SR9 for hunt ing varmints and coyote s , for
                 target shoo t i ng , and for compe t i t ions .

         35 .    The w r i t e r u s ed his SR9 to hunt deer and t a rget shoot .

         36 .    The wri t e r ( a forme r FB I emp l oyee ) used hi s SR9 for hunt ing
                 varmi n t s and for precis ion and t arget shoot ing .

         37 .    The writer used his HK for target s hoot ing and compe t i t ion .

         38 .    The wri ter used hi s SR9 for informal target shoo t i ng and pl inking
                 and hi s HK9 1 for bowling pin matches , high-power r i f l e
                 compe t i t ions , informal target shooting , and plinking .

          39.    The wri t e r used h i s SR9 to p l ink and shoot t a rge t s , saying it ' s t oo
                 heavy for hunting .

          40 .   The writer has an HK9 1 as part of his mi l i tary collect ion and
                 indicates i t may be used for hunt i ng .

          41 .   The writer used h i s SR9 to target shoot .

          42 .   The wri ter used hi s SR9 to hunt deer and t arge t s hoot .

          43 .   The wri ter does not own the f i rearms but s ays , " Don ' t ban . "

          44 .    The wri t e r used hi s SR9 and HK9 3 for hunting dee r , for target
                  shoot ing , and for home de fense .

          45 .    The wri t e r s ta t e s , " Don ' t ban . "

          46 .    W r i t e r s t ates , " Don ' t ban . "

          47 .    Writer s tates , " Don ' t ban . "

          48 .    The writer owns an SR9 ; no use was reported .

          49 .    Wri ter used h i s SR9 to compet e i n c l ub matches and " backyard
                  compet i t ions . "

          so .    The wri t e r used his HK to hunt boar and antelope .



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         51.      The writer s tates , " Don ' t ban . "

         52 .     The wri t e r ( a pol ice of f i cer} does not own the f irearms but s tates
                  that the are not used by crimina l s .

         53 .     The wri t e r used his HK9 1 to hunt deer .

         54 .     The writer ( a pol ice trainer) says that the PSGl i s used for police
                  sniping and compet it ive shooting because i t ' s accurate . He says
                  that i t ' s too heavy to hunt with and has attached an art icle on the
                  PSGl .

          55 .    The wri t e r used her two PSGls for target shoot ing and fun .

          56 .    The wri t e r used his SR9 and PSGl to hunt and target shoot .

          57 .    The writer used hi s two PSGls to hunt and target shoot .

          58.     The wri t e r provides an opinion that the SR9 is used to hunt and
                  target shoot .

          59.     The wri t e r used his PSGl for hunt ing deer and informal target
                  shoot ing .

          60 .    The wri t e r used h i s PSGl to target shoot and pl ink .

          61.     The wri t e r s tates ,   11
                                                 Don 1 t ban . 11

          62 .    The wri te r u sed h i s HK9 1 to target shoot .

          63 .    The writ e r used his HK9 1 to target shoot .

          64 .    The writer (a U . S . deputy marsha l l ) used his SR9 to shoot at the
                  range .

          65 .    The wri te r used his SR9 to hunt deer and coyotes .

          66.     The wri t e r used h i s SR9 to competi t ively target shoot .

          67 .    The wri t e r used h i s S R 9 t o hunt deer and bear .

          68 .     The wri t e r uses mi l itary- type r i f les l ike the s e for predator
                   control on the farm .

           69 .   The writ e r used his SR9 to target shoot , pl ink , and compete in DCM
                  matches .




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                                     Comments Provided by Interest Groups

          (7)     Impact Evaluation of the Publ ic Safety and Recreational Firearms
                  Use Protect ion Act of 1 9 94 , Final Report . March 1 3 , 1 9 97 .

          (8)     Identical comments were received from f ive members of the JPFO .
                  They are against any form of gun control or res triction regardless
                  of the type of f irearm . References are made comparing gun control
                  to Naz i Germany .

           (9)    The respondent contends that pol ice/mi l itary - style competit ions ,
                  " p l i nking , H and informal target shoot ing should be cons idered
                  sporting . Note : The narrative was provided in addit ion to survey
                  that Century Arms put on the Internet .

                  The respondent ques tions ATF ' s definition of " sport ing" purposes .
                  The respondent contends that neither the B i l l of Rights nor the
                  Second Amendment places restrictions on f irearms based on use .

         (13)     C i ting the 1 9 8 9 report , the respondent s tates that the dra fters of
                  the report determined what should be acceptab l e sports , thus
                  excluding "plinking . "

                  The respondent s tates that appearance ( e . g . , mil itary looking ) is
                  not a f actor in determining f irearms ' suitab i l i ty for sporting
                  purposes . It is thei r funct ion or action that should determine a
                  gun ' s suitabil i ty . Over 5 0 percent o f those engaged i n Practical
                  Rifle Shooti ng use Kalashnikov vari ant s . Furthe r , c i ti ng U. S . ys .
                  Smith (1973) , the " re adily adaptable" determinat ion would f i t all
                  the s e f i rearms .

         ( 14 )   The respondent states that the vast maj ority o f compet i t ive
                  marksmen shoot e i ther dome s t i c or foreign s erv i ce r i f les . Only 2 - 3
                  parti cipants at any o f 12 matches f i re bol t - ac tion match r i f l e s .
                  I f service r i f l es have been modi fied, they are permitted under NRA
                  rule 3 . 3 . 1 .

                  The respondent says that attempt s to ban these r i f les " i s a j oke . "

         (15)     The respondent s tates that t hese f i rearms are used by men and women
                  a l ike throughout Nebraska . All of the named f irearms are used a
                  lot a l l over the State for hunti ng . The AK4 7 has the same bas i c
                  power o f a 3 0 / 3 0 W inche s ter . All o f these f irearms funct ion the
                  same as a Browning BAR or a Remington 7400 .              Because of their
                  des ign f eatures , they provide excel l ent performance .

         ( 16 )   The respondent states that the B i l l o f Rights does not show the
                  second amendment connected to " sporting purposes . " The respondent
                  says that a l l of the f irearms in quest ion are " service r i f l e s , " a l l
                  c a n be used i n highpower ri f l e compet it i on ( some better than
                  others ) , but under no c i rcumst ances should " sport ing use" be used
                  as a test to determ i ne whether they can be sold to the American
                  publ i c . The respondent states that " sporting use• is a total ly
                  bogus que s t ion .




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             ( 17 )   The respondent ' s basic concern i s that the scope o f our survey i s
                      s ignif icantly too narrow ( i . e . , not respons ive t o the Pres ident ial
                      directive , too narrow to address the problem, and inadequate to the
                      task) . The respondent states , "We do not indicate that our
                      determi nation wi ll impact modi f icat ions made to skirt l aw . We re ly
                      on the opinions of the • gun press . ' At a minimum, the Bureau
                      should deny importation of : any semiautomatic capable of accepting
                      with a capaci ty of more than 1 0 rounds , and any semiautomatic rifle
                      with a capacity to accept more rounds than permitted by the State
                      wi th the lowest number of permitted rounds . Deny any semiautomatic
                      that incorporates cosmetically altered ' rule-beat ing•
                      characteristics . Deny any semiautomatic that can be converted by
                      us ing parts avai lable domestically to any of the 1 9 94 banned

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                      guns /characterist ics . Deny any semiautomatic manufactured by any
                      entity controlled by a foreign government . OR manufactured by a
                      foreign entity that also manufactures , as sembles or exports
                      assau lt - type weapons . Deny any semiautomatic that contains a part
                      that i s a material component of any assault type weapon made ,
                      assemb l ed , o r exported by the foreign ent ity which i s the source o f
                      t h e f irearm proposed t o b e imported . "
                      "A material component of any assaul t type weapon , assembled or
                      exported by the foreign entity , which i s , the source o f the
                      f i rearms proposed to be imported . The gun press has fabricated
                      ' sporting' events to justify these weapons . The manner in which we
                      are p roceeding is a serious disservice to the American people . "

                      Attachments : That was Then. This is Now; Assault Weapons;
                      Analysis. New Research, and Legislation, Assault weapons and
                      Accessories in America; and Cop Killers . Al l authored by the
                      Violence Poli cy Center .
              (30)    The respondent s tates , nAt least for handguns , and among young
                      adult purchasers who have a prior criminal hi s tory, the purchase o f
                      a n assault - type f i rearm is a n independent risk factor f o r later
                      criminal activity on the part of the purchaser . "
                      NOTE : The above s tudy was for assault - type handguns used in
                      criminal activity versus other handguns . The study involved only
                      young adults , and caution should be used in extending these results
                      to other adult s and purchasers of r i f les . However , the respondent
                      states , it is plaus ible that findings for one class of f irearms may
t                     pertain to another closely related clas s .
              (31)     The 1996 National survey of Fishing . Hunting and Wildlife­
                       Associatea Recreation . The pub l icat ion out l ines 1 9 96 expenditures
                       for guide use and percentage of hunters using guides for both big
                       game and sma l l game hunting .




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            (32)   In a memo from the Center to Prevent Handgun Violence the sections
                   are Legal Background , History of Bureau Appl icat ion of the
                   " Sporting Purposes" Te st , The Modif ied As sault R i f le s under Import
                   Suspens ion Should Be Permanently Barred from Importat ion , [The
                   Gal i l s and Uz i s Should Be Barred from Importation Because They Are
                   Banned by the Federal Assaul t Weapon S tatute , and All the Mod i fied
                   Assault Ri f l e s Should Be Barred from Importation Because They Fail
                   the Sport i ng Purposes Test ] . The conclusion states : "The modif ied
                   as sau l t rifles currently under suspended permits should be
                   permanent ly barred from importat ion because they do not mee t the
                   sporting purposes test for importation under the Gun Control Act of
                   1 9 6 8 and because certain of the rifles [Gal i l s · and Uzi s ] also are
                   banned by the 1 9 94 Federal assault weapon law . "




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                                Comments Provided by Individuals

      ( 1 0 ) The respondent does not recommend the Uzi , but he highly recommends the
              others for sma l l game and varmints . He fee l s that the calibers of these
              are not the cal iber of choice for medium or large game ; however , he
              bel ieves that the S IG and H&K are the best -built semiautomatics availab l e .

            He can not and wi l l not defend the Uz i , referring to it as a "piece of
            j unk . "

            The respondent fee l s that because of their expense and their being hard t o
            find , the study rifles ( excluding the Uz i ) would not be weapons o f choice
            for i l l egal act ivi t ies .

      ( 1 1 ) The respondent questions ATF ' s def init ion of " sporting " and "organi zed
              shooting . " He feels that ATF ' s def inition is too narrow and based on
               "pol itical pressure . "

            The respondent feels that the f irearms are especial ly suitable for
            compet i t ive s hoot ing and hunting and that the restrictions on caliber and
            number of cartridges should be left to the individual States . He has shot
            compet i t ivel y for 25 years .

      ( 1 8 ) The respondent speci f ically recommends the MAK9 0 for hunting because its
              shorter length makes for easier movement through covered areas , it al lows
              for qui cker fol low-up s hot s , i t s open s ights a llow one to come up upon a
              target more qui ckl y , and it provides a quicker determinat ion of whether a
              clear shot exis t s through the brush than with telescopi c s ighting .

       ( 2 1 ) The respondent states that the s econd amendment di scusses " arms , " not
               " sporting arms . " The respondent further states that taxpayer money was
               spent on thi s survey and ATF has an agenda . A gun ' s original intent
               ( mi l i tary) has nothing to do with how it is used now . �The solution to
               today ' s crime i s much the s ame as it a lways has been , proper enforcement
               of exis t ing l aws , not the imposition of new freedom - restricting laws on
               hones t peopl e . "
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                                    Information on Articles Reviewed


     ( 1)   Describes l imited avai labi lity of Uz i Mode l B sporter with thumbhole s tock .

     (2)    Describes r i f l e and makes pol i t ical statement concerning 1 9 8 9 ban .

     (3)    Describes Chinese copy of Uzi with thumbhole s tock .

     (4)    Qua l i ty sport ing f i rearms f rom Russ ia .

     (5)    Short des c r ipt ions o f rifles and shotguns availabl e . Lead - in paragraph
            mentions hunt ing . Does not spec i f ical ly recommend any of the l i s ted
            weapons for hunt ing .

      (6)   Geared to reta i l gun dealers , provides l i s t of avai lable products . States
            LlAl Sporter i s pinpoint accurate and powerful enough for most North
            American b i g game hunting .

      (7)   Discusses the use of the rifle for hunting bea r , sheep , and coyote s .
            Describes accuracy and ruggedness . NOTE : The r i f l e is a pre - 1 9 8 9 ban
            assau l t r i f le .

      (8)   Deals primarily with performance of the cartridge . Makes s tatement that
            AK 4 7 - type r i f l e is adequate for deer hunting at woods ranges .

      (9)   D iscus ses gun ownership in the Uni ted State s . Highlighted text ( not by
            writers ) includes the National Survey o f Private Owne rship of Firearms that
            was conducted by Chi lton Research Services o f Drexel Hil l , Pennsylvani a
            during November and December 1 9 94 : 7 0 mil l ion r i f l e s are private ly held ,
            including 2 8 mi l l ion s emiautomat i c s .

      ( 10 ) D i s cusses p re - 1 9 8 9 ban configurat ion . Describes use in hunting , and makes
             the s tatement that " in the appropriate cal ibers , the mil itary style
             autoloaders can i ndeed make excel lent r if l e s , and that the i r ugly
             conf iguration probably g ives them better handl ing qualities than more
             convent ional sporters as the mi l itary discovered a long t ime ago . "

      ( 15 ) Not art icle - letter f rom Editor of Gun World magaz ine discu s si ng " sport "
             and various compe t i tions . Note : Attached submit ted by Century Arms .

      ( 16 ) Letter addres s ed to " To Whom I t May Concern " indicat ing HK9 1 ( not ment i oned
             but i l lus trated in photos ) is suitable for hunt i ng and accurate enough for
             competition . Note : Submitted by Century Arms .
      ( 17 ) Describes a compet i t ion developed to test a hunter ' s ski ll .     Does not
             mention any of the r i f les at is sue .

      ( 1 8 ) Not on point - dea l s with AR 1 5 .

       ( 1 9 ) Describes funct ion , makes poli tical statement .

       ( 2 0 ) Di scu s s e s funct ion and disassembly o f r i f l e .

       ( 2 1 ) Not on point - dea l s with AR 1 5 r i f l e .




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         ( 2 2 ) Di scusses compet i t ion s tarted to show sport ing use of rifles banned for
                 sale in Cal i fornia . Unknown if weapons in s tudy were banned in Cali fornia
                 in 1 9 9 0 .

         ( 2 3 ) Not on point - deals with nat ional matches .

         ( 2 4 ) Not on poi nt - deal s with various surplus mi l i tary rif les .

         ( 2 5 ) Deal s with 7 . 6 2x3 9mm ammuni t i on as suitable for deer hunting and mentions
                 the use in S KS r i fles , which is a mi l itary style semiautomatic but not a
                 part of the s tudy .

         ( 2 6 ) Not on poi nt - deals with reloading .

         ( 2 7 ) Not on point - deal s with reloading .

         ( 2 8 ) Not on poi nt    deals with AR1 5 rifles in competition .

         ( 2 9 ) Not on point - dea l s with the SKS ri f l e .

         ( 3 0 ) Not on point - deal s with nat i onal matches .

         ( 3 1 ) Not on point - deals with national matches .

         ( 3 2 ) Not on point - deals with nat i onal matches .

         ( 3 3 ) Not on point - deals with national matches at Camp Perry .

         ( 3 4 ) Not on point - dea l s with nat i onal matches at Camp Perry .

         ( 3 5 ) Not on point - dea l s with 1 9 8 9 nati onal matches at Camp Perry .

         ( 3 6 ) Not on point - deals with Browning BAR sporting semiautomatic r i f l es .

         ( 3 8 ) Not on poi n t - deals with ARlS , mentions r i f l e in cal iber 7 . 62 x 3 9 .

          ( 3 9 ) Not on point - deals with bul let types .

          ( 4 0 ) Not on point - deals with reloading .

          ( 4 1 ) D i s cusses t racking in snow .   Rifles mentioned do not inc l ude any rif l e s in
               study .

          ( 4 2 ) Deals with dee r hunting in general .

          ( 4 3 ) Deals with ri fles for varmint hunting .        Does not ment ion rifles in study .
          ( 4 4 ) Not on poi nt - deals with hunting pronghorn antelope .

          ( 4 5 ) Deals with various deer r i f les .

          ( 4 6 ) Not on poi nt - deals with two Browning ri f l e s ' reco i l reducing system .

          ( 4 7 ) Not on point - deals with bol t - action r i f l es .

          ( 4 8 ) Not on point - dea l s with ammunit ion .



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     ( 4 9 ) Deals with mod i f i cat ions to AR1 5 trigger for target shooting .

     ( 5 0 ) Not on point - dea l s with Ml Garand as a target r i f l e .

     ( 5 1 ) Not on point - dea l s with reloading .

     ( 5 2 ) Deals with impact of banning semiautomatic r i f l e s would have on comp e t i t o r s
             a t Camp Perry .

     ( 5 3 ) Deal s with economic impact in areas near Camp Perry i f semiautomatic rif l e s
             banned . Reprint f rom Akron Beacon Journal .

     ( 5 4 ) Deals with training new competit ive shooters - ment ions sporting use o f
             assau l t r i f l e s , i . e . , AR1 5 .

     ( 5 5 ) Not on point    - art i c le about Nelson Shew .
     ( 5 6 ) Not on point    - dea l s wi th reloading .
     ( 5 7 ) Not on point    - deals with shoot ing the AR 15 .
     ( 5 8 ) Not on point - art i c l e about ARl S a s target ri f l e .

      ( 5 9 ) Not on point   - art i c l e about we l l known competi t ive shooter .
      ( 6 7 ) Not on point - deal s w i th reloading .

      ( 6 8 ) Discusses s emiautoma t i c versions of M14 .

      ( 6 9 ) Di scusses gas operati on .

      ( 7 0 ) Di scus ses right adj ustment on Ml and MlA ri f les .

      ( 7 1 ) Discusses MlA and AR1 5 - type r i f l e s mod i f ied to remove them f rom ass au l t
              weapon de f i n i t ion , and the i r use in compet it ion .

      ( 7 2 ) Dea l s with AR1 5 type r i f le .

      ( 7 3 ) Not on point - deal s with AR1 5 .

      ( 7 4 ) Not on point - deal s with target r i f l e based on AR1 5 /M 1 6 .

      ( 7 5 ) Not on point - dea l s with SKS r i fl e .

      ( 7 6 ) Not on point - dea l s wit h reloading 7 . 6 2x3 9mm cartridge .

      ( 7 7 ) Not on point - deal s with reloading .           Mentions 7 . 6 2x3 9mm .

      ( 7 8 ) Not on point - dea l s wi th ammuni tion performanc e .

      ( 7 9 ) Dea l s with . 2 2 3 Remington cal iber ammuni t ion as a hunt ing cartridge .

      ( 8 0 } Describes MlA { semiautomat ic copy of M 1 4 ) as a target r i f l e .

      ( 8 1 ) Not on point - dea l s with bul l e t des ign .

       ( 8 2 ) Not on point - dea l s with ammunition performance .


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                                       Information on Advertisements Reviewed


           ( 1 1 ) Indicates r i f l e s are rugged , rel iable and accurate .

           ( 12 ) Describes r i f le s , l i s t s price .

           ( 1 3 ) Sport ing vers ions o f AK 4 7 and FAL .

           ( 14 ) Sporting vers ion of AK 4 7 , reliable , accurate .

           ( 6 1 ) Catalog o f ammuni tion - l i s t s uses for 7 . 6 2x3 9mm ammunition .

           ( 6 2 ) Catalog of ammunit ion - l i s t s uses for 7 . 6 2x3 9mm ammunition .

           ( 6 3 ) Catalog o f ammuni t ion - l i s t s uses for 7 . 6 2x3 9mm ammunit ion .

           ( 6 4 ) Catalog o f ammunition - l i s t s uses for 9mm ammunit ion .

           ( 6 5 ) Catalog o f ammuni tion - l is t s uses for 9mm ammunition .

           ( 6 6 ) Catalog of ammuni tion - l i s t s recommended uses for 9mm ammunition .
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                         EXHIBIT F
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 U.S. Department of Justice

Bureau of Alcohol, Tobacco, Firearms and Explosives




 ATF
 Study on the lmportability of Certain
 Shotguns




                              Firearms and Explosives Industry Division




                                                                           January 2011
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                                          Study on the Importability of Certain Shotguns

                                                              Executive Summary

   The purpose of this study is to establish criteria that the Bureau of Alcohol, Tobacco, Firearms
   and Explosives (ATF) will use to determine the importability of certain shotguns under the
   provisions of the Gun Control Act of 1968 (GCA).

   The Gun Control Act of 1968 (GCA) generally prohibits the importation of firearms into the
   United States. 1 However, pursuant to 18 U.S.C. § 925(d), the GCA creates four narrow
   categories of firearms that the Attorney General must authorize for importation. Under one such
   category, subsection 925(d)(3), the Attorney General shall approve applications for importation
   when the firearms are generally recognized as particularly suitable for or readily adaptable to
   sporting purposes (the “sporting purposes test”).

   After passage of the GCA in 1968, a panel was convened to provide input on the sporting
   suitability standards which resulted in factoring criteria for handgun importations. Then in 1989,
   and again in 1998, the Bureau of Alcohol, Tobacco, Firearms and Explosives (ATF) conducted
   studies to determine the sporting suitability and importability of certain firearms under section
   925(d)(3). However, these studies focused mainly on a type of firearm described as
   “semiautomatic assault weapons.” The 1989 study determined that assault rifles contained a
   variety of physical features that distinguished them from traditional sporting rifles. The study
   concluded that there were three characteristics that defined semiautomatic assault rifles. 2

   The 1998 study concurred with the conclusions of the 1989 study, but included a finding that
   “the ability to accept a detachable large capacity magazine originally designed and produced for
   a military assault weapon should be added to the list of disqualifying military configuration
   features identified in 1989.” 3 Further, both studies concluded that the scope of “sporting
   purposes” did not include all lawful activity, but was limited to traditional sports such as hunting,
   skeet shooting, and trap shooting. This effectively narrowed the universe of firearms considered
   by each study because a larger number of firearms are “particularly suitable for or readily
   adaptable to a sporting purpose” if plinking 4 and police or military-style practical shooting
   competitions are also included as a “sporting purpose.” 5

   Although these studies provided effective guidelines for determining the sporting purposes of
   rifles, ATF recognized that no similar studies had been completed to determine the sporting

   1
     Chapter 44, Title 18, United States Code (U.S.C.), at 18 U.S.C. § 922(l).
   2
     These characteristics were: (a) a military configuration (ability to accept a detachable magazine, folding/telescoping stocks, pistol grips, ability
   to accept a bayonet, flash suppressors, bipods, grenade launchers, and night sights); (b) a semiautomatic version of a machinegun; and
   (c) chambered to accept a centerfire cartridge case having a length of 2.25 inches or less. 1989 Report and Recommendation on the Importability
   of Certain Semiautomatic Rifles (1989 Study) at 6-9.
   3
     1998 Department of the Treasury Study on the Sporting Suitability of Modified Semiautomatic Rifles (1998 Study) at 2.
   4
     “Plinking” is shooting at random targets such as bottles and cans. 1989 Report at 10.
   5
     1989 Report at 8-9; 1998 Study at 18-19.
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   suitability of shotguns. A shotgun study working group (working group) was assigned to
   perform a shotgun study under the § 925(d)(3) sporting purposes test. The working group
   considered the 1989 and 1998 studies, but neither adopted nor entirely accepted findings from
   those studies as conclusive as to shotguns.

   Sporting Purpose

   Determination of whether a firearm is generally accepted for use in sporting purposes is the
   responsibility of the Attorney General (formerly the Secretary of the Treasury). As in the
   previous studies, the working group considered the historical context of “sporting purpose” and
   that Congress originally intended a narrow interpretation of sporting purpose under § 925(d)(3).

   While the 1989 and 1998 studies considered all rifles in making their recommendations, these
   studies first identified firearm features and subsequently identified those activities believed to
   constitute a legitimate “sporting purpose.” However, in reviewing the previous studies, the
   working group believes that it is appropriate to first consider the current meaning of “sporting
   purpose” as this may impact the “sporting” classification of any shotgun or shotgun features. For
   example, military shotguns, or shotguns with common military features that are unsuitable for
   traditional shooting sports, may be considered “particularly suitable for or readily adaptable to
   sporting purposes” if military shooting competitions are considered a generally recognized
   sporting purpose. Therefore, in determining the contemporary meaning of sporting purposes, the
   working group examined not only the traditional sports of hunting and organized competitive
   target shooting, but also made an effort to consider other shooting activities.

   In particular, the working group examined participation in and popularity of practical shooting
   events as governed by formal rules, such as those of the United States Practical Shooting
   Association (USPSA) and International Practical Shooting Confederation (IPSC), to determine
   whether it was appropriate to consider these events a “sporting purpose” under § 925(d)(3).
   While the number of members reported for USPSA is similar to the membership for other
   shotgun shooting organizations, 6 the working group ultimately determined that it was not
   appropriate to use this shotgun study to determine whether practical shooting is “sporting” under
   § 925(d)(3). A change in ATF’s position on practical shooting has potential implications for rifle
   and handgun classifications as well. Therefore, the working group believes that a more thorough
   and complete assessment is necessary before ATF can consider practical shooting as a generally
   recognized sporting purpose.

   The working group agreed with the previous studies in that the activity known as “plinking” is
   “primarily a pastime” and could not be considered a recognized sport for the purposes of


   6
     Organization websites report these membership numbers: for the United States Practical Shooting Association, approx. 19,000; Amateur
   Trapshooting Association, over 35,000 active members; National Skeet Shooting Association, nearly 20,000 members; National Sporting Clays
   Association, over 22,000 members; Single Action Shooting Society, over 75,000 members.
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   importation. 7 Because almost any firearm can be used in that activity, such a broad reading of
   “sporting purpose” would be contrary to the congressional intent in enacting section 925(d)(3).
   For these reasons, the working group recommends that plinking not be considered a sporting
   purpose. However, consistent with past court decisions and Congressional intent, the working
   group recognized hunting and other more generally recognized or formalized competitive events
   similar to the traditional shooting sports of trap, skeet, and clays.

   Firearm Features

   In reviewing the shotguns used for those activities classified as sporting purposes, the working
   group examined State hunting laws, rules, and guidelines for shooting competitions and shooting
   organizations; industry advertisements and literature; scholarly and historical publications; and
   statistics on participation in the respective shooting sports. Following this review, the working
   group determined that certain shotgun features are not particularly suitable or readily adaptable
   for sporting purposes. These features include:

                (1) Folding, telescoping, or collapsible stocks;
                (2) bayonet lugs;
                (3) flash suppressors;
                (4) magazines over 5 rounds, or a drum magazine;
                (5) grenade-launcher mounts;
                (6) integrated rail systems (other than on top of the receiver or barrel);
                (7) light enhancing devices;
                (8) excessive weight (greater than 10 pounds for 12 gauge or smaller);
                (9) excessive bulk (greater than 3 inches in width and/or greater than 4 inches in depth);
                (10) forward pistol grips or other protruding parts designed or used for gripping the
                shotgun with the shooter’s extended hand.

   Although the features listed above do not represent an exhaustive list of possible shotgun
   features, designs or characteristics, the working group determined that shotguns with any one of
   these features are most appropriate for military or law enforcement use. Therefore, shotguns
   containing any of these features are not particularly suitable for nor readily adaptable to
   generally recognized sporting purposes such as hunting, trap, sporting clay, and skeet shooting.
   Each of these features and an analysis of each of the determinations are included within the main
   body of the report.




   7
       1989 Study at 10; 1998 Study at 17.
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                                       Study on the Importability of Certain Shotguns

   The purpose of this study is to establish criteria that the Bureau of Alcohol, Tobacco, Firearms
   and Explosives (ATF) will use to determine the importability of certain shotguns under the
   provisions of the Gun Control Act of 1968 (GCA).

                                                 Background on Shotguns

   A shotgun is defined by the GCA as “a weapon designed or redesigned, made or remade, and
   intended to be fired from the shoulder and designed or redesigned and made or remade to use the
   energy of an explosive to fire through a smooth bore either a number of ball shot or a single
   projectile for each single pull of the trigger.” 8

   Shotguns are traditional hunting firearms and, in the past, have been referred to as bird guns or
   “fowling” pieces. They were designed to propel multiple pellets of shot in a particular pattern
   that is capable of killing the game that is being hunted. This design and type of ammunition
   limits the maximum effective long distance range of shotguns, but increases their effectiveness
   for small moving targets such as birds in flight at a close range. Additionally, shotguns have
   been used to fire slugs. A shotgun slug is a single metal projectile that is fired from the barrel.
   Slugs have been utilized extensively in areas where State laws have restricted the use of rifles for
   hunting. Additionally, many States have specific shotgun seasons for deer hunting and, with the
   reintroduction of wild turkey in many States, shotguns and slugs have found additional sporting
   application.

   Shotguns are measured by gauge in the United States. The gauge number refers to the “number
   of equal-size balls cast from one pound of lead that would pass through the bore of a specific
   diameter.” 9 The largest commonly available gauge is 10 gauge (.0775 in. bore diameter).
   Therefore, a 10 gauge shotgun will have an inside diameter equal to that of a sphere made from
   one-tenth of a pound of lead. By far, the most common gauges are 12 (0.729 in. diameter) and
   20 (0.614 in. diameter). The smallest shotgun that is readily available is known as a “.410,”
   which is the diameter of its bore measured in inches. Technically, a .410 is a 67 gauge shotgun.

                                            Background on Sporting Suitability

   The GCA generally prohibits the importation of firearms into the United States. 10 However, the
   statute exempts four narrow categories of firearms that the Attorney General shall authorize for
   importation. Originally enacted by Title IV of the Omnibus Crime Control and Safe Streets Act
   of 1968, 11 and amended by Title I of the GCA 12 enacted that same year, this section provides, in
   pertinent part:

   8
     18 U.S.C. § 921(a)(5).
   9
     The Shotgun Encyclopedia at 106.
   10
      18 U.S.C. § 922(l).
   11
      Pub. Law 90-351 (June 19, 1968).
   12
      Pub. Law 90-618 (October 22, 1968).
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              the Attorney General shall authorize a firearm . . . to be imported or brought into
              the United States . . . if the firearm . . . (3) is of a type that does not fall within the
              definition of a firearm as defined in section 5845(a) of the Internal Revenue Code
              of 1954 and is generally recognized as particularly suitable for or readily
              adaptable to sporting purposes, excluding surplus military firearms, except in
              any case where the Secretary has not authorized the importation of the firearm
              pursuant to this paragraph, it shall be unlawful to import any frame, receiver, or
              barrel of such firearm which would be prohibited if assembled. 13 (Emphasis
              added)

   This section addresses Congress’ concern that the United States had become a “dumping ground
   of the castoff surplus military weapons of other nations,” 14 in that it exempted only firearms with
   a generally recognized sporting purpose. In recognizing the difficulty in implementing this
   section, Congress gave the Secretary of the Treasury (now the Attorney General) the discretion
   to determine a weapon’s suitability for sporting purposes. This authority was ultimately
   delegated to what is now ATF. Immediately after discussing the large role cheap imported .22
   caliber revolvers were playing in crime, the Senate Report stated:

              [t]he difficulty of defining weapons characteristics to meet this target without
              discriminating against sporting quality firearms, was a major reason why the
              Secretary of the Treasury has been given fairly broad discretion in defining and
              administering the import prohibition. 15

   Indeed, Congress granted this discretion to the Secretary even though some expressed
   concern with its breadth:

              [t]he proposed import restrictions of Title IV would give the Secretary of
              the Treasury unusually broad discretion to decide whether a particular type of
              firearm is generally recognized as particularly suitable for, or readily adaptable
              to, sporting purposes. If this authority means anything, it permits Federal officials
              to differ with the judgment of sportsmen expressed through consumer preference
              in the marketplace…. 16

   Since that time, ATF has been responsible for determining whether firearms are generally
   recognized as particularly suitable for or readily adaptable to sporting purposes under the statute.


   13
      18 U.S.C. § 925(d)(3). In pertinent part, 26 U.S.C. § 5845(a) includes “a shotgun having a barrel or barrels of less than 18 inches in length.”
   14
      90 P.L. 351 (1968).
   15
      S. Rep. No. 1501, 90th Cong. 2d Sess. 38 (1968).
   16
      S. Rep. No. 1097, 90th Cong. 2d. Sess. 2155 (1968) (views of Senators Dirksen, Hruska, Thurmond, and Burdick). In Gun South, Inc. v.
   Brady, 877 F.2d 858, 863 (11th Cir. 1989), the court, based on legislative history, found that the GCA gives the Secretary “unusually broad
   discretion in applying section 925(d)(3).”
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   On December 10, 1968, the Alcohol and Tobacco Tax Division of the Internal Revenue Service
   (predecessor to ATF) convened a “Firearm Advisory Panel” to assist with defining “sporting
   purposes” as utilized in the GCA. This panel was composed of representatives from the
   military, law enforcement, and the firearms industry. The panel generally agreed that firearms
   designed and intended for hunting and organized competitive target shooting would fall into the
   sporting purpose criteria. It was also the consensus that the activity of “plinking” was primarily
   a pastime and therefore would not qualify. Additionally, the panel looked at criteria for
   handguns and briefly discussed rifles. However, no discussion took place on shotguns given
   that, at the time, all shotguns were considered inherently sporting because they were utilized for
   hunting or organized competitive target competitions.

   Then, in 1984, ATF organized the first large scale study aimed at analyzing the sporting
   suitability of certain firearms. Specifically, ATF addressed the sporting purposes of the Striker-
   12 and Streetsweeper shotguns. These particular shotguns were developed in South Africa as
   law enforcement, security and anti-terrorist weapons. These firearms are nearly identical 12-
   gauge shotguns, each with 12-round capacity and spring-driven revolving magazines. All 12
   rounds can be fired from the shotguns within 3 seconds.

   In the 1984 study, ATF ruled that the Striker-12 and the Streetsweeper were not eligible for
   importation under 925(d)(3) because they were not “particularly suitable for sporting purposes.”
   In doing this, ATF reversed an earlier opinion and specifically rejected the proposition that
   police or combat competitive shooting events were a generally accepted “sporting purpose.”
   This 1984 study adopted a narrow interpretation of organized competitive target shooting
   competitions to include the traditional target events such as trap and skeet. ATF ultimately
   concluded that the size, weight and bulk of the shotguns made them difficult to maneuver in
   traditional shooting sports and, therefore, these shotguns were not particularly suitable for or
   readily adaptable to these sporting purposes. At the same time, however, ATF allowed
   importation of a SPAS-12 variant shotgun because its size, weight, bulk and modified
   configuration were such that it was particularly suitable for traditional shooting sports. 17 The
   Striker-12 and Streetsweeper were later classified as “destructive devices” pursuant to the
   National Firearms Act. 18

   In 1989, and again in 1998, ATF conducted studies to determine whether certain rifles could be
   imported under section 925(d)(3). The respective studies focused primarily on the application of
   the sporting purposes test to a type of firearm described as a “semiautomatic assault weapon.” In
   both 1989 and 1998, ATF was concerned that certain semiautomatic assault weapons had been
   approved for importation even though they did not satisfy the sporting purposes test.



   17
        Private letter Ruling of August 9, 1989 from Bruce L. Weininger, Chief, Firearms and Explosives Division.
   18
        See ATF Rulings 94-1 and 94-2.
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   1989 Study

   In 1989, ATF announced that it was suspending the importation of several semiautomatic assault
   rifles pending a decision on whether they satisfied the sporting criteria under section 925(d)(3).
   The 1989 study determined that assault rifles were a “type” of rifle that contained a variety of
   physical features that distinguished them from traditional sporting rifles. The study concluded
   that there were three characteristics that defined semiautomatic assault rifles:

        (1) a military configuration (ability to accept a detachable magazine, folding/telescoping
            stocks, pistol grips, ability to accept a bayonet, flash suppressors, bipods, grenade
            launchers, and night sights);
        (2) semiautomatic version of a machinegun;
        (3) chambered to accept a centerfire cartridge case having a length of 2.25 inches or less.19

   The 1989 study then examined the scope of “sporting purposes“ as used in the statute. 20 The
   study noted that “[t]he broadest interpretation could take in virtually any lawful activity or
   competition which any person or groups of persons might undertake. Under this interpretation,
   any rifle could meet the “sporting purposes” test.21 The 1989 study concluded that a broad
   interpretation would render the statute useless. The study therefore concluded that neither
   plinking nor “police/combat-type” competitions would be considered sporting activities under
   the statute. 22

   The 1989 study concluded that semiautomatic assault rifles were “designed and intended to be
   particularly suitable for combat rather than sporting applications.” 23 With this, the study
   determined that they were not suitable for sporting purposes and should not be authorized for
   importation under section 925(d)(3).

   1998 Study

   The 1998 study was conducted after “members of Congress and others expressed concern that
   rifles being imported were essentially the same as semiautomatic assault rifles previously
   determined to be nonimportable” under the 1989 study. 24 Specifically, many firearms found to
   be nonimportable under the 1989 study were later modified to meet the standards outlined in the
   study. These firearms were then legally imported into the country under section 925(d)(3). ATF
   commissioned the 1998 study on the sporting suitability of semiautomatic rifles to address
   concerns regarding these modified firearms.

   19
      1989 Report and Recommendation on the ATF Working Group on the Importability of Certain Semiautomatic Rifles (1989 Study).
   20
      Id. at 8.
   21
      Id.
   22
      Id. At 9.
   23
      Id. At 12.
   24
      1998 Study at 1.
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   The 1998 study identified the firearms in question and determined that the rifles shared an
   important feature—the ability to accept a large capacity magazine that was originally designed
   for military firearms. The report then referred to such rifles as Large Capacity Military
   Magazine rifles or “LCMM rifles.” 25

   The study noted that after 1989, ATF refused to allow importation of firearms that had any of the
   identified non-sporting features, but made an exception for firearms that possessed only a
   detachable magazine. Relying on the 1994 Assault Weapons Ban, the 1998 study noted that
   Congress “sent a strong signal that firearms with the ability to expel large amounts of
   ammunition quickly are not sporting.” 26 The study concluded by adopting the standards set forth
   in the 1989 study and by reiterating the previous determination that large capacity magazines are
   a military feature that bar firearms from importation under section 925(d)(3). 27

   Present Study

   While ATF conducted the above mentioned studies on the sporting suitability of rifles, to date,
   no study has been conducted to address the sporting purposes and importability of shotguns.
   This study was commissioned for that purpose and to ensure that ATF complies with it statutory
   mandate under section 925(d)(3).

                                                                 Methodology

   To conduct this study, the working group reviewed current shooting sports and the sporting
   suitability of common shotguns and shotgun features. At the outset, the working group
   recognized the importance of acknowledging the inherent differences between rifles, handguns
   and shotguns. These firearms have distinct characteristics that result in specific applications of
   each weapon. Therefore, in conducting the study, the working group generally considered
   shotguns without regard to technical similarities or differences that exist in rifles or handguns.

   The 1989 and 1998 studies examined particular features and made sporting suitability
   determinations based on the generally accepted sporting purposes of rifles. These studies served
   as useful references because, in recent years, manufacturers have produced shotguns with
   features traditionally found only on rifles. These features are typically used by military or law
   enforcement personnel and provide little or no advantage to sportsmen.

   Following a review of the 1989 and 1998 studies, the working group believed that it was
   necessary to first identify those activities that are considered legitimate “sporting purposes” in
   the modern era. While the previous studies determined that only “the traditional sports of
   hunting and organized competitive target shooting” would be considered “sporting,” 28 the
   working group recognized that sporting purposes may evolve over time. The working group felt

   25
      1998 Study at 16.
   26
      1998 Study at 3.
   27
      The 1994 Assault Weapons Ban expired Sept. 13, 2004, as part of the law's sunset provision.
   28
      1998 Study at 16
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   that the statutory language supported this because the term “generally recognized” modifies, not
   only firearms used for shooting activities, but also the shooting activities themselves. This is to
   say that an activity is considered “sporting” under section 925(d)(3) if it is generally recognized
   as such. 29 Therefore, activities that were “generally recognized” as legitimate “sporting
   purposes” in previous studies are not necessarily the same as those activities that are “generally
   recognized” as sporting purposes in the modern era. As stated above, Congress recognized the
   difficulty in legislating a fixed meaning and therefore gave the Attorney General the
   responsibility to make such determinations. As a result, the working group did not simply accept
   the proposition that sporting events were limited to hunting and traditional trap and skeet target
   shooting. In determining whether an activity is now generally accepted as a sporting purpose,
   the working group considered a broad range of shooting activities.

   Once the working group determined those activities that are generally recognized as a “sporting
   purpose” under section 925(d)(3), it examined numerous shotguns with diverse features in an
   effort to determine whether any particular firearm was particularly suitable for or readily
   adaptable to those sports. In coming to a determination, the working group recognized that a
   shotgun cannot be classified as sporting merely because it may be used for a sporting purpose.
   During debate on the original bill, there was discussion about the meaning of the term "sporting
   purposes." Senator Dodd stated:

              Here again I would have to say that if a military weapon is used in a special
              sporting event, it does not become a sporting weapon. It is a military weapon used in a
              special sporting event . . . . As I said previously the language says no firearms will be
              admitted into this country unless they are genuine sporting weapons. 30

   In making a determination on any particular feature, the working group considered State hunting
   laws, currently available products, scholarly and historical publications, industry marketing, and
   rules and regulations of organization such as the National Skeet Shooting Association, Amateur
   Trapshooting Association, National Sporting Clays Association, Single Action Shooting Society,
   International Practical Shooting Confederation (IPSC), and the United States Practical Shooting
   Association (USPSA). Analysis of these sources as well as a variety of shotguns led the working
   group to conclude that certain shotguns were of a type that did not meet the requirements of
   section 925(d)(3), and therefore, could not lawfully be imported.




   29
      ATF previously argued this very point in Gilbert Equipment Company , Inc. v. Higgins, 709 F.Supp. 1071, 1075 (S.D. Ala. 1989). The court
   agreed, noting, “according to Mr. Drake, the bureau takes the position…that an event has attained general recognition as being a sport before
   those uses and/or events can be ‘sporting purposes’ or ‘sports’ under section 925(d)(3). See also Declaration of William T. Drake, Deputy
   Director, Bureau of Alcohol, Tobacco and Firearms.
   30
      114 Cong. Rec. 27461-462 (1968).
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                                               Analysis

   A. Scope of Sporting Purposes

   In conducting the sporting purposes test on behalf of the Attorney General, ATF examines the
   physical and technical characteristics of a shotgun and determines whether those characteristics
   meet this statutory requirement. A shotgun’s suitability for a particular sport depends upon the
   nature and requirements inherent to that sport. Therefore, determining a “sporting purpose” was
   the first step in this analysis under section 925(d)(3) and is a critical step of the process.

   A broad interpretation of “sporting purposes” may include any lawful activity in which a shooter
   might participate and could include any organized or individual shooting event or pastime. A
   narrow interpretation of “sporting purposes” would clearly result in a more selective standard
   governing the importation of shotguns.

   Consistent with previous ATF decisions and case law, the working group recognized that a sport
   or event must “have attained general recognition as being a ‘sport,’ before those uses and/or
   events can be ‘sporting purposes’ or ‘sports’ under Section 925(d)(3).” 31 The statutory language
   limits ATF’s authority to recognize a particular shooting activity as a “sporting purpose,” and
   therefore requires a narrow interpretation of this term. As stated however, the working group
   recognized that sporting purposes may change over time, and that certain shooting activities may
   become “generally recognized” as such.

   At the present time, the working group continues to believe that the activity known as “plinking”
   is not a generally recognized sporting purpose. There is nothing in the legislative history of the
   GCA to indicate that section 925(d)(3) was meant to recognize every conceivable type of activity
   or competition that might employ a firearm. Recognition of plinking as a sporting purpose
   would effectively nullify section 925(d)(3) because it may be argued that any shotgun is
   particularly suitable for or readily adaptable to this activity.

   The working group also considered “practical shooting” competitions. Practical shooting events
   generally measure a shooter’s accuracy and speed in identifying and hitting targets while
   negotiating obstacle-laden shooting courses. In these competitions, the targets are generally
   stationary and the shooter is mobile, as opposed to clay target shooting where the targets are
   moving at high speeds mimicking birds in flight. Practical shooting consist of rifle, shotgun and
   handgun competitions, as well as “3-Gun” competitions utilizing all three types of firearm on
   one course. The events are often organized by local or national shooting organizations and
   attempt to categorize shooters by skill level in order to ensure competitiveness within the
   respective divisions. The working group examined participation in and popularity of practical
   shooting events as governed under formal rules such as those of the United States Practical
   Shooting Association (USPSA) and International Practical Shooting Confederation (IPSC) to see

   31
        Gilbert at 1085.
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   if it is appropriate to consider these events a legitimate “sporting purpose” under section
   925(d)(3).

   The USPSA currently reports approximately 19,000 members that participate in shooting events
   throughout the United States. 32 While USPSA’s reported membership is within the range of
   members for some other shotgun shooting organizations, 33 organizations involved in shotgun
   hunting of particular game such as ducks, pheasants and quail indicate significantly more
   members than any of the target shooting organizations. 34 Because a determination on the
   sporting purpose of practical shooting events should be made only after an in-depth study of
   those events, the working group determined that it was not appropriate to use this shotgun study
   to make a definitive conclusion as to whether practical shooting events are “sporting” for
   purposes of section 925(d)(3). Any such study must include rifles, shotguns and handguns
   because practical shooting events use all of these firearms, and a change in position by ATF on
   practical shooting or “police/combat-type” competitions may have an impact on the sporting
   suitability of rifles and handguns. Further, while it is clear that shotguns are used at certain
   practical shooting events, it is unclear whether shotgun use is so prevalent that it is “generally
   recognized” as a sporting purpose. If shotgun use is not sufficiently popular at such events,
   practical shooting would have no effect on any sporting suitability determination of shotguns.
   Therefore, it would be impractical to make a determination based upon one component or aspect
   of the practical shooting competitions.

   As a result, the working group based the following sporting suitability criteria on the traditional
   sports of hunting, trap and skeet target shooting.

   B. Suitability for Sporting Purposes

   The final step in our review involved an evaluation of shotguns to determine a “type” of firearm
   that is “generally recognized as particularly suitable or readily adaptable to sporting purposes.”
   Whereas the 1989 and 1998 studies were conducted in response to Congressional interest
   pertaining to a certain “type” of firearm, the current study did not benefit from a mandate to
   focus upon and review a particular type of firearm. Therefore, the current working group
   determined that it was necessary to consider a broad sampling of shotguns and shotgun features
   that may constitute a “type.”

   Whereas rifles vary greatly in size, function, caliber and design, historically, there is less
   variation in shotgun design. However, in the past several years, ATF has witnessed increasingly
   diverse shotgun design. Much of this is due to the fact that some manufacturers are now
   applying rifle designs and features to shotguns. This has resulted in a type of shotgun that has
   32
        See www.uspsa.org.
   33
      Organization websites report these membership numbers: for the United States Practical Shooting Association, approx. 19,000; Amateur
   Trapshooting Association, over 35,000 active members; National Skeet Shooting Association, nearly 20,000 members; National Sporting Clays
   Association, over 22,000 members; Single Action Shooting Society, over 75,000 members.
   34
      Organization websites report these membership numbers: Ducks Unlimited, U.S adult 604,902 (Jan. 1, 2010); Pheasants/Quail Forever, over
   130,000 North American members (2010) http://www.pheasantfest.org/page/1/PressReleaseViewer.jsp?pressReleaseId=12406.
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   features or characteristics that are based on tactical and military firearms. Following a review of
   numerous shotguns, literature, and industry advertisements, the working group determined that
   the following shotgun features and design characteristics are particularly suitable for the military
   or law enforcement, and therefore, offer little or no advantage to the sportsman. Therefore, we
   recognized that any shotgun with one or more of these features represent a “type” of firearm that
   is not “generally recognized as particularly suitable or readily adaptable to sporting purposes”
   and may not be imported under section 925(d)(3).

   (1) Folding, telescoping or collapsible stock.

   Shotgun stocks vary in style, but sporting stocks have largely resembled the traditional design. 35
   Many military firearms incorporate folding or telescoping stocks. The main advantage of this
   feature is portability, especially for airborne troops. These stocks allow the firearm to be fired
   from the folded or retracted position, yet it is difficult to fire as accurately as can be done with an
   open or fully extended stock. While a folding stock or telescoping stock makes it easier to carry
   the firearm, its predominant advantage is for military and tactical purposes. A folding or
   telescoping stock is therefore not found on the traditional sporting shotgun. Note that certain
   shotguns may utilize adjustable butt plates, adjustable combs, or other designs intended only to
   allow a shooter to make small custom modifications to a shotgun. These are not intended to
   make a shotgun more portable, but are instead meant to improve the overall “fit” of the shotgun
   to a particular shooter. These types of adjustable stocks are sporting and are, therefore,
   acceptable for importation.

   (2) Bayonet Lug.

   A bayonet lug is generally a metal mount that allows the installation of a bayonet onto the end of
   a firearm. While commonly found on rifles, bayonets have a distinct military purpose.
   Publications have indicated that this may be a feature on military shotguns as well. 36 It enables
   soldiers to fight in close quarters with a knife attached to their firearm. The working group
   discovered no generally recognized sporting application for a bayonet on a shotgun.

   (3) Flash Suppressor.

   Flash suppressors are generally used on military firearms to disperse the muzzle flash in order to
   help conceal the shooter’s position, especially at night. Compensators are used on military and
   commercial firearms to assist in controlling recoil and the “muzzle climb” of the shotgun.
   Traditional sporting shotguns do not have flash suppressors or compensators. However, while
   compensators have a limited benefit for shooting sports because they allow the shooter to quickly
   reacquire the target for a second shot, there is no particular benefit in suppressing muzzle flash in

   35
        Exhibit 1.
   36
        A Collector’s Guide to United States Combat Shotguns at 156.
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   sporting shotguns. Therefore, the working group finds that flash suppressors are not a sporting
   characteristic, while compensators are a sporting feature. However, compensators that, in the
   opinion of ATF, actually function as flash suppressors are neither particularly suitable nor
   readily adaptable to sporting purposes.

   (4) Magazine over 5 rounds, or a Drum Magazine.

   A magazine is an ammunition storage and feeding device that delivers a round into the chamber
   of the firearm during automatic or semiautomatic firing. 37 A magazine is either integral (tube
   magazine) to the firearm or is removable (box magazine). A drum magazine is a large circular
   magazine that is generally detachable and is designed to hold a large amount of ammunition.

   The 1989 Study recognized that virtually all modern military firearms are designed to accept
   large, detachable magazines. The 1989 Study noted that this feature provides soldiers with a
   large ammunition supply and the ability to reload rapidly. The 1998 Study concurred with this
   and found that, for rifles, the ability to accept a detachable large capacity magazine was not a
   sporting feature. The majority of shotguns on the market today contain an integral “tube”
   magazine. However, certain shotguns utilize removable box magazine like those commonly
   used for rifles. 38

   In regard to sporting purposes, the working group found no appreciable difference between
   integral tube magazines and removable box magazines. Each type allowed for rapid loading,
   reloading, and firing of ammunition. For example, “speed loaders” are available for shotguns
   with tube-type magazines. These speed loaders are designed to be preloaded with shotgun shells
   and can reload a shotgun with a tube-type magazine in less time than it takes to change a
   detachable magazine.

   However, the working group determined that magazines capable of holding large amounts of
   ammunition, regardless of type, are particularly designed and most suitable for military and law
   enforcement applications. The majority of state hunting laws restrict shotguns to no more than 5
   rounds. 39 This is justifiable because those engaged in sports shooting events are not engaging in
   potentially hostile or confrontational situations, and therefore do not require the large amount of
   immediately available ammunition, as do military service members and police officers.

   Finally, drum magazines are substantially wider and have considerably more bulk than standard
   clip-type magazines. They are cumbersome and, when attached to the shotgun, make it more
   difficult for a hunter to engage multiple small moving targets. Further, drum magazines are
   generally designed to contain more than 5 rounds. Some contain as many as 20 or more


   37
      Steindler’s New Firearms Dictionary at 164.
   38
      See Collector’s Guide to United States Combat Shotguns at 156-7, noting that early combat shotguns were criticized because of their limited
   magazine capacity and time consuming loading methods.
   39
      Exhibit 2.
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   rounds. 40 While such magazines may have a military or law enforcement application, the
   working group determined that they are not useful for any generally recognized sporting purpose.
   These types of magazines are unlawful to use for hunting in most states, and their possession and
   manufacture are even prohibited or restricted in some states. 41

   (5) Grenade Launcher Mount.

   Grenade launchers are incorporated into military firearms to facilitate the launching of explosive
   grenades. Such launchers are generally of two types. The first type is a flash suppressor
   designed to function as a grenade launcher. The second type attaches to the barrel of the firearm
   either by screws or clamps. Grenade launchers have a particular military application and are not
   currently used for sporting purposes.

   (6) Integrated Rail Systems. 42

   This refers to a mounting rail system for small arms upon which firearm accessories and features
   may be attached. This includes scopes, sights, and other features, but may also include
   accessories or features with no sporting purpose, including flashlights, foregrips, and bipods.
   Rails on the sides and underside of shotguns—including any accessory mount—facilitate
   installation of certain features lacking any sporting purpose. However, receiver rails that are
   installed on the top of the receiver and barrel are readily adaptable to sporting purposes because
   this facilitates installation of optical or other sights.

   (7) Light Enhancing Devices.

   Shotguns are generally configured with either bead sights, iron sights or optical sights,
   depending on whether a particular sporting purpose requires the shotgun to be pointed or
   aimed. 43 Bead sights allow a shooter to “point” at and engage moving targets at a short distance
   with numerous small projectiles, including birds, trap, skeet and sporting clays. Iron and optical
   sights are used when a shooter, firing a slug, must “aim” a shotgun at a target, including deer,
   bear and turkeys. 44 Conversely, many military firearms are equipped with sighting devices that
   utilize available light to facilitate night vision capabilities. Devices or optics that allow
   illumination of a target in low-light conditions are generally for military and law enforcement
   purposes and are not typically found on sporting shotguns because it is generally illegal to hunt
   at night.



   40
      Exhibit 3.
   41
      See, e.g., Cal Pen Code § 12020; N.J. Stat. § 2C:39-9.
   42
      Exhibit 4.
   43
      NRA Firearms Sourcebook at 178.
   44
      Id.
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   (8) Excessive Weight. 45

   Sporting shotguns, 12 gauge and smaller, are lightweight (generally less than 10 pounds fully
   assembled), 46 and are balanced and maneuverable. This aids sportsmen by allowing them to
   carry the firearm over long distances and rapidly engage a target. Unlike sporting shotguns,
   military firearms are larger, heavier, and generally more rugged. This design allows the
   shotguns to withstand more abuse in combat situations.

   (9) Excessive Bulk. 47

   Sporting shotguns are generally no more than 3 inches in width or more than 4 inches in depth.
   This size allows sporting shotguns to be sufficiently maneuverable in allowing hunters to rapidly
   engage targets. Certain combat shotguns may be larger for increased durability or to withstand
   the stress of automatic fire. The bulk refers to the fully assembled shotgun, but does not include
   magazines or accessories such as scopes or sights that are used on the shotgun. For both width
   and depth, shotguns are measured at the widest points of the action or housing on a line that is
   perpendicular to the center line of the bore. Depth refers to the distance from the top plane of the
   shotgun to the bottom plane of the shotgun. Width refers to the length of the top or bottom plane
   of the firearm and measures the distance between the sides of the shotgun. Neither measurement
   includes the shoulder stock on traditional sporting shotgun designs.

   (10) Forward Pistol Grip or Other Protruding Part Designed or Used for Gripping the Shotgun
   with the Shooter’s Extended Hand. 48

   While sporting shotguns differ in the style of shoulder stock, they are remarkably similar in fore-
   end design. 49 Generally, sporting shotguns have a foregrip with which the shooter’s forward
   hand steadies and aims the shotgun. Recently, however, some shooters have started attaching
   forward pistol grips to shotguns. These forward pistol grips are often used on tactical firearms
   and are attached to those firearms using the integrated rail system. The ergonomic design allows
   for continued accuracy during sustained shooting over long periods of time. This feature offers
   little advantage to the sportsman. Note, however, that the working group believes that pistol
   grips for the trigger hand are prevalent on shotguns and are therefore generally recognized as
   particularly suitable for sporting purposes. 50

   While the features listed above are the most common non-sporting shotgun features, the working
   group recognizes that other features, designs, or characteristics may exist. Prior to importation,
   ATF will classify these shotguns based upon the requirements of section 925(d)(3). The working
   45
      See generally Gilbert.
   46
      Shotgun Encyclopedia 2001 at 264.
   47
      Exhibit 5.
   48
      Exhibit 6.
   49
      See Exhibit 1. See generally NRA Firearms Sourcebook at 121-2.
   50
      See Exhibit 1.
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   group expects the continued application of unique features and designs to shotguns that may
   include features or designs based upon traditional police or military tactical rifles. However,
   even if a shotgun does not have one of the features listed above, it may be considered “sporting”
   only if it meets the statutory requirements under section 925(d)(3). Further, the simple fact that
   a military firearm or feature may be used for a generally recognized sporting purposes is not
   sufficient to support a determination that it is sporting under 925(d)(3). Therefore, as required
   by section 925(d)(3), in future sporting classifications for shotguns, ATF will classify the
   shotgun as sporting only if there is evidence that its features or design characteristics are
   generally recognized as particularly suitable for or readily adaptable to generally recognized
   sporting purposes.

   The fact that a firearm or feature was initially designed for military or tactical applications,
   including offensive or defensive combat, may indicate that it is not a sporting firearm. This may
   be overcome by evidence that the particular shotgun or feature has been so regularly used by
   sportsmen that it is generally recognized as particularly suitable for or readily adaptable to
   sporting purposes. Such evidence may include marketing, industry literature and consumer
   articles, scholarly and historical publications, military publications, the existence of State and
   local statutes and regulations limiting use of the shotgun or features for sporting purposes, and
   the overall use and the popularity of such features or designs for sporting purposes according to
   hunting guides, shooting magazines, State game commissioners, organized competitive hunting
   and shooting groups, law enforcement agencies or organizations, industry members and trade
   associations, and interest and information groups. Conversely, a determination that the shotgun
   or feature was originally designed as an improvement or innovation to an existing sporting
   shotgun design or feature will serve as evidence that the shotgun is sporting under section
   925(d)(3). However, any new design or feature must still satisfy the sporting suitability test
   under section 925(d)(3) as outlined above.

   The Attorney General and ATF are not limited to these factors and therefore may consider any
   other factor determined to be relevant in making this determination. The working group
   recognizes the difficulty in applying this standard but acknowledges that Congress specifically
   intended that the Attorney General perform this function. Therefore, the working group
   recommends that sporting determinations for shotguns not specifically addressed by this study be
   reviewed by a panel pursuant to ATF orders, policies and procedures, as appropriate.

                                              Conclusion

   The purpose of section 925(d)(3) is to provide a limited exception to the general prohibition on
   the importation of firearms without placing “any undue or unnecessary Federal restrictions or
   burdens on law-abiding citizens with respect to the acquisition, possession, or use of
   firearms….” 51 Our determinations will in no way preclude the importation of true sporting
   shotguns. While it will certainly prevent the importation of certain shotguns, we believe that
   51
        90 P.L. 351 (1968).
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   those shotguns containing the enumerated features cannot be fairly characterized as “sporting”
   shotguns under the statute. Therefore, it is the recommendation of the working group that
   shotguns with any of the characteristics or features listed above not be authorized for
   importation.
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                                      Shotgun Stock Style Comparison
                                                                       Exhibit 1


   “Straight” or “English” style stock (Ruger Red Label):




   “Pistol grip” style stock (Browning Citori):




   “Pistol grip” style stock (Mossberg 935 Magnum Turkey):




   “Thumbhole” style stock (Remington SP-10):




   Stock with Separate Pistol Grip
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                                                                   Hunting Statutes by State                                              Exhibit 2


State         Gauge                                        Mag Restriction / plugged         Attachments              Semi-Auto   Other
                                                           with one piece filler requiring
                                                           disassembly of gun for
                                                           removal
Alabama       10 gauge or smaller;                         (Species specific) 3 shells                                            1




Alaska        10 gauge or smaller

Arizona       10 gauge or smaller                          5 shells


Arkansas      ≤ 10 gauge; some zones ≥ .410; ≥ 20 gauge    (Species specific) 3 shells
              for bear

California    ≤ 10 gauge; Up to 12 gauge in some areas     (Species specific) 3 shells



Colorado      ≥ 20 gauge; Game Mammals ≤ 10 gauge          3 shells


Connecticut   ≤ 10-gauge                                   (Species specific) 3 shells       telescopic sights




Delaware      20, 16, 12, 10 gauge                         3 shells                          Muzzleloaders may be                 2
                                                                                             equipped with scopes


Florida       Muzzleloading firing ≥ 2 balls ≥ 20-gauge;   (Species specific) 3 shells
              Migratory birds ≤ 10-gauge; opossums -
              single-shot .41 -gauge shotguns

Georgia       ≥ 20-gauge; Waterfowl ≤ 10-gauge             5 shells                          Scopes are legal
Hawaii        ≤ 10 gauge                                   (Species specific) 3 shells
Idaho                                                                                        some scopes allowed                  3


Illinois      20 - 10 gauge; no .410 or 28 gauge allowed   3 shells


Indiana                                                    (Species specific) 3 shells       Laser sights are legal
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                                                                   Hunting Statutes by State                                                                Exhibit 2


Iowa            10-, 12-, 16-, and 20-gauge


Kansas          ≥ 20 gauge; ≤ 10 gauge,                     (Species specific) 3 shells
Kentucky        up to and including 10-gauge, includes      (Species specific) 3 shells   Telescopic sights (scopes)
                .410-

Louisiana       ≤ 10 gauge                                  3 shells                      Nuisance Animals; infrared,
                                                                                          laser sighting devices, or night
                                                                                          vision devices
Maine            10 - 20 gauge                              (Species specific) 3 shells   may have any type of sights,       Auto-loading illegal if hold
                                                                                          including scopes                   more than 6 cartridges

Maryland        Muzzle loading ≥ 10 gauge ; Shotgun ≤ 10-   (Species specific) 3 shells   may use a telescopic sight on
                gauge                                                                     muzzle loading firearm

Massachusetts   ≤ 10 gauge                                  (Species specific) 3 shells
Michigan        any gauge                                   (Species specific) 3 shells                                      Illegal: semi-automatic
                                                                                                                             holding > 6 shells in barrel
                                                                                                                             and magazine combined


Minnesota       ≤ 10 gauge                                  (Species specific) 3 shells
Mississippi     any gauge                                   (Species specific) 3 shells   Scopes allowed on primitive
                                                                                          weapons
Missouri        ≤ 10 gauge                                  (Species specific) 3 shells
Montana         ≤ 10 gauge                                  (Species specific) 3 shells
Nebraska        ≥ 20 gauge                                  (Species specific) 3 shells                                      Illegal: semi-automatic
                                                                                                                             holding > 6 shells in barrel
                                                                                                                             and magazine combined
Nevada          ≤ 10 gauge; ≥ 20 gauge                      (Species specific) 3 shells




New             10 - 20 gauge                               (Species specific) 3 shells
Hampshire
New Jersey      ≤ 10 gauge; ≥ 20 gauge; or .410 caliber     (Species specific) 3 shells   Require adjustable open iron,
                                                                                          peep sight or scope affixed if
                                                                                          hunting with slugs. Telescopic
                                                                                          sights Permitted
New Mexico      ≥ 28 gauge, ≤ 10 gauge                      (Species specific) 3 shells
New York        Big game ≥ 20 gauge                                                       scopes allowed                     No semi-automatic
                                                                                                                             firearm with a capacity to
                                                                                                                             hold more than 6 rounds
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                                                                         Hunting Statutes by State                                                            Exhibit 2


North Carolina   ≤ 10 gauge                                       (Species specific) 3 shells
North Dakota     ≥ 410 gauge; no ≤ 10 gauge                       3 shells (repealed for
                                                                  migratory birds)
Ohio             ≤ 10 gauge                                       (Species specific) 3 shells
Oklahoma         ≤ 10 gauge                                       (Species specific) 3 shells
Oregon           ≤ 10 gauge; ≥ 20 gauge                           (Species specific) 3 shells   Scopes (permanent and
                                                                                                detachable), and sights
                                                                                                allowed for visually impaired
Pennsylvania     ≤ 10 gauge; ≥ 12 gauge                           (Species specific) 3 shells
Rhode Island     10, 12, 16, or 20-gauge                          5 shells
South Carolina                                                    (Species specific) 3 shells
South Dakota     (Species specific) ≤ 10 gauge                    5 shells                                                      No auto-loading firearm
                                                                                                                                holding > 6 cartridges
Tennessee        Turkey: ≥ 28 gauge                               (Species specific) 3 shells   May be equipped with sighting
                                                                                                devices
Texas            ≤ 10 gauge                                       (Species specific) 3 shells   scoping or laser sighting
                                                                                                devices used by disabled
                                                                                                hunters
Utah             ≤ 10 gauge; ≥ 20 gauge                           (Species specific) 3 shells
Vermont          ≥ 12 gauge                                       (Species specific) 3 shells
Virginia         ≤ 10 gauge                                       (Species specific) 3 shells
Washington       ≤ 10 gauge                                       (Species specific) 3 shells
West Virginia
Wisconsin        10, 12, 16, 20 and 28 gauge; no .410             (Species specific) 3 shells
                 shotgun for deer/bear

Wyoming                                                                                                                                                   4

1                Shotgun/rifle combinations (drilling)
                 permitted
2                large game training course - Students in
                 optional proficiency qualification bring their
                 own pre-zeroed, ≥ .243 , scoped shotgun
3                no firearm that, in combination with a
                 scope, sling and/or any attachments,
                 weighs more than 16 pounds



4                no relevant restrictive laws concerning
                 shotguns
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                                                           General Firearm Statutes by State                                                                Exhibit 2


State           Source                                     Semi-Auto              Attachments           Prohibited* (in addition to possession of short-barrel or sawed-off
                                                           Restrictions                                 shotguns by non-authorized persons, e.g., law enforcment officers
                                                                                                        for official duty purposes)
Alabama         Alabama Code, title 13:


Alaska          Alaska Statutes 11.61.200.(h)

Arizona         Arizona Rev. Statutes 13-3101.8.           single shot            silencer prohibited


Arkansas        Arkansas Code Title 5, Chapter 73.
California      California Penal Code, Part 4.12276. and   San Diego includes                           "Assault weapons": Franchi SPAS 12 and LAW 12; Striker 12;
                San Diego Municipal Code 53.31.            under "assault                               Streetsweeper type S/S Inc. ; semiautomatic shotguns having both a
                                                           weapon," any                                 folding or telescoping stock and a pistol grip protruding conspicuously
                                                           shotgun with a                               beneath the action of the weapon, thumbhole stock, or vertical handgrip;
                                                           magazine capacity of                         semiautomatic shotguns capable of accepting a detachable magazine; or
                                                           more than 6 rounds                           shotguns with a revolving cylinder.



Colorado        2 CCR 406-203


Connecticut     Connecticut Gen. Statutes 53-202a.                                                      "Assault weapons": Steyr AUG; Street Sweeper and Striker 12 revolving
                                                                                                        cylinder shotguns

D.C             7-2501.01.
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                                                         General Firearm Statutes by State                                                                  Exhibit 2

Delaware     7.I.§ 711.                                                                               7.I.§ 711. Hunting with automatic-loading gun prohibited; penalty
                                                                                                      (a) No person shall hunt for game birds or game animals in this State,
                                                                                                      except as authorized by state-sanctioned federal depredation/conservation
                                                                                                      orders for selected waterfowl species, with or by means of any automatic-
                                                                                                      loading or hand-operated repeating shotgun capable of holding more than
                                                                                                      3 shells, the magazine of which has not been cut off or plugged with a filler
                                                                                                      incapable of removal through the loading end thereof, so as to reduce the
                                                                                                      capacity of said gun to not more than 3 shells at 1 time, in the magazine
                                                                                                      and chamber combined.
                                                                                                      (b) Whoever violates this section shall be guilty of a class C environmental
                                                                                                      misdemeanor.
                                                                                                      (c) Having in one's possession, while in the act of hunting game birds or
                                                                                                      game animals, a gun that will hold more than 3 shells at one time in the
                                                                                                      magazine and chamber combined, except as authorized in subsection (a)
                                                                                                      of this section, shall be prima facie evidence of violation of this section.




Florida      Florida statutes, Title XLVI.790.001.


Georgia


Hawaii       Hawaii Rev. Statutes, Title 10., 134-8.                            silencer prohibited


Idaho        Idaho Code, 18-3318.


Illinois     Code of Ordinances, City of Aurora 29-43.   Aurora includes                              "Assault weapons": Street Sweeper and Striker 12 revolving cylinder
                                                         under "assault                               shotguns or semiautomatic shotguns with either a fixed magazine with a
                                                         weapon," any                                 capacity over 5 rounds or an ability to accept a detachable magazine and
                                                         shotgun with a                               has at least a folding / telescoping stock or a pistol grip that protrudes
                                                         magazine capacity of                         beneath the action of firearm and which is separate and apart from stock
                                                         more than 5 rounds
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                                                       General Firearm Statutes by State                                                               Exhibit 2

Indiana       Indiana Code 35-47-1-10. and Municipal                     South Bend under          South Bend includes under "assault weapon," any shotgun with a
              Code of the City of South Bend 13-95.                      "assault weapon"          magazine capacity of more than 9 rounds
                                                                         firearms which have
                                                                         threads, lugs, or other
                                                                         characteristics
                                                                         designed for direct
                                                                         attachment of a
                                                                         silencer, bayonet,
                                                                         flash suppressor, or
                                                                         folding stock; as well
                                                                         as any detachable
                                                                         magazine, drum, belt,
                                                                         feed strip, or similar
                                                                         device which can be
                                                                         readily made to accept
                                                                         more than 15. rounds




Iowa          Iowa Code, Title XVI. 724.1.                                                         Includes as an offensive weapon, "a firearm which shoots or is designed
                                                                                                   to shoot more than one shot, without manual reloading, by a single
                                                                                                   function of the trigger"

Kansas


Kentucky      Kentucky Revised Statutes- 150.360


Louisiana     Louisiana RS 56:116.1


Maine         Maine Revised Statutes
              12.13.4.915.4.§11214. F.

Maryland      Maryland Code 5-101.                                                                 "Assault weapons": F.I.E./Franchi LAW 12 and SPAS 12 assault shotgun;
                                                                                                   Steyr-AUG-SA semi-auto; Holmes model 88 shotgun; Mossberg model
                                                                                                   500 Bullpup assault shotgun; Street sweeper assault type shotgun; Striker
                                                                                                   12 assault shotgun in all formats; Daewoo USAS 12 semi-auto shotgun
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                                                             General Firearm Statutes by State                                                                Exhibit 2

Massachusetts     Massachusetts Gen L. 140.121.              under "assault                               "Assault weapons": revolving cylinder shotguns, e.g., Street Sweeper and
                                                             weapon": any                                 Striker 12; also "Large capacity weapon" includes any semiautomatic
                                                             shotgun with (fixed                          shotgun fixed with large capacity feeding device (or capable of accepting
                                                             or detachable)                               such), that uses a rotating cylinder capable of accepting more than 5
                                                             magazine capacity of                         shells
                                                             more than 5 rounds




Michigan          II.2.1. (2)


Minnesota         Minnesota Statutes 624.711                                                              "Assault weapons": Street Sweeper and Striker-12 revolving cylinder
                                                                                                          shotgun types as well as USAS-12 semiautomatic shotgun type



Mississippi       Mississippi Code 97-37-1.                                         silencer prohibited


Missouri          Code of State Regulations 10-7.410(1)(G)


Montana


Nebraska          Nebraska Administrative Code Title 163
                  Chapter 4 001.

Nevada            Nevada Revised Statutes 503.150 1.


New Hampshire


New Jersey        New Jersey Statutes 23:4-13. and 23:4-     magazine capacity                            "Assault weapons": any shotgun with a revolving cylinder, e.g. "Street
                  44. and New Jersey Rev. Statutes 2C39-     of no more than 5                            Sweeper" or "Striker 12" Franchi SPAS 12 and LAW 12 shotguns or USAS
                  1.w.                                       rounds                                       12 semi-automatic type shotgun; also any semi-automatic shotgun with
                                                                                                          either a magazine capacity exceeding 6 rounds, a pistol grip, or a folding
                                                                                                          stock


New Mexico        New Mexico Administrative Code
                  19.31.6.7H., 19.31.11.10N. ,
                  19.31.13.10M. and 19.31.17.10N.
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                                                            General Firearm Statutes by State                                                                      Exhibit 2

New York           New York Consolidated Laws 265.00. 22.   magazine capacity   sighting device making      "Assault weapons": Any semiautomatic shotgun with at least two of the
                   and Code of the City of Buffalo 1801B.   of no more than 5   a target visible at night   following:folding or telescoping stock;pistol grip that protrudes
                                                            rounds              may classify a shotgun      conspicuously beneath the action of the weapon;fixed magazine capacity
                                                                                as an assault weapon        in excess of five rounds;an ability to accept a detachable magazine; or any
                                                                                                            revolving cylinder shotguns, e.g., Street Sweeper and Striker 12; Buffalo
                                                                                                            1801B. Assault Weapon:(2) A center-fire rifle or shotgun which employs
                                                                                                            the force of expanding gases from a discharging cartridge to chamber a
                                                                                                            fresh round after each single pull of the trigger, and which has:(a) A flash
                                                                                                            suppressor attached to the weapon reducing muzzle flash;(c) A sighting
                                                                                                            device making a target visible at night;(d) A barrel jacket surrounding all or
                                                                                                            a portion of the barrel, to dissipate heat therefrom; or(e) A multi-burst
                                                                                                            trigger activator.(3) Any stockless pistol grip shotgun.




North Carolina     North Carolina Gen. Statutes 14-288.8                        silencer prohibited


North Dakota       North Dakota Century Code 20.1-01-09.
                   Section 20.1-04-10, SHOTGUN SHELL-
                   HOLDING CAPACITY RESTRICTION,
                   repealed/eliminated

Ohio               Ohio Rev. Code 2923.11. and Columbus     magazine capacity                               semiautomatic shotgun that was originally designed with or has a fixed
                   City Codes 2323.11.                      of no more than 5                               magazine or detachable magazine with a capacity of more than five
                                                            rounds                                          rounds. Columbus includes under "Assault weapon" any semi-automatic
                                                                                                            shotgun with two or more of the following: pistol grip that protrudes
                                                                                                            conspicuously beneath the receiver of the weapon; folding, telescoping or
                                                                                                            thumbhole stock; fixed magazine capacity in excess of 5 standard 2-3/4,
                                                                                                            or longer, rounds; or ability to accept a detachable magazine; also any
                                                                                                            shotgun with revolving cylinder




Oklahoma


Oregon             Oregon Rev. Statutes 166.272.                                silencer prohibited


Pennsylvania       Title 34 Sec. 2308. (a)(4) and (b)(1)


Rhode Island       Rule 7, Part III, 3.3 and 3.4
South Carolina     SECTION 50-11-310. (E) and ARTICLE 3.
                   SUBARTICLE 1. 123 40
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                                                             General Firearm Statutes by State                                                            Exhibit 2

South Dakota      South Dakota Codified Laws 22,1,2, (8)                         silencer prohibited


Tennessee


Texas


Utah              Utah Administrative Code R657-5-9. (1),
                  R657-6-6. (1) and R657-9-7.

Vermont


Virginia          Virginia Code 18.2-308.                    magazine capacity                         "Assault weapons": Striker 12's commonly called a "streetsweeper," or any
                                                             no more than 7                            semi-automatic folding stock shotgun of like kind with a spring tension
                                                             rounds (not                               drum magazine capable of holding twelve shotgun shells prohibited
                                                             applicable for
                                                             hunting or sport
                                                             shooting)


Washington        Washington Administrative Code 232-12-
                  047




West Virginia     West Virginia statute 8-12-5a.




Wisconsin         Wisconsin Administrative Code – NR 10.11
                  and NR 10.12




Wyoming           Wyoming Statutes, Article 3. Rifles and                        silencer prohibited
                  Shotguns [Repealed] and 23-3-112.
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                                    Drum Magazine                                   Exhibit 3
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                              Integrated Rail System                                      Exhibit 4


                                       Sporting




                                       Sporting




              Non-Sporting                               Non-Sporting




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                                         Bulk Measurements                                  Exhibit 5


   Depth refers to the distance from the top plane of the shotgun to the bottom plane of the shotgun.
   Depth measurement “A” below is INCORRECT; it includes the trigger guard which is not part
   of the frame or receiver. Depth measurement “B” below is CORRECT; it measures only the
   depth of the frame or receiver:




   Width refers to the length of the top or bottom pane of the firearm and measures the distance
   between the sides of the shotgun. Width measurement “A” below is CORRECT; it measures
   only the width of the frame or receiver. Width measurement “B” below is INCORRECT; it
   includes the charging handle which is not part of the frame or receiver:
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                                  Forward Pistol Grip                 Exhibit 6
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